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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                     §
 In re:                                                              §        Case No. 18-12491 (CSS)
                                                                     §
 PROMISE HEALTHCARE GROUP, LLC.,                                     §        Chapter 11
 et al.,1                                                            §
                                                                     §
                                   Debtors.                          §        (Jointly Administered)
                                                                     §


                                                   AFFIDAVIT OF SERVICE

        I, Justin Plerqui, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.


        On August 31, 2020, at my direction and under my supervision, employees of Prime Clerk
caused the following document to be served via first class mail on the parties identified on the
service lists attached hereto as Exhibit A, Exhibit B, Exhibit C and Exhibit D:


     •     Notice of Rescheduled Hearing [Docket No. 2027]




                                      [Remainder of page internationally left blank]




1 The Debtors in these Chapter 11 Cases, together with the last four digits of each Debtor’s federal tax identification number, are as follows: HLP
HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Promise Healthcare #2, Inc. (1913), Promise Healthcare Group, LLC (1895), Promise Healthcare
Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties
at The Villages Holdings, LLC (0006), HLP Properties at the Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc.
(0068), Promise Healthcare of California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc. (9219), Promise
Hospital of Baton Rouge, Inc. (8831), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc. (0240), Promise Hospital of East
Los Angeles, L.P. (4671), Promise Hospital of Florida at The Villages, Inc. (2171), Promise Hospital of Louisiana, Inc. (4886), Promise Hospital
of Lee, Inc. (8552), Promise Hospital of Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc.
(0659), Promise Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties of Dade, Inc. (1592),
Promise Properties of Lee, Inc. (9065), Promise Properties of Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc.
(5752), Promise Skilled Nursing Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), Success
Healthcare 1, LLC (6535), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise
Behavioral Health Hospital of Shreveport, Inc. (1823), Promise Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center at the Villages,
Inc. (7529), and PHG Technology Development and Services Company, Inc. (7766). The mailing address for the Debtors, solely for purposes of
notices and communications, is c/o FTI Consulting, 50 California Street, Suite 1900, San Francisco, CA 94111.
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Dated: September 4, 2020
                                                                      /s/ Justin Plerqui_
                                                                      Justin Plerqui


State of New York
County of New York

Subscribed and sworn to (or affirmed) before me on September 4, 2020, by Justin Plerqui, proved
to me on the basis of satisfactory evidence to be the person who appeared before me.



/s/ Liz Santodomingo
Notary Public, State of New York
No. 01SA6301250
Qualified in New York County
Commission Expires April 14, 2022




                                               2                                      SRF 45688
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                       Exhibit A
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                                                                                                             Exhibit A
                                                                                                        Class 5 Service List
                                                                                                    Served via First Class Mail
MML ID                                  NAME                                  ADDRESS 1                ADDRESS 2                    ADDRESS 3                      CITY        STATE           ZIP
7023124   DAWSON, MD, MARK                                              ADDRESS ON FILE
7584098   Koslow, Howard                                                ADDRESS ON FILE
7828163   Leder, Lawrence                                               ADDRESS ON FILE
7682823   Peter Baronoff                                                ADDRESS ON FILE
7831682   Wilmington Trust, National Association, as collateral agent   Shipman & Goodwin LLP   Attn: Marie Pollio           One Constitution Plaza     Hartford          CT           06103




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                       Exhibit B
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                                                                                                                                 Exhibit B
                                                                                                                            Class 4 Service List
                                                                                                                         Served via First Class Mail

  MML ID                                      NAME                          ADDRESS 1                 ADDRESS 2               ADDRESS 3                  ADDRESS 4              CITY        STATE           ZIP        COUNTRY
               AEGIS HOLDINGS (ONSHORE) INC. FBO KIRKLAND VENTURES,   FOUNDING PARTNERS         CONVERGENT WEALTH       12505 PARK POTOMAC
7037631        LLC                                                    INVESTOR                  ADVISORS                AVENUE, SUITE 400                             POTOMAC          MD           20854
7037366        ALAN C ARNOLD ROTH IRA                                 1334 WEBSTER STREET                                                                             NEW ORLEANS      LA           70118
7037443        AMMIDON, ASHLEY                                        ADDRESS ON FILE
7037504        AMMIDON, HOYT, JR.                                     ADDRESS ON FILE
7037429        ARNOLD, ALAN C & ELIZABETH S                           ADDRESS ON FILE

7037440        ARTHUR DANIEL PIGOTT IRA ROLLOVER                      ARTHUR DANIEL PIGOTT      521 HAMMOND OAK LANE                                                  WAKE FOREST      NC           27587
                                                                      3 GREENWAY PLAZA, SUITE
7037596        AUSTIN HIGHLAND HOLDINGS, LP                           1000                                                                                            HOUSTON          TX           77046
7037445        BALDWIN, BARBARA K.                                    ADDRESS ON FILE
7037582        BALES, ROBERT MICHAEL                                  ADDRESS ON FILE
                                                                      1380 WEST PACES FERRY
7033772        BELMONT STRATEGIC INCOME FUND, LP                      ROAD                      SUITE 1000                                                            ATLANTA          GA           30327
7037539        BONEWITZ, JOSEPH WILLIAM                               ADDRESS ON FILE
7037521        BRESLOW, JOHN A.                                       ADDRESS ON FILE
7037590        BRESLOW, SONIA M.                                      ADDRESS ON FILE
                                                                      LIMITED AS TRUSTEE OF
                                                                      JEANNE ADELE STRONG
7037424        BUTTERFIELD TRUST (BERMUDA)                            BURDICK GIFT TRUST        C/O AKANKE PARSONS      65 FRONT STREET                               HAMILTON                      HM12          BM
                                                                      LIMITED AS TRUSTEE OF
                                                                      GEORGE G. STRONG JR.
7037425        BUTTERFIELD TRUST (BERMUDA)                            GIFT TRUST                C/O AKANKE PARSONS      65 FRONT STREET                               HAMILTON                      HM12          BM
               BUTTERFIELD TRUST (BERMUDA) LIMITED AS TRUSTEE OF
7037426        GEORGE G. STRONG GIFT TRUST II                         ADDRESS ON FILE
                                                                      AHMOS HASSAN,             287 S. ROBERTSON
7037423        CHARIOT STABLE ASSET FUND LP                           PRESIDENT                 BOULEVARD, #543                                                       BEVERLY HILLS    CA           90211

7037420        CHRIS A BOWERS NATIONAL ADVISORS TRUST IRA ROLLOVER 991 DAKOTA CIRCLE                                                                                  NAPERVILLE       IL           60563

7037460        CHRIS A BOWERS NATIONAL ADVISORS TRUST IRA ROLLOVER CHRIS A. BOWERS              991 DAKOTA CIRCLE                                                     NAPERVILLE       IL           60563
7037621        CORA, WILLIAM J.                                    ADDRESS ON FILE

7037333        CVP SPV LLC SERIES I                                   49 WEST PUTNAM AVENUE                                                                           GREENWICH        CT           06830

11618532       CVP SPV LLC Series III                                 49 WEST PUTNAM AVENUE                                                                           GREENWICH        CT           06830

7037369        DOUGLAS AND KATHLEEN CASSIDY                           1230 N. WESTERN AVENUE UNIT 306                                                                 LAKE FOREST      IL           60045

7037370        DOUGLAS J CASSIDY IRA ROLLOVER                         1230 N. WESTERN AVENUE UNIT 306                                                                 LAKE FOREST      IL           60045
7037529        DUDLEY L. SIMMS III TRUST                              JOHN L. SIMMS          P.O. BOX 31081                                                           SEA ISLAND       GA           31561
               EDMUND C. WOODBURY REVOCABLE LIVING TRUST, RANDI S.    EDMOND C. AND RANDI S.
7037479        WOODBURY REVOCABLE LIVING TRUST                        WOODBURY               1169 CHERRY STREET                                                       WINNETKA         IL           60093
7037480        EDWARD D. FALLIN                                       5794 SW 76TH TERRACE                                                                            SOUTH MIAMI      FL           33143
                                                                                             7164 FOREST BROOK
7037481        EDWARD J. SHULTZ, IRA                                  EDWARD J. SCHULTZ      DRIVE                                                                    SYLVANIA         OH           43560
7037394        ERROL T. GALT                                          40 - 71 RANCH LANE                                                                              MARTINSDALE      MT           59053
7037395        ERROL T. GALT ROTH IRA                                 40 - 71 RANCH LANE                                                                              MARTINSDALE      MT           59053
                                                                      c/o Trish Anzalone,    Nelson Mullins Broad and   One Biscayne Tower, 21st   2 South Biscayne
11619009       Founding Partners Receiver - 156                       Litigation Paralegal   Cassel                     Floor                      Boulevard          Miami            FL           33131
                                                                      c/o Trish Anzalone,    Nelson Mullins Broad and   One Biscayne Tower, 21st   2 South Biscayne
11619002       Founding Partners Receiver -154                        Litigation Paralegal   Cassel                     Floor                      Boulevard          Miami            FL           33131
                                                                      c/o Trish Anzalone,    Nelson Mullins Broad and   One Biscayne Tower, 21st   2 South Biscayne
11618995       Founding Partners Receiver- 155                        Litigation Paralegal   Cassel                     Floor                      Boulevard          Miami            FL           33131




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                                                                                                                               Class 4 Service List
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  MML ID                                      NAME                           ADDRESS 1                  ADDRESS 2                ADDRESS 3                ADDRESS 4              CITY           STATE              ZIP        COUNTRY
                                                                       PRICEWATERHOUSECOOPE
                                                                       RS CORPORATE SERVICES
                                                                       (CAYMAN ISLANDS)           ATTN: ANDREW             18 FORUM LANE, P.O. BOX
7033773        FP OFFSHORE, LTD.                                       LIMITED                    NEMBHARD                 258                                        GRAND CAYMAN                      KY1 1104         KY
7037576        FRAIN, RICHARD AND TAMBERLY                             ADDRESS ON FILE
7037574        FUES, PHILIP B.                                         ADDRESS ON FILE
7037483        GARFINKEL, ERIC AND DIANE                               ADDRESS ON FILE
7037497        GREENBARG, GERSON                                       ADDRESS ON FILE
7037359        GREENBARG, TODD                                         ADDRESS ON FILE
               GREGORY C VRABLIK, IRA ROLLOVER, CHARLES SCHWAB         10 W. MAIN STREET, SUITE
7037499        CUSTODIAN                                               202                                                                                            CARY              IL              60013
                                                                       FOUNDING PARTNERS          CONVERGENT WEALTH        12505 PARK POTOMAC
7037633        GUERRIERI INVESTMENT PARTNERSHIPS A & B                 INVESTOR                   ADVISORS                 AVENUE, SUITE 400                          POTOMAC           MD              20854

7037501        H&D LEVY LIMITED PARTNERSHIP                            HANS F. LEVY, MANAGER      4968 TAMIAMI TRAIL N                                                NAPLES            FL              34103
                                                                                                                           600 UNIVERSITY PARK
7037523        HAINES ALL-SEASON SELECT FUND I, LLC                    KINSIGHT, LLC              ATTN: JOHN B. COX        PLACE, SUITE 501                           BIRMINGHAM        AL              35209
                                                                                                                           600 UNIVERSITY PARK
7037524        HAINES ALL-SEASON SELECT FUND II, LLC                   KINSIGHT, LLC              ATTN: JOHN B. COX        PLACE, SUITE 501                           BIRMINGHAM        AL              35209
7037570        HAMPTON, DONALD                                         ADDRESS ON FILE
               HANI JACOB SALEH, M.D. NORTH SHORE ASSOC. IN
7037391        GYNECOLOGY AND OBSTETRICS, SC PROFIT SHARING            930 CHESTNUT AVENUE                                                                            WILMETTE          IL              60091
                                                                       FOUNDING PARTNERS          CONVERGENT WEALTH        12505 PARK POTOMAC
7037635        HASLINGER DIVERSIFIED VENTURES, LTD.                    INVESTOR                   ADVISORS                 AVENUE, SUITE 400                          POTOMAC           MD              20854
7037519        HEBERT, JILL D.                                         ADDRESS ON FILE
               HEINRICH WINTER OR BIRGITT WINTER SURVIVORSHIP
7037406        MARITAL PROPERTY ACCOUNT                                9570 N. LAKE DRIVE                                                                             BAYSIDE           WI              53217
7037513        HUDSON FOOD STORES                                      JAMES H. SMITH             P.O. BOX 2298                                                       CHIEFLAND         FL              32644
7037601        IMAGEWORKS MANUFACTURING, INC.                          THOMAS W. BECKER           49 SOUTH STREET                                                     PARK FOREST       IL              60466
               JAMES H FERGUSON DEC OF TR AND NANCY B FERGUSON DEC
7037512        OF TR TEN/COMM                                          312 REGENT WOOD ROAD                                                                           NORTHFIELD        IL              60093
               JERROLD R GLASS TRUSTEE, JERROLD R GLASS TRUST (ATTY:
7037326        MARK RESNIK)                                            55 PROSPECT                                                                                    HIGHLAND PARK     IL              60035
                                                                       JOAN M. BOWERS,
7037520        JOAN M. BOWERS TRUST                                    TRUSTEE                    991 DAKOTA CIRCLE                                                   NAPERVILLE        IL              60563
               JOHN BONNETT, IRA ROLLOVER, CHARLES SCHWAB
7037360        CUSTODIAN                                               1565 WOODCREEK TRAILS                                                                          BARTLETT          IL              60103
                                                                                                  601 MULBERRY PLACE,
7037535        JOHN N. BRODSON IRA                                     JOHN N. BRODSON            UNIT 5E                                                             HIGHLAND PARK     IL              60035
                                                                                                  12505 PARK POTOMAC
7037469        JUPITER FUND PLUS SERIES                                DAVID ELLIOTT, CFO         AVENUE, SUITE 400                                                   POTOMAC           MD              20854
                                                                                                  12505 PARK POTOMAC
7037470        JUPITER FUND SERIES                                     DAVID ELLIOTT, CFO         AVENUE, SUITE 400                                                   POTOMAC           MD              20854
7037586        KAREN G. RIDEOUT IRA                                    ADDRESS ON FILE
               KATHERIN L. OLSON TRUST B (#75) ADVISOR: BILL HART -
7037384        HARTLINE INVESTMENTS                                    450 DAVIS ST UNIT 451                                                                          EVANSTON          IL              60201
7037542        KATHERINE L. OLSON TRUST                                KATHERINE L. OLSON         450 DAVIS ST UNIT 451                                               EVANSTON          IL              60201
7037546        KATHLEEN A. OLBERTS IRA                                 KATHLEEN A. OLBERTS        255 DOWNEY STREET                                                   SAN FRANSISCO     CA              94117
7037355        KATHLEEN A. OLBERTS LIVING TRUST (#2 & #71)             255 DOWNEY STREET                                                                              SAN FRANSISCO     CA              94117

7037545        KATHLEEN A. OLBERTS LIVING TRUST(STABLE VALUE FUND)     KATHLEEN A. OLBERTS        255 DOWNEY STREET                                                   SAN FRANCISCO     CA              94117
7037552        KERR, L., III HAMILTON                                  ADDRESS ON FILE
7037313        LUCILLE E. ROBBINS TRUST U A DTD 7 31 92                9132 STRADA PLACE          THIRD FLOOR                                                         NAPLES            FL              34108
7037464        MAGNA CARTA LIFE INSURANCE LTD.                         COLIN C. JAMES             ATLANTIC SECURITY LTD.   P.O. BOX HM                                HAMILTON          HM HX                            BM
7037468        MAGNUSON, DAVID AND CAROL                               ADDRESS ON FILE
7037312        MARY LOUISE GOEBEL TRUST U A DTD 9 30 92                9132 STRADA PLACE          THIRD FLOOR                                                         NAPLES            FL              34108




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  MML ID                                      NAME                          ADDRESS 1                 ADDRESS 2                ADDRESS 3                ADDRESS 4              CITY        STATE            ZIP   COUNTRY

7037338        MARYANN LARSON, IRA, CHARLES SCHWAB CUSTODIAN          P.O. BOX 428                                                                                  RAMSAY            MI           49959
7037511        MCMURRAY, J. THOMAS                                    ADDRESS ON FILE
7037614        MCNITT, WILLARD, JR. C.                                ADDRESS ON FILE
7037353        MEREDITH BLUHM REVOCABLE TRUST                         2430 N. LAKEVIEW          APT. 2 NORTH                                                        CHICAGO           IL           60614
                                                                      FRANK C. MEYER,
7037486        MEYER FAMILY ASSOCIATES, LLC                           MANAGING MEMBER           6444 DEACON CIRCLE                                                  WINDERMERE        FL           34786
                                                                      FOUNDING PARTNERS         500 YGNACIO VALLEY
7037632        MINGALADON, LP                                         INVESTOR                  ROAD, SUITE 330                                                     WALNUT CREEK      CA           94596
                                                                                                9030 STONY POINT
7037615        MJA INNOVATIVE INCOME FUND, LP                         C/O WILLIAM A. PUSEY, JR. PARKWAY, SUITE 100                                                  RICHMOND          VA           23235

7037559        MLPF&S CUST FBO SHEILA M. POTIKER ROTH-184             LOWELL POTIKER            875 PROSPECT, SUITE 220                                             LA JOLLA          CA           92037
7037397        MLPF&S CUST FBO SHEILA M. POTIKER ROTH-185             875 PROSPECT              SUITE 220                                                           LA JOLLA          CA           92037

7037538        MLPF&S CUST FBO SHEILA M. POTIKER ROTH-186             JORI POTIKER              875 PROSPECT, SUITE 220                                             LA JOLLA          CA           92037
7037553        MT. KENWINN PARTNERS LP                                C/O LAURA RADCLIFFE       1177 ASH STREET                                                     WINNETKA          IL           60093
7037592        MUSLIN, STEVE H. AND CAROL S.                          ADDRESS ON FILE
7037467        MUSLIN, TRUST, DAVID A.                                ADDRESS ON FILE
                                                                      C/O JOHN W. HART,
7037537        NANCY H. HART TRUST                                    TRUSTEE                   522 ESSEX ROAD                                                      KENILWORTH        IL           60043
                                                                      7816 TRAVELERS TREE
7037357        NEIL H. SMITH REVOCABLE TRUST                          DRIVE                                                                                         BOCA RATON        FL           33433
                                                                      DAVID HOUSTON,            4203 YOAKUM
7037471        NOBLE CONSULTING LLC                                   MANAGER                   BOULEVARD, SUITE 200                                                HOUSTON           TX           77006
                                                                      ARTHUR DANIEL PIGOTT,
7037441        NORMA J. PIGOTT (DECEASED) IRA ROLLOVER                TRUSTEE                   521 HAMMOND OAK LANE                                                WAKE FOREST       NC           27587
7037540        OLIVE G PETERS LIVING TRUST                            C/O JUNE DOWNS            P.O. BOX 10                                                         MUNISING          MI           49862
                                                                      FOUNDING PARTNERS         CONVERGENT WEALTH    12505 PARK POTOMAC
7037634        ORMOND HOLDINGS, LLC                                   INVESTOR                  ADVISORS             AVENUE, SUITE 400                              POTOMAC           MD           20854
7037560        PASCULANO, LYNNE                                       ADDRESS ON FILE
7037579        PIETRANEK, RICHARD J.                                  ADDRESS ON FILE
7037541        RIDOUT, KAREN GUNLICKS                                 ADDRESS ON FILE
7037580        ROBERT D. HORNE IRA                                    ROBERT D. HORNE           340 BIRCH STREET                                                    WINNETKA          IL           60093
                                                                      ROBERT HARRIS,
7037581        ROBERT SCOT BUILDING VENTURE                           MANAGER                   P.O. BOX 437                                                        GLENCOE           IL           60022
7037583        SANDERS, RODGER M.                                     ADDRESS ON FILE
                                                                      SCOTT C. AND CYNTHIA B.   2801 WADE HAMPTON
7037588        SCOTT C. AND CYNTHIA B. LUCKING, JT TEN                LUCKING                   BLVD., SUITE 115-200                                                TAYLORS           SC           29687
7037572        SERLIN, CINDY F.                                       ADDRESS ON FILE
7037571        SERLIN, MARSHA                                         ADDRESS ON FILE
7037455        SIMMONS, CAL                                           ADDRESS ON FILE
7037530        SIMMS PARTNERS, LLC                                    JOHN L. SIMMS             P.O. BOX 31081                                                      SEA ISLAND        GA           31561
7037494        SLOAN, GERALD                                          ADDRESS ON FILE
7037411        STEWART B. BARMEN                                      537 N. NEVILLE STREET     APT. 4E                                                             PITTSBURGH        PA           15213
                                                                      FOUNDING PARTNERS         CONVERGENT WEALTH         12505 PARK POTOMAC
7037636        STOLL RESIDUARY TRUST                                  INVESTOR                  ADVISORS                  AVENUE, SUITE 400                         POTOMAC           MD           20854
7037493        STRAUCH, GERALD O.                                     ADDRESS ON FILE

7037437        STUTTGART LP                                           3 GREENWAY PLZ STE 1000                                                                       HOUSTON           TX           77046-0333

                                                                                                W6240 COMMUNICATION
7037608        SUMNICHT MONEY MASTERS FUND II, LP                     VERN SUMNICHT             COURT, SUITE 1                                                      APPLETON          WI           54914
7037466        SUN, DANIEL AND ALICE                                  ADDRESS ON FILE
               TAKOMA ALPHA DEDICATED FUND SERIES (INTERESTS OF THE                             6836 AUSTIN CENTER
7037600        SALI MULTI- SERIES FUND, LP)                           THOMAS A. NIEMAN, CFO     BOULEVARD, SUITE 320                                                AUSTIN            TX           78731




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                                                                                                                            Exhibit B
                                                                                                                       Class 4 Service List
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  MML ID                                      NAME                        ADDRESS 1               ADDRESS 2              ADDRESS 3                ADDRESS 4               CITY         STATE            ZIP   COUNTRY
               TEXAS FLYING LEGENDS MUSEUM'S ASSIGNED INTEREST FROM
7037374        MARCO LP (#95 & #137)                                3 GREENWAY PLZ STE 1000                                                                   HOUSTON             TX           77046-0333
                                                                    FOUNDING PARTNERS
7037630        THE ROCK OF GAINESVILLE                              INVESTOR                9818 S.W. 24TH AVENUE                                             GAINESVILLE         FL           32607
                                                                    FOUNDING PARTNERS
7037629        THOMPSON INVESTMENT CO. LLC                          INVESTOR                2401 PINSON HIGHWAY                                               BIRMINGHAM          AL           35217
                                                                                            13731 REDWOOD POINT
7037598        TJNJH INVESTMENT PARTNERSHIP HYBRID VALUE FUND       THOMAS A. JOSEPH        LN                                                                MANITOWISH WATERS   WI           54545
                                                                                            13731 REDWOOD POINT
7827146        TJNJH INVESTMENT PARTNERSHIP STABLE VALUE FUND       THOMAS A. JOSEPH        LN                                                                MANITOWISH WATERS   WI           54545
                                                                    10021 COUNSELMAN
7037379        TODD AND TRACY FOREMAN                               ROAD                                                                                      POTOMAC             MD           20854
7037589        TOLLEFSON, SCOTT                                     ADDRESS ON FILE

7037412        UMA N. AGGARWAL TRUST                                9792 OLD WARSON ROAD                                                                      ST. LOUIS           MO           63124
                                                                    C/O WILLIAM H. MYERS,   9132 STRADA PLACE,
7037619        WEBB SHADLE MEMORIAL FUND-7                          TRUSTEE                 THIRD FLOOR                                                       NAPLES              FL           34108
                                                                    WILLIAM MYERS, CO-      9132 STRADA PLACE,
7037624        WEBB SHADLE MEMORIAL FUND-73                         TRUSTEE                 THIRD FLOOR                                                       NAPLES              FL           34108

7037350        WILLIAM H. MYERS PROFIT SHARING FBO WILLIAM H. MYERS 9132 STRADA PLACE       THIRD FLOOR                                                       NAPLES              FL           34108
               WILLIAM H. MYERS PROFIT SHARING PLAN FBO WILLIAM H.
7037314        MYERS                                                9132 STRADA PLACE       THIRD FLOOR                                                       NAPLES              FL           34108
                                                                    JENNY B. STODDARD,
7037517        WILLOW SPRINGS CHARITABLE TRUST                      TRUSTEE                 10897 SOUTH ROUTE 78                                              MT. CARROLL         IL           61053
7037476        WOOD, DONALD C.                                      ADDRESS ON FILE




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                        Exhibit C
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                                                                                                                        Class 6 Service List
                                                                                                                     Served via First Class Mail

MML ID                                     NAME                                  ADDRESS 1                 ADDRESS 2                       ADDRESS 3                    CITY        STATE            ZIP   COUNTRY
                                                                          2270 COLONIAL
  7616205   21ST CENTURY ONCOLOGY, LLC                                    BOULEVARD                                                                         FORT MYERS         FL           33907
  7616207   2E CREATIVE                                                   411 N 10TH ST             SUITE 600                                               ST LOUIS           MO           63101
  7023690   3D Medical Staffing, LLC                                      4700 S. 900 E.            Suite 13                                                Salt Lake City     UT           84117
  7616209   3D MEDICAL STAFFING, LLC                                      GLENDALE, CA 91203        SUITE 13                                                SALT LAKE CITY     UT           84117
                                                                                                                                 c/o Alison Franklin 303
                                                                                                                                 Peachtree St., NE, Suite
  7828920 3M Health Information Systems                                   3M Company                Dentons US LLP               5300                       Atlanta            GA           30308
  7616213 3M HEALTH INFORMATION SYSTEMS, INC                              2807 PAYSPHERE CIRCLE                                                             CHICAGO            IL           60674
  7195794 9W Halo OpCo LP                                                 Neal Quiriconi            1901 Myers, Suite 630                                   Oakbrook Terrace   IL           60181
                                                                          Kohner, Mann & Kailas,    4650 North Port
  7632023 Abbott Diagnostics Division of Abbott Laboratories Inc.         S.C.                      Washington Road                                         Milwaukee          WI           53212
  7586523 ABBOTT LABORATORIES                                             P.O. BOX 92679                                                                    CHICAGO            IL           60675-2679
                                                                          Kohner, Mann & Kailas,    4650 North Port
  7226942   Abbott Point of Care Division of Abbott Laboratories Inc.     S.C.                      Washington Road                                         Milwaukee          WI           53212
  7616233   ABI ARBOR, INC.                                               PO BOX 352530                                                                     PALM COAST         FL           32135
  7616234   ABILITY NETWORK INC                                           100 N. 6TH ST.            SUITE 900A                                              MINNEAPOLIS        MN           55403
  7045873   Acadian Ambulance Service, Inc.                               Attn: Bankruptcy          P.O. Box 92970                                          Lafayette          LA           70509
                                                                                                    130 E. KALISTE SALOOM
  7616242   ACADIAN AMBULANCE SERVICES                                    PO BOX 92970              ROAD                                                    LAFAYETTE          LA           70509
  7616247   ACCENT                                                        P.O. BOX 952366                                                                   ST. LOUIS          MO           63195
  7616249   ACCESS INFORMATION HOLDINGS, LLC                              PO BOX 398306                                                                     SAN FRANCISCO      CA           94139-8306
  7828969   Accident Fund Insurance Company of America                    c/o Geoffrey T. Pavlic    200 N. Grand Avenue          P.O. Box 40785             Lansing            MI           48901-7985
  7023783   ACCOUNTABLE HEALTHCARE STAFFING,INC.                          P.O. BOX 732800                                                                   DALLAS             TX           75373-2800
  7616253   ACCREON, INC                                                  425 BOYLSTON ST           SUITE 2                                                 BOSTON             MA           02116
                                                                                                    425 Boylston Street, 2nd
  7044302 Accreon, Inc.                                                   Kimberly Post, CFO        Floor                                                   Boston             MA           02116
  7616258 ACELL, INC.                                                     P.O.BOX 347766                                                                    PITTSBURGH         PA           15251-4766
  7616271 ADISESHU GUNDLAPALLI                                            236 E. PYRENEES DR                                                                ALPINE             UT           84004

  7821942 Advantage Medical Professionals                                 3340 SEVERN AVE STE 320                                                           METAIRIE           LA           70002
  7616286 ADVANTAGE ON CALL, LLC                                          P.O. BOX 404691                                                                   ATLANTA            GA           30384-4691
  7024089 AEROTEK, INC.                                                   7301 PARKWAY DRIVE                                                                HANOVER            MD           21076

  7023901 AGENCY FOR HEALTHCARE ADMINSTRATION                             2727 MAHAN DRIVE MS31                                                             TALLAHASSEE        FL           32308
  7616310 AIRANDVAC.COM                                                   1954 FRIENDSHIP DRIVE SUITE 103                                                   EL CAJON           CA           92020
  7616318 AIRGAS USA, LLC                                                 PO BOX 532609                                                                     ATLANTA            GA           30353-2909
                                                                          110 WEST 7TH STREET,
  7226778 AIRGAS USA, LLC                                                 SUITE 1300                                                                        TULSA              OK           74119

  7616317 AIRGAS, INC                                                     3737 WORSHAM AVENUE                                                               LONG BEACH         CA           90808

  7023080 AKF3 YAMATO, LLC                                                1400 N.W 107TH AVENUE     5TH FLOOR                                               MIAMI              FL           33172
                                                                                                    BETH M. BROWNSTEIN,          1301 AVENUE OF THE
  7825276 AKF3 YAMATO, LLC                                                ARENT FOX LLP             ESQ                          AMERICAS FLOOR 42          NEW YORK           NY           10019
                                                                                                                                 100 CHALLENGER ROAD,
  7616331 ALAMO MOBILE X-RAY & EKG SVCS, INC                              ATTN: ARI KAROLY          WALNUT COURT CAPITAL         SUITE 105                  RIDGEFIELD PARK    NJ           07660
                                                                                                    100 Challenger Road, Suite
  7075202 Alamo Mobile X-Ray and EKG Services, Inc.                       Samuel Weinberg           105                                                     Ridgefield Park    NJ           07660
                                                                                                    4400 Piedras Dr. S., Ste.
  7073988 Alamo Mobile X-Ray and EKG Services, Inc.                       Attn: Samuel Weinberg     140                                                     San Antonio        TX           78228




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MML ID                                    NAME                              ADDRESS 1                     ADDRESS 2                          ADDRESS 3                CITY        STATE            ZIP   COUNTRY
                                                                                                  4400 Piedras Dr. S., Ste.
  7073919   Alamo X-Ray and EKG Services, Inc.                       Samuel Weinberg              140                                                    San Antonio         TX           78228
  7616336   ALCON LABORATORIES, INC                                  P.O. BOX 677775                                                                     DALLAS              TX           75267-7775
  7616354   ALL COPY PRODUCTS, INC.                                  PO BOX 660831                                                                       DALLAS              TX           75266-0831
  7071295   All Town Ambulance L.L.C.                                13812 Saticoy St. "A"                                                               Panorama City       CA           91402
  7024480   ALL TOWN AMBULANCE, LLC                                  13812 SATICOY STREET         SUITE A                                                PANORAMA CITY       CA           91402

  7024358 ALLCARE NURSING SERVICES, INC.                             3675 HUNTINGTON DR STE                                                              PASADENA            CA           91107-5671
                                                                     32663 COLLECTION
  7616356 ALLERGAN USA, INC                                          CENTER DRIVE                                                                        CHICAGO             IL           60693
                                                                     8360 WEST FLAGLER
  7023959   ALLIED MOBILE X-RAY, INC.                                STREET                                                                              MIAMI               FL           33144
  7616363   ALLIED REFRIGERATION INC                                 PO BOX 2411                                                                         LONG BEACH          CA           90801
  7024407   ALLIED UNIVERSAL SECURITY SERVICES                       P.O. BOX 101034                                                                     PASADENA            CA           91189-1034
  7024226   Alpha Nursing Services, Inc.                             820 Jordan St.          Suite 308                                                   Shreveport          LA           71101
  7616379   ALPHATEC SPINE                                           5818 EL CAMINO REAL                                                                 CARLSBAD            CA           92008
  7024757   ALSCO                                                    404 N UNIVERSITY AVE                                                                LUBBOCK             TX           79415
                                                                     2816 Central Expressway
  7044585 Alsco, Inc Wichita Falls                                   East                                                                                Wichita Falls       TX           76301
  7616385 ALTIUS HEALTH PLANS                                        PO BOX 935005                                                                       ATLANTA             GA           31193


                                                                     JOANNA COX, PATIENT
  7616387 ALVARADO HOSPITAL, LLC                                     FINANCIAL SVS. DIRECTOR      6655 ALVARADO ROAD                                     SAN DIEGO           CA           92120
  7616388 ALVAREZ & MARSAL HEALTHCARE                                600 MADISON AVENUE           8TH FLOOR                                              NEW YORK            NY           10022
                                                                     Latham, Shuker, Eden &
  7728263 Ambitrans Medical Transport, Inc.                          Beaudine, LLP                Justin M. Luna, Esq.            PO Box 3353            Orlando             FL           32802-3353
                                                                     6644 VAN NUYS BLVD
  7616394 AMBULIFE AMBULANCE                                         SUITE B                                                                             VAN NUYS            CA           91405
                                                                     6644 VAN NUYS BLVD.,
  7037130   AMBULIFE AMBULANCE INC.                                  SUITE B                                                                             VAN NUYS            CA           91405
  7071430   Ameren Missouri                                          Bankruptcy Desk MC 310       P.O. Box 66881                                         Saint Louis         MO           63166
  7616408   AMERICAN EXPRESS                                         PO BOX 360001                                                                       FT LAUDERDALE       FL           33431
  7040986   American Express Travel Related Services Company, Inc.   Becket and Lee LLP           PO Box 3001                                            Malvern             PA           19355-0701
  7616414   AMERICAN MEDICAL ASSOCIATION-CPT RO                      75 REMITTANCE DRIVE          SUITE 1413                                             CHICAGO             IL           60675-1413
  7023569   AMERICAN MEDICAL RESPONSE                                P.O. BOX 198408                                                                     ATLANTA             GA           30384-8408
  7827338   American Medical Response of Maricopa, LLC               Danelle Kelling              8465 N. Pima Road                                      Scottsdale          AZ           85258
  7616420   AMERICAN PAD-EX, INC                                     P.O. BOX 2257                                                                       GARDENA             CA           90247
  7024101   American Pad-Ex. Inc.                                    P.O. Box 2257                                                                       Gardena             CA           90247
                                                                     BLOOD SERVICES
  7616425   AMERICAN RED CROSS                                       WESTERN AREA                 PO BOX 100805                                          PASADENA            CA           91189
  7071618   American Red Cross                                       Lori Polacheck, Esq.         431 18th St. NW                                        Washington          DC           20006
  7616428   AMERICAN UTILITY BILL AUDITORS, INC.                     P.O. BOX 970145                                                                     BOCA RATON          FL           33497-0145
  7616430   AMERIHEALTH CARITAS LOUISIANA, INC                       200 STEVENS DRIVE                                                                   PHILADELPHIA        PA           19113


                                                                                                Saul Ewing Arnstein & Lehr 1201 North Market Street,
  7827200 AmeriHealth Caritas Louisiana, Inc.                        Lucian B. Murley, Esquire LLP                         Suite 2300 P.O. Box 1266 Wilmington               DE           19899
                                                                     Saul Ewing Arnstein & Lehr 1201 N. Market Street,
  7826454 AmeriHealth Caritas Louisiana, Inc.                        LLP                        Suite 2300                 P.O. Box 1266             Wilmington              DE           19899
  7616432 AMERIPATH FLORIDA LLC                                      PO BOX 404938                                                                   ATLANTA                 GA           30384

  7822683 Amerita, Inc                                               6912 S. Quentin St. Ste 50                                                          Centennial          CO           80112




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                                                                      2446 SOUTH PROGRESS
  7616433 AMERITA, INC                                                DRIVE                                                                             SALT LAKE CITY       UT           84419
                                                                      1905 CORPORATE BLVD
  7616438   AMN HEALTHCARE, INC.                                      NW                                                                                BOCA RATON           FL           33431
  7616441   AMTECH ELEVATOR SERVICES (DC)                             ATTN: VIRGINIA               DEPT LA 21592                                        PASADENA             CA           91185-1592
  7616457   ANGELICA TEXTILE SERVICES                                 PO BOX 846777                                                                     LOS ANGELES          CA           90084-6777
  7616452   ANGELICA TEXTILES - 1003004                               DEPT. 6777                                                                        LOS ANGELES          CA           90084
  7616453   ANGELICA TEXTILES - 1003005                               P.O. BOX 51669                                                                    LOS ANGELES          CA           90051-5969
  7616472   APPLIED STATISTICS & MANAGEMENT, INC                      P.O. BOX 2738                                                                     TEMECULA             CA           92593-2738
                                                                      Commercial Collection
  7074176 Arjo Inc.                                                   Corp of NY                   34 Seymour St                                        Tonawanda            NY           14150
  7024555 ARJOHUNTLEIGH, INC.                                         2349 W. LAKE STREET          SUITE 250                                            ADDISON              IL           60101
  7081353 Arkadin Inc                                                 Tonya Booth                  1501 E. Woodfield Road                               Schaumburg           IL           60173
                                                                      1501 E. Woodfield Road
  7727455   Arkadin, Inc.                                             Suite 400E                                                                        Schaumburg           IL           60173
  7034314   ARMCO PLUMBING INC.                                       37521 DAYBREAK ST.                                                                PALMDALE             CA           93550
  7616486   AROBELLA MEDICAL, LLC                                     1111 CHESHIRE LN N.          SUITE 700                                            MINNETONKA           MN           55305
  7616487   ARQUIMEDES LOSADA                                         PO BOX 160/760                                                                    HIALEAH              FL           33016
                                                                      8333 NW 53RD STREET STE
  7616494 ARTHUR J GALLAGHER                                          600                                                                               MIAMI                FL           33166
  7616500 ASCENT ELEVATOR SERVICES, INC                               6517 SIERRA LN                                                                    DUBLIN               CA           94568-2798
          ASM Capital X LLC as Transferee of Doctors Inspection                                    7600 Jericho Turnpike
 11511629 Control SVCS                                                Attn: Adam S. Moskowitz      Suite 302                                            Woodbury             NY           11797
          ASM Capital X LLC as Transferee of Matthew Pompeo, MD,                                   7600 Jericho Turnpike,
 11511578 PA                                                          Attn: Adam S. Moskowitz      Suite 302                                            Woodbury             NY           11797
          ASM Capital X LLC as Transferee of Stanley Steemer of LA                                 7600 Jericho Turnpike
 11511606 County                                                      Attn: Adam S. Moskowitz      Suite 302                                            Woodbury             NY           11797
  7616508 ASOCIATED FOOD STORE                                        1850 West 2100 South                                                              SALT LAKE CITY       UT           84119
                                                                      3200 Horizon Drive, Suite
  7043573   Aspire Bariatrics Inc.                                    100                                                                               King of Prussia      PA           19406
  7616513   ASSISTED TRANSPORTATION SERVICES                          101 S. KANSAS AVE.                                                                TOPEKA               KS           66603
  7614139   ASSISTED TRANSPORTATION SERVICES, INC.                    1625 S 45TH STREET                                                                KANSAS CITY          KS           66106
  7616536   AT&T                                                      PO BOX 105503                                                                     ATLANTA              GA           30348
                                                                                                                                 One AT&T Way, Room
  7723424 AT&T Corp                                                   c/o AT&T Services, Inc.      Karen Cavagnaro, Esq.         3A104                  Bedminster           NJ           07921
  7616521 AT-INTEGRATION, INC.                                        204 S. IH 35                 SUITE 105                                            GEORGETOWN           TX           78628
  7616537 AUDIE E. LIM, MD, PA                                        1103 GRACE STREET                                                                 WICHITA FALLS        TX           76301
                                                                      1930 PALOMAR POINT
  7034368 AURORA SPINE, INC.                                          WAY STE 103                                                                       CARLSBAD             CA           92008-5579
                                                                                                   6995 Union Park Center,
  7825223 AVT - Florida, L.P. (f/k/a TFG-Florida, L.P.)               Attn: General Counsel        Suite 400                                            Cottonwood Heights   UT           84047

  7826180 B & I Contractors                                           c/o Michael F Kayusa, Esq.   2077 First Street, #201                              Fort Myers           FL           33901
  7616907 B&I CONTRACTORS INC                                         2701 PRINCE STREET                                                                FORT MYERS           FL           33916
  7616545 B2 ENVIRONMENTAL                                            4503 S 90TH ST                                                                    OMAHA                NE           68127
  7616550 BAKER HEALTHCARE CONSULTING, INC.                           SUITE 2000, BOX 82058        ONE AMERICAN SQUARE                                  INDIANAPOLIS         IN           46282
  7616549 BAKER, DONELSON, BEARMAN, CALDWELL                          165 MADISON AVE              SUITE 200                                            MEMPHIS              TN           38103
  7828210 Balboa Capital Corporation                                  575 Anton Boulevard          12th Floor                                           Costa Mesa           CA           92626
  7616558 BANNER HEALTH                                               1441 N 12TH STREET                                                                PHOENIX              AZ           85006
          Barbara Taylor, Deborah Harris, Jacquelyn Taylor, Andre
  7824655 Taylor and Tina Davis.                                      ADDRESS ON FILE




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MML ID                                     NAME                                    ADDRESS 1                  ADDRESS 2                         ADDRESS 3                  CITY         STATE            ZIP   COUNTRY
  7822974 Baronoff, Peter R.                                                ADDRESS ON FILE
  7024291 BATON ROUGE GEN. MED. CNTR. - RENT                                3600 FLORIDA BLVD.                                                                  BATON ROUGE        LA           70806
                                                                                                       9490 Picardy Ave., Bldg
  7824123   Baton Rouge General Medical Center                              Mr. Corey A. Doughty       100                                                      Baton Rouge        LA           70809
  7023446   BATON ROUGE GENERAL MEDICAL CNTR                                3600 FLORIDA BLVD.                                                                  BATON ROUGE        LA           70806
  7045798   Baxter Healthcare                                               1 Baxter Pkwy, DF3-2E                                                               Deerfield          IL           60015
  7024364   BE WELL NURSING LLC                                             815 S. CENTRAL AVE.        SUITE 1                                                  GLENDALE           CA           91204
                                                                            815 S. CENTRAL AVE.,
  7616906 BE WELL NURSING, LLC                                              SUITE 1                                                                             GLENDALE           CA           91204
                                                                                                                                     100 Mulberry Street Four
  7828807   Becton, Dickinson and Company                                   McCarter & English, LLP  Attn: Lisa S. Bonsall, Esq.     Gateway Center             Newark             NJ           07102
  7589473   Ben Phillips obo Everlean Phillips                              ADDRESS ON FILE
  7046288   Best Global Alternative LTD                                     PO Box 39                                                                           Atlantic Beach     NY           11509
  7023187   BEST GLOBAL ALTERNATIVE, LTD                                    PO BOX 39                                                                           ATLANTIC BEACH     NY           11509-0039
                                                                            10812 N. HARRELL'S FERRY
  7616910 BILLY HEROMAN'S FLOWERLAND                                        RD.                                                                                 BATON ROUGE        LA           70816


          Bio Medical Application of Florida, Inc. d/b/a Naples Inpatient   c/o Fresenius Medical Care Attn: Russell P. Plato,
  7077924 Services                                                          North America              Assistant General Counsel 920 Winter Street              Waltham            MA           02451-1457


                                                                            c/o Fresenius Medical Care Attn: Russell P. Plato,
  7077904 Bio-Medical Application of Florida, Inc. d/b/a BMA Gainesville    North America              Assistant General Counsel 920 Winter Street              Waltham            MA           02451


          Bio-Medical Applications of Louisiana, LLC d/b/a FMC Dialysis     c/o Fresenius Medical Care Attn: Russell P. Plato,
  7825845 Services Baton Rouge                                              North America              Assistant General Counsel 920 Winter Street              Waltham            MA           02451-1457
          Bio-Medical Applications of Louisiana, LLC d/b/a Shreveport
  7077916 Regional Dialysis Center                                          1111 Medical Center    Boulevard Suite S-150                                        Marrero            LA           70072
  7044378 BioMerieux, Inc                                                   100 Rodolphe Street                                                                 Durham             NC           27712
  7684368 BIOMERIEUX, INC                                                   P.O. BOX 500308                                                                     ST LOUIS           MO           63150-0308
  7023928 BIOMET, INC.                                                      75 REMITTANCE DRIVE    SUITE 3283                                                   CHICAGO            IL           60675-3283
                                                                            4721 EMPEROR
  7034447   BIOVENTUS LLC                                                   BOULEVARD                                                                           DURHAM             NC           27703
  7616926   BLAKE MACDIARMID, INC                                           919 NW 2ND AVE                                                                      DELRAY BEACH       FL           33444
  7616941   BLUE CROSS BLUE SHIELD OF SC                                    PO BOX 6000                                                                         COLUMBIA           SC           29260
  7616945   BLUE CROSS OF LOUISIANA                                         5525 Reitz Avenue                                                                   Baton Rouge        LA           70809
  7023172   BLUEALLY TECHNOLOGIES SOLUTIONS, LL                             1255 CRESCENT GREEN    SUITE 300                                                    CARY               NC           27518
                                                                            16343 COLLECTIONS
  7616948 BMA NORTHWEST SHREVEPORT ACUTE                                    CENTER DR.                                                                          CHICAGO            IL           60693
                                                                            16343 COLLCTION CENTER
  7616949 BMA OF BATON ROUGE ACUTES                                         DR.                                                                                 CHICAGO            IL           60693
  7616951 BMI GENERAL LICENSING                                             PO BOX 630893                                                                       CINCINNATI         OH           45263
          BOARD OF SUPERVISORS OF LOUISIANA STATE
          UNIVERSITY AND AGRICULTURAL AND MECHANICAL                        104B University
  7616954 COLLEGE                                                           Administration Bldg.       3810 W. Lakeshore Dr                                     Baton Rouge        LA           70808
  7616962 BOSTON SCIENTIFIC                                                 PO BOX 951653                                                                       DALLAS             TX           75395
  7616960 BOSTON SCIENTIFIC CORPORATION                                     PO BOX 951653                                                                       DALLAS             TX           75395
  7289352 Boston Scientific Corporation                                     c/o Steven D Sass LLC      PO Box 45                                                Clarksville        MD           21029
            Bradford Capital Holdings, LP as Transferee of Pivotal Tax      c/o Bradford Capital
 11511703   Solutions                                                       Management, LLC            Attn: Brian Brager            PO Box 4353                Clifton            NJ           07012
  7024847   BROOKS, JAMES                                                   ADDRESS ON FILE
  7822901   Brown, Doris                                                    ADDRESS ON FILE
  7830751   Brown, James F.                                                 ADDRESS ON FILE



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                                                                         1000 WILSHIRE
  7616980 BUCHALTER NEMER                                                BOULEVARD                    SUITE 1500                                            LOS ANGELES       CA           90017
                                                                         1000 Wilshire Blvd., Suite
  7224815 Buchalter, A Professional Corporation                          1500                                                                               Los Angeles       CA           90017
  7023316 CADDO PARISH SHERIFFS OFFICE                                   P.O. BOX 20905                                                                     SHREVEPORT        LA           71120-0905
                                                                         Law Offices of Marks &                                  4221 Wilshire Boulevard,
  7821239 California Medical Response, Inc.                              Acalin LLP                   Attn: R.A. Marks           Suite 330                  Los Angeles       CA           90010

  7048729 California Physicians' Service dba Blue Shield of California   50 Beale Street, 22nd Floor                                                        San Francisco     CA           94105
  7617010 CALMET SERVICES INC                                            PO BOX 227                                                                         PARAMOUNT         CA           90723
                                                                         14904 COLLECTIONS
  7617013 CANON FINANCIAL SERVICES INC                                   CENTER DRIVE                                                                       CHICAGO           IL           60693
                                                                         15004 COLLECTIONS
  7023197 CANON SOLUTIONS AMERICA, INC.                                  CENTER DRIVE                                                                       CHICAGO           IL           60693
  7024020 CAPE CORAL HOSPITAL                                            636 DEL PRADO BLVD                                                                 CAPE CORAL        FL           33990
                                                                         Debra A. Willet & Assoc.
  7586120 Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.       General Counsel             7000 Cardinal Place                                    Dublin            OH           43017


                                                                                                      Vice President and
  7831022 Cardinal Health 200 LLC                                        Attn: Debra Willet           Associate General Counsel 7000 Cardinal Place         Dublin            OH           43017
                                                                                                      VP & Assoc. General
  7829669   Cardinal Health 200, LLC                                     Debra A. Willet              Counsel                   7000 Cardinal Place         Dublin            OH           43017
  7023162   CARDINAL HEALTH PHARMA                                       7000 CARDINAL PLACE                                                                DUBLIN            OH           43017
  7024159   CARDINAL HEALTH/PHARMACY                                     21377 NETWORK PLACE                                                                CHICAGO           IL           60673
  7617033   CARDIOVASCULAR PLUS, INC.                                    18700 NEWMAN AVE                                                                   RIVERSIDE         CA           92508
                                                                         14624 SHERMAN WAY
  7049539 CARDIOVASCULAR SPECIALTIES                                     #406                                                                               VAN NUYS          CA           91405
                                                                                                      14624 SHERMAN WAY
  7617034 CARDIOVASCULAR SPECIALTIES II                                  CARDIAC DEPARTMENT           SUITE 406                                             VAN NUYS          CA           91405
  7617035 CARE AMBULANCE SERVICE, INC.                                   PO BOX 31001 2183                                                                  PASADENA          CA           91110-2183
  7617038 CAREER STRATEGIES TEMPORARY INC                                719 N. VICTORY BLVD                                                                BURBANK           CA           91502
                                                                         13047 COLLECTION
  7023155 CAREERBUILDER LLC                                              CENTER DR.                                                                         CHICAGO           IL           60693

  7821528 Carefusion 211 Inc                                             26125 N Riverwoods Blvd                                                            Mettawa           IL           60045
  7821382 Carefusion 211, Inc                                            26125 N Riverwoods                                                                 Mettawa           IL           60045

  7821411 Carefusion 211, Inc.                                           26125 N Riverwoods Blvd                                                            Mettawa           IL           60045
  7037286 CAREFUSION 211, INC.                                           ATTN: AUDREY SPENCER         88253 EXPEDITE WAY                                    CHICAGO           IL           60695

  7821420 Carefusion 211,Inc.                                            26125 N Riverwoods Blvd.                                                           Mettawa           IL           60045
  7683944 CAREFUSION SOLUTIONS LLC.                                      25082 NETWORK PLACE                                                                CHICAGO           IL           60673-1250
  7617043 CAREFUSION SOLUTIONS, LLC                                      25082 NETWORK PLACE                                                                CHICAGO           IL           60673-1250

  7821470 Carefusion, 211 Inc.                                           26125 N Riverwoods Blvd.                                                           Mettawa           IL           60045
                                                                         Kevin L. Sink, Chapter 11
  7044871 Carol Lloyd, Inc.                                              Trustee                   PO Box 18237                                             Raleigh           NC           27619
          CASH ACCELERATION SOLUTIONS FOR HEALTHCARE,
  7617062 LLC                                                            3950 VIA DOLCE               APT# 510                                              MARINA DEL RAY    CA           90292
  7034565 CASH ACCELERATION SOLUTIONS HEALTHCARE                         13953 PANAY WAY              C 325                                                 MARINA DEL REY    CA           90292
  7617065 CAYENNE MEDICAL                                                16597 N. 92ND STREET                                                               SCOTTSDALE        AZ           86280




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  7041679 CDW Direct, LLC                                    Attn: Vida Krug             200 N. Milwaukee Ave                                  Vernon Hills         IL           60061
  7023289 CDW GOVERNMENT, INC.                               75 REMITTANCE DRIVE         SUITE 1515                                            CHICAGO              IL           60675
  7617275 CENTER FOR IMPROVEMENT IN                          P.O. BOX 848                                                                      ROUND ROCK           TX           78680

  7617277   CENTERS FOR MEDICARE & MEDICAID SERVICES (CMS)   900 42ND ST S                                                                     FARGO                ND           58103
  7617079   CENTINEL SPINE, INC.                             900 AIRPORT ROAD            SUITE 3B                                              WEST CHESTER         PA           19380
  7023882   CENTRAL ADMIXTURE PHARMACY SERVICES              P.O. BOX 780404                                                                   PHILADELPHIA         PA           19178-0404
  7683855   CENTRAL FL. ANESTHESIA PROVIDERS, LLC            PO BOX 4473                                                                       OCALA                FL           34478-4473
  7617082   CENTRAL FLORIDA HEALTH ALLIANCE                  ALLIANCE LABS, LLC          P.O. BOX 733043                                       DALLAS               TX           75373
                                                             Attn: Chief Executive
  7584369 Central Health Plan of California, Inc             Officer                     1540 Bridgegate Drive                                 Diamond Bar          CA           91765
                                                             3311 East Old Shakopee
  7226816 Ceridian HCM, Inc                                  Rd.                                                                               Minneapolis          MN           55425
  7617099 CERTIFIED NURSING REGISTRY, INC                    2707 E. VALLEY BLVD         SUITE 309                                             WEST COVINA          CA           91792
                                                             Law Offices of Charles G.   15303 Ventura Blvd., #
  7731434 Certified Nursing Registry, Inc.                   Smith, APC                  1650                                                  Sherman Oaks         CA           91403-6620
  7617100 CERTIPAY AMERICA, LLC                              130 BATES AVENUE            SUITE 101                                             WINTER HAVEN         FL           33880
                                                                                         5995 Windward Parkway,
  7023392 Change Healthcare Technologies, LLC                AR Dept                     MSTP 4901                                             Alpharetta           GA           30005
  7617103 CHANGE HEALTHCARE TECHNOLOGIES, LLC                PO BOX 98347                                                                      CHICAGO              IL           60693-8347


                                                                                         c/o Chase Transcriptions,   Attn: Todd Atkinson, Esq.
  7729125 Chase Transcriptions, Inc.                         Ulmer & Berne LLP           Inc.                        1660 W.2nd St., Suite 1100 Cleveland           OH           44113

  7617108 CHASE TRANSCRIPTIONS, INC.                         1737 GEORGETOWN ROAD SUITE G                                                      HUDSON               OH           44236
                                                                                  2750 East Cottonwood
  7632337 CHG Medical Staffing, Inc. d/b/a RN Network        Michael C. Barnhill  Parkway, Suite 560                                           Cottonwood Heights   UT           84121

  7617117 CHOICE CLINICAL LAB, LLC                           2329 WEST PARKER ROAD                                                             CARROLLTON           TX           75010
  7617118 CHOPRA IMAGING CENTERS, INC.                       P.O. BOX 4356               DEPT. #1600-2                                         HOUSTON              TX           77210
  7617123 CHRISTUS SCHUMPERT                                 PO BOX 66                                                                         SHREVEPORT           LA           71104-0066
                                                             Marylou Kilian Rice,        900 Cottage Grove Road,
  7670732 Cigna Health and Life Insurance Company            Compliance Specialist       B6LPA                                                 Hartford             CT           06152
  7617127 CIGNA HEALTHCARE                                   2700 POST OAK BLVD          SUITE 600                                             Houston              TX           77056
                                                             Marylou Kilian Rice,        900 Cottage Grove Road,
  7670697 Cigna HealthCare of Florida, Inc.                  Compliance Specialist       B6LPA                                                 Hartford             CT           06152
  7023060 CITY NATIONAL BANK                                 1450 BRICKELL AVE                                                                 MIAMI                FL           33131
  7024029 CITY OF FORT MYERS                                 P.O. BOX 30185                                                                    TAMPA                FL           33630-3185

  7617143 CITY OF LOS ANGELES BUSINESS TAX                   200 NORTH MAIN STREET       ROOM 920 CITY HALL EAST                               LOS ANGELES          CA           90012
                                                             LOS ANGELES CITY            200 N. MAIN STREET, STE.
  7036872   CITY OF LOS ANGELES, OFFICE OF FINANCE           ATTORNEY'S OFFICE           920                                                   LOS ANGELES          CA           90012
  7617146   CITY OF MESA                                     PO BOX 1878                                                                       MESA                 AZ           85211
  7024423   CITY OF PARAMOUNT                                16400 COLORADO AVE                                                                PARAMOUNT            CA           90723
  7617150   CITY OF SHREVEPORT                               PO BOX 30065                                                                      SHREVEPORT           LA           71153
  7826424   Clafin Medical Equipment                         1206 Jefferson Blvd.                                                              Warwick              RI           02886
  7617157   CLAFLIN MEDICAL EQUIPMENT                        PO BOX 6887                                                                       WARWICK              RI           02887
  7617163   CLEVERBRIDGE, INC                                350 N Clark St              #700                                                  Chicago              IL           60654
                                                             19572 ELDERWOOD
  7586478 COASTLINE ANESTHESIA & PAIN                        CIRCLE                                                                            HUNTINGTON BEACH     CA           92648

  7199897 COASTLINE ANESTHESIA AND PAIN MEDICAL GROUP INC c/o GUY R BAYLEY               547 S MARENGO AVE                                     PASADENA             CA           91101



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MML ID                                     NAME                                   ADDRESS 1                  ADDRESS 2                          ADDRESS 3                   CITY         STATE            ZIP   COUNTRY
                                                                           Cole, Scott & Kissane      9150 South Dadeland
  7617182 COLE, SCOTT & KISSANE, P.A.                                      Building                   Boulevard                      Suite 1400                 Miami               FL           33156
  7023455 COLLEGE OF AMERICAN PATHOLOGISTS                                 325 WAUKEGAN ROAD                                                                    NORTHFIELD          IL           60093
  7617186 COLMED COLLECTION SVCS, LLC.                                     PO BOX 2135                                                                          CHANDLER            AZ           85244
          Concentric Healthcare Solutions d/b/a Concentric Healthcare                                                                702 E. Osborn Rd., Suite
  7191893 Staffing                                                         Burch & Cracchiolo, P.A.   Alan A. Meda, Esq.             200                        Phoenix             AZ           85014
                                                                           4250 NORTH DRINKWATER
  7023765 CONCENTRIC HEALTHCARE SOLUTIONS LLC                              BLVD                       SUITE 100                                                 SCOTTSDALE          AZ           85251
                                                                           Marylou Kilian Rice,       900 Cottage Grove Road,
  7670719 Connecticut General Life Insurance Company                       Compliance Specialist      B6LPA                                                     Hartford            CT           06152
  7023667 CONSULMED MEDICAL BILLING AND                                    596 W 750 S                SUITE 300                                                 BOUNTIFUL           UT           84010

  7024396 CONTINUUM MEDICAL ASSOC                                          3315 OCEANFRONT WALK                                                                 MARINA DEL REY      CA           90292
                                                                                                      411 West Putnam Ave.,
  8870726 Contrarian Funds, LLC as Transferee of Ambu Inc                  Attn: Alisa Mumola         Suite 425                                                 Greenwich           CT           06830
          Contrarian Funds, LLC as Transferee of Atlantic Personnel &                                 411 West Putnam Ave.,
  8296854 Tenant Screening, Inc.                                           Attn: Alisa Mumola         Suite 425                                                 Greenwich           CT           06830
                                                                                                      411 West Putnam Ave.,
  8313996 Contrarian Funds, LLC as Transferee of First Class Nurses, Inc Attn: Alisa Mumola           Suite 425                                                 Greenwich           CT           06830
                                                                                                      411 West Putnam Ave.,
  8313465 Contrarian Funds, LLC as Transferee of Intermark Group Inc       Attn: Alisa Mumola         Suite 425                                                 Greenwich           CT           06830
          Contrarian Funds, LLC as Transferee of Medical Specialties,                                 411 West Putnam Ave.,
  8313995 Inc                                                              Attn: Alisa Mumola         Suite 425                                                 Greenwich           CT           06830
          Contrarian Funds, LLC as Transferee of Precision Refrigeration                              411 West Putnam Ave.,
  8314030 & Air Conditioning, Inc.                                       Attn: Alisa Mumola           Suite 425                                                 Greenwich           CT           06830
                                                                                                      411 West Putnam Ave,
  8770798 Contrarian Funds, LLC as Transferee of Southwest Patrol, Inc. Attn: Alisa Mumola            Suite 425                                                 Greenwich           CT           06830
          Contrarian Funds, LLC as Transferee of Wilke, Fleury, Hoffelt,                              411 West Putnam Ave.,
  8314033 Gould & Birney LLP                                               Attn: Alisa Mumola         Suite 425                                                 Greenwich           CT           06830
  7683887 COOK MEDICAL INC                                                 22988 NETWORK PLACE                                                                  CHICAGO             IL           60673-1229
  7024473 CORE MEDSTAFF                                                    3946 WILSHIRE BLVD.                                                                  LOS ANGELES         CA           90010
                                                                           38505 COUNTRY CLUB
  7617229 CORETEK, INC.                                                    DRIVE                      SUITE 210                                                 FARMINGTON HILLS    MI           48331
                                                                           c/o Madeline Weissman,     633 W. 5th Street, Suite
  7294487 County Sanitation District No. 2 of Los Angeles County           Esq.                       4000                                                      Los Angeles         CA           90071
                                                                                                      1955 WORKMAN MILL
  7617243 COUNTY SANITATION DISTRICTS OF LA COUNTY                         ATTN: SHARIE L. PIKE       ROAD                                                      WHITTIER            CA           90601
                                                                           11250 OLD SAINT
  7617244 COVENANT SOFTWARE CONSULTING, INC                                AUGUSTINE ROAD             SUITE. 15223                                              JACKSONVILLE        FL           32257
  7617246 COVENTRY HEALTH CARE OF KANSAS                                   PO BOX 951920                                                                        DALLAS              TX           75395
  7229185 Cowen, MaryAnn                                                   ADDRESS ON FILE
                                                                           3445 N. CAUSEWAY
  7617253 CPP WOUND CARE, LLC                                              BOULEVARD                  SUITE 600                                                 METAIRIE            LA           70002
  7042022 CPT Group, Inc.                                                  50 Corporate Park                                                                    Irvine              CA           92606
                                                                           PMB 199, 25422 TRABUCO
  7617258 CREATIVE GARDENING                                               ROAD                       #105                                                      LAKE FOREST         CA           92630
  7023262 CREDIT VALUE PARTNERS, LP                                        49 W. PUTNAM AVENUE                                                                  GREENWICH           CT           06830
 11511551 CRG Financial LLC as Transferee of Century Construction          Attn: Robert Axenrod       100 Union Avenue                                          Cresskill           NJ           07626
          CRG Financial LLC as Transferee of nThrive Solutions, Inc.
  8802920 aka nThrive Revenue Systems, LLC                                 Attn: Allison Axenrod      100 Union Ave                                             Cresskill           NJ           07626

  9307660 CRG Financial LLC as Transferee of Woundkair Concepts, Inc Attn: Allison R. Axenrod         100 Union Ave                                             Cresskill           NJ           07626




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  7617267   CROSS COUNTRY STAFFING, INC                                 PO BOX 840292                                                                         DALLAS              TX           75284
  7617268   CROWE, LLP                                                  PO BOX 71570                                                                          CHICAGO             IL           60694-1570
  7611688   Crown Meat & Provisions Co, Inc.                            599 Williams Rd                                                                       Palm Springs        CA           92264
  7617269   CROWN MEAT & PROVISIONS, INC                                599 S. WILLIAMS ROAD                                                                  PALM SPRINGS        CA           92264-1550
                                                                        201 ST CHARLES ST STE. #
  7070032 CROWN PHARMACEUTICALS                                         114-373                                                                               NEW ORLEANS         LA           70170
                                                                        201 St Charles Ave Ste. #
  7036884 Crown Pharmaceuticals, Inc.                                   114-373                                                                               New Orleans         LA           70170
                                                                        28 Liberty Street, 42nd
  7826121 CT Lien Solutions                                             Floor                                                                                 New York            NY           10005
  7077628 Cure Staffing, LLC                                            7000 N. Mopac                 Suite 200                                               Austin              TX           78731

  7023705 CUSTOM MEDICAL SOLUTIONS                                      7100 NORTHLAND CIRCLE         SUITE 410                                               MINNEAPOLIS         MN           55428
            Dallas County Hospital District d/b/a Parkland Health &     Attn: Steven J. Roth, Exec.
  7703983   Hospital System                                             VP & Gen. Counsel             Legal Affairs Dept.         5200 Harry Hines Blvd.      Dallas              TX           75235
  7615803   DALLAS MEDICAL CENTER                                       7 MEDICAL PARKWAY                                                                     DALLAS              TX           75234
  7683946   DANIELS SHARPSMART INC                                      P.O. BOX 7697                                                                         CAROL STREAM        IL           60197-7697
  7049977   Daniels Sharpsmart, Inc                                     111 W. Jackson Blvd           Suite 1900                                              Chicago             IL           60604
  7615810   DANIELS SHARPSMART, INC                                     P.O. BOX 7697                                                                         CAROL STREAM        IL           60197-7697
  7024321   DARWIN SELECT INSURANCE COMPANY                             1690 NEW BRITAIN AVE          STE A                                                   FARMINGTON          CT           06032
  7615820   DAT NGUYEN, M.D.                                            3575 EUCLID AVENUE            #100                                                    SAN DIEGO           CA           92105
  7024110   DAVID RIKER, MD INC.                                        3040 BRANT ST.                                                                        SAN DIEGO           CA           92103
  7024591   DAVITA                                                      P.O. BOX 781607                                                                       PHILADELPHIA        PA           19178-1607
  7027058   DAY, MILTON BRYAN                                           ADDRESS ON FILE
  7626302   DeGoler's, Inc.                                             111 Oak Street                                                                        Bonner Springs      KS           66012
                                                                        Missouri Department of                                    301 W. High Street, Room
  7002346 Department of Revenue                                         Revenue                       Sheryl L. Moreau            670 PO Box 475              Jefferson City      MO           65105-0475
  7046154 Department of the Treasury - Internal Revenue Service         PO Box 7346                                                                           Philadelphia        PA           19101-7346
  7831520 Department of Water and Power, City of Los Angeles            Attn: Bankruptcy              PO Box 51111                                            Los Angeles         CA           90051-5700

  7080770 Dharma Medical Imaging                                        Santosh Sankepally Reddy      12331 Palm St                                           Cerritos            CA           90703
  7024409 DHARMA MEDICAL IMAGING                                        13742 ALDERTON LANE                                                                   CERRITOS            CA           90703
  7615876 DIAGNOSTIC LABORATORIES & RADIOLOGY                           2820 N. Ontario Street                                                                Burbank             CA           91504
                                                                        28100 Challenger Blvd
  7193443 Diagnostic Mobile X-ray, Inc                                  #112                                                                                  Punta Gorda         FL           33982
  7615879 DIALYSIS CLINIC, INC                                          1633 CHURCH STREET            SUITE 500                                               NASHVILLE           TN           37203
                                                                        Bradley Arant Boult                                       1600 Division Street, Suite
  7828796 Dialysis Clinic, Inc.                                         Cummings, LLP                 Attn: Austin L. McMullen    700                         Nashville           TN           37203
  7615894 DIVISION OF MEDICAID                                          550 HIGH STREET               SUITE 1000                                              JACKSON             MS           39201
  7024064 DM SYSTEMS, INC.                                              4 MILBURN PARK                                                                        EVANSTON            IL           60201-1744

  7024375   Doctors Infection Control Services, Inc.                    c/o Barness & Barness LLP 13636 Ventura Blvd.                                         Los Angeles         CA           91423
  7615904   DOMA TECHNOLOGIES LLC                                       841 SEAHAWK CIRCLE                                                                    VIRGINIA BEACH      VA           23452
  7191449   DOMA Technologies, LLC                                      Attn: Accounting          841 Seahawk Circle                                          Virginia Beach      VA           23452
  7024595   DTG MEDICAL ELECTRONICS, INC.                               19961 W 162ND ST                                                                      OLATHE              KS           66062
  7055520   Dunn, Brian E.                                              ADDRESS ON FILE
  7055530   Dunn, Brian E.                                              ADDRESS ON FILE
                                                                        16415 COLORADO AVE.
  7615919 DUSK TO DAWN URGENT CARE                                      SUITE #307                                                                            PARAMOUNT           CA           90723
  7615921 DYE LAW FIRM PA                                               PO BOX 4148                                                                           TALLAHASSEE         FL           32315
  7615924 DYNAMIC INFUSION THERAPY, INC                                 5156 Village Creek Dr.    Ste 102                                                     Plano               TX           75093-4463




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  7046020 Dynamic Infusion Therapy, Inc.                          5156 Village Creek Drive       Suite 102                                               Plano               TX           75093-4463
  7615930 EARTHLINK BUSINESS                                      POB 2252                                                                               BIRMINGHAM          AL           35246
  7615932 EAST BATON ROUGE MED CNTR - RENT                        DEPT 3527                      PO BOX 123527                                           DALLAS              TX           75312
                                                                  17000 MEDICAL CENTER
  7024293 EAST BATON ROUGE MED. CNTR-ANC SVCS                     DRIVE                                                                                  BATON ROUGE         LA           70816
                                                                                                                               201 St. Charles Avenue,
  7826239 East Baton Rouge Medical Center, LLC                    Jones Walker                   Attn: Mark Mintz              49th FL                   New Orleans         LA           70170
                                                                  Mobile Ultrasound
  7043622 Edger Associates, Inc.                                  Services, Inc.                 720 East Fletcher Ave.    Suite 101                     Tampa               FL           33612
                                                                  Alexandre I. Cornelius, Esq.   1299 Ocean Avenue, Suite
  7038063   Efficient Management Resource Systems, Inc.           (CA SBN# 180652)               450                                                     Santa Monica        CA           90401
  7615953   EFRONT FINANCIAL SOLUTIONS INC                        55 E 52ND ST                   #83MT                                                   NEW YORK            NY           10055-0023
  7044773   eFront Financial Solutions, Inc.                      Attn: Neil Patel               300 Washington Street     Suite 507                     Newton              MA           02458
  7037687   EISNER JAFFE, A PROFESSIONAL COMPANY                  9601 WILSHIRE BLVD.            SUITE 700                                               BEVERLY HILLS       CA           90210
                                                                                                 633 W. Fifth Street, 26th
  7079455 Eisner, A Professional Corporation                      Damian D. Capozzola            Floor                                                   Los Angeles         CA           90071
  7615959 ELITE ALLIANCE MEDICAL SERVICES INC                     15828 S BROADWAY               UNIT C                                                  GARDENA             CA           90248

  7670740 Elite Health Solutions LLC                              7591 Fern Ave. Suite 1602                                                              Shreveport          LA           71105

  7723354 Elite Medical Staffing, LLC                             Raymond C. Carr, Esq.          625 Court Street, Suite 200                             Clearwater          FL           33756
  7615963 ELSEVIER, INC                                           11011 RICHMOND AVE             SUITE 450                                               HOUSTON             TX           77042
  7615971 EMERALD HEALTH SERVICES                                 DEPARTMENT 6221                                                                        LOS ANGELES         CA           90084

  7037709 EMPLOYMENT DEVELOPMENT DEPARTMENT                       Bankruptcy Group MIC 92E P.O. BOX 826880                                               SACRAMENTO          CA           94280
  7036904 EMPLOYMENT DEVELOPMENT DEPT 290-4193-6                  PO. BOX 989061                                                                         WEST SACRAMENTO     CA           95798
                                                                                                                               1201 N. Market Street,
  7472813   Employment Screening Associates                       Burr & Forman LLP     Richard A. Robinson                    Suite 1407                Wilmington          DE           19801
  7036906   ENBIO, CORP                                           150 EAST OLIVE AVENUE SUITE 212                                                        BURBANK             CA           91502
  7023825   ENBIO, CORP/BINOVIA                                   150 EAST OLIVE AVENUE SUITE 212                                                        BURBANK             CA           91502
  7023592   ENGLAND, MD, LESLIE E                                 ADDRESS ON FILE
                                                                  1420 W MOCKINGBIRD LN
  7024618 ENTERPRISE STAFFING AGENCY                              STE 575                                                                                DALLAS              TX           75247-6972

  7037122 ESP PERSONNEL                                           72-877 DINAH SHORE DR. SUITE 103 #232                                                  RANCHO MIRAGE       CA           92270
                                                                  Law Office of Gia Kosmitis,
  7589488 Estate of Terry Babin                                   APLC                        3316 Line Avenue                                           Shreveport          LA           71104

  7589337 Euler Hermes N.A as Agent for OneStaff Medical, LLC     800 Red Brook Blvd, #400C                                                              Owings Mills        MD           21117
                                                                                                 55 EAST 52ND STREET,
  7038084 EVERCORE TRUST COMPANY, N.A.                            RUTH CALAMAN                   23RD FLOOR                                              NEW YORK            NY           10055

  7081366   Express Ambulance                                     Grant Mercantile Agency        PO Box 658                                              Oakhurst            CA           93644
  7048755   Express Recovery Services, Inc.                       PO Box 26415                                                                           Salt Lake City      UT           84126
  7023501   FAIRBURN MEDICAL PRODUCTS, LLC                        8533 REDWOOD LANE                                                                      HELENA              AL           35022
  7616028   FALCK SOUTHEAST II, CORP.                             PO BOX 538598                                                                          ATLANTA             GA           30353
  7583584   FAVORITE HEALTHCARE STAFFING, INC.                    P.O. BOX 26225                                                                         OVERLAND PARK       KS           66225
  7616043   FIGUEROA LANDSCAPING                                  303 47TH ST.                   SPC B22                                                 SAN DIEGO           CA           92102
  7616054   FIRST DATA BANK                                       500 EAST 96TH STREET           SUITE 500                                               INDIANAPOLIS        IN           46240

  7075283 First Databank, Inc.                                    500 E. 96th Street, Ste 500                                                            Indianapolis        IN           46240




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  7023966 FIRSTPATH                                                     STACEY FERNANDEZ              3141 W MCNAB RD                                       POMPANO BEACH     FL           33069
  7616058 FIRSTPATH LABORATORY SERVICES LLC                             3141 W MCNAB ROAD                                                                   POMPANO BEACH     FL           33069
                                                                        999 VETERANS MEMORIAL
  7616065 FISHER HEALTHCARE                                             DR.                                                                                 HOUSTON           TX           77038
  7616069 FLEMING AOD INC                                               816 THAYER AVE                FLOOR 3                                               SILVER SPRING     MD           20910
  7616070 FLEXCARE MEDICAL STAFFING                                     990 RESERVE DRIVE             SUITE 250                                             ROSEVILLE         CA           95678
                                                                        c/o Jason Rios, Felderstein   400 Capitol Mall, Suite
  7830375   Flexcare, LLC                                               et al.                        1750                                                  Sacramento        CA           95814
  7616072   FLEXENTIAL CORP.                                            P.O. BOX 530619                                                                     ATLANTA           GA           30353-0619
  7616079   FLORIDA LINEN SERVICES, LLC                                 1407 SW. 8TH STREET                                                                 POMPANO BEACH     FL           33069
  7027737   FLOWERS, SHENITHA                                           ADDRESS ON FILE
  7586083   FMG Leading                                                 Attn: General Counsel         P.O. Box 13313                                        Newport Beach     CA           92658
                                                                                                      2 SOUTH BISCAYNE BLVD.
  7616080 FOLEY & LARDNER LLP                                           ONE BISCAYNE TOWER            SUITE 19                                              MIAMI             FL           33131
                                                                        70 JESSE DUPONT
  7616082   FOOD MANAGEMENT GROUP, INC                                  MEMORIAL HWY                                                                        BURGESS           VA           22432
  7616089   FOSTER MOBLEY GROUP, INC                                    P.O. BOX 13313                                                                      NEWPORT BEACH     CA           92658
  7023952   FPL                                                         GENERAL MAIL FACILITY                                                               MIAMI             FL           33188
  7616096   FRANCISCAN MISSIONARIES                                     HEALTH SYSTEM, INC            4200 ESSEN LANE                                       BATON ROUGE       LA           70809
  7037285   FREEDOM MEDICAL, INC                                        219 WELSH POOL RD                                                                   EXTON             PA           19341
  7616104   FREEDOM MEDICAL, INC.                                       P.O. BOX 822704                                                                     PHILADELPHIA      PA           19182-2704
                                                                        16343 COLLECTION
  7616107 FRESENIUS BIO-MEDICAL                                         CENTER DR                                                                           CHICAGO           IL           60693
  7616109 FRESENIUS MEDICAL CARE NORTH AMERICA                          920 Winter St                                                                       Waltham           MA           02451


            Fresenius Medical Care Wichita Falls, LLC d/b/a Fresenius   c/o Fresenius Medical Care    Attn: Russell P. Plato,
  7077927   Care North Texas                                            North America                 Assistant General Counsel 920 Winter Street           Waltham           MA           02451
  7821195   Fukuda Denshi USA, Inc.                                     Fox Rothschild LLP            Attn: Robert Amkraut      1001 4th Ave. Suite 4500    Seattle           WA           98154
  7616116   FUTURE HEALTH CONCEPTS INC                                  1211 E. 30TH STREET                                                                 SANFORD           FL           32773
  7027845   GAINES, DELORES                                             ADDRESS ON FILE
  7027867   GALVEZ, MARIBELLE P.                                        ADDRESS ON FILE
  7616123   GARY GOFF, MD, PA                                           8440 WALNUT HILL              SUITE 420                                             DALLAS            TX           75231
  7616136   GE HEALTHCARE                                               PO BOX 641936                                                                       PITTSBURGH        PA           15264
                                                                        c/o Stephanie F. Gilley,      25 Whitney Drive, Suite
  7074805 GE Healthcare OEC                                             Authorized Agent              106                                                   Milford           OH           45150
                                                                        c/o Stephanie F. Gilley,      25 Whitney Drive, Suite
  7816917   GE Precision Healthcare LLC                                 Authorized Agent              106                                                   Milford           OH           45150
  7024678   GEHA, M.D., DANIEL J                                        ADDRESS ON FILE
  7616148   GEORGE GILLIGAN, MD., PA.                                   1513 BONHAM COURT                                                                   IRVING            TX           75038
  7616150   GERRY SAN PEDRO, MD                                         401 TEALWOOD DR.                                                                    BOSSIER CITY      LA           71111

  7616157 GIROUX GLASS, INC.                                            850 WASHINGTON BLVD.          SUITE 200                                             LOS ANGELES       CA           90015
                                                                        13520 MEGANWOOD
  7616166   GLOBAL NEURODIAGNOSTICS                                     PLACE                                                                               LA MIRADA         CA           90638
  7616171   GNYANDEV S. PATEL                                           1045 EAST ANAHEIM ST                                                                LONG BEACH        CA           90813
  7616172   GOLD CROSS AMBULANCE                                        1717 S REDWOOD RD                                                                   SLC               UT           84104
  7616174   GOLDEN STATE WATER COMPANY                                  PO BOX 9016                                                                         SAN DIMAS         CA           91773
  7830172   Grabish, Stanley                                            ADDRESS ON FILE
  7035112   GRAINGER, INC.                                              DEPT 440 - 851573410                                                                PALATINE          IL           60038
                                                                        301 E PINE STREET STE
  7616184 GRAY ROBINSON                                                 1400                          PO BOX 3068                                           ORLANDO           FL           32802




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MML ID                                    NAME                              ADDRESS 1                    ADDRESS 2                       ADDRESS 3                  CITY           STATE            ZIP        COUNTRY
                                                                     301 E. Pine Street, Suite
  7289387 Gray Robinson Attorneys at Law                             1400                                                                                 Orlando             FL           32801
                                                                                                2500 N. Military Trail, Suite
  7038052 Greenberg & Strelitz, P.A.                                 Attn: Jeffrey L. Greenberg 235                                                       Boca Raton          FL           33431
                                                                     2500 NORTH MILITARY
  7616189 GREENBERG & STRELITZ, P.A.                                 TRAIL STE 235                                                                        BOCA RATON          FL           33431

  7198230 Gregory FX Daly, Collector of Revenue                      1200 Market St., Room 410                                                            St. Louis           MO           63103
  7616192 GRIFF'S ELECTRIC, INC                                      1403 E 28TH ST.                                                                      SIGNAL HILL         CA           90755
                                                                     8695 SPECTRUM CENTER
  7616196 GROSSMONT HOSPITAL - SHARP                                 CRT                                                                                  SAN DIEGO           CA           92123
            GROSVENOR TRUST COMPANY LIMITED AS TRUSTEE OF                                        65 FRONT STREET,
  7037432   JACQUES TRUST                                            ALFREDA ROCHESTER           SECOND FLOOR                                             HAMILTON                         HM12           BERMUDA
  7615394   GUY'S FLOORS, LLC                                        1701 KEMP BLVD.                                                                      WICHITA FALLS       TX           76309
  7035159   HARBOR POINTE A/C CONTROLS (DC)                          720 Richfield Rd                                                                     Placentia           CA           92870-6760
            HARBOR POINTE AIR CONDITIONING & CONTROL
  7615401   SYSTEMS, INC                                             720 S. RICHFIELD RD.                                                                 PLACENTIA           CA           92630

  7071622 Harbor Pointe Air Conditioning & Control Systems, Inc.     Attn: Hallie D. Hannah, Esq. 100 Pacifica, Suite 370                                 Irvine              CA           92618
  7023229 HCS                                                        P.O. BOX 2430                                                                        FARMINGDALE         NJ           07727
                                                                                                  65 FRONT STREET,
  7037433 HEADINGLEY HOLDINGS, LTD.                                  ALFREDA ROCHESTER            SECOND FLOOR                                            HAMILTON                         HM12           BERMUDA
  7615421 HEALTH CARE RECOVERIES                                     9390 Bunsen Parkway                                                                  Louisville          KY           40220
  7049597 Health Care Software, Inc.                                 Attn: Karen Janiszewski      PO Box 2430                                             Farmingdale         NJ           07727
                                                                     c/o Katten Muchin                                          515 South Flower Street
  7823716   Health Net of California, Inc.                           Rosenman LLP                 Attn: William B. Freeman      Suite 1000                Los Angeles         CA           90071
  7024671   HEALTH SPECIALISTS, INC.                                 12345 95TH ST.               SUITE 215                                               LENEXA              KS           66214
  7615420   HEALTHCARE PROS, INC.                                    P.O. BOX 79632                                                                       CITY OF INDUSTRY    CA           91716
  7035182   HEALTHCARE PROS, INC.                                    10833 VALLEY VIEW            SUITE 525                                               CYPRESS             CA           90630
  7615422   HEALTHCARE SERVICES CORP                                 PO BOX 731431                                                                        DALLAS              TX           75373
  7023784   HEALTHCARE SERVICES GROUP, INC.                          PATRICK J. ORR               3220 TILLMAN DRIVE            STE 300                   BENSALEM TOWNSHIP   PA           19020
  7615423   HEALTHCARE SERVICES GRP, INC                             3220 TILLMAN DRIVE           SUITE 300                                               BENSALEM            PA           19020

  7615435 HEALTHSTREAM, INC                                          209 10TH AVENUE SOUTH SUITE 450                                                      NASHVILLE           TN           37203
  7365857 Heb Ababa, et al (See Attached)                            ADDRESS ON FILE
                                                                     1200 MAIN STREET SUITE
  7036929 HELPMATES STAFFING SERVICES                                A                                                                                    IRVINE              CA           92614

  7615452 HERITAGE HEALTHCARE SERVICES INC                           1009 RESERVOIR AVENUE                                                                CRANSTON            RI           02910
                                                                                                                            Renaissance Center 405
                                                                                                 Kate Roggio Buck &         North King Street, Suite
  7121183 Heritage Healthcare Services, Inc.                         McCarter & English LLP      Matthew J. Rifino, Esquire 800                           Wilmington          DE           19801
  7040780 Heritage Healthcare Services, Inc.                         Attn: Lisa Dalton           1009 Reservoir Avenue                                    Cranston            RI           02910
                                                                     8142 SOLUTIONS CENTER
  7615464 HINSHAW & CULBERTSON, LLP                                  DRIVE                                                                                CHICAGO             IL           60677

  7615489 HOOMAN SEDIGHI, M.D.                                       1420 W. MOCKINGBIRD LN #420                                                          DALLAS              TX           75247

  7683718 HOOPER LUNDY & BOOKMAN INC                                 1875 CENTURY PARK EAST SUITE 1600                                                    LOS ANGELES         CA           90067-2799
  7071410 Hooper, Lundy & Bookman, P.C.                              1875 Century Park East Suite 1600                                                    Los Angeles         CA           90067-2517




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                                                          5575 RUFFIN ROAD, SUITE
  7615493   HOSPITAL ASSOCIATION OF SAN DIEGO             225                       ATTN: LISA SONTAG                                   SAN DIEGO           CA           92123
  7615497   HP, INC                                       11311 CHIDEN BLVD.        MS 305                                              BOISE               ID           83714-0021
  7615498   HSS SYSTEMS LLC                               PO BOX 550                                                                    NASHVILLE           TN           37202
  7614173   HUDSON HOLDINGS, INC., DBA PRESTON PHARMACY   2622 W CENTRAL AVE        SUITE 302                                           WICHITA             KS           67203
                                                                                    550 W. Van Buren Street,
  7023159   Huron Consulting Group Inc.                   Attn: H. Katz             17th Floor                                          Chicago             IL           60607
  7615506   HURON CONSULTING GROUP, INC                   ATTN: HOLLY KATZ          550 W. Van Buren Street                             Chicago             IL           60607
  7615510   IBM CORPORATION                               PO BOX 534151                                                                 ATLANTA             GA           30353
  7073993   IBM Credit LLC                                Attn: Marie-Josee Dube    275 Viger East                                      Montreal            QC           H2X 3R7         Canada
                                                          401 E. Las Olas Blvd, Ste
  7464406 ICare.Com Inc.                                  1400                                                                          Fort Lauderdale     FL           33301
  7615511 ICARE.COM, INC                                  401 E. LAS OLAS BLVD      SUITE 1400                                          FORT LAUDERDALE     FL           33301
  7028856 IGWE, NNEKA                                     ADDRESS ON FILE
                                                          5121 SOUTH
  7023633 IHC HEALTH SERVICES INC D/B/A                   COTTONWOOD STREET                                                             MURRAY              UT           84157
                                                          Snell & Wilmer LLP c/o    15 W. South Temple, Ste
  7829680 IHC Health Services, Inc.                       Timothy Dance             1200                                                Salt Lake City      UT           84101
  7023492 IMPACT NETWORK, LLC                             13636 HIGHLAND ROAD                                                           BATON ROUGE         LA           70810
                                                                                    Jay M. Simon, Attorney at   8480 Bluebonnet Blvd.
  7818913   Impact Network, LLC                           Jay M. Simon, A.P.L.C.    Law                         Suite G                 Baton Rouge         LA           70810
  7041697   Imprivata                                     Stephen Keisling          10 Maguire Road                                     Lexington           MA           02421
  7615526   IMPRIVATA, INC                                10 MAGUIRE ROAD           BUILDING 1, SUITE 125                               LEXINGTON           MA           02421
  7036936   IN SOO KIM, MD                                1711 W TEMPLE ST                                                              LOS ANGELES         CA           90026
  7615535   INNOVATIVE THERAPIES INC.                     12 MEEM AVE               SUITE C                                             GAITHERSBURG        MD           20877
  7045197   Instrumentation Laboratory                    180 Hartwell Road                                                             Bedford             MA           01730
  7048367 Integra Lifesciences                            311 Enterprise Dr.                                                            Plainsboro          NJ           08536
  7023312 INTEGRA LIFESCIENCES CORP                       P.O. BOX 404129                                                               ATLANTA             GA           30384-4129
  7023949 INTEGRATED REGIONAL LABORATORIES LL             5361 NW 33RD AVENUE                                                           FORT LAUDERDALE     FL           33309
                                                          100 SE 3rd Avenue, Suite
  7228509 Integrated Regional Laboratories, LLP           2700                                                                          Fort Lauderdale     FL           33394
  7615557 INTERMOUNTAIN HEALTHCARE, INC                   P.O. BOX 57703                                                                MURRAY              UT           84157-0703
  7615558 INTERMOUNTAIN IRONWORKERS                       PO BOX 30124                                                                  SALT LAKE CITY      UT           84130
  7023220 INTERNAL REVENUE SERVICE                        7850 SW 6 CT              MS 5180                                             PLANTATION          FL           33324
  7036939 INTERSTATE REHAB, LLC.                          333 E. GLENOAKS BLVD                                                          GLENDALE            CA           91207
  7615571 IRON MOUNTAIN, INC                              PO BOX 841709                                                                 DALLAS              TX           75284-1709
  7024342 ISHII ENGINEERING                               5252 ORANGE AVENUE        SUITE 104                                           CYPRESS             CA           90630

  7615583 IV ACCESS, INC                                  7089 CATALINA ISLE DRIVE                                                      LAKE WORTH          FL           33467
  7079655 IV Access, Inc.                                 799 NE 2nd Ave                                                                Delray Beach        FL           33444
                                                          5972 COLLECTIONS
  7615610 J & J HEALTH CARE SYSTEMS, INC.                 CENTER D                                                                      CHICAGO             IL           60693
  7024799 J.W. JOHNSON, O., PA                            P.O. BOX 277                                                                  OLNEY               TX           76374
  7615590 JACKSON LEWIS LLP                               P.O. BOX 416019                                                               BOSTON              MA           02241
  7615591 JACKSON LEWIS, P.C.                             PO BOX 416019                                                                 BOSTON              MA           02241

  7615592 JAGAN N. BANSAL M.D.                            5540 N FIGUEROA STREET                                                        LOS ANGELES         CA           90042
  7615594 JAMES ALLEN RATLIFF, MD                         13164 W WATERSIDE DR                                                          BATON ROUGE         LA           70818-5853
  7615595 JAMES M. BROOKS                                 1541 NW 48TH PL                                                               BOCA RATON          FL           33431
  7615608 JET MEDICAL ELECTRONICS INC                     2230 S. DUPONT DRIVE                                                          ANAHEIM             CA           92806




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  7615612 J-MEDS MEDICAL SERVICES, INC                 1000 Forest Park Blvd.      Suite 401                                             Fort Worth          TX           76110-1182
                                                       5972 COLLECTIONS
  7615626 JOHNSON & JOHNSON HEALTH CARE SYSTEMS        CENTER DRIVE                                                                      CHICAGO             IL           60693
  7615621 JOHNSON CONTROLS                             517 W 67TH STREET                                                                 SHREVEPORT          LA           71106
                                                                                   11811 S. Sunset Drive ,
  7731438 Johnson County Wastewater                    Customer Service            Suite 2500                                            Olathe              KS           66061
  7615633 JOSEPH CLAYTON JONES, MD                     336 FLETCHER DRIVE                                                                BOSSIER CITY        LA           71112

  7615637 JTS SURGICAL INNOVATIONS                     1906 ORANGE TREE LANE       SUITE 220                                             REDLANDS            CA           92374
  7037682 JUDICE & ADLEY, APLC                         926 COOLIDGE BLVD.                                                                LAFAYETTE           LA           70503
  7023347 JUSTRANSFORM DOT COM LLC                     10410 N BLANEY AVE                                                                CUPERTINO           CA           95014
  7615685 K&L GATES, LLP                               210 SIXTH AVENUE                                                                  PITTSBURGH          PA           15222
  7615644 KAISER FOUNDATION HEALTH PLAN INC.           FILE #5915                                                                        LOS ANGELES         CA           90074
  7071448 Kansas City Power & Light                    P.O. Box 11739                                                                    Kansas City         MO           64138-0239
  7024774 KANSAS DEPT FOR AGING & DISABILITY           503 S. KANSAS AVENUE                                                              TOPEKA              KS           66603
  7036950 KARMA SERVICES LLC                           752 W GRANDRIVER AVE                                                              BRIGHTON            MI           48116
  7615656 KATHERINE I. KATO                            14536 LARKSPUR LANE                                                               WELLINGTON          FL           33414
  7615657 KCI USA                                      P.O. BOX 301557                                                                   DALLAS              TX           75303-1557
  7615659 KCP&L                                        PO BOX 219330                                                                     KANSAS CITY         MO           64121
  7024747 KELL WEST REGIONAL HOSPITAL                  5420 KELL WEST BLVD.                                                              WICHITA FALLS       TX           76310
  7822660 Keller, Michael P.                           ADDRESS ON FILE
  7033768 KENNEDY, KEITH W.                            ADDRESS ON FILE
  7615669 KEY MEDICAL RESOURCES                        P.O. BOX 2033                                                                     RANCHO CUCAMONGA    CA           91729
  7615673 KHANKHANIAN, MOIEZ MD                        815 SALISBURY RD                                                                  LA CANADA           CA           91011
  7037263 KIM MD, IN SOO                               ADDRESS ON FILE
  7827731 Kinetic Concepts, Inc.                       KCI A Division of Acelity   c/o Martha G. Geraths          12930 IH-10 West       San Antonio         TX           78249
                                                       2120 BERT KOUNS IND
  7615679 KIRIT S. PATEL, MD                           LOOP STE F                                                                        SHREVEPORT          LA           71118
                                                       26252 SANDCASTLE
  7024508 KJM INDUSTRIES, INC.                         COURT                                                                             SAN JUAN CAPISTRANO CA           92675
                                                       1960 E GRAND AVE STE
  7195787 KPG HEALTHCARE LLC                           940                                                                               EL SEGUNDO          CA           90245
  7586398 KPG HEALTHCARE, LLC                          P.O. BOX 202056                                                                   DALLAS              TX           75320-2056
  7615715 L.A. DWP - 851 781 0000                      P.O. BOX 30808                                                                    LOS ANGELES         CA           90030
  7615717 L.A. DWP - 982 112 0000                      P.O. BOX 30808                                                                    LOS ANGELES         CA           90030
  7615711 LA DEPT OF HEALTH                            PO Box 629                                                                        Baton Rouge         LA           70821-0629
  7023759 LABCORP                                      P.O. BOX 12140                                                                    BURLINGTON          NC           27216-2140
                                                       c/o Johnson Legal Network   535 Wellington Way Suite
  7193164 Laboratory Corporation of America            PLLC                        380                                                   Lexington           KY           40503
  7366374 Lafayette, Robert C                          ADDRESS ON FILE
  7827769 Lafayette, Robert C.                         ADDRESS ON FILE
  7023995 LARKIN COMM. HOSPITAL, LLC                   1475 W. 49 STREET                                                                 HIALEAH             FL           33012
                                                       17530 VENTURA BLVD.,
  7615744 LAW OFFICES OF ROXANA AHMADIAN               SUITE 202                                                                         ENCINO              CA           91316
                                                       13785 RESEARCH
  7615747 LDR                                          BOULEVARD                   SUITE 2                                               AUSTIN              TX           78750
  7024401 LDR SPINE USA, INC.                          13785 RESEARCH BLVD.,       SUITE 200                                             AUSTIN              TX           78750
  7615749 LDS HOSPITAL                                 PO BOX 57828                                                                      MURRAY              UT           84157
  7615753 Lee County BOCC-EMS                          P.O. Box 398                                                                      Fort Myers          FL           33902




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MML ID                                     NAME                            ADDRESS 1                  ADDRESS 2                        ADDRESS 3                CITY        STATE            ZIP   COUNTRY
  7615758 LEHIGH REGIONAL MEDICAL CENTER                            P.O. BOX 865367                                                                ORLANDO             FL           32886
  7828189 Lehmann DO, Ryan K.                                       ADDRESS ON FILE
                                                                    Attn: Contract
  7682872 Leidos Health LLC                                         Administrator              705 E Main Street                                   Westfield           IN           46074
  7615759 LEIDOS HEALTH, LLC                                        P.O. BOX 223866                                                                PITTSBURGH          PA           15251-2866
  7831712 LeJay, Kathy                                              ADDRESS ON FILE
  7615765 LEWIS BRISBOIS                                            633 W FIFTH STREET         SUITE 4000                                          LOS ANGELES         CA           90071
  7615766 LEWIS BRISBOIS BISGAARD & SMITH LLP                       633 W FIFTH ST.                                                                LOS ANGELES         CA           90071
  7037692 LEWIS BRISBOIS BISGAARD & SMITH, LLP                      633 W 5TH ST SUITE 4000                                                        LOS ANGELES         CA           90071
  7683948 LIFE SPINE INC                                            13951 S QUALITY DRIVE                                                          HUNTLEY             IL           60142
  7615775 LIFEFLEET SOUTHEAST, INC                                  P.O. BOX 402079                                                                ATLANTA             GA           30384
  7827340 LifeFleet Southeast, Inc.                                 Danelle Kelling            8465 N. Pima Road                                   Scottsdale          AZ           85258
  7042914 LifeNet Health                                            1864 Concert Drive                                                             Virginia Beach      VA           23453
  7615781 LIFESHARE BLOOD CENTERS                                   PO BOX 65270                                                                   SHREVEPORT          LA           71136
  7614995 LITMOS, LLC                                               4140 DUBLIN BLVD           SUITE 400                                           DUBLIN              CA           94568
  7614997 LITTLER MENDELSON, PC                                     PO BOX 45547                                                                   SAN FRANCISCO       CA           94145
  7036965 LORAINE DIEGO, MD,                                        1711 W TEMPLE ST., 7463                                                        LOS ANGELES         CA           90026
  7036966 LOS ANGELES COUNTY TAX COLLECT                            P.O. BOX 514818                                                                LOS ANGELES         CA           90051

  7615007 LOUISIANA DEPARTMENT OF HEALTH                            OFFICE OF PUBLIC HEALTH P.O. BOX 4489                                          BATON ROUGE         LA           70821-4489


                                                                    Attn: Kimberly Humbles,
  7826326 Louisiana Department of Health                            General Counsel           PO Box 3836                                          Baton Rouge         LA           70821
                                                                    Kimberly Humbles, General
  7828157 Louisiana Department of Health                            Counsel                   PO Box 3836                                          Baton Rouge         LA           70821
  7615008 LOUISIANA DEPARTMENT OF REVENUE                           PO BOX 201                                                                     BATON ROUGE         LA           70821
  7070634 Louisiana Department of Revenue                           P.O. Box 66658                                                                 Baton Rouge         LA           70896-6658
          Louisiana Health Service & Indemnity Company d/b/a Blue
  7829062 Cross and Blue Shield of Louisiana                        Allison N. Pham            P.O. Box 98029                                      Baton Rouge         LA           70989-9029
  7023468 LOUISIANA HOSPITAL ASSOCIATION                            9521 BROOKLINE AVE                                                             BATON ROUGE         LA           70809

  7048365 Loyal Source Government Services, LLC                     Attn: Sarah Clayton, CFO   12612 Challenger Parkway Suite 365                  Orlando             FL           32826
  7615019 LSU HEALTH SCIENCES CENTER                                PO BOX 33932                                                                   SHREVEPORT          LA           71130

  7074125 Lynn Care LLC dba Zack Group                              Zack Group                 6600 College Blvd, Ste 300                          Overland Park       KS           66211
  7615026 M*MODAL SERVICES, LTD                                     PO BOX 538504                                                                  ATLANTA             GA           30353-8504
                                                                    3605 LONB BEACH BLVD
  7615027 MAGED A. TANIOS M.D.                                      #312                                                                           LONG BEACH          CA           90807
  7615028 MAHESH KOTTAPALLI, MD PA                                  2727 BDTON BOONE DR.       STE 109                                             DESOTO              TX           75115
  7615029 MAHONEY LAW GROUP, APC                                    249 E OCEAN BLVD           STE. 814                                            LONG BEACH          CA           90802
          Management Health Systems, LLC d/b/a MedPro Healthcare    1580 Sawgrass Corporate
  7630002 Staffing                                                  Pkwy. Ste 200                                                                  Sunrise             FL           33323
  7047695 Manley's Boiler LLC                                       7931 Whitaker Street                                                           Buena Park          CA           90621
  7036972 MANLEY'S BOILER, INC.                                     7931 WHITAKER ST.                                                              BUENA PARK          CA           90621
  7036973 MANNING & KASS LLP                                        801 S. FIGUEROA ST.        15TH FLOOR                                          LOS ANGELES         CA           90017
                                                                    15TH FLOOR AT 801
  7037688 MANNING & KASS, ELLROD,                                   SOUTH                      FIGUEROA STREET                                     LOS ANGELES         CA           90017
                                                                    1128 E. KENSINGTON
  7615055 MARK MARTINEZ, MD                                         AVENUE                                                                         SALT LAKE CITY      UT           84105
  7615062 MARVEL CONSULTANTS, INC                                   28601 CHARGRIN BLVD.       #210                                                CLEVELAND           OH           44122




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  7615065 MASTER INVESTIGATION & SECURITY              14002 NW 82 AVE                                                                    MIAMI LAKES        FL           33016
  7615068 MATHESON TRI-GAS, INC.                       PO BOX 123028               DEPT 3028                                              DALLAS             TX           75312
                                                       10900 Hampshire Ave
  7226806 MatrixCare, Inc                              South                       Suite 100                                              Bloomington        MN           55438
  7615070 MATRIXCARE, INC.                             PO BOX 1414                 BIN# 32                                                MINNEAPOLIS        MN           55480-1414
                                                       12558 COLLECTIONS CTR
  7615072 MAXIM HEALTHCARE SERVICES, INC               DR                                                                                 CHICAGO            IL           60693
                                                                                                                1755 Pennsylvania Ave,
  7199990 Maxim Healthcare Services, Inc               Stinson Leonard Street LLP Attn. Tracey Ohm              NW, Suite 800             Washington         DC           20006
                                                       12559 COLLECTIONS
  7023779 MAXIM STAFFING SOLUTIONS                     CENTER DRIVE                                                                       CHICAGO            IL           60693-0125
  7230029 McBroom, Robert L.                           ADDRESS ON FILE
  7037685 MCGARRY & LAUFENBERG                         615 NASH STREET            SUITE 305                                               EL SEGUNDO         CA           90245
  7615082 MCINNIS BROTHERS CONSTRUCTION, INC           119 PEARL STREET                                                                   MINDEN             LA           71055
  7826069 McInnis Brothers Construction, Inc.          Attn: Ben Baldwin          119 Pearl Street                                        Minden             LA           71055

  7829042 McKesson Medical Surgical, Inc.              Attn: Stephanie Hampton     4345 Southpoint Blvd.                                  Jacksonville       FL           32216
  7615085 MCKESSON MEDICAL-SURGICAL, INC               LOCK BOX 2660266            2975 REGENT BLVD.                                      IRVING             TX           75063
  7828963 McKesson Medical-Surgical, Inc.              Stephanie Hampton           4345 Southpoint Blvd.                                  Jacksonville       FL           32216
  7194616 McKnight, Elzy                               ADDRESS ON FILE
  7615155 MED RESOURCES INC                            11671 LILBURN PARK RD                                                              ST. LOUIS          MO           63146
                                                       MEDASSETS SUPPLY CHAIN
  7615098 MEDASSETS, INC.                              SYSTEMS, LLC                P.O. BOX 742081                                        ATLANTA            GA           30374
                                                       Jones Walker - Attn: Mark   201 St. Charles Avenue,
  7826549 Medcentris                                   Mintz                       49th Fl                                                New Orleans        LA           70170
                                                       46 LOUIS PRIMA DRIVE,
  7023442 MEDCENTRIS                                   SUITE A                     ATTN: LAURA BEGNAUD                                    COVINGTON          LA           70433
                                                                                                                201 St. Charles Avenue,
  7827278 Medcentris                                   Jones Walker                Attn: Mark Mintz             49th FL                   New Orleans        LA           70170
  7615101 MEDCOAST AMBULANCE SERVICE                   3951 MEDFORD STREET                                                                LOS ANGELES        CA           90063
                                                       12510 W 62nd Terrace,
  7040369 Medi Coach, LLC                              Ste. 103                                                                           Shawnee            KS           66216
  7615133 MEDI COACH, LLC                              PO BOX 15085                                                                       LENEXA             KS           66285
                                                       ONE WORLD TRADE
  7615112 MEDICAL DATA EXCHANGE CORP                   CENTER                      SUITE 2400                                             LONG BEACH         CA           90831
  7615115 MEDICAL ELECTRONICS INC.                     1525 E. EDINGER AVE.                                                               SANTA ANA          CA           92705
  7198238 MEDICAL ELECTRONICS, INC.                    MARK BRUCKS                 1525 E. EDINGER AVE.                                   SANTA ANA          CA           92705
  7615118 MEDICAL INFORMATION TECHNOLOGY, INC          PO BOX 74569                                                                       CHICAGO            IL           60696
  7194622 Medical Information Technology, Inc.         MEDITECH Circle                                                                    Westwood           MA           02090
  7615119 MEDICAL OPTICS, INC.                         10320 W. MC NAB RD                                                                 FORT LAUDERDALE    FL           33321
                                                       1010 NORTH 102ND
  7037239 MEDICAL SOLUTIONS, L.L.C.                    STREET                      SUITE 300                                              OMAHA              NE           68114
                                                       1010 NORTH 102ND
  7615122 MEDICAL SOLUTIONS, LLC                       STREET                      SUITE 300                                              OMAHA              NE           68114
  7615126 MEDICAL TECHNOLOGY ASSOCIATES                6651 102ND AVE. N.                                                                 PINELLAS PARK      FL           33782
  7615138 MEDIPRO MEDICAL STAFFING LLC                 1415 E. COLORADO ST.   SUITE 210                                                   GLENDALE           CA           91205
                                                                              6565 SUNSET BLVD, SUITE
  7036985 MEDIPRO MEDICAL STAFFING, LLC                ATTN: MCNAIR ZIMBALIST # 313                                                       LOS ANGELES        CA           90028
                                                       1415 E. COLORADO ST,
  7684013 MEDIPRO MEDICAL STAFFING, LLC                SUITE 210                                                                          GLENDALE           CA           91205




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                                                           1580 SAWGRASS
  7024683 MEDPRO HEALTHCARE STAFFING                       CORPORATE PARKWAY            SUITE 100                                               SUNRISE             FL           33323

  7081292 Medreach Ambulance Services                      Grant Mercantile Agency      PO Box 658                                              Oakhurst            CA           93644

  7081292 Medreach Ambulance Services                      Grant Mercantile Agency      PO Box 658                                              Oakhurst            CA           93644
  7615156 MEDRX INFUSION CLINICAL PHARMACY                 415-417 N. OAK STREET                                                                INGLEWOOD           CA           90302
                                                           Law Offices of Stephen L.                                  1880 Century Park East,
  7079453 MedRX Infusion Clinical Pharmacy, LLC            Joseph                       Stephen L. Joseph             Suite 1101                Los Angeles         CA           90067
                                                           c/o Medsurant Holdings,
  7670730 Medsurant, LLC                                   LLC                          100 Front Street, Suite 280                             W. Conshohocken     PA           19428
                                                           710 MEDTRONIC
  7615164 MEDTRONIC, INC                                   PARKWAY                                                                              MINNEAPOLIS         MN           55432
                                                           Heather Kofron, Esq.,        7300 Beaufont Springs
  7596025 Menorah Medical Center                           Senior Legal Counsel         Drive                                                   Richmond            VA           23225
                                                           14528 SOUTH OUTER 40
  7615173 MERCY HEALTH PLANS                               ROAD                         SUITE 300                                               CHESTERFIELD        MO           63017
  7200480 Merit Health                                     PO Box 188                                                                           Brentwood           TN           37024
  7712538 Merit Health River Regions                       c/o Pasi                     PO Box 188                                              Brentwood           TN           37024
  7615184 METROPOLITAN ELEVATOR CO, INC.                   3008 WILSHIRE BLVD           SUITE 201                                               LOS ANGELES         CA           90010
  7227854 Meyers, Jeremie                                  ADDRESS ON FILE
  7615191 MICAH BOYER MD.                                  4404 TOBAGO                                                                          WICHITA FALLS       TX           76308
  7615192 MICHAEL ANGELO, MD                               10 STONEHAVEN DR                                                                     BOSSIER CITY        LA           71111
  7615194 MICHAEL THOMAS MCKENNA MD                        5460 PANERAMIC LANE                                                                  SAN DIEGO           CA           92121
                                                           1901 AVE OF THE STARS
  7036995 MILLER HEALTH                                    SUITE 1750                                                                           LOS ANGELES         CA           90067
  7615220 MINDRAY DS USA, INC.                             24312 NETWORK PLACE                                                                  CHICAGO             IL           60673
  7585113 Mindray DS USA, Inc. / Mindray North America     Attn: General Counsel        800 MacArthur Blvd.                                     Mahwah              NJ           07430
  7826217 Mindray DS USA,inc./Mindray North America        Attn: General Counsel        800 MacArthur Blvd.                                     Mahwah              NJ           07430
  7615224 MISONIX, INC                                     1938 NEW HIGHWAY                                                                     FARMINGDALE         NY           11735
  7585791 Misonix, Inc                                     Attn: General Counsel        1938 New Highway                                        Farmingdale         NY           11735
  7615224 MISONIX, INC                                     1938 NEW HIGHWAY                                                                     FARMINGDALE         NY           11735
  7615224 MISONIX, INC                                     1938 NEW HIGHWAY                                                                     FARMINGDALE         NY           11735
                                                           8711 E. Pinnacle Peak Rd.,
  7023110 Mission Advisors                                 #289                                                                                 Scottsdale          AZ           85255
                                                           8711 E. Pinnacle Peak Rd.,
  7043319 Mission Advisors, LLC                            #289                                                                                 Scottsdale          AZ           85255
  7712654 Missouri Department of Revenue                   Box 475                                                                              Jefferson City      MO           65105
                                                           5000 Meridian Blvd., Suite
  7121169 MModal Services, Ltd                             200                                                                                  Franklin            TN           37067
  7121048 MModal Services, Ltd.                            5000 Meridian Blvd           Suite 200                                               Franklin            TN           37067
  7023860 MOBILE ULTRASOUND SERVICES                       720 E FLETCHER AVENUE        SUITE 101                                               TAMPA               FL           33612
  7024682 MOBILEX USA                                      PO BOX 17462                                                                         BALTIMORE           MD           21297
  7615262 MOREDIRECT INC                                   PO BOX 536464                                                                        PITTSBURGH          PA           15253
  7023374 MORRIS, LAING, EVANS, BROCK & KENNEDY            300 N MEAD                   SUITE 200                                               WICHITA             KS           67202
  7037288 MORRISON                                         ATTN: TRACY ROGGE            400 NORTHRIDGE ROAD           SUITE 600                 ATLANTA             GA           30350
  7615276 MS DEPT OF EMPLOYMENT SECURITY                   1625 MONROE STREET                                                                   VICKSBURG           MS           39180
  7035807 MUSCULOSKELETAL TRANSPLANT                       125 MAY STREET                                                                       EDISON              NJ           08837
  7615286 MY OFFICE PRODUCTS                               P.O. BOX 32192                                                                       NEW YORK            NY           10087
  7586367 NATIONAL STAFFING SOLUTIONS, LLC                 11607 SOUTH 1380 EAST                                                                SANDY               UT           84092




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  7040367 National Staffing Solutions, LLC                            Peter Reichman              3301 North University Ave.                            Provo                UT           84604
                                                                                                  Buchanan Ingersoll &       919 N. Market Street, Ste.
  7827659 Nautilus Insurance Company, c/o Berkley Select, LLC         Mary F. Caloway             Rooney                     990                        Wilmington           DE           19801
                                                                      Buchanan Ingersoll &                                   919 N. Market St., Suite
  7828221 Nautilus Insurance Company, c/o Berkley Select, LLC         Rooney                      Mary F. Caloway            990                        Wilmington           DE           19801
  7615310 NAVEX GLOBAL                                                PO BOX 60941                                                                        CHARLOTTE          NC           28260
                                                                      5500 Meadows Road, Suite
  7472653 NAVEX Global, Inc                                           500                                                                                 Lake Oswego        OR           97035
  7615311 NCDHEALTH CORP                                              PO BOX 98347                                                                        CHICAGO            IL           60693
  7615311 NCDHEALTH CORP                                              PO BOX 98347                                                                        CHICAGO            IL           60693
                                                                                                  Law Offices of Harold C.
  7723382 Neogenomics Laboratories, Inc.                              Harold C. Klaskin, Esq.     Klaskin, APC                  12021 Wilshire Blvd., #510 Los Angeles       CA           90025
  7615317 NEOTRACT, INC                                               4473 WILLOW ROAD            SUITE 100                                               PLEASANTON         CA           94588
                                                                      ATTN: ACCOUNTS
  7023932 NEOTRACT, INC..                                             RECEIVABLE                  4473 WILLOW ROAD              SUITE 100                 PLEASANTON         CA           94588
                                                                      40 24TH STREET- 5TH
  7615319 NET HEALTH SYSTEMS, INC.                                    FLOOR                                                                               PITTSBURGH         PA           15222
  7615320 NETWORK INNOVATIONS US, INC                                 MAIL CODE 5622              P.O. BOX 105046                                         ATLANTA            GA           30348
  7615323 NEUROMERICA, LLC                                            3141 BEAUDRY TERRACE                                                                GLENDALE           CA           91208
                                                                                                  1350 CONCOURSE
  7615328 NEXAIR, LLC                                                 ATTN: CHERYL METCALF        AVENUE, STE. 103                                        MEMPHIS            TN           38104
  7035864 NIEHAUS BUILDING SERVICES LLC                               4209 SARPY AVENUE                                                                   ST. LOUIS          MO           63110
  7615345 NORIDIAN HEALTHCARE SOLUTIONS                               900 42ND ST S               PO BOX 6782                                             FARGO              ND           58103
  7615346 NORIDIAN HEALTHCARE SOLUTIONS, LLC                          900 42ND ST S               PO BOX 6782                                             FARGO              ND           58103
                                                                      1800 W. HAWTHORNE
  7023357 NORIX GROUP, INC.                                           LANE                        SUITE N                                                 WEST CHICAGO       IL           60185
  7023396 NORTH STATE ENVIRONMENTAL                                   2526 FOLEX WAY              UNIT A                                                  SPRING VALLEY      CA           91978
  7615359 NOVATECH, INC.                                              PO BOX 372                  DEPARTMENT 200                                          MEMPHIS            TN           38101
  7615359 NOVATECH, INC.                                              PO BOX 372                  DEPARTMENT 200                                          MEMPHIS            TN           38101

  7024117 NR MEDICAL ASSOC.                                           302 WASHINGTON STREET       SUITE 116                                               SAN DIEGO          CA           92103
  7615363 NUANCE COMMUNICATIONS INC                                   PO BOX 7247-6924                                                                    PHILADELPHIA       PA           19170
                                                                      Vorys, Sater, Seymour and
  7827245 Nuance Communications, Inc.                                 Pease LLP                   c/o Tiffany Strelow Cobb      52 East Gay Street        Columbus           OH           43215
                                                                      6600 N Military Trail -
  7045774 Office Depot                                                S413G                                                                               Boca Raton         FL           33496
  7615376 OFFICE OF RECOVERY SERVICES                                 515 E 100 S                 PO BOX 45025                                            SALT LAKE CITY     UT           84145
  7615377 OFFICE OF RECOVERY SYSTEM                                   515 E 100 S                 PO BOX 45025                                            SALT LAKE CITY     UT           84145
  7037013 OFFICE OF STATEWIDE HEALTH PLANNING                         400 R STREET STE 359                                                                SACRAMENTO         CA           95811
  7615389 OLYMPUS HEALTHCARE, INC.                                    DEPT. 0600                  PO BOX 120600                                           DALLAS             TX           75312
          Olympus Healthcare, Inc. and/or subsidiary Apollo Renal
  7585733 Center, LLC                                                 Attn: General Counsel       P.O. Box 557912                                         Miami              FL           33255
  7024783 OMNICARE, INC.                                              DEPT 781668                 P.O. BOX 78000                                          DETROIT            MI           48278-1668
  7024783 OMNICARE, INC.                                              DEPT 781668                 P.O. BOX 78000                                          DETROIT            MI           48278-1668
  7228473 One Blood, Inc.                                             8669 Commodity Circle                                                               Orlando            FL           32819
  7614199 ONEBLOOD INC                                                PO BOX 628342                                                                       ORLANDO            FL           32862
  7024718 ONESTAFF MEDICAL, LLC                                       11718 NICHOLAS STREET       SUITE 101                                               OMAHA              NE           68154
  7614209 ORACLE AMERICA INC                                          500 ORACLE PARKWAY                                                                  REDWOOD SHORES     CA           94065




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                                                                                                                  1979 Marcus Ave., Suite
  7831527 Oracle America, Inc                              Doshi Legal Group, P.C.   c/o Amish R. Doshi, Esq      210E                      Lake Success      NY           11042
                                                                                                                  1979 Marcus Avenue, Suite
  7624006 Oracle America, Inc.                             Doshi Legal Group, P.C.   c/o Amish R. Doshi, Esq.     210E                      Lake Success      NY           11042
  7614211 ORANGE COURIER, INC                              3731 W. WARNER AVE.                                                             SANTA ANA          CA           92704
  7684357 ORTHO-CLINICAL DIAGNOSTICS, INC                  P.O. BOX 3655                                                                   CAROL STREAM       IL           60132-3655

  7614222 ORTHOTIC & PROSTHETIC CENTERS INC                3611 5TH AVENUE NORTH                                                           ST. PETERSBURG     FL           33713
                                                           REGIONAL MEDICAL
  7023421 OUR LADY OF THE LAKE                             CENTER                5000 HENNESSY BLVD.                                       BATON ROUGE        LA           70808
                                                           5959 South Sherwood
  7825847 Our Lady of the Lake Regional Medical Center     Forest Blvd.                                                                    Baton Rouge        LA           70816
  7822652 Ovchar, Viola                                    ADDRESS ON FILE
  7614232 P2S ENGINEERING INC.                             5000 E. SPRING ST.    8TH FLOOR                                                 LONG BEACH         CA           90815
                                                                                 Karen Cavagnaro-Lead             One AT&T Way, Suite
  7727448 Pacific Bell Telephone Company                   % AT&T Services, Inc. Paralegal                        3A104                    Bedminster         NJ           07921
  7684358 PACIFIC MEDICAL IMAGING INC                      12041 MORA DRIVE                                                                SANTA FE SPRINGS   CA           90670
  7614237 PACIFIC MEDICAL IMAGING, INC                     12041 MORA DRIVE                                                                SANTA FE SPRINGS   CA           90670

  7614239 PACIFIC MOBILE DIAGNOSTICS                       C/O KELLY MCSHALL         615 E. PALO VERDE DRIVE                               PHOENIX            AZ           85012
  7684364 PACIFIC MOBILE DIAGNOSTICS                       615 E. PALO VERDE DR.                                                           PHOENIX            AZ           85012
                                                           c/o Polis & Associates,   19800 MacArthur Blvd.,
  7071308 Pacific National Group                           APLC                      Suite 1000                                            Irvine             CA           92612
  7614243 PADFORD EMERGENCY SERVICES, INC                  1300 COMMERCE STREET                                                            RUSTON             LA           71270

  7024564 PALLICKAL, MALLIK, PONNEZHAN MED CORP            3630 EAST IMPERIAL HYWY                                                         LYNWOOD            CA           90262
  7024450 PARALLON REVENUE CYCLE POINT SOLUTI              39867 TREASURY CENTER                                                           CHICAGO            IL           60694
  7119085 Park Place International, LLC                    Goulston & Storrs PC    c/o Peter D. Bilowz, Esq.      400 Atlantic Avenue      Boston             MA           02110
  7024513 PARKER BOILER CO.                                5930 BANDINI BLVD                                                               LOS ANGELES        CA           90040
                                                                                   5200 HARRY HINES
  7037298 PARKLAND HEALTH & HOSPITAL SYSTEMS               ATTN: KERI DISNEY-STORY BOULEVARD                                               DALLAS             TX           75235
                                                           936 EAST FORT KING
  7614261 PARTIN ARCHITECTURE CO.                          STREET                                                                          OCALA              FL           34471
  7614269 PATHOLOGY, INC.                                  19951 MARINER AVE.      SUITE 15                                                TORRANCE           CA           90503

  7614271 PATHWAY HEALTH SERVICES                          11240 STILLWATER BLVD N                                                         LAKE ELMO          MN           55042
  7614276 PATRIOT SIGNS                                    201 S. WALL STREET                                                              IOWA PARK          TX           76367
  7614279 PAYMENT RESOLUTION SERVICES                      PO BOX 290067                                                                   NASHVILLE          TN           37229
  7024218 PAYNE MECHANICAL SERVICES, INC.                  7223 BERT KOUNS                                                                 SHREVEPORT         LA           71129
  7614291 PERFORMANCE HEALTH SUPPLY, INC                   PO BOX 93040                                                                    CHICAGO            IL           60673
  7614305 PHELPS DUNBAR, LLP                               PO BOX 974798                                                                   DALLAS             TX           75397
  7614307 PHILIPS HEALTHCARE                               PO BOX 100355                                                                   ATLANTA            GA           30384
                                                           THE LAW OFFICES OF JAY B
  7049946 PHYSICAL THERAPY CONSULTANTS INC                 UMANSKY PC               12460 OLIVE BLVD STE 118                               ST. LOUIS          MO           63141
                                                                                    1800 S. Loop Suite 396
  7228507 PICC ME PLLC                                     Timothy Richards         #223                                                   Denton             TX           76205
  7024620 PICC ME, LLC                                     1800 S. LOOP 288         SUITE 396 #223                                         DENTON             TX           76205
  7118652 PICCS R Us Nursing Inc                           3553 ATLANTIC AVE #357                                                          LONG BEACH         CA           90807
  7118652 PICCS R Us Nursing Inc                           3553 ATLANTIC AVE #357                                                          LONG BEACH         CA           90807




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  7201272 Playimage Inc.                                  c/o Siegel & Siegel, P.A.   1600 South Dixie Highway       Suite 300                   Boca Raton            FL           33432
  7023094 PLAYIMAGE, INC.                                 2684 NW 42ND STREET                                                                    BOCA RATON            FL           33434

  7824440 PMA Companies                                   Allen A. Etish, Esquire     Earp Cohn P.C.                 20 Brace Road - Suite 400   Cherry Hill           NJ           08034
  7824521 PMA Companies                                   Earp Cohn P.C.              Allen A. Etish, Esquire        20 Brace Road, Suite 400    Cherry Hill           NJ           08034
  7822672 Pollard, Donald E.                              ADDRESS ON FILE
                                                          30765 PACIFIC COAST
  7614340 POWER SURGICAL, INC.                            HIGHWAY #424                                                                           MALIBU                CA           90265
  7614339 POWERSECURE SERVICE, INC                        377 MAITLAND AVENUE         SUITE 1010                                                 ALTAMONTE SPRINGS     FL           32701
  7614344 PRAXAIR DISTRIBUTION, INC.                      DEPT LA 21511                                                                          PASADENA              CA           91185-1511

  7614347 PRECISION ENVIRONMENTAL                         180 CANADA LARGA ROAD                                                                  VENTURA               CA           93001
                                                          8920 WILSHIRE BLVD., STE
  7037027 PREMIER NEUROLOGY MEDICAL GROUP                 520                                                                                    BEVERLY HILLS         CA           90211
  7684329 PRESTON PHARMACY                                14301 W HARDTNER CT                                                                    WICHITA               KS           67235-7541

  7595978 Pride Healthcare, LLC                           Eckert Seamans              Christopher F. Graham          10 Bank Street, Suite 700   White Plains          NY           10606

  7595978 Pride Healthcare, LLC                           Eckert Seamans              Christopher F. Graham          10 Bank Street, Suite 700   White Plains          NY           10606
                                                          420 LEXINGTON AVENUE,
  7614360 PRIDE HEALTHCARE, LLC                           30TH FLOOR                  SUITE 2903                                                 NEW YORK              NY           10170
  7036052 PRIMACARE, INC.                                 727 W. 7TH STREET           SUITE 504                                                  LOS ANGELES           CA           90017
  7614363 PRIME CARE NURSING                              PO BOX 852                                                                             GREENVILLE            MS           38702
  7825246 Pringley, Ericka                                ADDRESS ON FILE
  7825873 Pringley, Frederick M.                          ADDRESS ON FILE
  7614368 PRN AMBULANCE, LLC.                             PO BOX 31001-2252                                                                      PASADENA              CA           91110
                                                          1101 E. SOUTH RIVER
  7023820 PRN HEALTH SERVICES, INC.                       STREET                                                                                 APPLETON              WI           54915
                                                          1101 E. SOUTH RIVER
  7023820 PRN HEALTH SERVICES, INC.                       STREET                                                                                 APPLETON              WI           54915
  7037031 PROCARE ONE                                     P.O. BOX 301076                                                                        DALLAS                TX           75303-1076
  7037031 PROCARE ONE                                     P.O. BOX 301076                                                                        DALLAS                TX           75303-1076
  7614372 PROCARE ONE NURSES, LLC                         P.O. BOX 301076                                                                        DALLAS                TX           75303
  7024068 PROF. PLACEMENT RESOURCES, LLC                  P.O. BOX 674009                                                                        DALLAS                TX           75267-4009
                                                          Coface North America        650 College Road East,
  7042026 Proforma Total Graphics                         Insurance Company           Suite 2005                                                 Princeton             NJ           08540
          PROMISE HEALTHCARE HOLDINGS, INC. F/K/A FPD
  7684344 HOLDINGS, INC                                   999 YAMATO RD               3RD FLOOR                                                  BOCA RATON            FL           33431
  7614404 PROMISE MEDICAL GROUP, PLLC                     9202 NW. 26TH STREET                                                                   WILDWOOD              FL           34785-7413
  7614411 PROSIDYAN INC                                   41 SPRING ST # 107                                                                     NEW PROVIDENCE        NJ           07974-1143
  7037706 PROSKAUER ROSE LLP                              ELEVEN TIMES SQUARE                                                                    NEW YORK              NY           10036-8299
  7614420 PSI - PRIORITY MED. STAFFING, INC               8660 FERM AVE.              SUITE 160                                                  SHREVEPORT            LA           71105
                                                          859 SOUTH RAYMOND
  7614424 PUCHLIK DESIGNS ASSOCIATES, INC                 AVENUE                                                                                 PASADENA              CA           91105
                                                          859 SOUTH RAYMOND
  7614424 PUCHLIK DESIGNS ASSOCIATES, INC                 AVENUE                                                                                 PASADENA              CA           91105

  7617514 Quality Logo Products, Inc.                     c/o J. Meyers, PLLC         16414 Braeburn Ridge Trail                                 Delray Beach          FL           33446
  7455891 Quest Diagnostics                               Abigail Winston             8403 Fallbrook Ave                                         West Hills            CA           91304




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  7614442 QUEST DIAGNOSTICS                                              PO BOX 740709                                                                      ATLANTA             GA           30374-0709
                                                                         ATTN: PRESIDENT OR           7032 COLLECTIONS
  7037302 QUESTCARE MEDICAL SERVICES, PLLC                               GENERAL COUNSEL              CENTER DRIVE                                          CHICAGO             IL           60693
  7827459 R/M Arizona Holdings, Inc.                                     Danelle Kelling              8465 N. Pima Road                                     Scottsdale          AZ           85258
  7614455 RAFAEL RIVERA-RIVERA, MD.                                      1208 BROOK AVENUE                                                                  WICHITA FALLS       TX           76301
  7614459 RAJ PRASAD, MD                                                 9808 NENICE BLVD. #702                                                             CULVER CITY         CA           90232
                                                                         450 W. CONTINENTAL
  7023792 RAPID LABORATORY SERVICES, LLC                                 ROAD                                                                               GREEN VALLEY        AZ           85622
          Rapid Laboratory Services, LLC, an Arizona Limited Liability                                5210 E Williams Circle,
  7193800 Company                                                        Kasey C. Nye                 Suite 800                                             Tucson              AZ           85711

  7583658 RAPID RAY, LLC.                                                450 W. CONTINENTAL RD.                                                             GREEN VALLEY        AZ           85622
  7614466 RAWLINGS FINANCIAL                                             PO BOX 2010                                                                        LAGRANGE            KY           40031
  7614467 RAWLINGS FINANCIAL SERVICES                                    PO BOX 589                                                                         LAGRANGE            KY           40031
  7614471 RAY, QUINNEY & NEBEKER P.C.                                    P.O. BOX 45385                                                                     SALT LAKE CITY      UT           84145


                                                                         c/o Fresenius Medical Care   Attn: Russell P. Plato,
  7077920 RCG Mississippi, Inc. d/b/a RCG Delta                          North America                Assistant General Counsel 920 Winter Street           Waltham             MA           02451
                                                                         ATTN: LEGAL
  7614475 READYLINK INC                                                  DEPARTMENT                   PO BOX 1047                                           THOUSAND PALMS      CA           92276
                                                                         Access Information           500 Unicorn Park Drive,
  7042890 Record Xpress of California, LLC                               Protected                    Suite 503                                             Woburn              MA           01801
                                                                         Access Information           500 Unicorn Park Drive,
  7705170 Record Xpress of California, LLC                               Protected                    Suite 503                                             Woburn              MA           01801
                                                                         1920 STANLEY GAULT
  7583982 RECOVER CARE LLC                                               PRKWY                        SUITE 100                                             LOUISVILLE          KY           40223
  7825992 Red Ball Oxygen Co Inc                                         Attn: General Counsel        609 North Market St.                                  Shreveport          LA           71137
  7826066 Red Ball Oxygen Co Inc                                         Attn: General Counsel        609 North Market St.                                  Shreveport          LA           71137
  7614480 RED BALL OXYGEN COMPANY, INC                                   P.O. BOX 7316                                                                      SHREVEPORT          LA           71137-7316
  7683894 REDACTED PATIENT_0003                                          ADDRESS ON FILE
  7684312 REDACTED PATIENT_0532                                          ADDRESS ON FILE
  7684374 REDACTED PATIENT_0537                                          ADDRESS ON FILE
  7683722 REDACTED PATIENT_0538                                          ADDRESS ON FILE
  7069964 Reichert, Christina                                            ADDRESS ON FILE
  7829591 Reid, Felicita                                                 ADDRESS ON FILE
  7830049 Reid, Felicita                                                 ADDRESS ON FILE
  7077623 Reliance Wholesale, Inc.                                                                                                                          Miami               FL           33176
  7614495 RELIANCE WHOLESALE, INC.                                                                                                                          TAMPA               FL           33623-4685
  7023819 RELIANCE WHOLESALE, INC.                                                                                                                          MIAMI               FL           33176
  7614495 RELIANCE WHOLESALE, INC.                                                                                                                          TAMPA               FL           33623-4685
  7023223 RELIANT                                                                                                                                           DALLAS              TX           75312-0954
  7233040 Reliant Energy Retail Services, LLC                                                                                                               Houston             TX           77251-9995
          Renal Treatment Center - Southeast L.P., a subsidiary of
  7704127 DaVita, Inc.                                                                                                                                      Denver              CO           80202
          Renal Treatment Center - West, Inc., a subsidiary of DaVita,
  7704124 Inc.                                                                                                                                              Denver              CO           80202
  7614499 RENAL TREATMENT CENTERS-WEST, INC.                                                                                                                ATLANTA             GA           30384
  7614501 RENSANA, LLC.                                                                                                                                     CHULA VISTA         CA           91910
  7614508 REVCO LEASING COMPANY                                                                                                                             SALT LAKE CITY      UT           84165
  7614511 REYNA HEALTH TRUST, INC                                                                                                                           HIALEAH             FL           33018




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          Richard L. Brown, by and through his Successor-in-interest,
  7200005 Shellee Renaud                                                                                                              Van Nuys             CA           91401
  7023708 RIVER REGION HEALTH SYSTEM - ANC                                                                                            VICKSBURG            MS           39183
  7023724 RIVER REGION HEALTH SYSTEM - RENT                                                                                           CHICAGO              IL           60693
  7023561 RIVERPARK IMAGING CENTER                                                                                                    VIDALIA              LA           71373
  7036168 RMS                                                                                                                         NAPERVILLE           IL           60563
  7024571 RN NETWORK                                                                                                                  DALLAS               TX           75397-4088
  7024571 RN NETWORK                                                                                                                  DALLAS               TX           75397-4088
  7614535 ROBERT L. MCBROOM, MD.                                                                                                      WICHITA FALLS        TX           76301
  7820370 Roche Diagnostics Corporation                                                                                               Indianapolis         IN           46256
  7820391 Roche Diagnostics Corporation                                                                                               Indianapolis         IN           46256
  7614538 ROCHE DIAGNOSTICS CORPORATION                                                                                               DALLAS               TX           75266
  7820368 Roche Diagnostics Corporation                                                                                               Indianapolis         IN           46256
  7614538 ROCHE DIAGNOSTICS CORPORATION                                                                                               DALLAS               TX           75266
  7820370 Roche Diagnostics Corporation                                                                                               Indianapolis         IN           46256
  7614542 ROGER CANNON                                                                                                                BOSSIER CITY         LA           71111
  7201259 Rogers, David                                                     ADDRESS ON FILE
  7614543 ROGERS, DAVID MD                                                                                                            BURBANK              CA           91504
  7702952 Roque, Ann                                                        ADDRESS ON FILE
  7585488 Ross, Hoyt                                                        ADDRESS ON FILE
  7702943 Rouge, Ann M                                                      ADDRESS ON FILE
  7036184 RTI SURGICAL                                                                                                                MARQUETTE            MI           49855
  7198500 RTI Surgical, Inc.                                                                                                          Alachua              FL           32615
  7614561 RURAL/METRO CORP. OF FLA, INC.                                                                                              DALLAS               TX           75397-8689
  7614565 RXBENEFITS, INC                                                                                                             BIRMINHAM            AL           35243
  7727519 SAI Global Compliance, Inc                                                                                                  Chicago              IL           60606
  7614579 SAMUEL ETCHIE MD                                                                                                            SAN DIEGO            CA           92122
  7047492 SANDHILL INVESTORS, LLC                                                                                                     GAINESVILLE          FL           32608
  7614581 Sandhill Investors, LLC                                                                                                     Gainesville          FL           32608
  7826140 SandHill Investors, LLC                                                                                                     Gainesville          FL           32608
  7614585 SASHA SALLOUM, MD., INC                                                                                                     SAN DIEGO            CA           92150
  7614586 SATISH C. CHADA, MD.                                                                                                        WICHITA FALLS        TX           76301
  7024617 SCHRYVER MEDICAL SALES & MARKETING                                                                                          DENVER               CO           80239
  7614597 SCIMAGE INC                                                                                                                 Los Altos            CA           94022
  7037134 ScImage Inc.                                                                                                                Los Altos            CA           94022
          Scott M. Seidel, Chapter 7 Trustee of the estate of Walnut Hill
  7193166 Physicians’ Hospital, LLC                                         ADDRESS ON FILE
  7023235 SECO ENERGY                                                                                                                 ORLANDO              FL           32885-3035
  7614605 SECURE NURSING SERVICE, INC.                                                                                                LOS ANGELES          CA           90010
  7024608 SEDIGHI MD, P.A., HOOMAN                                          ADDRESS ON FILE
  7614618 SENIOR RX CARE OF KANSAS, LLC                                                                                               TOPEKA               KS           66603
  7584774 Senior RX Care of Kansas, LLC                                                                                               Topeka               KS           66603
  7614624 SERVPRO OF DOWNEY                                                                                                           DOWNEY               CA           90241
  7614634 SHC SERVICES INC.                                                                                                           DALLAS               TX           75267
  7614634 SHC SERVICES INC.                                                                                                           DALLAS               TX           75267
  7039458 SHC, Services, Inc                                                                                                          Park City            UT           84098
  7614643 SIDNEY, CHARKARMALY                                               ADDRESS ON FILE
  7614645 SIEMENS HEALTHCARE DIAGNOSTICS, INC                                                                                         DALLAS               TX           75312-1102
  7583874 Siemens Healthcare Diagnostics, Inc                                                                                         Norwood              MA           02602




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MML ID                                     NAME                           ADDRESS 1   ADDRESS 2                   ADDRESS 3                CITY        STATE            ZIP   COUNTRY
  7614645 SIEMENS HEALTHCARE DIAGNOSTICS, INC                                                                                 DALLAS              TX           75312-1102
  7614647 SIERRA EQUITIES INC                                                                                                 GLENDALE            CA           91203
  7614648 SIERRA FIREPROOFING INC                                                                                             BALDWIN PARK        CA           91706
  7614650 SIGNATURE HOSPITALITY SERVICES                                                                                      DALLAS              TX           75347-6724
  7589551 Singh, MD, Ravinder                                       ADDRESS ON FILE
  7614663 SIZEWISE RENTALS                                                                                                    ELLIS               KS           67637
  7071476 Sizewise Rentals, LLC                                                                                               Ellis               KS           67637
  7071480 Sizewise Rentals, LLC                                                                                               Ellis               KS           67637
  7614664 SKYE ORTHOBIOLOGICS                                                                                                 EL SEGUNDO          CA           90245-0001
  7614673 SMITH & NEPHEW INC                                                                                                  DALLAS              TX           75320
  7614671 SMITH EMERY LABORATORIES                                                                                            LOS ANGELES         CA           90021
  7614680 SNYDER, ALAN                                                                                                        LOS ANGELES         CA           90027
  7614688 SOLEO HEALTH, INC                                                                                                   TEMPE               AZ           85281
  7024734 SOLIANT HEALTH                                                                                                      PALATINE            IL           60055-4430
  7046178 Soliant Health                                                                                                      Jacksonville        FL           32256
  7024734 SOLIANT HEALTH                                                                                                      PALATINE            IL           60055-4430
  7614693 SOLVIS STAFFING SERVICES, INC                                                                                       ESCONDIDO           CA           92025
  7614720 SOUTH FLORIDA STADIUM LLC                                                                                           MIAMI GARDENS       FL           33056
  7037063 SOUTHERN CALIF. EDISON                                                                                              ROSEMEAD            CA           91772
  7024357 SOUTHERN CALIFORNIA EDISON                                                                                          ROSEMEAD            CA           91772-0001
  7589543 Southern Healthcare Agency, Inc.                                                                                    Ridgeland           MS           39157
  7614710 SOUTHERN HEALTHCARE AGENCY, INC.                                                                                    RIDGELAND           MS           39158
  7023542 SOUTHERN MEDICAL STAFFING                                                                                           ALEXANDRIA          LA           71301-3308
  7046249 Southern Medical Staffing, LLC                                                                                      Alexandria          LA           71301
  7821425 Southern Textile Services LLC                                                                                       Wilmington          DE           19801
  7821540 Southern Textile Services LLC                                                                                       Wilmington          DE           19801
  7821515 Southern Textile Services LLC                                                                                       Wilmington          DE           19801
  7822416 Southern Textile Services LLC                                                                                       Wilmington          DE           19801
  7023482 SOUTHERN TEXTILE SERVICES, LLC                                                                                      ALEXANDRIA          LA           71301
  7614721 SOUTHLAND MANAGEMENT GROUP, INC                                                                                     LONG BEACH          CA           90805
  7230680 Southland Management Group, Inc.                                                                                    Garden Grove        CA           92840
  7614722 SOUTHLAND MEDICAL DIALYSIS                                                                                          LOS ANGELES         CA           90004
  7731708 Southwestern Bell Telephone Company                                                                                 Bedminster          NJ           07921
  7614723 SOUTHWESTERN ELECTRIC POWER                                                                                         PITTSBURGH          PA           15250-7496
  7023349 SPECIALIZED HEALTHCARE PARTNERS, LLC                                                                                DELRAY BEACH        FL           33445
  7614730 SPECIALIZED HEALTHCARE PARTNERS, LLC                                                                                DELRAY BEACH        FL           33445
  7614730 SPECIALIZED HEALTHCARE PARTNERS, LLC                                                                                DELRAY BEACH        FL           33445
  7024615 SPECIALIZED MEDICAL SVCS, INC.                                                                                      CHICAGO             IL           60677-7002
  7614736 SPECIALTY FINANCE ADVISORS                                                                                          BETHESDA            MD           20817
  7826335 Spectrum a/k/a Charter Communications Inc.                                                                          New York            NY           10112
  7036337 SPINE SENSE - CCH                                                                                                   SALUDA              NC           28773-8823
  7049981 St Jospeh Medical Center                                                                                            Kansas City         MO           64114
  7614150 ST. CHRISTOPHER IMAGING, LLC                                                                                        SHREVEPORT          LA           71101
  7226949 St. Jude Medical Division of Abbott Laboratories Inc.                                                               Milwaukee           WI           53212
  7226949 St. Jude Medical Division of Abbott Laboratories Inc.                                                               Milwaukee           WI           53212
  7614808 ST. LUKES HOSPITAL OF KANSAS CITY                                                                                   KANSAS CITY         MO           64111
  7023830 ST. LUKES MEDICAL CENTER                                                                                            SALT LAKE CITY      UT           84110-3958
  7023879 ST.JUDE MEDICAL S.C.,INC.                                                                                           AUSTIN              TX           78746
  7024505 STANLEY STEEMER OF LA COUNTY                                                                                        AZUSA               CA           91702



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  7044539 Star Alliance Security Inc                                                                                            Huntington Beach     CA           92647
  7049639 STAR TRANSPORTATION                                                                                                   WICHITA FALLS        TX           76308
  7023777 STATE OF ARIZONA                                                                                                      PHOENIX              AZ           85034
  7023801 STAT-MED                                                                                                              PHOENIX              AZ           85085
  7040885 Stat-Med, Inc.                                                                                                        Wilmington           DE           19801
  7681040 Stericycle Solutions, Inc                                                                                             Lake Forest          IL           60045
  7614793 STERICYCLE, INC.                                                                                                      BANNOCKBURN          IL           60015
  7614793 STERICYCLE, INC.                                                                                                      BANNOCKBURN          IL           60015
  7023327 STERIS CORPORATION                                                                                                    DALLAS               TX           75267-6548
  7067397 Steward Healthcare                                                                                                    Phoenix              AZ           85034
  7614817 STRONG'S BACKHOE SERVICE, INC                                                                                         SHREVEPORT           LA           71106
  7024280 STRONG'S BACKHOE SERVICE, INC.                                                                                        SHREVEPORT           LA           71106
  7023998 STRYKER CORPORATION                                                                                                   KALAMAZOO            MI           49002
  7614820 STRYKER ENDOSCOPY/93276                                                                                               CHICAGO              IL           60673
  7076005 Stryker Medical, a Division of Stryker Corporation                                                                    Kalamazoo            MI           49009
  7036454 STRYKER ORTHOPAEDICS                                                                                                  MAHWAH               NJ           07430
  7198691 Stryker Orthopaedics, a Division of Stryker Corporation                                                               Kalamazoo            MI           49009
  7614841 SUNCOAST ELEVATOR SOLUTIONS, INC.                                                                                     MIAMI                FL           33166
  7614844 SUNSTONE BUSINESS FINANCE, LLC.                                                                                       SUNRIVER             OR           97707
  7584195 Surgical Direct Inc.                                                                                                  St. Louis            MO           63146
  7024384 SURGICAL EVOLUTION                                                                                                    REDONDO BEACH        CA           90277
  7611758 Surgical Evolution Inc.                                                                                               Orange               CA           92867
  7611758 Surgical Evolution Inc.                                                                                               Orange               CA           92867
  7818940 Surgical Program Development, LLC                                                                                     Cerritos             CA           90703
  7680828 Surgical Program Development, LLC                                                                                     Cerritos             CA           90703
  7023778 SW GENERAL, INC.                                                                                                      DALLAS               TX           75284-7102
  7827650 SW General, Inc.                                                                                                      Scottsdale           AZ           85258
  7023191 SWC SPECIAL HOLDINGS, LLC                                                                                             BOCA RATON           FL           33431
  7023144 SYMETRA LIFE INSURANCE COMPANY                                                                                        BELLEVUE             WA           98004
  7614867 SYSCO - #164625 (DC)                                                                                                  WALNUT               CA           91789
  7614868 SYSCO - #164626 (IC)                                                                                                  WALNUT               CA           91789
  7614873 SYSCO FOOD SVCS OF LA - 3980                                                                                          WALNUT               CA           91789
  7024690 SYSCO KANSAS CITY, INC.                                                                                               OLATHE               KS           66051-0040
  7614875 SYSCO SOUTH FLORIDA INC                                                                                               MIAMI                FL           33164
  7024743 SYSCO WEST TEXAS                                                                                                      LUBBOCK              TX           79408
  7036487 SYSMEX AMERICA INC.                                                                                                   CHICAGO              IL           60673
  7683950 TALBOT GROUP LLC                                                                                                      Post Falls           ID           83854-4716
  7023213 Talbot Group, LLC                                                                                                     POST FALLS           ID           83854-4716
  7023213 Talbot Group, LLC                                                                                                     POST FALLS           ID           83854-4716
  7024570 TALEMED, LLC                                                                                                          LOVELAND             OH           45140
  7824338 Taylor Communications Inc                                                                                             Dayton               OH           45417-3405
  7614886 TAYLOR COMMUNICATIONS, INC                                                                                            DALLAS               TX           75285
  7024749 TEAM MEDICAL                                                                                                          PLANO                TX           75023
  7827520 TEG Architects LLC                                                                                                    Jeffersonville       IN           47130
  7583999 TEG ARCHITECTS LLC                                                                                                    JEFFERSONVILLE       IN           47130
  7614905 TENACORE HOLDING INC                                                                                                  SANTA ANA            CA           92705
  7037088 TENACORE HOLDINGS INC.                                                                                                SANTA ANA            CA           92705
  7067752 The Advisory Board Company                                                                                            Hartford             CT           06103
  7068062 The Advisory Board Company                                                                                            Hartford             CT           06103



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  7037124 THE ADVISORY BOARD COMPANY                                                                                        WASHINGTON           DC           20037
  7195799 The City of Paramount, et al.                                                                                     Paramount            CA           90723
  7195818 The City of Paramount, et al.                                                                                     Paramount            CA           90723
  7023087 THE GRAHAM COMPANIES                                                                                              MIAMI LAKES          FL           33014
  7024204 THE INTENSIVIST GROUP                                                                                             SHREVEPORT           LA           71106
  7232083 The Spectranetics Corporation                                                                                     Colorado Springs     CO           80921
  7081360 The Talbot Group LLC                                                                                              Post Falls           ID           83854
  7614958 THE VILLAGES DAILY SUN                                                                                            THE VILLAGES         FL           32162
  7614944 THEOPHILUS OGUNGBAMIGBE, MD                                                                                       MANSFIELD            TX           76063
  7023970 THERXSERVICES, INC.                                                                                               TAMPA                FL           33675
  7614951 THERXSERVICES, INC.                                                                                               TAMPA                FL           33675
  7024626 THINK HEALTHCARE RESOURCES                                                                                        AGOURA HILLS         CA           91301
  7614962 THOMAS HOUSTON ASSOC, INC                                                                                         CHANTILLY            VA           20153-0147
  7614964 THOMAS RODSUWAN, MD                                                                                               SHREVEPORT           LA           71106
  7227751 Thomson Reuters                                                                                                   Eagan                MN           55123
  7614967 THOMSON REUTERS - WEST                                                                                            CAROL STREAM         IL           60197
  7023217 TIERPOINT, LLC                                                                                                    LINCOLN              NE           68501-2670
  7614970 TIGER VALLEY MEDICAL GROUP                                                                                        LOS ANGELES          CA           90026
  7614974 TIRMIZI, SYED OMAR M.D.                                                                                           LOS ANGELES          CA           90034
  7043603 Topps Paving & Sealing LLC                                                                                        Maryland Heights     MO           63043
  7614987 TOTAL ENVIRONMENTAL MANAGEMENT INC                                                                                ANAHEIM              CA           92806
  7616606 TRANS LIFE AMBULANCE                                                                                              VAN NUYS             CA           91406
  7198927 Trans Life, Inc.                                                                                                  Beverly Hills        CA           90212
  7198927 Trans Life, Inc.                                                                                                  Beverly Hills        CA           90212
  7049637 TRANS STAR AMBULANCE                                                                                              WICHITA FALLS        TX           76308
  7024738 TRANS STAR INC.                                                                                                   WICHITA FALLS        TX           76308
  7024738 TRANS STAR INC.                                                                                                   WICHITA FALLS        TX           76308
  7616616 TRICARE FOR LIFE                                                                                                  MADISON              WI           53703
  7616630 TRUSTAFF TRAVEL NURSES, LLC                                                                                       CINCINNATI           OH           45241
  7674462 Trustaff Travel Nurses, LLC                                                                                       Cincinnati           OH           45202
          U.S. Department of Health and Human Services, Centers for
  7973156 Medicare & Medicaid Services                                                                                      Philadelphia         PA           19107
          U.S. Department of Health and Human Services, Centers for
  7973156 Medicare & Medicaid Services                                                                                      Philadelphia         PA           19107
  7616704 U.S. HEALTHWORKS MED GROUP KC, PA                                                                                 ATLANTA              GA           30374
  7023091 U.S. STRATEGIES CORP                                                                                              WEST PALM BEACH      FL           33401
  7616633 UCSD MEDICAL CENTER                                                                                               LOS ANGELES          CA           90074
  7024495 Ulrich Medical USA Inc                                                                                            Chesterfield         MO           63005
  7616643 ULRICH MEDICAL USA, INC                                                                                           CHESTERFIELD         MO           63005
  7616643 ULRICH MEDICAL USA, INC                                                                                           CHESTERFIELD         MO           63005
  7616644 ULTIMATE SOFTWARE GROUP, INC                                                                                      ATLANTA              GA           31193-0953
  7037412 UMA N. AGGARWAL TRUST                                                                                             ST. LOUIS            MO           63124
  7036623 UNICARE                                                                                                           OXNARD               CA           93031-9221
  7616652 UNITED BLOOD SERVICES                                                                                             PHOENIX              AZ           85072
  7232645 United Regional Health Care System                                                                                Wichita Falls        TX           76301
  7024727 UNITED REGIONAL REFERENCE LAB                                                                                     WICHITA FALLS        TX           76301-4333
  7616669 UNITED STAFFING SOLUTIONS, INC                                                                                    CITY OF INDUSTRY     CA           91716-9632
  7041705 UnitedHealthcare Insurance Company                                                                                Hartford             CT           06103
  7024353 UNIVERSAL DIGITAL RESOURCES, INC.                                                                                 MACEDONIA            OH           44056




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  7616679 UNIVERSAL HOSPITAL SERVICES - SURGICAL                                                                    MINNEAPOLIS          MN           55485
  7584008 UNIVERSAL HOSPITAL SERVICES, INC.                                                                         MINNEAPOLIS          MN           55439
  7616683 UNIVERSITY HEALTH SHREVEPORT                                                                              SHREVEPORT           LA           71103
  7616693 URGENT NURSING RESOURCE, INC.                                                                             LA MIRANDA           CA           90638
  7037103 URGENT SURGERY SOLUTIONS, INC.                                                                            PHOENIX              AZ           85006-2611
  7616703 US FOODS, INC                                                                                             DALLAS               TX           85284-6079
  7616703 US FOODS, INC                                                                                             DALLAS               TX           85284-6079
  7616710 US MED-EQUIP, INC                                                                                         HOUSTON              TX           77241-1321
  7071488 US Med-Equip, LLC                                                                                         Houston              TX           77040
  7071490 US Med-Equip,LLC                                                                                          Houston              TX           77040
  7616709 USMED-EQUIP, INC                                                                                          HOUSTON              TX           77041
  7024463 USOC MEDICAL                                                                                              IRVINE               CA           92618
  7616711 USOC MEDICAL                                                                                              IRVINE               CA           92618
  7616719 UT SOUTHWESTERN UNIVERSITY HOSPITAL                                                                       DALLAS               TX           75284
  7616717 UTAH DEPT OF HEALTH                                                                                       SALT LAKE CITY       UT           84114
  7023069 V.C. MEDICAL ENTERPRISES                                                                                  LOS ANGELES          CA           90041
  7616729 V.C. MEDICAL ENTERPRISES                                                                                  LOS ANGELES          CA           90041
  7616722 VALENTINO FERNANDES, MD., PA.                                                                             DALLAS               TX           75229
  7616726 VAPOTHERM, INC.                                                                                           DETROIT              MI           48267
  7075984 Verathon                                                                                                  Bothell              WA           98011
  7616731 VERATHON INC                                                                                              ATLANTA              GA           31193
  7616739 VICKSBURG WARREN CO AMBULANCE                                                                             VICKSBURG            MS           39180
  7831359 Vitalant f/k/a Blood Systems Inc.                                                                         Scottsdale           AZ           85257
  7616756 VSH2008 LLC - RENT                                                                                        ST. FRANCISVILLE     LA           70775
  7047506 VSH2008, LLC                                                                                              Baton Rouge          LA           70821-2997
  7611765 VWR International LLC                                                                                     Radnor               PA           19082
  7049323 W.W. Grainger, Inc.                                                                                       Janesville           WI           53546
  7049583 W.W. Grainger, Inc.                                                                                       Janesville           WI           53546
  7049581 W.W. Grainger, Inc.                                                                                       Janesville           WI           53546
  7616764 WAIT MECHANICAL, INC                                                                                      ARLINGTON            TX           76015
  7045954 Walker Medical Linen Services                                                                             Kansas City          MO           64127
  7616765 WALKER TOWEL & UNIFORM                                                                                    KANSAS CITY          MO           64127
  7616766 WALNUT HILL MEDICAL CENTER                                                                                DALLAS               TX           75231
  7077715 Wassman, Patrick                                ADDRESS ON FILE
  7074153 Weiss Staffing Solutions LLC                                                                              N Kansas City        MO           64116
  7037676 WEISS,HANDLER, & CORNWELL                                                                                 BOCA RATON           FL           33431
          WELLS FARGO BANK, NATIONAL ASSOCIATION, AGENT
  7616789 CAPITAL FINANCE                                                                                           SANTA MONICA         CA           90404
          WELLS FARGO BANK, NATIONAL ASSOCIATION, AGENT
  7616790 VENDOR FIN SERV, LLC                                                                                      ATLANTA              GA           30348-5710
  7828615 Wells Fargo Vendor Financial Services, LLC                                                                Cedar Rapids         IA           52404
  7828634 Wells Fargo Vendor Financial Services, LLC                                                                Cedar Rapids         IA           52404
  7616792 WERFEN USA, LLC                                                                                           PITTSBURGH           PA           15251-4934
  7616792 WERFEN USA, LLC                                                                                           PITTSBURGH           PA           15251-4934
  7616794 WEST COAST BIO MEDICAL INC                                                                                RAMONA               CA           92065
  7037137 WESTCOM RADIOLOGY MEDICAL GROUP                                                                           LOS ANGELES          CA           90026
  7024761 WICHITA COUNTY                                                                                            WICHITA FALLS        TX           76301
  7826399 Williams, Theresa                               ADDRESS ON FILE
  7826365 WILLIAMS, THERESA                               ADDRESS ON FILE




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  7616813 WILLIS-KNIGHTON HEALTH SYSTEM                                                                          SHREVEPORT         LA           71130
  7621532 Windstream                                                                                             Hiawatha           IA           52233
  7033914 WINDSTREAM                                                                                             LOUISVILLE         KY           40290-1013
  7037114 WINDSTREAM (PAETEC)                                                                                    LOUISVILLE         KY           40290
  7616823 WK BOSSIER HEALTH CENTER                                                                               BOSSIER CITY       LA           71171
  7616829 WK PIERREMONT HEALTH CENTER                                                                            SHREVEPORT         LA           71130
  7827593 Woodbury, Edmund C.                          ADDRESS ON FILE
  7616847 WSI RECRUITING, INC.                                                                                   CALABASAS          CA           91302
  7024038 X-CEL MOBILE LLC                                                                                       SPRING HILL        TN           37174
  7023207 XENTEGRA, LLC                                                                                          HUNTERSVILLE       NC           28078
  7631992 XEROX CORPORATION                                                                                      DALLAS             TX           75266-9937
  7616851 XEROX CORPORATION                                                                                      PHILADELPHIA       PA           19182-7598
  7616852 XEROX FINANCIAL SVCS.                                                                                  DALLAS             TX           75320
  7077457 X-Spine Systems Inc.                                                                                   Tampa              FL           33647
  7616855 X-SPINE SYSTEMS, INC.                                                                                  MIAMISBURG         OH           45342
  7033680 YOO, JAMIE                                   ADDRESS ON FILE
  7616863 ZACK GROUP                                                                                             OVERLAND PARK      KS           66211
  7819441 Zimmer Biomet                                                                                          Warsaw             IN           46580
  7036771 ZIMMER, INC.                                                                                           CHICAGO            IL           60693
  7046041 Zurich American Insurance Company                                                                      Schaumburg         IL           60196




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7024790        1ST CHOICE PERSONNEL                                        6550 YOUREE DRIVE         SUITE 2500                                                                  SHREVEPORT        LA           71105
                                                                           4613 N. UNIVERSITY DRIVE,
7616206        24BY7 SECURITY, INC                                         SUITE #267                                                                                            Coral Springs     FL           33067
7036805        3 WEST CAPITAL, INC. DBA 3 WEST MEDICAL                     440 HINDRY AVE            UNIT C                                                                      INGLEWOOD         CA           90301

7616215        3 WEST MEDICAL                                              CORAL SPRINGS, FL 33067 SUITE 170                                                                     INGLEWOOD         CA           90301
                                                                           655 NORTH CENTRAL
7616208        360 MANAGEMENT GROUP, LLC                                   AVENUE FLOOR 17                                                                                       Glendale          CA           91203
7616211        3E COMPANY                                                  3207 GREY HAWK COURT                                                                                  CARLSBAD          CA           92010
7616210        3E COMPANY                                                  1905 ASHTON AVENUE                                                                                    CARLSBAD          CA           92008
                                                                                                                                                        303 Peachtree St., NE,
7828869        3M Health Information Systems                               3M Company                 Dentons US LLP          c/o Alison Franklin       Suite 5300               Atlanta           GA           30308
7616213        3M HEALTH INFORMATION SYSTEMS, INC                          2807 PAYSPHERE CIRCLE                                                                                 CHICAGO           IL           60674
                                                                           1703 MILTON MANOR
7616216        6-2 PLUMBING                                                DRIVE                                                                                                 EL CAJON          CA           92021
7036806        A & J LOCK & KEY SERVICE                                    5850 SHIRLEY AVE.                                                                                     TARZANA           CA           91356
7616504        A SHOOB INC                                                 5790 RODMAN ST             SUITE #4                                                                   HOLLYWOOD         FL           33023
7024250        A TO B TRANSIT                                              444 SUGARLEAF TRAIL                                                                                   SHREVEPORT        LA           71106
7616290        A&E TECHNICAL SERVICE, INC. DBA                             204 CARNATION AVE.                                                                                    METAIRIE          LA           70001
7023786        A&S HOOD EXHAUST CLEANING                                   8522 N. 33RD AVE.                                                                                     PHOENIX           AZ           85051

7616263        A/C & REFRIGERATION, LLC.                                   1410 E. TIERRA BUENA LN.                                                                              PHOENIX           AZ           85022-3254
7616217        A-1 ALL AMERICAN ROOFING CO., WLA, INC.                     15321 TEXACO AVE.                                                                                     PARAMOUNT         CA           90723

7024753        A-1 FREEMAN MOVING & STORAGE, LLC                           11517 N. BROADWAY EXT.                                                                                OKLAHOMA CITY     OK           73114
7586533        AAA ALARM & SECURITY, INC.                                  1815 W. CREST LANE                                                                                    PHOENIX           AZ           85027
7616220        AAA SAFTEY INC                                              PO BOX 3296                                                                                           SHREVEPORT        LA           71133
7034095        AADCO MEDICAL INC.                                          P.O. BOX 410                                                                                          RANDOLPH          VT           05060-0110
7616222        AADCO MEDICAL, INC.                                         P.O. BOX 410                                                                                          RANDOLPH          VT           05060-0110

7616223        AAHAM MEMBERSHIP                                            11240 WAPLES MILL ROAD     #200                                                                       FAIRFAX           VA           22030
7023881        AAS HOLDINGS, LLC                                           320 COURT ST                                                                                          PLYMOUTH          MA           02360-4339
                                                                           Kohner, Mann & Kailas,     4650 North Port
7632026        Abbott Diabetes Care Sales Corporation                      S.C.                       Washington Road                                                            Milwaukee         WI           53212
                                                                           Kohner, Mann & Kailas,     4650 North Port
7632008        Abbott Diagnostics Division of Abbott Laboratories Inc.     S.C.                       Washington Road                                                            Milwaukee         WI           53212
7586523        ABBOTT LABORATORIES                                         P.O. BOX 92679                                                                                        CHICAGO           IL           60675-2679
                                                                           Kohner, Mann & Kailas,     4650 North Port
7631697        Abbott Laboratories Inc.                                    S.C.                       Washington Road                                                            Milwaukee         WI           53212
                                                                           Kohner, Mann & Kailas,     4650 North Port
7226942        Abbott Point of Care Division of Abbott Laboratories Inc.   S.C.                       Washington Road                                                            Milwaukee         WI           53212
7616232        ABC LASER USA-SUN                                           4522 TREADSTONE CT                                                                                    SUWANSE           GA           30024-6965
7048053        ABI Arbor Inc                                               PO Box 352530                                                                                         Palm Coast        FL           32135
7023154        ABIS DATA/VOICE                                             310 E TRINITY BLVD.        STE 600                                                                    GRAND PRAIRIE     TX           75050
7616237        ABLE DUCT CLEANING COMPANY                                  701 PATTERSON AVE                                                                                     GLENDALE          CA           91203

7616238        ABM ONSITE SERVICES-WEST, INC.                              POST OFFICE BOX 934408                                                                                ATLANTA           GA           31193
7616239        ABMS SOLUTIONS, LLC                                         3050 PEACHTREE ROAD        SUITE 570                                                                  ATLANTA           GA           30305
7616240        ABUBAKAR IBRAHIM, MD                                        436 BREAMAR RD.                                                                                       SHREVEPORT        LA           71106
7616241        ACADEMY OF NUTRITION AND DIETETICS                          PO BOX 97215                                                                                          CHICAGO           IL           60678
                                                                                                      130 E. KALISTE SALOOM
7616242        ACADIAN AMBULANCE SERVICES                                  PO BOX 92970               ROAD                                                                       LAFAYETTE         LA           70509
7616243        ACC BUSINESS #1211502 (IC)                                  PO BOX 105306                                                                                         Atlanta           GA           30348
7616244        ACC BUSINESS #1211797 (DC)                                  PO BOX 105306                                                                                         Atlanta           GA           30348
7616246        ACCENT MEDICAL SYSTEM INC                                   1407 S 6TH AVE                                                                                        ARCADIA           CA           91006-4317
7616250        ACCESS RELIEF                                               668 S. HARVEY STREET                                                                                  PLYMOUTH          MI           48170




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7616251        ACCORD FINANCIAL, INC                        25 WOODS LAKE ROAD       SUITE 102                                                       GREENVILLE       SC           29607
7058435        Account Management Services, Inc.            PO Box 2296                                                                              Cypress          CA           90630
7616252        ACCOUNTABLE HEALTH CARE IPA                  2525 CHERRY AVENUE       SUITE# 225                                                      SIGNAL HILL      CA           90755
                                                            522 SOUTH SEPULVEDA
7616255        ACCURATE MEDICAL SERVICES, LLC               BLVD.,                   SUITE #110                                                      LOS ANGELES      LA           90049
                                                            3231 WASHINGTON
7616256        ACCUTEMP REFRIGERATION                       STREET                                                                                   PHOENIX          AZ           85034
                                                            15341 HONORS COURT
7023464        ACE PRO, INC.                                DR.                                                                                      BATON ROUGE      LA           70810
7616258        ACELL, INC.                                  P.O.BOX 347766                                                                           PITTSBURGH       PA           15251-4766
7024708        ACI SPECIALTY BENEFITS                       6480 WEATHERS PLACE      SUITE 300                                                       SAN DIEGO        CA           92121
                                                            13828 COLLECTIONS
7024767        ACPL                                         CENTER DRIVE                                                                             CHICAGO          IL           60693
7616262        ACR BIOLOGICS                                POB 180692                                                                               FORT SMITH       AR           72918
7616262        ACR BIOLOGICS                                POB 180692                                                                               FORT SMITH       AR           72918
7616264        ACTION DUCT CLEANING CO., INC                2333 LINCOLN AVE.                                                                        ALTADENA         CA           91001
7616266        ACTIVE MED SUPPLY, LLC                       32 HAWAII DRIVE                                                                          ALISA VEIJO      CA           92656
                                                            34145 PACIFIC COAST
7036814        ACTIVE MEDICAL SUPPLY, LLC                   HIGHWAY #712                                                                             DANA POINT       CA           92629
7616267        ACUITY MEDICAL                               117 GIBRALTER AVE.                                                                       ANNAPOLIS        MD           21401
7616268        ACUTE MEDICAL SERVICES, LLC                  PO BOX 15010                                                                             HUMBLE           TX           77346
7024711        ADEPTO MEDICAL, LLC                          3120 TERRACE STREET                                                                      KANSAS CITY      MO           64111
7025118        Adkins, Tangerine                            ADDRESS ON FILE
                                                            2129 W ROSECRANS
7616273        ADMIN SERVICE CO OP INC                      AVENUE                                                                                   GARDENA          CA           90249
7616274        ADMISTRATIVE SERV, CO-OP                     2129 W.ROSECRANS                                                                         GARDENA          CA           90249
                                                            2250 GAUSE BLVD
7616276        ADVANCED BIO-MEDICAL ELECTRONICS IN          PNB51102                                                                                 SLIDELL          LA           70461
7616277        ADVANCED COMMUNICATIONS & MAINTENANCE, LLC   12155 METRO PARKWAY      #15                                                             FORT MYERS       FL           33966
7616278        ADVANCED ENVIRONMENTAL TESTING               & ABATEMENT, INC         803 RICKER STREET                                               WATERLOO         IA           50703
7616281        ADVANCED LABORATORY TECHNOLOGIES LL          8439 LINDRICK LN                                                                         BRADENTON        FL           34202-4626
                                                            216 Avenida Fabricante
7036815        Advanced Medical Sales, Inc.                 #110                                                                                     San Clemente     CA           92672
7024051        ADVANCED PSYCHIATRIC CARE                    9400 GLADIOLUS DRIVE     SUITE 340                                                       FORT MYERS       FL           33908
7616283        ADVANCED QUALITY TRANSPORT SERVICE           P.O. BOX 4211                                                                            N. FORT MYERS    FL           33918

7616285        ADVANTAGE NURSING SERVICES INC               3340 SEVERN AVE STE 320                                                                  METAIRIE         LA           70002
7024080        ADVENTURE HEALTHCARE SOLUTIONS, INC.         P.O. BOX 244                                                                             CARDIFF          CA           92007
7616287        AEGIS SCIENTIFIC INC.                        P.O. BOX 16378                                                                           PHILADELPHIA     PA           19114
                                                            3773 CORPORATE
7034164        AESCULAP IMPLANT SYSTEMS, INC.               PARKWAY                                                                                  CENTER VALLEY    PA           15253
                                                            4613 NORTH UNIVERSITY
7616300        AFFORDABLE CARTRIDGE & TONER                 DRIVE                   UNIT #506                                                        CORAL SPRINGS    FL           33067
                                                            4613 North University
7077551        Affordable Cartridge and Toner Depot, Inc.   Drive                   Unit #506                                                        Coral Springs    FL           33067
7616301        Affordable Dentures                          1048 US27 S Suite 1060                                                                   Avon Park        FL           33825
7616302        AFFORDABLE GREASE PUMPING                    5820 MIRAMAR ROAD       STE# 209                                                         SAN DIEGO        CA           92121
7616304        AG COMMUNICATIONS, LLC                       909 CHURCH HILL ROAD                                                                     FAIRFIELD        CT           06825

7023901        AGENCY FOR HEALTHCARE ADMINSTRATION          2727 MAHAN DRIVE MS31                                                                    TALLAHASSEE      FL           32308
7080679        Aguilar, Luis                                ADDRESS ON FILE
7616306        AHC MEDIA                                    P.O BOX 105109                                                                           ATLANTA          GA           30348
                                                            9920 PROSPECT AVE,
7616307        AHLEE BACKFLOW SERVICE INC                   STE.104                                                                                  SANTEE           CA           92071
7616309        AIM STAFFING, INC.                           9900 WESTPARK DRIVE   SUITE 132                                                          HOUSTON          TX           77063
7616311        AIR CONDITIONING COMPANY, INC.               5935 FLORENCE AVENUE                                                                     BELL GARDENS     CA           90201




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7616319        AIR LIQUIDE HEALTHCARE AMERICA CORP         P.O. BOX 301046                                                                                   DALLAS            TX           75303
7023891        AIR MECHANICAL & SERVICE CORP               P.O. BOX 153179                                                                                   TAMPA             FL           33684
7616313        AIRE-MASTER                                 PO BOX 43258                                                                                      PHOENIX           AZ           85080
7616315        AIRFLOW DIRECTION INC.                      2 LIVINGSTON LANE                                                                                 NEWBURY           MA           01951
                                                           110 WEST 7TH STREET,
7226778        AIRGAS USA, LLC                             SUITE 1300                                                                                        TULSA             OK           74119
7616318        AIRGAS USA, LLC                             PO BOX 532609                                                                                     ATLANTA           GA           30353-2909
                                                           110 WEST 7TH STREET,
7226778        AIRGAS USA, LLC                             SUITE 1300                                                                                        TULSA             OK           74119
                                                           110 WEST 7TH STREET,
7226778        AIRGAS USA, LLC                             SUITE 1300                                                                                        TULSA             OK           74119
                                                           110 WEST 7TH STREET,
7226778        AIRGAS USA, LLC                             SUITE 1300                                                                                        TULSA             OK           74119
7121410        Airscan Technologies                        131 Davis Ct                                                                                      Springtown        TX           76082
7616321        AIRSCAN TECHNOLOGIES, INC.                  PO BOX 1539                                                                                       SPRINGTOWN        TX           76082
7023496        AIR-SIDE EQUIPMENT, INC.                    ATTN: KIRK MAYNARD         P.O. BOX 628                                                           PLAQUEMINE        LA           70765
7616323        AIRSPEC, INC                                5520 COUNTY ROAD           44A                                                                    WILDWOOD          FL           34785
7616324        AIR-VAC SYSTEMS, INC                        242 DENNY WAY                                                                                     EL CAJON          CA           92020
7828778        ALACHUA COUNTY                              PO BOX 5038                                                                                       GAINESVILLE       FL           32627
7616329        ALADDIN TEMP-RITE LLC                       PO BOX 8500-3431                                                                                  PHILADELPHIA      PA           19178
7616329        ALADDIN TEMP-RITE LLC                       PO BOX 8500-3431                                                                                  PHILADELPHIA      PA           19178
7616330        ALAMO GLASS & MIRROR                        10510 OLYMPIC DRIVE                                                                               DALLAS            TX           75220
                                                                                                                 100 CHALLENGER ROAD,
7616331        ALAMO MOBILE X-RAY & EKG SVCS, INC          ATTN: ARI KAROLY           WALNUT COURT CAPITAL SUITE 105                                         RIDGEFIELD PARK   NJ           07660
                                                                                      4400 Piedras Dr. S., Ste.
7073916        Alamo Mobile X-Ray and EKG Services, Inc.   Attn: Samuel Weinberg      140                                                                    San Antonio       TX           78228
                                                                                      100 Challenger Road, Suite
7075200        Alamo Moblie X-Ray and EKG Services, Inc.   Samuel Weinberg            105                                                                    Ridgefield Park   NJ           07660
7024151        ALARCON HOME LOANS, LLC.                    6010 SAN MIGUEL ROAD                                                                              BONITA            CA           91902
7616334        ALBERT RECORDS MANAGEMENT                   P.O. BOX 8367                                                                                     WICHITA FALLS     TX           76307
                                                           12575 KIRKHAM COURT,
7616335        ALBIREO ENERGY                              STE 1                                                                                             POWAY             CA           92064
7616338        ALCO WEAMS                                  16167 HIGHWAY 930                                                                                 PRAIRIEVILLE      LA           70769
7616340        ALERE INFORMATICS SYSTEMS,INC.              2000 HOLIDAY DRIVE         SUITE 500                                                              CHARLOTTESVILLE   VA           22901
                                                           c/o Kohner, Mann & Kailas,                             4650 North Port
7824370        Alere Informatics, Inc.                     S.C.                       Samuel C. Wisotzkey, Esq.   Washington Rd.                             Milwaukee         WI           53212
7616341        ALERE NORTH AMERICA,INC.                    PO. BOX 846153                                                                                    BOSTON            MA           02284
7616342        ALERE TOXICOLOGY SERVICES, INC.             POB 654075                                                                                        DALLAS            TX           75265
7616348        ALIMED INC                                  297 HIGH ST.                                                                                      DEDHAM            MA           02026
                                                           1200 S. ACADIAN
7023537        ALL ABOUT NURSING, LLC                      THRUWAY                                                                                           BATON ROUGE       LA           70806
7616351        ALL AMERICAN PORTABLE AIR, LLC              P.O. BOX 620218                                                                                   OVIEDO            FL           32762
7616369        ALL STAR CONCRETE CUTTING AND CORING INC    PO BOX 126                                                                                        RIALTO            CA           92377
7071295        All Town Ambulance L.L.C.                   13812 Saticoy St. "A"                                                                             Panorama City     CA           91402
7024480        ALL TOWN AMBULANCE, LLC                     13812 SATICOY STREET       SUITE A                                                                PANORAMA CITY     CA           91402

7616372        ALL VETERANS NURSE STAFFING INC             438 CAMINO DEL RIO SO.     SUITE 101                                                              SAN DIEGO         CA           92108
                                                           8001 YOUREE DRIVE STE
7616352        ALLAN MATRIANO-LIM, MD                      720                                                                                               SHREVEPORT        LA           71115
7616355        ALLEGIANCE AMBULANCE                        1681 S. BROADWAY                                                                                  CARROLLTON        TX           75006
7616358        ALLIANCE LABS, LLC                          PO BOX 733043                                                                                     DALLAS            TX           75373
7616359        ALLIANCE RADIOLOGY PA                       P.O. BOX 804451                                                                                   KANSAS CITY       MO           64180
7616359        ALLIANCE RADIOLOGY PA                       P.O. BOX 804451                                                                                   KANSAS CITY       MO           64180

7616360        ALLIED MEDICAL IMAGING, INC                 12181 BALLANTINE DRIVE                                                                            ROSSMOOR          CA           90720




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7024136        ALLIED MEDICAL WASTE, LLC                        11870 COMMUNITY ROAD STE 215                                                             POWAY              CA           92604
7024385        ALLIED REFRIGERATION                             P.O. BOX 2411                                                                            LONG BEACH         CA           90801
7616365        ALLIED SERVICES, LLC                             PO BOX 9001099                                                                           LOUISVILLE         KY           40290
7023202        ALLSCRIPTS HEALTHCARE, LLC.                      24630 NETWORK PLACE                                                                      CHICAGO            IL           60673-1246
7616370        ALLSTAR ENGRAVING, INC.                          1917 W. COPANS ROAD                                                                      POMPANO BEACH      FL           33064

7616373        ALMA MEDINA                                      9426 1/2 FLOWER STREET                                                                   BELLFLOWER         CA           90706
7616376        ALPHA NURSING SERVICES, INC.                     820 JORDAN STREET      SUITE 308                                                         SHREVEPORT         LA           71101

7616377        ALPHA ONE IMAGING                                8595 UNTIED PLAZA BLVD.                                                                  BATON ROUGE        LA           70809
7616374        ALPHACARD                                        P.O.BOX 231179                                                                           PORTLAND           OR           97281
7616375        ALPHAGRAPHICS                                    2189 SOUTH 3200 WEST                                                                     WEST VALLEY CITY   UT           84119
7616381        ALSCO - 011986 IC                                404 N UNIVERSITY AVE                                                                     LUBBOCK            TX           79415
7616382        ALSCO - 011987 DC                                404 N UNIVERSITY AVE                                                                     LUBBOCK            TX           79415
7616384        ALTA SYSTEMS, INC                                6825 NW. 18TH DRIVE                                                                      GAINESVILLE        FL           32653
7616386        ALTMAN SCIENTIFIC CORP                           P.O. BOX 5312                                                                            ST. AUGUSTINE      FL           32085
7616390        AMA-PHYSICIAN PROFILE UNIT                       515 N.STATE STREET                                                                       CHICAGO            IL           60610
7071581        Ambs Message Center, Inc. dba Ambs Call Center   PO Box 1325                                                                              Jackson            MI           49204

7036825        AMENDIA, INC.                                    1755 WEST OAK PARKWAY                                                                    MARIETTA           GA           30062
                                                                2233 SOUTH PRESIDENT'S
7616402        AMERICAN ACADEMY HOLDINGS LLC                    DRIVE                     SUITE F                                                        SALT LAKE CITY     UT           84120
7616404        AMERICAN AIR BALANCE CO, INC.                    4721 E HUNTER AVE                                                                        ANAHEIM            CA           92807
7616405        AMERICAN ASSOCIATION OF BIOANALYSTS              205 WEST LEVEE STREET                                                                    BROWNSVILLE        TX           78520
7616406        AMERICAN BUSINESS SOLUTIONS                      4149 SW 47TH AVENUE       SUITE E                                                        FORT LAUDERDALE    FL           33314
7226885        AMERICAN DIAGNOSTIC SERVICES                     PO BOX 62510                                                                             BALTIMORE          MD           21264
                                                                1620 EYE STREET, NW 6TH
7616409        AMERICAN HEALTH LAWYERS ASSOCIATION              FLOOR                                                                                    WASHINGTON         DC           20006
                                                                ATTN: LISA CAMPO; 1412
7023165        AMERICAN HEART ASSOCIATION                       CENTRE COURT DR.          SUITE 412                                                      ALEXANDRIA         LA           71301
                                                                5612 S. SHERWOOD
7616411        AMERICAN KEY & LOCK CO., INC.                    FOREST                                                                                   BATON ROUGE        LA           70816
7023569        AMERICAN MEDICAL RESPONSE                        P.O. BOX 198408                                                                          ATLANTA            GA           30384-8408
7616415        AMERICAN MEDICAL RESPONSE-                       P.O. BOX 198408                                                                          ATLANTA            GA           30384-8408
7024169        AMERICAN MESSAGING SERVICES, LLC                 P.O. BOX 5749                                                                            CAROL STREAM       IL           60197
7616419        AMERICAN MOBILE MEDICAL OF ACADIANA              174 GRANT ROAD                                                                           OPELOUSAS          LA           70870-0720
7616421        AMERICAN PARAMEDICAL SERVICE                     PO BOX 801                                                                               SEDALIA            MO           65302
7616422        AMERICAN PROFESSIONAL AMBULANCE                  P.O. BOX 7263                                                                            VAN NUYS           CA           91409-7263
7616423        AMERICAN PROFICIENCY INSTITUTE                   DEPT 9526                 P.O. BOX 30516                                                 LANSING            MI           48909-8016
7616424        AMERICAN QUALITY FOODS                           PO BOX 519                                                                               ARDEN              NC           28704
7616426        AMERICAN SCALE COMPANY                           3872 SH 64 W              #301                                                           TYLER              TX           75704
7616427        AMERICAN TELESOURCE, INC                         1350 OCEAN AVE                                                                           EMERYVILLE         CA           94608
7616429        AMERICARE AMBULANCE SERVICE                      1059 E. BEDMAR ST.                                                                       CARSON             CA           90746
7037775        AMP STAFFING NETWORK, LLC                        JOHN Y. IGARASHI, ESQ.    18021 COWAN                                                    IRVINE             CA           92614
7616440        AMS SALES LLC                                    10700 BREN ROAD WEST                                                                     MINNETONKA         MN           55343
                                                                3709 PROMONTORY
7616443        AMTEC MEDICAL INC.                               POINT DR.                 SUITE 114                                                      AUSTIN             TX           78744
7616442        AMTECH ELEVATOR SERVICES (INGLESIDE)             3041 ROSWELL ST                                                                          LOS ANGELES        CA           90065
7616444        AMTEL SOUTH                                      2748 44TH ST SW                                                                          NAPLES             FL           34116
                                                                1240 SOUTH CLAUDINA
7024744        ANACOM GENERAL CORPORATION                       STREET                                                                                   ANAHEIM            CA           92805
                                                                1240 SOUTH CLAUDINA
7024744        ANACOM GENERAL CORPORATION                       STREET                                                                                   ANAHEIM            CA           92805
7616446        ANALYTIC PATHOLOGY MEDICAL GROUP                 PO BOX 749080                                                                            LOS ANGELES        CA           90074-9080
7683898        ANAND DESAI, MD                                  9754 AIELLO LN                                                                           SHREVEPORT         LA           71106-7440




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7616448        ANDA INC                                   P.O. BOX 930219                                                                         ATLANTA            GA           31193-0219
7044873        Andersen Commercial Plumbing, LLC          190 E. Arrow Highway                                                                    San Dimas          CA           91773

7616449        ANDERSEN'S DOOR SERVICE, INC               12890 WESTERN AVENUE                                                                    GARDEN GROVE       CA           92841
7677587        Andersen's Door Service, Inc.              10539 Dale Ave.                                                                         Stanton            CA           90680
7677587        Andersen's Door Service, Inc.              10539 Dale Ave.                                                                         Stanton            CA           90680
                                                          190 EAST ARROW
7616450        ANDERSON COMMERCIAL PLUMBING, INC.         HIGHWAY                   SUITE H                                                       SAN DIMAS          CA           91773
7616451        ANDREW SEEVARATHAM                         646 SE 47TH LOOP                                                                        OCALA              FL           34480
7616454        ANGELICA TEXTILES - 3103004                P.O. BOX 51669                                                                          LOS ANGELES        CA           90051-5969
7616455        ANGELICA TEXTILES - 3103005                P.O. BOX 51669                                                                          LOS ANGELES        CA           90051-5969
7616456        ANGELICA TEXTILES - 7014605                DEPT. 6777                                                                              LOS ANGELES        CA           90084
7683893        ANGIO DYNAMICS                             P.O. BOX 1549                                                                           ALBANY             NY           12201-1549
7822076        AngioDynamics Inc                          P.O. Box 1549                                                                           Albany             NY           12201-1549
7616458        ANGIODYNAMICS, INC                         P.O. BOX 1549                                                                           ALBANY             NY           12201-1549
7822284        AngioDynamics, Inc                         14 Plaza Drive                                                                          Latham             NY           12110
7822385        AngioDynamics, Inc.                        PO Box 1549                                                                             Albany             NY           12201-1549
7616459        ANIL GOGINENI, M.D.                        4152 SW 46TH TERRACE                                                                    OCALA              FL           34474
7616461        ANTARTICA, INC                             9037 EVANSPORT DRIVE                                                                    ROSEMEAD           CA           91770

7616463        AON CONSULTING, INC                        200 E. RANDOLPH STREET                                                                  CHICAGO            IL           60601
7616465        APEX IMAGING SERVICES INC                  18003 HARVEST AVE                                                                       CERRITOS           CA           90703
7616466        APEX REHAB INC.                            1533 S SUNBLUFF DR                                                                      DIAMOND BAR        CA           91765
                                                          1120 SOUTH CAPITAL OF
7616467        APOLLO ENDOSURGERY, INC.                   TX HWY BLDG 1          SUITE 300                                                        AUSTIN             TX           78746
7616470        APPLIED CARDIAC SYSTEMS                    1 HUGHES                                                                                IRVINE             CA           92618
7616471        APPLIED MEDICAL TECHNOLOGY, INC            8006 KATHERINE BLVD.                                                                    BRECKSVILLE        OH           44141
7616473        APS AMBULANCE LLC                          2950 NW PLATTE ROAD                                                                     RIVERSIDE          MO           64150
                                                          1060-C NORTHGATE
7616474        AQUA BACKFLOW AND CHLORINATION, INC        STREET                                                                                  RIVERSIDE          CA           92507
7616475        AQUARIUS PRESS, INC                        13795 N.W. 19 AVENUE                                                                    OPA-LOCKA          FL           33054

7024338        ARAMARK REFRESHMENT SERVICES, LLC.         1435 MIRAMAR PARKWAY SUITE #308                                                         MIRAMAR            FL           33027
7616479        ARGON MEDICAL DEVICES                      1445 FLATCREEK ROAD                                                                     ATHENS             TX           75751
7617531        Argon Medical Devices Inc                  1445 Flat Creek Rd                                                                      Athens             TX           75751

7616480        ARIZONA CUTLERY & SHARPENING SVC.          12620 N. CAVE CREEK RD.   SUITE 4                                                       PHOENIX            AZ           85022
                                                          4320 E. COTTON CENTER
7616481        ARIZONA OFFICE TECHNOLOGIES                BLVD.                     SUITE 100                                                     PHOENIX            AZ           85040
7024555        ARJOHUNTLEIGH, INC.                        2349 W. LAKE STREET       SUITE 250                                                     ADDISON            IL           60101

                                                          LOCKBOX#32726
7616483        ARKADIN, INC                               COLLECTION CENTER DRI                                                                   CHICAGO            IL           60693
                                                          3015 CAMINGTON MILL
7034318        ARROW INTERNATIONAL INC.                   BLVD., SUITE 300                                                                        MORRISVILLE        NC           27560-8871

7616488        ARROW PEST CONTROL                         4720 JONES CREEK ROAD                                                                   BATON ROUGE        LA           70817
7616489        ARS ENTERPRISES, INC.                      12900 LAKELAND ROAD                                                                     SANTA FE SPRINGS   CA           90670
7034321        ARTERIOCYTE                                45 SOUTH STREET                                                                         HOPKINTON          MA           01748
7616492        ARTHREX                                    P.O. BOX 403511                                                                         ATLANTA            GA           30384
7070155        Arthrex Inc.                               14550 Plantation Rd                                                                     Fort Myers         FL           33912
                                                          8333 NW 53RD STREET STE
7616494        ARTHUR J GALLAGHER                         600                                                                                     MIAMI              FL           33166
7616495        ARTHUR L DAVIS PUBLISHING AGENCY           PO BOX 216                                                                              CEDAR FALLS        IA           50613
7616495        ARTHUR L DAVIS PUBLISHING AGENCY           PO BOX 216                                                                              CEDAR FALLS        IA           50613
7616496        ARTISTIC PRINTING COMPANY                  5878 W. PICO BLVD                                                                       LOS ANGELES        CA           90019




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7616497        ARUNPAL SEHGAL, MD                                     155 S. VALLEY VIEW PL                                                                            ANAHEIM              CA           92807-3516
7616498        ASAP Express Delivery, LLC                             PO Box 6620                                                                                      Shreveport           LA           71136
7616502        ASHISH AGRAWAL MD., INC.                               PO BOX 81026                                                                                     SAN DIEGO            CA           92138
7616507        ASHRM/AHA                                              75 REMITTANCE DRIVE         SUITE# 1885                                                          CHICAGO              IL           60675-1885
                                                                                                  7600 Jericho Turnpike,
11511579       ASM Capital X LLC as Transferee of AAS Holdings, LLC   Attn: Adam S. Moskowitz     Suite 302                                                            Woodbury             NY           11797
7616512        ASSA ABLOY ENTRANCE SYSTEMS                            1900 AIRPORT RD                                                                                  MONROE               NC           28110
7616514        ASSOCIATION FOR HEALTHCARE RESOURCE                    PO BOX 75315                                                                                     CHICAGO              IL           60675
7616515        ASSOCIATION OF CORPORATE COUNSEL                       PO BOX 824272                                                                                    PHILADELPHIA         PA           19182
7616516        ASSOCIATION OF OPERATING ROOM NURSE                    REGISTERED NURSES                                                                                DENVER               CO           80231

7024085        ASTRO MECHANICAL CONTRACTORS, INC.                     603 S. MARSHALL AVENUE                                                                           EL CAJON             CA           92020
7616519        AT ABATEMENT SERVICES, INC                             4915 STILLWELL                                                                                   KANSAS CITY          MO           64120
7616536        AT&T                                                   PO BOX 105503                                                                                    ATLANTA              GA           30348
7033876        AT&T (DC)                                              P.O. BOX5025                                                                                     CAROL STREAM         IL           60197
7616535        AT&T (INGLESIDE)                                       PO BOX 5010                                                                                      CAROL STREAM         IL           60197
                                                                                                                            One AT&T Way, Room
7812257        AT&T Corp                                              % AT&T Services, Inc.       Karen Cavagnaro, Esq.     3A104                                      Bedminster           NJ           07921
                                                                                                                            One AT&T Way, Room
7723424        AT&T Corp                                              c/o AT&T Services, Inc.     Karen Cavagnaro, Esq.     3A104                                      Bedminster           NJ           07921
7616520        ATHENS SERVICES                                        PO BOX 600009                                                                                    INDUSTRY             CA           91716
7616521        AT-INTEGRATION, INC.                                   204 S. IH 35                SUITE 105                                                            GEORGETOWN           TX           78628
7616521        AT-INTEGRATION, INC.                                   204 S. IH 35                SUITE 105                                                            GEORGETOWN           TX           78628

7616522        ATKINSON-BAKER, INC.                                   500 NORTH BRAND BLVD        3RD FLOOR                                                            GLENDALE             CA           91203
                                                                      d/b/a National Apothecary
7048886        Atlantic Biologicals Corp.                             Solutions                   20101 NE 16th Place                                                  Miami                FL           33179
7616523        ATLANTIC BIOLOGICALS CORPORATION                       PO BOX 404532                                                                                    ATLANTA              GA           30384
7024586        ATMOS ENERGY CORP.                                     P.O. BOX 790311                                                                                  ST. LOUIS            MO           63179-1311
7024586        ATMOS ENERGY CORP.                                     P.O. BOX 790311                                                                                  ST. LOUIS            MO           63179-1311
7070498        Atmos Energy Corporation                               Attn: Bankruptcy Group      PO Box 650205                                                        Dallas               TX           75265
7616527        ATRIUM MEDICAL CORPORATION                             5 WENTWORTH DRIVE                                                                                HUDSON               NH           03051
7616534        ATTILA BALOGH, MD                                      2400 HOSPITAL DRIVE         SUITE 420                                                            BOSSIER CITY         LA           71111
7616539        AVITA COFFEE & PROVISION, INC                          45 N CONGRESS AVE.          SUITE B3                                                             DELRAY BEACH         FL           33445
7616540        AVTECH CAPITAL, LLC                                    6995 Union Park Center      Suite 400                                                            Cottonwood Heights   UT           84047
7024044        Axis Satellite                                         5790 Enterprise Pkwy                                                                             Fort Myers           FL           33905
7616542        AXIS SATELLITE HOME THEATER                            5790 ENTERPRISE PKWY                                                                             FORT MYERS           FL           33905
                                                                                                  5930 Cornerstone Court
7201242        Aya Healthcare, Inc.                                   Legal Department            West                      Suite 300                                  San Diego            CA           92121
7616544        AYA HEALTHCARE, INC.                                   DEPT. 3519                  PO BOX 123519                                                        DALLAS               TX           95312
                                                                                                  5930 Cornerstone Court
7224819        Aya Healthcare, Inc.                                   Legal Department            West, Suite 300                                                      San Diego            CA           92121
7616544        AYA HEALTHCARE, INC.                                   DEPT. 3519                  PO BOX 123519                                                        DALLAS               TX           95312
7616588        B BRAUN MEDICAL                                        P.O. BOX 780433                                                                                  PHILADELPHIA         PA           19178
7616587        B. BRAUN MEDICAL, INC.                                 PO BOX 536420                                                                                    PITTSBURGH           PA           15253
7024431        BAKER COMMODITIES INC/CA                               4020 BANDINI BLVD                                                                                VERNON               CA           90058
7616546        BAKER COMMODITIES, INC.                                4020 BANDINI BLVD.                                                                               VERNON               CA           90058
7616551        BALBOA AMBULANCE                                       PO BOX 34577                                                                                     SAN DIEGO            CA           92163
7024359        BALBOA CAPITAL CORP                                    P.O. BOX 844803                                                                                  LOS ANGELES          CA           90084
7024359        BALBOA CAPITAL CORP                                    P.O. BOX 844803                                                                                  LOS ANGELES          CA           90084
7616553        BALD EAGLE SECURITY SERVICES, INC                      P.O. BOX 131350                                                                                  SAN DIEGO            CA           92170
7616555        BALENTINE AMBULANCE SERVICE                            PO BOX 3922                                                                                      SHREVEPORT           LA           71103
7616557        BANKERS FIDELITY                                       4370 Peachtree Rd., NE                                                                           Atlanta              GA           30319
7616559        BANNER OCCUPATIONAL HEALTH SERVICE                     1441 N 12TH STREET                                                                               PHOENIX              AZ           85006
7615632        BARAN JR. MD, JOSEPH                                   ADDRESS ON FILE
7616560        BARCO PRODUCTS                                         11 N. BATAVIA AVE                                                                                BATAVIA              IL           60510




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7616561        BARD ACCESS SYSTEMS INC.                      605 NORTH 5600 WEST                                                                           SALT LAKE CITY   UT           84116

7024549        BARD PERIPHERAL                               1415 WEST THIRD STREET                                                                        TEMPE            AZ           85281

7616567        BAR-N-TOWING                                  5228 GREENWOOD ROAD                                                                           SHREVEPORT       LA           71109
7233037        Barritt, Jason                                ADDRESS ON FILE
                                                             201 COMMUNITY COLLEGE
7616572        BATON ROUGE COMMUNITY COLLEGE                 DRIVE                                                                                         BATON ROUGE      LA           70806
7616573        BATON ROUGE COURT REPORTERS. LLC              12016 JUSTICE AVENUE                                                                          BATON ROUGE      LA           70816
7616575        BATON ROUGE GENERAL FOUNDATION                8490 PICARDY AVENUE   BLDG 200 A                                                              BATON ROUGE      LA           70809
7616578        BATON ROUGE ORTHOPAEDIC CLINIC                8080 BLUEBONNET BLVD SUITE 1000                                                               BATON ROUGE      LA           70810
7616579        BATON ROUGE RADIOLOGY GROUP, INC.             7887 PICARDY AVENUE                                                                           BATON ROUGE      LA           70809
7045798        Baxter Healthcare                             1 Baxter Pkwy, DF3-2E                                                                         Deerfield        IL           60015
7045798        Baxter Healthcare                             1 Baxter Pkwy, DF3-2E                                                                         Deerfield        IL           60015
7616583        BAXTER HEALTHCARE CORP                        PO BOX 730531                                                                                 DALLAS           TX           75373

7616585        BAY CITY ELECTRIC WORKS                       13625 DANIELSON STREET                                                                        POWAY            CA           92064
7616586        BAYER CORPORATION                             P.O. BOX 360172                                                                               PITTSBURGH       PA           15251
7616590        BC/BS REGENCE                                 PO BOX 30270                                                                                  SALT LAKE CITY   UT           84130
7616589        BCBS OF LOUISIANA - A002872                   PO BOX 98029             5525 REITZ AVENUE                                                    Baton Rouge      LA           70809-3802
7616592        BEACH MEDICAL MARKETING, INC                  P.O. BOX 2879                                                                                 NEWPORT BEACH    CA           92659
7616593        BEACONMEDAES, LLC                             P.O. BOX 601452                                                                               CHARLOTTE        NC           28260
                                                             250 S. Kraemer Blvd. -
7058437        Beckman Coulter, Inc.                         D1.NW.03                                                                                      Brea             CA           92821
7616597        BECKMAN COULTER, INC.                         PO BOX 550                                                                                    BREA             CA           92822
7616598        BECTON DICKINSON AND COMPANY                  21588 NETWORK PLACE                                                                           CHICAGO          IL           60673
7034414        BEHAVIORAL SAFETY PRODUCTS LLC                29A N. MAIN STREET       SUITE 3                                                              WATKINSVILLE     GA           30677
7616896        BEMES, INC.                                   808 SUN PARK DRIVE                                                                            FENTON           MO           63026
7045551        Bendler Boiler & Mechanical Co.               PO Box 1467                                                                                   High Ridge       MO           63049
7045543        Bendler Boiler & Mechanical Co.               PO Box 1467                                                                                   High Ridge       MO           63049
7034427        BENVENUE MEDICAL                              3052 BUNKER HILL LANE    SUITE 120                                                            SANTA CLARA      CA           95054
7616901        BERKLEY SELECT, LLC                           250 S. WACKER            SUITE 700                                                            CHICAGO          IL           60606
7034432        BEST PLUMBING SPECIALTIES, INC.               P.O. BOX 750                                                                                  MYERSVILLE       MD           21773
7616908        BIEN AIR USA, INC                             5 CORPORATE PARK         SUITE 160                                                            IRVINE           CA           92606
7616912        BIO-MEDICAL EQUIPMENT SERVICE COMPANY         2709 SOUTH PARK ROAD                                                                          LOUSVILLE        KY           40219
7616913        BIOMEDICAL SUPPORT SERVICES, INC              PO BOX 1303                                                                                   ZACHARY          LA           70791
7023474        BIO-RAD LABORATORIES                          P.O. BOX 849740                                                                               LOS ANGELES      CA           90084-9740
7023474        BIO-RAD LABORATORIES                          P.O. BOX 849740                                                                               LOS ANGELES      CA           90084-9740
                                                                                      1000 Alfred Nobel Drive,
7074119        Bio-Rad Laboratories, Inc.                    Legal Dept.              Mailstop 1-130                                                       Hercules         CA           94547
7616917        BIOSAN LABORATORIES, INC                      1950 TOBSAL CT.                                                                               WARREN           MI           48091
7616918        BIOSEAL, INC                                  167 W ORANGETHORPE                                                                            PLACENTIA        GA           92670
7616919        BIOSTRUCTURES, LLC                            1201 DOVE STREET         SUITE 47                                                             NEWPORT BEACH    CA           92660
7616920        BIOTRONIK,INC.                                PO BOX 205421                                                                                 DALLAS           TX           75320
7616927        BLAST MASTERS, LLC                            POB 2684                                                                                      BIG SPRING       TX           79721
7023172        BLUEALLY TECHNOLOGIES SOLUTIONS, LL           1255 CRESCENT GREEN      SUITE 300                                                            CARY             NC           27518
7616932        BLUEBIRDTAXI OF LEE COUNTY INC                16557 MASS CT                                                                                 FORT MYERS       FL           33912
7616947        BLUESTREAM CONSULTING                         838 W. DESOTO STREET     SUITE A                                                              CLERMONT         FL           34711
7616952        BOARD OF EQUALIZATION                         PO BOX 942879                                                                                 SACRAMENTO       CA           94279
7616952        BOARD OF EQUALIZATION                         PO BOX 942879                                                                                 SACRAMENTO       CA           94279
7616953        BOARD OF REGISTERED NURSING                   P.O. BOX 942549                                                                               SACRAMENTO       CA           94244-2549
7616955        BOBBY L. GREENE PLUMBING & HEATING CO., INC   2630 MIDWAY STREET                                                                            SHREVEPORT       LA           71108
7071178        Body Sealer Inc.                              2025 Merrick Rd.                                                                              Merrick          NY           11566
7616956        BODY SEALER, INC                              2025 Merrick Rd.                                                                              Merrick          NY           11566
7616958        BORDEN DAIRY COMPANY OF FLORIDA LLC           308 AVENUE G SW                                                                               WINTER HAVEN     FL           33880
7616958        BORDEN DAIRY COMPANY OF FLORIDA LLC           308 AVENUE G SW                                                                               WINTER HAVEN     FL           33880




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7616960        BOSTON SCIENTIFIC CORPORATION                                PO BOX 951653                                                                                         DALLAS            TX           75395
7289352        Boston Scientific Corporation                                c/o Steven D Sass LLC        PO Box 45                                                                Clarksville       MD           21029
7616960        BOSTON SCIENTIFIC CORPORATION                                PO BOX 951653                                                                                         DALLAS            TX           75395
7289352        Boston Scientific Corporation                                c/o Steven D Sass LLC        PO Box 45                                                                Clarksville       MD           21029
7616960        BOSTON SCIENTIFIC CORPORATION                                PO BOX 951653                                                                                         DALLAS            TX           75395
7616963        BOUNDS VACUUM SERVICE, INC.                                  8285 TOM DRIVE                                                                                        BATON ROUGE       LA           70815
7616964        BOX, INC                                                     DEPT 34666                   P.O. BOX 39000                                                           SAN FRANCISCO     CA           94139
7616965        BRACCO DIAGNOSTICS INC                                       PO BOX 532411                                                                                         CHARLOTTE         NC           28290
               Bradford Capital Holdings, LP as Transferee of Pivotal Tax   c/o Bradford Capital
11511703       Solutions                                                    Management, LLC              Attn: Brian Brager            PO Box 4353                                Clifton           NJ           07012
7616966        BRADLEY ASSOCIATES                                           201 S. CAPITOL AVENUE        SUITE 7                                                                  INDIANAPOLIS      IN           46225
7616967        BRADSHAW ENGINEERING CORPORATION                             8645 ARGENT STREET           SUITE B                                                                  SANTEE            CA           92071
7023873        BRADY INFRARED INSPECTIONS, INC.                             935 PINE CASTLE COURT                                                                                 STUART            FL           34996
                                                                                                         3317 S Higley Rd Suite 114-
7049744        BRAMMS Corp dba Southwest Portable Air                       Southwest Portable Air       120                                                                      Gilbert           AZ           85297

7616970        BRIAN H WEEKS MD INC                                         6645 ALVARADO RD S4000                                                                                SAN DIEGO         CA           92120
7616971        BRIAN L. PETTIFORD, MD                                       87 ENGLISH TURN DRIVE                                                                                 NEW ORLEANS       LA           70131
7041860        Brian's Plumbing                                             ADDRESS ON FILE
7041860        Brian's Plumbing                                             ADDRESS ON FILE
7616972        BRIAN'S PLUMBING, INC.                                       615 OHIO AVENUE                                                                                       WICHITA FALLS     TX           76301

7023599        BRIGGS HEALTHCARE                                            7300 WESTON PARKWAY          ATTN: CREDIT SERVICES                                                    WEST DES MOINES   IA           50266

7023599        BRIGGS HEALTHCARE                                            7300 WESTON PARKWAY          ATTN: CREDIT SERVICES                                                    WEST DES MOINES   IA           50266

7023599        BRIGGS HEALTHCARE                                            7300 WESTON PARKWAY          ATTN: CREDIT SERVICES                                                    WEST DES MOINES   IA           50266
7616975        BRINKS, INC                                                  5575 NW 87TH AVE                                                                                      MIAMI             FL           33178
                                                                            Cavazos Hendricks Poirot,
7675446        Brink's, Incorporated                                        P.C.                         Attn: Lyndel Vargas           900 Jackson, Suite 570                     Dallas            TX           75202

7616976        BRIOVARX INFUSION SERVICES 308, LLC                          3526 MOMENTUM PLACE                                                                                   CHICAGO           IL           60689
7616978        BROWN & JAMES, P.C.                                          800 MARKET STREET            SUITE 1100                                                               ST LOUIS          MO           63101
7616979        BRYAN CORPORATION                                            4 PLYMPTON STREET                                                                                     WOBURN            MA           01801
                                                                            1000 WILSHIRE
7616980        BUCHALTER NEMER                                              BOULEVARD                    SUITE 1500                                                               LOS ANGELES       CA           90017
                                                                            1000 WILSHIRE
7616980        BUCHALTER NEMER                                              BOULEVARD                    SUITE 1500                                                               LOS ANGELES       CA           90017
                                                                            1000 Wilshire Blvd., Suite
7037664        Buchalter, A Professional Corporation                        1500                                                                                                  Los Angeles       CA           90017
                                                                            1000 Wilshire Blvd., Suite
7037664        Buchalter, A Professional Corporation                        1500                                                                                                  Los Angeles       CA           90017
7034500        BUCKEYE CLEANING CENTER                                      P.O. BOX 18762                                                                                        ST. LOUIS         MO           63178
                                                                            2510 N GRAND AVE SUITE
7616982        BUILDING CLEANING SYSTEMS, INC.                              102                                                                                                   SANTA ANA         CA           92705
                                                                            2620 W. GROVERS
7583725        BURNS PEST ELIMINATION, INC.                                 AVENUE                                                                                                PHOENIX           AZ           85053
7703359        BW Masterson Heating & Air-Conditioning, Inc                 3811 OLD STATE ROAD                                                                                   WICHITA FALLS     TX           76310
7617170        C & M TELECOM                                                966 EAST J STREET                                                                                     CHULA VISTA       CA           91910
                                                                            c/o Hunton Andrews Kurth
7081358        C. R. Bard, Inc.                                             LLP                          Attn: Robert A. Rich, Esq.    200 Park Avenue                            New York          NY           10166
7617257        C.R. BARD, INC.                                              PO BOX 75767                                                                                          CHARLOTTE         NC           28275
7617257        C.R. BARD, INC.                                              PO BOX 75767                                                                                          CHARLOTTE         NC           28275
7616988        CACTUS & TROPICALS                                           2735 SOUTH 2000 EAST                                                                                  SALT LAKE CITY    UT           84109
7616987        CACTUS FLOWER                                                P.O. BOX 27525                                                                                        SCOTTSDALE        AZ           85255




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                                                                           CADDO PARISH
7616989        CADDO PARISH CLERK OF COURT                                 COURTHOUSE                 501 TEXAS ST ROOM 103                                                   SHREVEPORT         LA           71101
7616991        CADDO SHREVEPORT SALES USE TAX                              PO BOX 104                                                                                         SHREVEPORT         LA           71161
7616992        CAESARS ENTERTAINMENT                                       POB 96118                                                                                          LAS VEGAS          NV           89193
                                                                           SAMUEL A. SCHWARTZ,        100 N CITY PARKWAY, STE
7829122        CAESARS ENTERTAINMENT CORPORATION                           ESQ.                       1600                                                                    LAS VEGAS          NV           89106
7616993        CAHHS/CHA                                                   1215 K STREET              SUITE 8                                                                 SACRAMENTO         CA           95814
                                                                           5805 SEPULVEDA BLVD
7684210        CAINE & WEINER COMPANY, INC.                                STE 400                                                                                            SHERMAN OAKS       CA           91411-5232
7616996        CALIFORNIA COAST MECHANICAL, INC.                           2450 SAN DIEGO AVE.                                                                                RAMONA             CA           92065
7616997        CALIFORNIA COMMERCIAL                                       1800 QUAIL STREET          SUITE 100                                                               NEWPORT BEACH      CA           92660
                                                                           10775 QUAIL CANYON
7616998        CALIFORNIA CONSTRUCTION QUALITY                             ROAD                                                                                               EL CAJON           CA           92021

                                                                           Deputy Attorney General    300 S. Spring Street, No.
7199171        California Department of Health Care Services               Kenneth K. Wang            1702                                                                    Los Angeles        CA           90013

                                                                           Deputy Attorney General    300 S. Spring Street, No.
7974695        California Department of Health Care Services               Kenneth K. Wang            1702                                                                    Los Angeles        CA           90013
                                                                           850 MARINA BAY
7616999        CALIFORNIA DEPARTMENT OF PUBLIC HEA                         PARKWAY                                                                                            RICHMOND           CA           94804
7617001        CALIFORNIA DEPT OF PUBLIC HEALTH                            P.O.B. 997414                                                                                      SACRAMENTO         CA           95899
                                                                           California Office of the
7617000        CALIFORNIA DEPT. OF HEALTH CARE SERVICES                    Attorney General           Attn: Kenneth K. Wang       300 S. Spring Street      No. 1702          Los Angeles        CA           90013
7617002        CALIFORNIA ENDOSCOPY                                        17 CREEK PARKWAY                                                                                   BOOTHWYN           PA           19061
7617003        CALIFORNIA HOSPITAL ASSOCIATION                             1215 K STREET STE 800                                                                              SACRAMENTO         CA           95814
7036860        CALIFORNIA RECUPERATIVE CARE                                38529 6TH ST. EAST                                                                                 PALMDALE           CA           93550
7617005        CALIFORNIA RECUPERATIVE CARE, INC                           38529 6TH STREET EAST                                                                              PALMDALE           CA           93550
7024478        CALIFORNIA STATE BOARD OF PHARMACY                          P.O. BOX 942533                                                                                    SACRAMENTO         CA           94258
7617007        CALLCARE                                                    1370 ARCADIA ROAD                                                                                  LANDCASTER         PA           17601
7617009        CAL-MED AMBULANCE                                           1557 SANTA ANITA AVE                                                                               SOUTH EL MONTE     CA           91733
7617011        CAMUS ELECTRIC CO., INC                                     605 MT ZION ROAD           PO BOX 6762                                                             SHREVEPORT         LA           71136
7617012        CANNON SERVICES INC                                         509 W 67TH STREET                                                                                  SHREVEPORT         LA           71106
                                                                           14904 COLLECTIONS
7617013        CANON FINANCIAL SERVICES INC                                CENTER DRIVE                                                                                       CHICAGO            IL           60693
                                                                           15004 COLLECTIONS
7023197        CANON SOLUTIONS AMERICA, INC.                               CENTER DRIVE                                                                                       CHICAGO            IL           60693
                                                                           15004 COLLECTIONS
7023197        CANON SOLUTIONS AMERICA, INC.                               CENTER DRIVE                                                                                       CHICAGO            IL           60693
7617017        CAPITAL FIRE PROTECTION                                     3329 BURTON AVE.                                                                                   BURBANK            CA           91504
                                                                           11617 INDUSTRIPLEX
7617018        CAPITAL GLASS & MIRROR, LLC                                 BLVD.                                                                                              BATON ROUGE        LA           70809
7617019        CAPITAL INVENTORY, INC                                      P.O BOX 1081                                                                                       WOODSTOCK          GA           30188
                                                                                                      5997 BROCKTON AVE STE
7617021        CAPTIVE AUDIENCE MARKETING INC                              C/O NATHANIEL R EVANS      B                                                                       RIVERSIDE          CA           92506
                                                                           MEDICAL PRODUCTS AND
7034535        CARDINAL HEALTH                                             SERVICES                   P.O. BOX 70539                                                          CHICAGO            IL           60673
                                                                           7601 NE. GARDNER
7617023        CARDINAL HEALTH 110, LLC                                    AVENUE                                                                                             KANSAS CITY        MO           64120
                                                                           Debra A. Willet & Assoc.
7586120        Cardinal Health 110, LLC f/k/a Cardinal Health 110, Inc.    General Counsel            7000 Cardinal Place                                                     Dublin             OH           43017
                                                                           Debra A. Willet, VP &
7830677        Cardinal Health 110, LLC f/k/a/ Cardinal Health 110, Inc.   Assoc. General Counsel     7000 Cardinal Place                                                     Dublin             OH           43017

                                                                                                      Vice President and
7831022        Cardinal Health 200 LLC                                     Attn: Debra Willet         Associate General Counsel 7000 Cardinal Place                           Dublin             OH           43017




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                                                                                             Vice President and
7831022        Cardinal Health 200 LLC                           Attn: Debra Willet          Associate General Counsel 7000 Cardinal Place                        Dublin             OH           43017
                                                                 MEDICAL PRODUCTS &
7617024        CARDINAL HEALTH 200, LLC                          SERVICES                    PO BOX 70539                                                         CHICAGO            IL           60673
                                                                 MEDICAL PRODUCTS &
7617024        CARDINAL HEALTH 200, LLC                          SERVICES                    PO BOX 70539                                                         CHICAGO            IL           60673
                                                                 Debra A. Willet, VP &
7831540        Cardinal Health 200, LLC                          Assoc. General Counsel      7000 Cardinal Place                                                  Dublin             OH           43017
                                                                 MEDICAL PRODUCTS &
7617024        CARDINAL HEALTH 200, LLC                          SERVICES                    PO BOX 70539                                                         CHICAGO            IL           60673
                                                                 Debra A. Willet, VP &
7831604        Cardinal Health 200, LLC                          Assoc. General Counsel      7000 Cardinal Place                                                  Dublin             OH           43017

                                                                                             Vice President and
7831616        Cardinal Health 200, LLC                          Debra Willet                Associate General Counsel 7000 Cardinal Place                        Dublin             OH           43017
                                                                                             VP & Assoc. General
7829669        Cardinal Health 200, LLC                          Debra A. Willet             Counsel                   7000 Cardinal Place                        Dublin             OH           43017
                                                                 MEDICAL PRODUCTS &
7617024        CARDINAL HEALTH 200, LLC                          SERVICES                    PO BOX 70539                                                         CHICAGO            IL           60673

                                                                 Debra Willet, VP and
7831555        Cardinal Health 200, LLC                          Associate General Counsel   7000 Cardinal Place                                                  Dublin             OH           43017
                                                                 MEDICAL PRODUCTS &
7617024        CARDINAL HEALTH 200, LLC                          SERVICES                    PO BOX 70539                                                         CHICAGO            IL           60673
7617030        CARDINAL HEALTH PHARMACEUTICAL                    PO BOX 730112                                                                                    DALLAS             TX           75373
7024159        CARDINAL HEALTH/PHARMACY                          21377 NETWORK PLACE                                                                              CHICAGO            IL           60673
7617033        CARDIOVASCULAR PLUS, INC.                         18700 NEWMAN AVE                                                                                 RIVERSIDE          CA           92508
7617045        CARE MEDICAL TRANSPORTATION                       9770 CANDIDA STREET                                                                              SAN DIEGO          CA           92126
7617046        CARE POINT SHIFT NURSING, INC                     11100 VALLEY BLVD.          STE 342                                                              EL MONTE           CA           91731
7024108        CAREERSTAFF UNLIMITED SAN DIEGO                   P.O. BOX 301076                                                                                  DALLAS             TX           75303-1076
7024108        CAREERSTAFF UNLIMITED SAN DIEGO                   P.O. BOX 301076                                                                                  DALLAS             TX           75303-1076
7617039        CAREFLITE                                         POB 660911                                                                                       DALLAS             TX           75266
7617040        CAREFREE JANITORIAL SUPPLY                        PO BOX 5255                 405 BARKSDALE BLVD                                                   BOSSIER CITY       LA           71171
7037286        CAREFUSION 211, INC.                              ATTN: AUDREY SPENCER        88253 EXPEDITE WAY                                                   CHICAGO            IL           60695
7037286        CAREFUSION 211, INC.                              ATTN: AUDREY SPENCER        88253 EXPEDITE WAY                                                   CHICAGO            IL           60695
7617043        CAREFUSION SOLUTIONS, LLC                         25082 NETWORK PLACE                                                                              CHICAGO            IL           60673-1250

7617047        CARESTAF OF DALLAS, L.P.                          235 S. DENTON TAP ROAD SUITE 100                                                                 COPPELL            TX           75019

7024139        CARESTAT, LLC.                                    5414 OBERLIN DR STE 220                                                                          SAN DIEGO          CA           92121-4745
7617050        CARL OLLIVIERRE, MD                               9051 SILVER LAKE DRIVE                                                                           LEESBURG           FL           34788
7617051        CARMEN RIOS                                       13835 RACINE AVE                                                                                 PARAMOUNT          CA           90723

7617052        CAROLINA SPEECH PATHOLOGY, LLC                    130 SALEM TOWNE COURT                                                                            APEX               NC           27502
7617055        CAROUSEL INDUSTRIES                               PO BOX 842084                                                                                    BOSTON             MA           02284
                                                                 C/O TH VOGLER LAW FIRM TWO CITY PLACE DR STE
7617056        CARRIER CORPORATION                               PC                     150                                                                       ST. LOUIS          MO           63141
                                                                 7310 WEST WILSON
7617057        CARSTENS HEALTH IND/99110                         AVENUE                                                                                           CHICAGO            IL           60706
                                                                 7310 WEST WILSON
7617057        CARSTENS HEALTH IND/99110                         AVENUE                                                                                           CHICAGO            IL           60706
                                                                 7310 WEST WILSON
7617057        CARSTENS HEALTH IND/99110                         AVENUE                                                                                           CHICAGO            IL           60706
7617060        CARTER BLOODCARE                                  POB 916068                                                                                       FORT WORTH         TX           76191
7617062        CASH ACCELERATION SOLUTIONS FOR HEALTHCARE, LLC   3950 VIA DOLCE         APT# 510                                                                  MARINA DEL RAY     CA           90292




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7617066        CBC DIAGNOSIS                                                 418 OGLE CIRCLE                                                                           COSTA MESA         CA           92627
7617067        CBM TECHNOLOGY                                                218 E. BRIDGE STREET                                                                      BREAUX BRIDGE      LA           70517
7617070        CCS, LLC                                                      3002 DOW AVENUE                                                                           TUSTIN             CA           92780
                                                                             230 N MILWAUKEE
7617072        CDW GOVERNMENT LLC                                            AVENUE                                                                                    Vernon Hills       IL           60061
7023289        CDW GOVERNMENT, INC.                                          75 REMITTANCE DRIVE     SUITE 1515                                                        CHICAGO            IL           60675
7023289        CDW GOVERNMENT, INC.                                          75 REMITTANCE DRIVE     SUITE 1515                                                        CHICAGO            IL           60675
7023289        CDW GOVERNMENT, INC.                                          75 REMITTANCE DRIVE     SUITE 1515                                                        CHICAGO            IL           60675
7617073        CEDAR SINAI MEDICAL CENTER                                    P O BOX 514937                                                                            LOS ANGELES        CA           90051-4937
7617075        CELINA CASIMIRO                                               6051 GREENLEAF AVE #C                                                                     WHITTIER           CA           90601
               Cellco Partnership d/b/a Verizon Wireless, on behalf of its                           22001 Loudoun County
7073995        affiliates and subsidiaries                                   William M Vermette      Pkwy                                                              Ashburn            VA           20147
7617076        CELLERATION, INC.                                             DEPT CH 19325                                                                             PALATINE           IL           60055
7617076        CELLERATION, INC.                                             DEPT CH 19325                                                                             PALATINE           IL           60055
7617077        CENCAL HEALTH                                                 4050 CALLE REAL                                                                           SANTA BARBARA      CA           93110
7617275        CENTER FOR IMPROVEMENT IN                                     P.O. BOX 848                                                                              ROUND ROCK         TX           78680
7617276        CENTERPOINT ENERGY                                            PO BOX 4583                                                                               HOUSTON            TX           77210-4583
7617276        CENTERPOINT ENERGY                                            PO BOX 4583                                                                               HOUSTON            TX           77210-4583
7023180        Centerpoint Energy                                            P.O. Box 1700                                                                             Houston            TX           77251
7617277        CENTERS FOR MEDICARE & MEDICAID SERVICES (CMS)                900 42ND ST S                                                                             FARGO              ND           58103
7023882        CENTRAL ADMIXTURE PHARMACY SERVICES                           P.O. BOX 780404                                                                           PHILADELPHIA       PA           19178-0404
7023882        CENTRAL ADMIXTURE PHARMACY SERVICES                           P.O. BOX 780404                                                                           PHILADELPHIA       PA           19178-0404
7617085        CENTRAL ROOFING                                               555 WEST 182ND ST                                                                         GARDENA            CA           90248
7617086        CENTURION MEDICAL PRODUCTS                                    P.O.BOX 842816                                                                            BOSTON             MA           02284-2816
7617087        CENTURION PROPERTY MANAGEMENT LLC                             14054 NW 82 AVE                                                                           MIAMI LAKES        FL           33016

7198530        Century Cleaning                                              ATTN: MARIO SARMIENTO   21760 SW 101 AVE                                                  MIAMI              FL           33190
7617090        CENTURYLINK                                                   P.O. BOX 1319                                                                             CHARLOTTE          NC           28201-1319
7617091        CENTURYLINK (QWEST)                                           BUSINESS SERVICES       P O BOX 52187                                                     PHOENIX            AZ           85072
7195778        CenturyLink Communications, LLC                               Attn: Legal - BKY       1025 Eldorado Blvd.                                               Broomfield         CO           80021
7195783        CenturyLink Communications, LLC                               Attn: Legal - BKY       1025 Eldorado Blvd.                                               Broomfield         CO           80021
7036867        CEPA                                                          1140 E LOCUST STREET                                                                      ONTARIO            CA           91761
7036867        CEPA                                                          1140 E LOCUST STREET                                                                      ONTARIO            CA           91761
7024381        CEPA OPERATIONS INC.                                          1140 E. LOCUST ST.                                                                        ONTARIO            CA           91761
7617095        CERIDIAN                                                      P.O. BOX 10989                                                                            NEWARK             NJ           07193
7617095        CERIDIAN                                                      P.O. BOX 10989                                                                            NEWARK             NJ           07193
7617095        CERIDIAN                                                      P.O. BOX 10989                                                                            NEWARK             NJ           07193
7081351        Cerner Corporation                                            P.O. Box 412702                                                                           Kansas City        MO           64141-2702
7081351        Cerner Corporation                                            P.O. Box 412702                                                                           Kansas City        MO           64141-2702
7081351        Cerner Corporation                                            P.O. Box 412702                                                                           Kansas City        MO           64141-2702
7617097        CERTIFIED LIMB AND BRACE                                      3227 PORTLAND AVE                                                                         SHREVEPORT         LA           71103
7024422        CERTIFIED NURSING REGISTRY INC.                               2707 E. VALLEY BLVD     SUITE 309                                                         WEST CIOVINA       CA           91792
7617100        CERTIPAY AMERICA, LLC                                         130 BATES AVENUE        SUITE 101                                                         WINTER HAVEN       FL           33880
7617100        CERTIPAY AMERICA, LLC                                         130 BATES AVENUE        SUITE 101                                                         WINTER HAVEN       FL           33880
7617101        CHAMPION CHART SUPPLY                                         94 NEWCOMB STREET       PO BOX AB                                                         NORTON             MA           02766
7023448        CHANDLER'S PARTS AND SERVICE                                  11656 DARRYL DRIVE                                                                        BATON ROUGE        LA           70815-2190
7617104        CHANNING BETE COMPANY, INC                                    P.O. BOX 3538                                                                             SOUTH DEERFIELD    MA           01373
7617104        CHANNING BETE COMPANY, INC                                    P.O. BOX 3538                                                                             SOUTH DEERFIELD    MA           01373
7617106        CHARLES BRUNIER                                               10613 NASHVILLE AVE.                                                                      WHITTIER           CA           90604
                                                                             ACCT 8345 78 001
7617107        CHARTER COMMUNICATIONS                                        3013184                 P.O. BOX 790086                                                   ST. LOUIS          MO           63179-0086

7584019        CHASE TRANSCRIPTIONS, INC.                                    1737 GEORGETOWN ROAD SUITE G                                                              HUDSON             OH           44236
7617111        CHEM MARK OF SAN DIEGO                                        P.O. BOX 26652                                                                            SAN DIEGO          CA           92196
7617112        CHEM PRO LABORATORY, INC.                                     941 W. 190TH ST.                                                                          GARDENA            CA           90248




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7077700        Chemaqua                                    Credit Dept              2727 Chemsearch Dr                                                   Irving            TX           75062
7617109        CHEMAQUA                                    PO BOX 971269                                                                                 DALLAS            TX           75397
7037148        CHEMCO PRODUCTS COMPANY                     6401 E. ALONDRA BLVD.                                                                         Paramount         CA           90723
7617113        CHEMSEARCH                                  23261 NETWORK PLACE                                                                           CHICAGO           IL           60673
7617113        CHEMSEARCH                                  23261 NETWORK PLACE                                                                           CHICAGO           IL           60673
7617115        CHENEY ELECTRIC, LLC                        1007 EASY STREET                                                                              BURKBURNETT       TX           76354
7617119        CHRISTIE DENLEY                             1800 GRIFFIN ROAD                                                                             UTICA             MS           39175
7617120        CHRISTOPHER GEHA                            8800 STATE LINE ROAD                                                                          LEAWOOD           KS           66206
7617121        CHRISTUS HEALTH NORTH LA                    PO BOX 843577                                                                                 DALLAS            TX           75284
                                                                                    2800 NORTH LOOP WEST,
7617128        CIGNA HEALTHSPRING                          FINANCE DEPARTMENT       SUITE 400                                                            HOUSON            TX           77092-8814
7617126        CIGNA/CONNECTICUT GENERAL                   POB 182223                                                                                    CHATTANOOGA       TN           37422
7617125        CIGNA/CONNECTICUT GENERAL - A009039         POB 182223                                                                                    CHATTANOOGA       TN           37422
7617131        CIOX HEALTH                                 P.O. BOX 409740                                                                               ATLANTA           GA           30384
                                                           851 WEST CYPRESS CREEK
7617133        CITRIX SYSTEMS INC                          ROAD                                                                                          FORT LAUDERDALE   FL           33309
                                                           201 W. PALMETTO PARK
7023377        CITY OF BOCA RATON                          ROAD                                                                                          BOCA RATON        FL           33432-3795
7617137        CITY OF BOSSIER CITY                        P.O. BOX 5337                                                                                 BOSSIER CITY      LA           71171
7024587        CITY OF DALLAS                              CITY HALL                2D SOUTH                                                             DALLAS            TX           75277
7617140        CITY OF KANSAS MISSOURI                     PO BOX 843768                                                                                 KANSAS CITY       MO           64184
7617141        CITY OF LA, PUBLIC WORKS / SANITATION       P O BOX 30749                                                                                 LOS ANGELES       CA           90030
                                                           150 NORTH LOS ANGELES
7617142        CITY OF LOS ANGELES                         STREET                                                                                        LOS ANGELES       CA           90012
7036871        CITY OF LOS ANGELES FIRE DEPARTMENT         DEPARTMENT OF FIRE       200 N MAIN ST RM 1620                                                LOS ANGELES       CA           90012
                                                           LOS ANGELES CITY         200 N. MAIN STREET, STE.
7036872        CITY OF LOS ANGELES, OFFICE OF FINANCE      ATTORNEY'S OFFICE        920                                                                  LOS ANGELES       CA           90012
7617147        CITY OF OVERLAND PARK FIRE DEPT             PO BOX 25707                                                                                  OVERLAND PARK     KS           66225
7617147        CITY OF OVERLAND PARK FIRE DEPT             PO BOX 25707                                                                                  OVERLAND PARK     KS           66225

7617149        CITY OF SAN DIEGO-BUS. TAX PROGRAM          BUSINESS TAX PROGRAM     PO BOX 121536                                                        SAN DIEGO         CA           92112
7617151        CITY OF SHREVEPORT-REVENUE DIVISION         PO BOX 30040                                                                                  SHREVEPORT        LA           71130
7617151        CITY OF SHREVEPORT-REVENUE DIVISION         PO BOX 30040                                                                                  SHREVEPORT        LA           71130
7024726        CITY OF WICHITA FALLS                       P.O. BOX 1440                                                                                 WICHITA FALLS     TX           76307-7532
7023849        CITY OF WILDWOOD                            100 N MAIN STREET                                                                             WILDWOOD          FL           34785
7024628        CITYSPRINT                                  8650 KING GEORGE DR.                                                                          DALLAS            TX           75235
7617157        CLAFLIN MEDICAL EQUIPMENT                   PO BOX 6887                                                                                   WARWICK           RI           02887
7617158        CLARIENT DIAGNOSTIC SERVICES                PO BOX 748188                                                                                 LOS ANGELES       CA           90074
7617160        CLEAN AIR ESSENTIALS, INC.                  75 REMITTANCE DRIVE      DEPT 1185                                                            CHICAGO           IL           60675
7617160        CLEAN AIR ESSENTIALS, INC.                  75 REMITTANCE DRIVE      DEPT 1185                                                            CHICAGO           IL           60675
7617161        CLEAN SWEEP PARKING AREA MAINTENANCE, LLC   4830 LINE AVE # 359                                                                           SHREVEPORT        LA           71106-1530
7617162        CLEAN WATER CONSUTLANTS                     P.O. BOX 64946                                                                                BATON ROUGE       LA           70896
7023527        CLIA LABORATORY PROGRAM                     P.O. BOX 530882                                                                               ATLANTA           GA           30353-0882
7023527        CLIA LABORATORY PROGRAM                     P.O. BOX 530882                                                                               ATLANTA           GA           30353-0882
                                                           9310 E. 46TH STREET
7583708        CLIFFORD POWER SYSTEMS, INC.                NORTH                                                                                         TULSA             OK           74117
7049742        ClimaStor 7, LLC                            5252 MANCUSO LN.                                                                              BATON ROUGE       LA           70809
7617167        CLINICS OF NORTH TEXAS                      PO BOX 8487                                                                                   WICHITA FALLS     TX           76307
7617167        CLINICS OF NORTH TEXAS                      PO BOX 8487                                                                                   WICHITA FALLS     TX           76307
7024530        CLINLAB                                     457 W. ALLEN AVE         STE 110                                                              SAN DIMAS         CA           91773
7617172        CNA                                         PO BOX 842060                                                                                 BOSTON            MA           02284
7023487        CNA - LITIGATION                            23453 NETWORK PLACE                                                                           CHICAGO           IL           60673
7023487        CNA - LITIGATION                            23453 NETWORK PLACE                                                                           CHICAGO           IL           60673
7617173        COALITION OF L.T.A.C HOSPITALS              112 WALNUT STREET                                                                             HARRISBURG        PA           17101




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                                                                 5592 BUCKINGHAM
7617174        COAST COMPRESSOR COMPANY                          AVENUE                                                                                       HUNTINGTON BEACH   CA           92649
7617175        COAST ENVIRONMENTAL DUCT CLEANING, INC            2221 LAS PALMAS DRIVE     SUITE J                                                            CARLSBAD           CA           92011
7200455        Coast Environmental Duct Cleaning, Inc.           2221 Las Palmas Dr.       Suite J                                                            Carlsbad           CA           92011
7617177        COBRA ADMINSTRATION UNIT                          PO BOX 100237                                                                                COLUMBIA           SC           29202
7617178        COCA-COLA BOTTLING COMPANY                        P.O. BOX 105637                                                                              ATLANTA            GA           30348
7617178        COCA-COLA BOTTLING COMPANY                        P.O. BOX 105637                                                                              ATLANTA            GA           30348
7617179        COCA-COLA REFRESHMENTS                            PO BOX 53158                                                                                 LOS ANGELES        CA           90074
                                                                 Cole, Scott & Kissane     9150 South Dadeland
7617182        COLE, SCOTT & KISSANE, P.A.                       Building                  Boulevard               Suite 1400                                 Miami              FL           33156
7617181        COLE-PARMER INSTRUMENT COMPANY                    625 E. BUNKER CT.                                                                            VERNON HILLS       IL           60061
7023455        COLLEGE OF AMERICAN PATHOLOGISTS                  325 WAUKEGAN ROAD                                                                            NORTHFIELD         IL           60093
7617189        COLUMBIA SPECIALITY COMPANY                       6152 CHERRY AVENUE                                                                           LONG BEACH         CA           90805
7683732        COMCAST                                           One Comcast Center                                                                           Philadelphia       PA           19103
7617191        COMED MEDICAL SPECIALTIES                         2322 S. Presidents Dr.    Suite B                                                            Salt Lake City     UT           84120
7042419        Comed Medical Specialties                         2322 S. Presidents Dr.    Suite B                                                            Salt Lake City     UT           84120
                                                                 8416 LAUREL FAIR CIRCLE
7617192        COMMERCIAL APPLIANCE SERVICE                      #114                                                                                         TAMPA              FL           33610

7034681        COMMERCIAL ELECTRIC MOTOR SERVICE                 3121 WASHINGTON BLVD                                                                         ST. LOUIS          MO           63103

7617193        COMMERCIAL ELECTRIC MOTOR SERVICE                 3121 WASHINGTON BLVD                                                                         ST. LOUIS          MO           63103
7024796        COMMERCIAL READERS SERVICE, LLC.                  107 E. BEAUFORT ST.  SUITE B                                                                 NORMAL             IL           61761

7617196        COMMERCIAL SALES AND SERVICE,INC.                 2514 TARPLEY RD STE 118                                                                      CARROLLTON         TX           75006-2358
7617198        COMMUNICATIONS NETWORKING ASSOCIATE               PO BOX 852255                                                                                RICHARDSON         TX           75085
7617200        COMMUNITY CANCER EDUCATION, INC.                  2234 COLONIAL BLVD.                                                                          FT MYERS           FL           33907
                                                                 302 N. WASHINGTON
7617203        COMPLETE SOLUTIONS TECHNOLOGIES, LLC              STREET                    SUITE 202E                                                         MOORESTOWN         NJ           08057
7617205        COMPREHENSIVE PHARMACY SERVICES                   P. O. BOX 638316                                                                             CINCINNATI         OH           45263
                                                                 409 N. PACIFIC COAST
7617206        COMPREHENSIVE SURGICAL SOLUTIONS, L               HIGHWAY                   SUITE 166                                                          REDONDO BEACH      CA           90277
7617207        COMPUSYS OF UTAH INC. - A999998                   2156 West 2200 South                                                                         Salt Lake City     UT           84119-1326
7079650        Computer Configuration Services, LLC              Attn: Stacey A Orlandos   3002 Dow Ave. Ste 402                                              Tustin             CA           92780
7117998        Computer Configuration Services, LLC              3002 Dow Ave. Ste 402                                                                        Tustin             CA           92780
7024707        CONCENTRA MEDICAL CENTERS                         P.O. BOX 369                                                                                 LOMBARD            IL           60148
7024707        CONCENTRA MEDICAL CENTERS                         P.O. BOX 369                                                                                 LOMBARD            IL           60148
                                                                 1061 COLLIER CENTER
7617211        CONCIERGE MEDICAL TRANSPORT                       WAY                       SUITE 1                                                            NAPLES             FL           34110
7023321        CONMED LINVATEC                                   P.O. BOX 301231                                                                              DALLAS             TX           75303-1231

7617214        CONSOLIDATED ELECTRONICS                          4803 HAZEL JONES ROAD                                                                        BOSSIER CITY       LA           71111
7617215        CONSTRUCTION SPECIALTIES,INC.                     P.O. BOX 380                                                                                 MUNCY              PA           17756

                                                                 ATTN: PRESIDENT THOMAS
7036788        CONTINENTAL CASUALTY COMPANY                      FIROUZ MOTAMED         333 SOUTH WABASH                                                      CHICAGO            IL           60604

7024582        CONTINUUM MED. ASSOC.-MALPRACTICE                 3315 OCEANFRONT WALK                                                                         MARINA DEL REY     CA           90292
7617220        CONTRACTORS FUEL & OIL SUPPLY, INC.               POB 14354                                                                                    HALTOM CITY        TX           76117
7078381        Contractors Termite and Pest Control Inc          24825 N 16th Ave #140                                                                        Phoenix            AZ           85085
7078381        Contractors Termite and Pest Control Inc          24825 N 16th Ave #140                                                                        Phoenix            AZ           85085
                                                                                           411 West Putnam Ave.,
8870726        Contrarian Funds, LLC as Transferee of Ambu Inc   Attn: Alisa Mumola        Suite 425                                                          Greenwich          CT           06830
                                                                                           411 West Putnam Ave.,
8870726        Contrarian Funds, LLC as Transferee of Ambu Inc   Attn: Alisa Mumola        Suite 425                                                          Greenwich          CT           06830




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                                                                                                             411 West Putnam Ave.,
8313995        Contrarian Funds, LLC as Transferee of Medical Specialties, Inc   Attn: Alisa Mumola          Suite 425                                                            Greenwich            CT           06830
7683887        COOK MEDICAL INC                                                  22988 NETWORK PLACE                                                                              CHICAGO              IL           60673-1229
7683887        COOK MEDICAL INC                                                  22988 NETWORK PLACE                                                                              CHICAGO              IL           60673-1229
7682219        Cook Medical, LLC                                                 Attn: General Counsel       PO Box 1608                                                          Bloomington          IN           47402
7723831        Cook Medical, LLC                                                 Attn: General Counsel       PO Box 1608                                                          Bloomington          IN           47402
7617222        COOK MEDICAL. INC                                                 22988 NETWORK PLACE                                                                              CHICAGO              IL           60673-1229
                                                                                 2800 NORTH CENTRAL
7683733        COPPERSMITH BROCKELMAN PLC                                        AVENUE STE 1900                                                                                  PHOENIX              AZ           85004-1241
7617224        COPY CARRIERS                                                     16930 S. MAIN STREET                                                                             GARDENA              CA           90248
7617225        CORAM CVS/SPECIALTY INFUSION SERVICES                             P.O. BOX 809160                                                                                  CHICAGO              IL           60680-9160
7617226        CORELINK, LLC                                                     7606 FORSYTH BLVD.                                                                               CLAYTON              MO           63105
                                                                                 38505 COUNTRY CLUB
7617229        CORETEK, INC.                                                     DRIVE                       SUITE 210                                                            FARMINGTON HILLS     MI           48331
7617230        COREVA HEALTH SCIENCE                                             2985 E. HILLCREST DRIVE                                                                          WESTLAKE VILLAGE     CA           91362
                                                                                 11380 PROSPERITY FARMS
7617231        CORPORATE CREATIONS                                               ROAD                        SUITE #221                                                           PALM BEACH GARDENS   FL           33410
7074164        Corporate Traditions LLC                                          Dustin Robins               1186 N 300 E                                                         Pleasant Grove       UT           84062
7023693        CORPORATE TRADITIONS, LLC                                         1186 NORTH 300 EAST                                                                              PLEASANT GROVE       UT           84062
7034721        CORPORATION SERVICE COMPANY                                       P.O. BOX 13397                                                                                   PHILADELPHIA         PA           19101

7617234        COTTON ORTHOTIC & PROSTHETIC ASSOC.                               6311 WEST 110TH STREET                                                                           OVERLAND PARK        KS           66211

7617234        COTTON ORTHOTIC & PROSTHETIC ASSOC.                               6311 WEST 110TH STREET                                                                           OVERLAND PARK        KS           66211

7617236        COUNTY BURNER & MACHINERY CORP.                                   4818 1/2 RONSON COURT                                                                            SAN DIEGO            CA           92111
                                                                                 PUBLIC HEALTH               5050 COMMERCE DRIVE,
7034725        COUNTY OF LA DEPT OF PUBLIC HEALTH                                LICENSE/PERMIT UNIT         ROOM 117                                                             BALDWIN PARK         CA           91706
7617239        COUNTY OF LEE-OFFICE OF COUNTY COMMISSIONERS                      P.O. BOX 9366                                                                                    FT MYERS             FL           33902
7617240        COUNTY OF LOS ANGELES                                             5050 COMMERCE DRIVE         ROOM 117                                                             BALDWIN PARK         CA           91706
7617241        COUNTY OF SAN DIEGO - APCD                                        10124 OLD GROVE RD                                                                               SAN DIEGO            CA           92131
7617242        COUNTY OF SAN DIEGO - DEH                                         P.O. BOX 129261                                                                                  SAN DIEGO            CA           92112
7022553        Covidien                                                          Sue Danneker                15 Hampshire                                                         Mansfield            MA           02048
7583709        COVIDIEN SALES, LLC                                               P.O. BOX 120823                                                                                  DALLAS               TX           75312
7583709        COVIDIEN SALES, LLC                                               P.O. BOX 120823                                                                                  DALLAS               TX           75312
7583709        COVIDIEN SALES, LLC                                               P.O. BOX 120823                                                                                  DALLAS               TX           75312
7583709        COVIDIEN SALES, LLC                                               P.O. BOX 120823                                                                                  DALLAS               TX           75312
7617249        COX COMMUNICATIONS                                                PO BOX 60001                                                                                     NEW ORLEANS          LA           70160
7617249        COX COMMUNICATIONS                                                PO BOX 60001                                                                                     NEW ORLEANS          LA           70160
7034731        COX INDUSTRIAL SERVICES, INC.                                     P.O. BOX 90875                                                                                   LONG BEACH           CA           90809
               Coy Landscaping and Maintenance, Inc., an Arizona                                             5727 N. 7th Street, Ste.
7074170        corporation                                                       c/o Ronald W. Meyer, Esq.   407                                                                  Phoenix              AZ           85014
7617251        CPCS CERTIFICATION EXMINATION                                     DEPT. 3115                                                                                       WASHINGTON           DC           20042
7024033        CPR WORKS, LLC                                                    12660 KENWOOD LN            APT C                                                                FORT MYERS           FL           33907
7024074        CREATIVE WASTE SOLUTIONS, LLC                                     P.O. BOX 161                                                                                     COLLINSVILLE         CT           06022
7617259        CRESCENT MED CENTER LANCASTER                                     P.O. BOX 95306                                                                                   GRAPEVINE            TX           76099
7023827        CREST HEALTHCARE SUPPLY                                           PO BOX 727                  195 THIRD STREET S                                                   DASSEL               MN           55325
                                                                                 2712 TRANSPORTATION
7617261        CREST INDUSTRIAL SERVICES, INC.                                   AVE.                        SUITE K                                                              NATIONAL CITY        CA           91950
7617264        CRF SOLUTIONS                                                     P.O. BOX 1389                                                                                    SIMI VALLEY          CA           93062
7024270        CRISIS PREVENTION INSTITUTE (CPI)                                 10850 W PARK PL             STE 600                                                              MILWAUKEE            WI           53224
7617266        CROSS COUNTRY EDUCATION, LLC                                      PO BOX 1000                                                                                      EAU CLAIRE           WI           54702-1000
7617267        CROSS COUNTRY STAFFING, INC                                       PO BOX 840292                                                                                    DALLAS               TX           75284
                                                                                 201 ST CHARLES AVE STE. #
7683945        CROWN PHARMACEUTICALS, INC                                        114-373                                                                                          NEW ORLEANS          LA           70170




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                                                          201 St Charles Ave Ste. #
7036884        Crown Pharmaceuticals, Inc.                114-373                                                                                  New Orleans         LA           70170
                                                          201 St Charles Ave Ste. #
7036884        Crown Pharmaceuticals, Inc.                114-373                                                                                  New Orleans         LA           70170
                                                          201 St Charles Ave Ste. #
7036884        Crown Pharmaceuticals, Inc.                114-373                                                                                  New Orleans         LA           70170
                                                          5905 FINANCIAL PLAZA STE
7617271        CRS                                        300                       PO BOX 19528                                                   SHREVEPORT          LA           71129
7617272        CRS SOLUTIONS                              110 S. BROADWAY                                                                          SANTA ANA           CA           92701
7617274        CT CORPORATION                             P.O. BOX 4349                                                                            CAROL STREAM        IL           60197
                                                          13839 COLLECTIONS
7037699        CTS                                        CENTER DRIVE                                                                             CHICAGO             IL           60693
                                                          13839 COLLECTIONS
7037699        CTS                                        CENTER DRIVE                                                                             CHICAGO             IL           60693
7024702        CULLIGAN OF GREATER KANSAS CITY            P.O. BOX 843142                                                                          KANSAS CITY         MO           64184-3142
7617282        CULLUM & BROWN OF KC, INC                  1200 BURLINGTON           PO BOX 12438                                                   NORTH KANSAS CITY   MO           64116
7617283        CUMMINS MID-SOUTH, LLC                     PO BOX 842316                                                                            DALLAS              TX           75284
7617283        CUMMINS MID-SOUTH, LLC                     PO BOX 842316                                                                            DALLAS              TX           75284
7617284        CUMMINS SALES AND SERVICE                  7145 Santa Fe Dr                                                                         Hodgkins            IL           60525
7682119        Cummins, Inc                               Attn: General Counsel     2671 Edison Ave.                                               Fort Myers          FL           33916
7026931        CUNNINGHAM, RASHAD                         ADDRESS ON FILE
                                                          62882 COLLECTION
7023842        CURBELL MEDICAL PRODUCTS, INC.             CENTER DR.                                                                               CHICAGO             IL           60693
                                                          62882 COLLECTION
7023842        CURBELL MEDICAL PRODUCTS, INC.             CENTER DR.                                                                               CHICAGO             IL           60693
7617289        CUSTOM DATABASE MANAGEMENT, INC.           PO BOX 2513                                                                              OLDSMAR             FL           34677

7023705        CUSTOM MEDICAL SOLUTIONS                   7100 NORTHLAND CIRCLE     SUITE 410                                                      MINNEAPOLIS         MN           55428
7617291        CYPRESS PLUMBING OF SW FLORIDA, INC.       2655 MEADOW LANE                                                                         FT. MYERS           FL           33901
7681845        CyraCom, LLC                               5780 N. Swan Road                                                                        Tucson              AZ           85718
7586463        CYRACOM, LLC                               P.O. BOX 74008083                                                                        CHICAGO             IL           60674-8083
7681845        CyraCom, LLC                               5780 N. Swan Road                                                                        Tucson              AZ           85718
7681845        CyraCom, LLC                               5780 N. Swan Road                                                                        Tucson              AZ           85718
7586463        CYRACOM, LLC                               P.O. BOX 74008083                                                                        CHICAGO             IL           60674-8083
7681845        CyraCom, LLC                               5780 N. Swan Road                                                                        Tucson              AZ           85718
7586464        CYRACOM,LLC                                P.O. BOX 74008083                                                                        CHICAGO             IL           60674
7617294        CYTOTHERM L.P.                             110 SEWELL AVENUE                                                                        TRENTON             NJ           08610
7615797        DADE PAPER & BAG CO                        29060 NETWORK PLACE                                                                      CHICAGO             IL           60673
                                                          13600 INDUSTRIAL PARK
7615799        DAIKIN APPLIED AMERICAS, INC.              BOULEVARD                                                                                MINNEAPOLIS         MN           55441
7615801        DAISY FOUNDATION                           11995 DUNBAR ROAD                                                                        GLEN ELLEN          CA           95442
                                                          4955 VAN NUYS
7615802        DALE J. BRENT, MD                          BOULEVARD                 SUITE 411                                                      SHERMAN OAKS        CA           91403
                                                          2811 DUKE OF
7615804        DALLAS RENAL GROUP                         GLOUCESTER STREET         #103                                                           DESOTO              TX           75115
7024507        DANIEL CORONEL, INC.                       7449 RESEDA BLVD          #115                                                           RESEDA              CA           91335
7615809        DANIEL MOLDEN M.D.                         P.O. BOX 2877                                                                            LA MESA             CA           91943
7615811        DANIEL WOHLGELERNTER, MD.                  2299 CENTURY HILL                                                                        LOS ANGELES         CA           90067
7615810        DANIELS SHARPSMART, INC                    P.O. BOX 7697                                                                            CAROL STREAM        IL           60197-7697
7615814        DAR PRO                                    P.O. BOX 552210                                                                          DETROIT             MI           48255
7683713        DARLING INGREDIENTS, INC                   P.O. BOX 530401                                                                          ATLANTA             GA           30353
7615813        DARLING INGREDIENTS, INC.                  P.O. BOX 530401                                                                          ATLANTA             GA           30353
7615816        DATA COLLECTION SPECIALISTS, INC.          13843 HWY. 105 WEST       SUITE 211                                                      CONROE              TX           77304
7615816        DATA COLLECTION SPECIALISTS, INC.          13843 HWY. 105 WEST       SUITE 211                                                      CONROE              TX           77304
7615817        DATA CONTROL TECHNOLOGY INC                9 CHURCH STREET           STE 202                                                        HORNELL             NY           14843




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7615821        DAVID AZARI                                             5057 FOREST DALE DR                                                                            LAKE WORTH           FL           33449
7615824        DAVID STEPHENSON, M.D.                                  9202 NW. 26TH STREET                                                                           WILDWOOD             FL           34785
7615826        DAVIS ENTERPRISE                                        POB 20823                                                                                      PHOENIX              AZ           85036

7615829        DAYDOTS INTERNATIONAL INC                               1801 RIVERBEND WEST DR                                                                         FT WORTH             TX           76118
                                                                       12836 SOUTH DIXIE
7615830        DAYMARK SAFETY SYSTEMS                                  HIGHWAY                                                                                        BOWLING GREEN        OH           43402-9697
7023642        DAYTECH CORPORATION                                     13020 BARBARO COURT                                                                            WILTON               CA           95693
7024552        DBRS MEDICAL SYSTEMS, INC.                              13820 BENSON AVE                                                                               CHINO                CA           91710
7070178        Deaf Empowerment Awareness Foundation, Inc.             Attn: Michele Steele   25 E Frisco Ave                                                         Webster Grove        MO           63119
7826429        Deaf Expression Inc                                     11721 W 62nd Ter                                                                               Shawnee              KS           66203
7615833        DEAF EXPRESSIONS, INC                                   P.O. BOX 19181                                                                                 LENEXA               KS           66285
                                                                       3233 S. SHERWOOD
7023504        DEAF RESOURCES CENTER OF GREATER                        FOREST BLVD.           SUITE 101                                                               BATON ROUGE          LA           70816

7037683        DEAN AND DEAN/ASSOCIATES ARCHITECTS                     4400 OLD CANTON ROAD    SUITE 200                                                              JACKSON              MS           39211
7024685        DEAN FOODS NORTH CENTRAL                                P.O. BOX 1450-8318                                                                             MINNEAPOLIS          MN           55485-8318
7615838        DE'ANDRE BROWN, MD                                      7227 CANA                                                                                      GRAND PRAIRIE        TX           75054
7615841        DECKER MECHANICAL                                       1002 KCK WAY            P.O. BOX 53                                                            CEDAR HILL           TX           75106-0053
                                                                       PAYMENT PROCESSING
7023248        DELL FINANCIAL SERVICES                                 CENTER                  P.O. BOX 6549                                                          CAROL STREAM         IL           60197
7615844        DELL MARKETING LP                                       C/O DELL USA L.P.       PO BOX 534118                                                          ATLANTA              GA           30353
7615848        DELTA ELECTRIC COMPANY OF BATON ROUGE, INC              3888 VICTORIA DRIVE                                                                            BATON ROUGE          LA           70812
7615851        DELTA PATHOLOGY GROUP, LLC                              3000 KNIGHT ST.         BLG 5; SUITE 220                                                       SHREVEPORT           LA           71105
7615853        DENTON REGIONAL AMBULATORY                              3316 COLORADO BLVD.                                                                            DENTON               TX           76210
                                                                       OCCUPATIONAL SAFETY &
7615855        DEPARTMENT OF INDUSTRIAL RELATIONS                      HEALTH                  P.O. BOX 511232                                                        LOS ANGELES          CA           90051
7036887        DEPARTMENT OF MOTOR VEHICLES                            P.O. BOX 825339                                                                                SACRAMENTO           CA           94232
7615857        DEPARTMENT OF PUBLIC HEALTH                             MS 7405                 PO BOX 997377                                                          SACRAMENTO           CA           95899
7615857        DEPARTMENT OF PUBLIC HEALTH                             MS 7405                 PO BOX 997377                                                          SACRAMENTO           CA           95899
7615859        DEPARTMENT OF THE TREASURY                              ACS SUPPORT             P.O. BOX 57                                                            BENSALEM             PA           19020
7046154        Department of the Treasury - Internal Revenue Service   PO Box 7346                                                                                    Philadelphia         PA           19101-7346
7046154        Department of the Treasury - Internal Revenue Service   PO Box 7346                                                                                    Philadelphia         PA           19101-7346
7034810        DEPARTMENT OF TRANSPORTATION                            100 S. MAIN STREET      ROOM 01-080                                                            LOS ANGELES          CA           90012
7615862        DEPT OF HEALTH/HOSPITALS (DHH)                          DHH LICENSING FEE       PO BOX 62949                                                           NEW ORLEANS          LA           70162-2949
7615863        DEPT OF MOTOR VEHICLES                                  P.O. BOX 825339                                                                                SACRAMENTO           CA           94232
                                                                       5972 COLLECTIONS
7023063        DEPUY ORTHOPAEDICS, INC.                                CENTER DRIVE                                                                                   CHICAGO              IL           60693
7615865        DEPUY SYNTHES SALES, INC                                4500 RIVERSIDE DRIVE                                                                           PALM BEACH GARDENS   FL           33410
                                                                       214 CARNEGIE CENTER
7615866        DERMA SCIENCES, INC                                     SUITE 300                                                                                      PRINCETON            NJ           08540
7615867        DESIGN & CUT LANDSCAPE SERVICE INC                      PO BOX 17411                                                                                   PLANTATION           FL           33318
7038119        Design & Cut Landscape Services, Inc.                   4860 SW 61st Ave                                                                               Davie                FL           33314
7034815        DESOTO SALES                                            523 N. ALVARADO ST.                                                                            LOS ANGELES          CA           90026

7615872        DIAGNOSTEX CONSULTANTS                                  500 GRAPEVINE HWY 106                                                                          HURST                TX           76054
7615874        DIAGNOSTIC EQUIPMENT SERVICE CORP.                      PO BOX 6787                                                                                    PROVIDENCE           RI           02940-6787
7615875        DIAGNOSTIC IMAGING ASSOC, LLC                           P.O. BOX 3488           DEPT# 05-042                                                           TUPELO               MS           38803
                                                                       4075 KARG INDUSTRIAL
7615878        DIAGNOSTIC SOLUTIONS LLC                                PARKWAY, STE A                                                                                 KENT                 OH           44240
7615873        DIAGNOSTICA STAGO INC                                   P.O. BOX 416347                                                                                BOSTON               MA           07189-0056
7585159        Diamond Diagnostics                                     Attn: General Counsel   1324 N. Farrell Court 102                                              Gilbert              AZ           85233
7681725        Diamond Diagnostics LLC                                 Attn: General Counsel   Mike Factor                 1324 N. Farrell Ct. #102                   Gilbert              AZ           85233
7023835        DIAMOND DIAGNOSTICS, LLC                                Mike Factor             1324 N FARRELL COURT        #102                                       GILBERT              AZ           85233
7615883        DIEGO'S AUTO REPAIR, INC.                               812 TRUCK WAY                                                                                  MONTEBELLO           CA           90640




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7615886        DINOVO PHARMACY & PACKAGING                 9067 KNIGHT ROAD                                                                         HOUSTON            TX           77054

7615887        DIRECT TRAVEL                               95 NORTH STATE ROAD 17 SUITE 105                                                         PARAMUS            NJ           07652
7615889        DIRECTV                                     PO BOX 105249                                                                            ATLANTA            GA           30348-5249
7615889        DIRECTV                                     PO BOX 105249                                                                            ATLANTA            GA           30348-5249
7615890        DISABLED AMERICAN VETERAN                   PO BOX 675                                                                               LADY LAKE          FL           32158
                                                           5726 La Jolla Blvd. Suite
7629997        Discovery Health Health Services            104                                                                                      La Jolla           CA           92037
7024128        DISCOVERY MEDICAL STAFFING                  5632 LA JOLLA BLVD                                                                       LA JOLLA           CA           92037
                                                           ACCT 8255 10 101
7615892        DISH NETWORK                                0132323                   DEPT 0063                                                      PALATINE           IL           60055-0063
7683947        DIXIE DIESEL & ELECTRIC, INC                3150 MAXSON ROAD                                                                         EL MONTE           CA           91732
7036893        DIXIE DIESEL & ELECTRIC, INC.               3150 MAXSON ROAD                                                                         EL MONTE           CA           91732
7615898        DMR MECHANICAL INC.                         PO BOX 19507                                                                             SHREVEPORT         LA           71149
7615900        DMV                                         P.O. BOX 825339                                                                          SACREMENTO         CA           94232
7615901        DMV RENEWAL                                 P.O. BOX 942894                                                                          SACRAMENTO         CA           94297
7615901        DMV RENEWAL                                 P.O. BOX 942894                                                                          SACRAMENTO         CA           94297
7615903        DOCUSIGN, INC                               221 MAIN ST               #1000                                                          San Francisco      CA           94105
7683896        DOH X-RAY REGISTRATION
7615905        DOMINICAN HEALTH CARE ASSOC OF FL, INC      307 W PARK AVE                                                                           TALLAHASSEE        FL           32301
                                                           18620 LAKE HARBOUR
7615906        DONNIE BATIE MD                             AVENUE                                                                                   BATON ROUGE        LA           70816
                                                           321 VZ COUNTY ROAD
7615907        DOOR CONTROL SERVICES, INC                  4500                                                                                     BEN WHEELER        TX           75754
                                                           321 VZ COUNTY ROAD
7615907        DOOR CONTROL SERVICES, INC                  4500                                                                                     BEN WHEELER        TX           75754
7023638        DOUGLAS DISTRIBUTING LLC                    2570 SOUTH 2570 WEST                                                                     WEST VALLEY CITY   UT           84119-1240
                                                           11500 BROOKSHIRE
7615909        DOWNEY REGIONAL MEDICAL CENTER              AVENUE                                                                                   DOWNEY             CA           90241
7615910        DRAINBUSTERS PLUMBING & DRAIN SERVICE       457 DALZELL STREET                                                                       SHREVEPORT         LA           71104
7615913        DRIFTWOOD DAIRY                             P.O. BOX 848296                                                                          LOS ANGELES        CA           90084-8296
7615911        DRIVE DEVILBISS HEALTHCARE                  99 SEAVIEW BLVD.                                                                         PORT WASHINGTON    NY           11050
7024595        DTG MEDICAL ELECTRONICS, INC.               19961 W 162ND ST                                                                         OLATHE             KS           66062
7024595        DTG MEDICAL ELECTRONICS, INC.               19961 W 162ND ST                                                                         OLATHE             KS           66062
7024595        DTG MEDICAL ELECTRONICS, INC.               19961 W 162ND ST                                                                         OLATHE             KS           66062
7615918        DURANOTIC DOOR, INC                         14901 W. 117TH STREET                                                                    OLATHE             KS           66062
7024002        DYNA SCAN TECHNICAL SERVICES                7 HETHERINGTON CT.                                                                       CINCINNATI         OH           45246
7024002        DYNA SCAN TECHNICAL SERVICES                7 HETHERINGTON CT.                                                                       CINCINNATI         OH           45246

7024135        DYNALABS, LLC                               2327 CHOUTEAU AVENUE                                                                     ST. LOUIS          MO           63103
7615924        DYNAMIC INFUSION THERAPY, INC               5156 Village Creek Dr.   Ste 102                                                         Plano              TX           75093-4463
7615925        DYNAMICS ORTHOTICS & PROSTHETICS INC.       1830 W. OLYMPIC BLVD     SUITE 123                                                       LOS ANGELES        CA           90006
7615927        DYSPHAGIA IMAGING SOLUTIONS, INC            3553 ASBURY                                                                              DALLAS             TX           75205
7615934        E & B HEALTH AND SAFETY, LLC                2100 SE 17TH STREET      SUITE 102                                                       OCALA              FL           34471
7615999        E. SAM JONES DISTRIBUTOR, INC               P.O. BOX 536794                                                                          ATLANTA            GA           30353
7024567        E.C. MCNAMARA                               839 RIVER ROAD           UNIT 214                                                        CORONA             CA           92880
                                                           10200 PAGE INDUSTRIAL
7615967        E.M.C.O. REFRIGERATION SERVICE CO., INC     BLVD.                                                                                    ST. LOUIS          MO           63132
7023899        EAGLE TRANSPORT LLC                         P.O. BOX 192                                                                             SUMMERFIELD        FL           34491
7615929        EARL'S WELL DRILLING & PUMP SERV, INC       4680 SE. 166TH STREET                                                                    SUMMERFIELD        FL           34491
7226801        Earl's Well Drilling & Pump Service, Inc.   4680 SE 166th St.                                                                        Summerfield        FL           34491
7615933        EATEL                                       PO BOX 61776                                                                             NEW ORLEANS        LA           70161
7615938        ECOLAB EQUIP. CARE & FOOD SAFETY            SPECIALTIES              24673 NETWORK PLACE                                             CHICAGO            IL           60673
7615938        ECOLAB EQUIP. CARE & FOOD SAFETY            SPECIALTIES              24673 NETWORK PLACE                                             CHICAGO            IL           60673
7615940        ECOLAB INC.                                 P.O. BOX 70343                                                                           CHICAGO            IL           60673-0343




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7615941        ECOLAB INSTITUTIONAL #10183509 (IC)         PO. BOX 100512                                                                                  PASADENA          CA           91189
7615942        ECOLAB INSTITUTIONAL #10228689 (DC)         P.O. BOX 32027                                                                                  NEW YORK          NY           10087
7036900        ECOLAB PEST ELIM. DC (ACC: SILV0262-1)      26252 NETWORK PLACE                                                                             CHICAGO           IL           60673
7615944        ECOLAB PEST ELIM. IC ( ACC: SILV0261-0)     26252 NETWORK PLACE                                                                             CHICAGO           IL           60673
                                                           655 LONE OAK DRIVE ESC
7615945        ECOLAB PEST ELIMINATION                     E3                                                                                              Eagan             MN           55121
                                                           655 LONE OAK DRIVE ESC
7615945        ECOLAB PEST ELIMINATION                     E3                                                                                              Eagan             MN           55121
7615947        ECONOMIC RESEARCH INSTITUTE                 P.O. BOX 3524                                                                                   SEATTLE           WA           98124
                                                           1420 SAMS AVENUE SUITE
7023467        ECONOMICAL JANITORIAL & PAPER SUPPLY, LLC   F                                                                                               HARAHAN           LA           70123
7615948        EDUARDO A. REYES, MD., PA.                  6450 W. 21 COURT       #204                                                                     HIALEAH           FL           33016
7023824        EDWARDS LIFESCIENCES                        23146 NETWORK PLACE                                                                             CHICAGO           IL           60673
7024435        EFAX CORPORATION                            P.O. BOX 51873                                                                                  LOS ANGELES       CA           90051
7615953        EFRONT FINANCIAL SOLUTIONS INC              55 E 52ND ST           #83MT                                                                    NEW YORK          NY           10055-0023
7615955        ELECTROMED, INC.                            500 SIXTH AVENUE NW                                                                             NEW PRAGUE        MN           56071
7615960        ELITE AMBULANCE INC.                        2065 VENICE BLVD                                                                                LOS ANGELES       CA           90006
                                                           6425 YOUREE DRIVE STE
7024212        ELITE HEALTH SOLUTIONS LLC                  585                                                                                             SHREVEPORT        LA           71105

7723361        Elite Medical Staffing, LLC                 Raymond C. Carr, Esq.   625 Court Street, Suite 200                                             Clearwater        FL           33756
7615962        ELLIOTT ELECTRIC SUPPLY                     PO BOX 630610                                                                                   NACOGDOCHES       TX           75963
7615965        ELSEVIER SCIENCE INC.                       P.O. BOX 9533                                                                                   NEW YORK          NY           10087
7615963        ELSEVIER, INC                               11011 RICHMOND AVE      SUITE 450                                                               HOUSTON           TX           77042
7023494        EMD MILLIPORE CORPORATION                   2736 PAYSPHERE CIR                                                                              CHICAGO           IL           60674
7023494        EMD MILLIPORE CORPORATION                   2736 PAYSPHERE CIR                                                                              CHICAGO           IL           60674
7615732        Emdur DO, Ph.D., Larry I.                   ADDRESS ON FILE
7024115        EMDUR, LARRY DO                             ADDRESS ON FILE

7615970        EMEDCO INC                                  39209 TREASURY CENTER                                                                           CHICAGO           IL           60694
7615972        EMG                                         P.O. BOX 62974                                                                                  BALTIMORE         MD           21264
7615972        EMG                                         P.O. BOX 62974                                                                                  BALTIMORE         MD           21264
7615972        EMG                                         P.O. BOX 62974                                                                                  BALTIMORE         MD           21264
7615973        EMPI,INC                                    599 CARDIGAN ROAD                                                                               ST. PAUL          MN           55126-4099
7034923        ENCORE FIRE EXTINGUISHER SERVICE INC.       P.O. BOX 861508                                                                                 LOS ANGELES       CA           90086
7615980        ENCORE MEDICAL TECHNOLOGIES                 12804 SPRING STREET                                                                             LOS ANGELES       CA           90061
7616574        ENT MEDICAL CENTER                          5258 DIJON DR.                                                                                  BATON ROUGE       LA           70808
7616574        ENT MEDICAL CENTER                          5258 DIJON DR.                                                                                  BATON ROUGE       LA           70808
7615985        ENV SERVICES INC.- 1145                     P.O. BOX 37836                                                                                  BALTIMORE         MA           21297-7836
7615985        ENV SERVICES INC.- 1145                     P.O. BOX 37836                                                                                  BALTIMORE         MA           21297-7836
7615985        ENV SERVICES INC.- 1145                     P.O. BOX 37836                                                                                  BALTIMORE         MA           21297-7836
                                                           11300 ROCKVILLE PIKE STE
7615984        ENVIRONMENT OF CARE LEADER                  1100                                                                                            ROCKVILLE         MD           20897
7615986        EOC1, LLC                                   1360 UNION HILL ROAD     SUITE 4G                                                               ALPHARETTA        GA           30004
7615993        EP RADIOLOGICAL SERVICES, INC.              8040 REMMET AVE          UNIT # 1                                                               CANOGA PARK       CA           91304
7684339        EPAX SYSTEMS, INC                           14641 ARMINTA ST                                                                                PANORAMA CITY     CA           91402-5901
7615989        EPC ELECTRIC                                PO BOX 545                                                                                      YORBA LINDA       CA           92885
7615990        EPHRAIM KENG                                121 OAK TRAIL                                                                                   COPPELL           TX           75019
                                                           801 NORTH CHESTNUT
7615991        EPIC ELECTRIC SERVICE CORPORATION           AVE.                                                                                            KANSAS CITY       MO           64120
7615992        EPISCOPAL COMMUNITY SERVICES, INC.          75 SOUTH 200 EAST                                                                               SALT LAKE CITY    UT           84111
                                                                                    1773 W LINCOLN AVE UNIT
7615994        EQUIPMED                                    MEDICAL EQUIP & SVCS     S                                                                      ANAHEIM           CA           92801
                                                           2225 NORTHWEST
7615995        ERBE                                        PARKWAY                                                                                         MARIETTA          GA           30067




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7615996        ERNESTO E. FONTS MD., PA                   777 EAST 25TH STREET      SUITE 512                                                       HIALEAH           FL           33013
7615998        ESA - EMPLOYMENT SCREENING ASSOCIATES      8010 BLUE ASH RD.                                                                         CINCINNATI        OH           45236
7616000        ESOLUTIONS                                 WS #165                   PO BOX 414378                                                   KANSAS CITY       MO           64141

7037122        ESP PERSONNEL                              72-877 DINAH SHORE DR.    SUITE 103 #232                                                  RANCHO MIRAGE     CA           92270
                                                          25030 Avenue Stanford
7289114        ESR Inc.                                   Suite 190                                                                                 Valencia          CA           91355

7616002        ESR, INC                                   25030 AVENUE STANFORD UNIT 190                                                            VALENCIA          CA           91355
7055330        Eurotrol                                   850 N. Black Branch Rd.                                                                   Elizabethtown     KY           42701
7055330        Eurotrol                                   850 N. Black Branch Rd.                                                                   Elizabethtown     KY           42701
7055330        Eurotrol                                   850 N. Black Branch Rd.                                                                   Elizabethtown     KY           42701
7616008        EUROTROL US, B.V.                          563 MAIN STREET                                                                           BOLTON            MA           01740
7616008        EUROTROL US, B.V.                          563 MAIN STREET                                                                           BOLTON            MA           01740
7616008        EUROTROL US, B.V.                          563 MAIN STREET                                                                           BOLTON            MA           01740
7616010        EXACTECH U.S., INC                         2320 NW. 66TH COURT                                                                       GAINESVILLE       FL           32653
                                                          1503 E ORANGETHORPE
7616011        EXCALIBUR ENGINEERING INC.                 AVE STE A                                                                                 FULLERTON         CA           92831-5214
7616012        EXCELLENCE PEST & TERMITES                 426 N FORD BLVD                                                                           LOS ANGELES       CA           90022

7616013        EXCELSIOR AMBULANCE SERVICE, INC           40 EAST ACADEMY STREET SUITE 979                                                          LUDOWICI          GA           31316
7616014        EXECUTIVE CAB COMPANY                      1205 FIRST EAST STREET                                                                    VICKSBURG         MS           39183
7616015        EXECUTIVE COFFEE SERVICE INC               PO BOX 2326                                                                               WEST PALM BEACH   FL           33402

7616016        EXECUTONE OF CENTRAL LA, INC               11316 PENNYWOOD AVE                                                                       BATON ROUGE       LA           70809

7616016        EXECUTONE OF CENTRAL LA, INC               11316 PENNYWOOD AVE                                                                       BATON ROUGE       LA           70809
                                                          48021 WARM SPRINGS
7616018        EXP PHARMACEUTICAL SERVICES                BLVD.                                                                                     FREMONT           CA           94539
                                                          48021 WARM SPRINGS
7616018        EXP PHARMACEUTICAL SERVICES                BLVD.                                                                                     FREMONT           CA           94539
                                                          48021 WARM SPRINGS
7616018        EXP PHARMACEUTICAL SERVICES                BLVD.                                                                                     FREMONT           CA           94539
                                                          48021 WARM SPRINGS
7616018        EXP PHARMACEUTICAL SERVICES                BLVD.                                                                                     FREMONT           CA           94539

7828392        Experian Health, Inc.                      c/o FrankGecker LLP       Joseph D. Frank      1327 W. Washington Blvd. Suite 5G-H        Chicago           IL           60607

7034951        EXPERIAN HEALTH, INC.                      720 COOL SPRINGS BLVD.    SUITE 200                                                       FRANKLIN          TN           37067
7616020        EXPRESS AMBULANCE CO.                      6975 NORTH AVENUE         SUITE A                                                         LEMON GROVE       CA           91945
7625823        Express Employment Professionals           3612 Kemp Blvd                                                                            Wichita Falls     TX           76308
7616021        EXPRESS EMPLOYMENT SVCS.                   PO BOX 203901                                                                             DALLAS            TX           75320
                                                          123 NW 13TH STREET,
7616023        EXPRESS MESSENGER SERVICES, LLC            SUITE 214-10                                                                              BOCA RATON        FL           33432
7616042        F. GAVINA & SONS INC                       2700 FRUITLAND AVE                                                                        VERNON            CA           90058
7023501        FAIRBURN MEDICAL PRODUCTS, LLC             8533 REDWOOD LANE                                                                         HELENA            AL           35022
7023501        FAIRBURN MEDICAL PRODUCTS, LLC             8533 REDWOOD LANE                                                                         HELENA            AL           35022
7616030        FASTSERV MEDICAL                           112 SUMMER LANE                                                                           WEST MONROE       LA           71291
7616033        FAVORITE HEALTHCARE STAFFING, INC.         P.O. BOX 26225                                                                            OVERLAND PARK     KS           66225
7616033        FAVORITE HEALTHCARE STAFFING, INC.         P.O. BOX 26225                                                                            OVERLAND PARK     KS           66225
7616035        FEDERAL WAGE                               7001 W 43RD STREET                                                                        HOUSTON           TX           77092
7023123        FEDEX                                      P.O. BOX 660481                                                                           DALLAS            TX           75266-0481
7023123        FEDEX                                      P.O. BOX 660481                                                                           DALLAS            TX           75266-0481
                                                          3965 Airway Blvd Module
7081322        FedEx Corporate Services Inc.              G, 3rd Floor                                                                              Memphis           TN           38116-5017
7616037        FENWAL INC                                 26762 NETWORK PLACE                                                                       CHICAGO           IL           60673



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7616038        FERGUSON ENTERPRISES                        PO BOX 2778              12500 JEFFERSON AVE                                                 NEWPORT NEWS      VA           23602
7024754        FERGUSON-VERESH, INC.                       703 EAST SCOTT                                                                               WICHITA FALLS     TX           76301
7224821        Fiber Visions dba Alphagraphics             117 West 900 South                                                                           Salt Lake City    VT           84101
7616044        FILIP TRPKOVSKI                             5978 BUENA VISTA CT.                                                                         BOCA RATON        FL           33433
7616045        FINN DESIGN GROUP, INC.                     5000 HOPYARD ROAD        SUITE 300                                                           PLEASANTON        CA           94588
                                                           2280 OLD LAKE MARY
7616046        FIRE & LIFE SAFETY AMERICA, INC             ROAD                                                                                         SANFORD           FL           32771

7616049        FIRE TECH SYSTEMS INC                       721 N ASHLEY RIDGE LOOP                                                                      SHREVEPORT        LA           71106
7616047        FIREQUEST FIRE ALARM SERVICE ASSOC          10500 COURSEY BLVD.     SUITE 101                                                            BATON ROUGE       LA           70816

7616050        FIRM REVENUE CYCLE MGMT. SVCS.              5590 S. FORT APACHE RD                                                                       LAS VEGAS         NV           89148
7616053        FIRST CLASS WORKFORCE SOLUTIONS             310 VISION DRIVE       SUITE B                                                               COLUMBIA          IL           62236
7616055        FIRST HEALTHCARE PRODUCTS                   6125 LENDELL DRIVE                                                                           SANBORN           NY           14132-9199
7616055        FIRST HEALTHCARE PRODUCTS                   6125 LENDELL DRIVE                                                                           SANBORN           NY           14132-9199
                                                           441 SOUTH REDWOOD
7616057        FIRST MED INDUSTRIAL CLINIC WEST            ROAD                                                                                         SALT LAKE         UT           84104
7616059        FIRST QUALITY MEDICAL MANAGEMENT, INC       9860 INDIANA AVE # 13                                                                        RIVERSIDE         CA           92503
7616060        FIRST RESPONSE EMERGENCY TRAINING           21495 W. 303RD ST.                                                                           PAOLA             KS           66071
7616056        FIRSTMED AMBULANCE                          7451 LAKERSHIM BLVD                                                                          NORTH HOLLYWOOD   CA           91605
7024009        FIRSTPATH                                   STACEY FERNANDEZ       3141 W. MCNAB RD.                                                     POMPANO BEACH     FL           33069
7616062        FIS DATA SYSTEMS INC                        601 RIVERSIDE AVE                                                                            JACKSONVILLE      FL           32204
                                                           999 VETERANS MEMORIAL
7616065        FISHER HEALTHCARE                           DR.                                                                                          HOUSTON           TX           77038
                                                           999 VETERANS MEMORIAL
7616065        FISHER HEALTHCARE                           DR.                                                                                          HOUSTON           TX           77038
7616066        FISK ELECTRIC COMPANY                       181 JAMES DRIVE WEST                                                                         ST. ROSE          LA           70087
                                                           3900 COMMONWEALTH
7616067        FL DEPT OF ENV. PROTECTION                  BLVD.                                                                                        TALLAHASSEE       FL           32399
7616073        FL GUARDIANSHIP ASSOC - SW FL CHAPTER       3783 SEAGO LANE                                                                              FT MYERS          FL           33901
7616071        FLEXENTIAL COLORADO CORP.                   P.O. BOX 732368                                                                              DALLAS            TX           75373-2368
7616074        FLINT INSPECTION CONSULTING SERVICES, INC   715B EAST COLLEGE ST.  PO BOX 235                                                            BURKBURNETT       TX           76354
7616075        FLORENCE FILTER CORP                        530 W MANVILLE ST                                                                            COMPTON           CA           90220
7616076        FLORIDA CITY GAS COMPANY                    PO BOX 5410                                                                                  CAROL STREAM      IL           60197
7616077        FLORIDA DEPT. OF REVENUE                    5050 W TENNESSEE ST                                                                          TALLAHASSEE       FL           32399
7616078        FLORIDA HOSPITAL                            601 E. ROLLINS STREET                                                                        ORLANDO           FL           32803
                                                                                  455 N. Cityfront Plaza
7586072        FMLASource                                  Bob Mallers CFO        Drive                      NBC Tower 13th Floor                       Chicago           IL           60611
7616081        FOLLETT CORPORATION                         801 CHURCH LANE                                                                              EASTON            PA           18040
7616083        FOOT SPECIALISTS OF SHREVEPORT              7821 YOUREE DRIVE                                                                            SHREVEPORT        LA           71105-5505
7616084        FORCE EMS                                   13031 HARWIN DRIVE                                                                           HOUSTON           TX           77072
                                                           1045 REDONDO BEACH
7616085        FORD, GARY MD                               BLVD                   SUITE 525                                                             GARDENA           CA           90247
                                                           6245 HUDSON CROSSING
7684160        FORTEC MEDICAL, INC                         PKWY                                                                                         HUDSON            OH           44236-4348
                                                           6245 Hudson Crossing
7226853        ForTec Medical, Inc.                        Parkway                                                                                      Hudson            OH           44236
7616092        FPL ENERGY SERVICES, INC.                   PO BOX 25426                                                                                 MIAMI             FL           33102-5426
7616092        FPL ENERGY SERVICES, INC.                   PO BOX 25426                                                                                 MIAMI             FL           33102-5426
7616092        FPL ENERGY SERVICES, INC.                   PO BOX 25426                                                                                 MIAMI             FL           33102-5426
                                                           Bankruptcy Section MS
7923194        Franchise Tax Board                         A340                   PO Box 2952                                                           Sacramento        CA           95812-2952
                                                           Bankruptcy Section MS
7923194        Franchise Tax Board                         A340                   PO Box 2952                                                           Sacramento        CA           95812-2952
7616094        FRANCHISE TAX BOARD                         PO BOX 942857                                                                                SACRAMENTO        CA           94257




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7616094        FRANCHISE TAX BOARD                        PO BOX 942857                                                                                  SACRAMENTO       CA           94257
                                                          Bankruptcy Section MS
7919149        Franchise Tax Board                        A340                       PO Box 2952                                                         Sacramento       CA           95812-2952
7616094        FRANCHISE TAX BOARD                        PO BOX 942857                                                                                  SACRAMENTO       CA           94257
7616094        FRANCHISE TAX BOARD                        PO BOX 942857                                                                                  SACRAMENTO       CA           94257
                                                          Bankruptcy Section MS
7923194        Franchise Tax Board                        A340                       PO Box 2952                                                         Sacramento       CA           95812-2952
                                                          Bankruptcy Section MS
7923194        Franchise Tax Board                        A340                       PO Box 2952                                                         Sacramento       CA           95812-2952
                                                          Bankruptcy Section MS
7923194        Franchise Tax Board                        A340                       PO Box 2952                                                         Sacramento       CA           95812-2952
                                                          Bankruptcy Section MS
7923237        Franchise Tax Board                        A340                       PO Box 2952                                                         Sacramento       CA           95812-2952
                                                          Bankruptcy Section MS
7923194        Franchise Tax Board                        A340                       PO Box 2952                                                         Sacramento       CA           95812-2952
7049679        Frank Sager & Son, Inc                     4754 Theiss Rd                                                                                 St. Louis        MO           63128
7616097        FRANKLIN COUNTY AMB SERVICE                219 E. 14TH STREET                                                                             OTTAWA           KS           66067-3542
                                                          12731 NEW BRITTANY
7616100        FRANTZ EYECARE                             ROAD                                                                                           FORT MYERS       FL           33907
7616101        FRAZIER ENGINEERING                        22761 108TH ST.                                                                                WEATHERBY        MO           64497
7616102        FRED CARTOZIAN                             3 CORMORANT CIRCLE                                                                             NEWPORT BEACH    CA           92660

7616103        FREEDOM IMAGING                            1401 E BALL ROAD SUITE E                                                                       ANAHEIM          CA           92805
7616104        FREEDOM MEDICAL, INC.                      P.O. BOX 822704                                                                                PHILADELPHIA     PA           19182-2704
7616104        FREEDOM MEDICAL, INC.                      P.O. BOX 822704                                                                                PHILADELPHIA     PA           19182-2704
7616106        FRELA FREEZING & COOLING                   4522 BOYLSTONE ST.                                                                             SAN DIEGO        CA           92102
7616108        FRESENIUS KABI USA, LLC                    25476 NETWORK PLACE                                                                            CHICAGO          IL           60673
7616110        FRISCO NEUROLOGICAL SURGERY                7000 PARKWOOD BLVD.        SUITE F300                                                          FRISCO           TX           75034
7616111        FS MEDICAL TECHNOLOGY                      PO BOX 2618                                                                                    RANCHO CORDOVA   CA           95741
7616112        FUJIFILM MEDICAL SYSTEMS USA               419 W AVE                                                                                      STANFORD         CT           06902
7616113        FUKUDA DENSHI                              17725 NE 65TH ST.                                                                              REDMOND          WA           98052
7616114        FUKUDA DENSHI USA, INC                     17725-C NE 65TH STREET     BLDG. C                                                             REDMOND          WA           98052-4931
7616114        FUKUDA DENSHI USA, INC                     17725-C NE 65TH STREET     BLDG. C                                                             REDMOND          WA           98052-4931
7616114        FUKUDA DENSHI USA, INC                     17725-C NE 65TH STREET     BLDG. C                                                             REDMOND          WA           98052-4931
7821195        Fukuda Denshi USA, Inc.                    Fox Rothschild LLP         Attn: Robert Amkraut     1001 4th Ave. Suite 4500                   Seattle          WA           98154
7821195        Fukuda Denshi USA, Inc.                    Fox Rothschild LLP         Attn: Robert Amkraut     1001 4th Ave. Suite 4500                   Seattle          WA           98154
7616115        FUNERARIA LATINO AMERICANA                 3827 WHITTIER BLVD                                                                             LOS ANGELES      CA           90023
7616116        FUTURE HEALTH CONCEPTS INC                 1211 E. 30TH STREET                                                                            SANFORD          FL           32773

7024081        FUTURENET TECHNOLOGIES CORP                1320 VALLEY VISTA DRIVE                                                                        DIAMOND BAR      CA           91765

7023829        GALAXY SERVICE COMPANY, INC.               19532 E. CALLE DE FLORES                                                                       QUEEN CREEK      AZ           85142
7616119        GANNETT NEWSPAPERS OF LOUISIANA            POB 677326                                                                                     DALLAS           TX           75267
7024649        GARRATT-CALLAHAN COMPANY                   50 INGOLD ROAD                                                                                 BURLINGAME       CA           94010
7616124        GARY GRIMES                                39749 MAKIN AVENUE                                                                             PALMDALE         CA           93557

7616125        GASTROENTEROLOGY ASSOCIATES, LLC           9103 JEFFERSON HIGHWAY                                                                         BATON ROUGE      LA           70809
7616126        GASTROINTESTINAL SPECIALIST AMC            3217 MABEL STREET                                                                              SHREVEPORT       LA           71103
7023272        GATOR TELCOM                               9000 NW. 55TH CT                                                                               SUNRISE          FL           33351
7023272        GATOR TELCOM                               9000 NW. 55TH CT                                                                               SUNRISE          FL           33351
7616130        GC PIVOTAL, LLC                            P.O. BOX 842630                                                                                DALLAS           TX           75284-2630
7616131        GCS SERVICE, INC.                          24673 NETWORK PLACE                                                                            CHICAGO          IL           60673-1246
7616132        GCX CORPORATION                            3875 CYPRESS DRIVE                                                                             PETALUMA         CA           94954
7616132        GCX CORPORATION                            3875 CYPRESS DRIVE                                                                             PETALUMA         CA           94954
7023367        GE CAPITAL                                 P.O. BOX 740423                                                                                ATLANTA          GA           30374




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7616136        GE HEALTHCARE                              PO BOX 641936                                                                                  PITTSBURGH        PA           15264
                                                          c/o Stephanie F. Gilley,   25 Whitney Drive, Suite
7074684        GE Healthcare Datex                        Authorized Agent           106                                                                 Milford           OH           45150
7616135        GE HEALTHCARE FINANCIAL SERVIC             P O BOX 641419                                                                                 PITTSBURGH        PA           15264-1419
                                                          c/o Stephanie F. Gilley,   25 Whitney Drive, Suite
7074805        GE Healthcare OEC                          Authorized Agent           106                                                                 Milford           OH           45150
                                                          c/o Stephanie F. Gilley,   25 Whitney Drive, Suite
7074805        GE Healthcare OEC                          Authorized Agent           106                                                                 Milford           OH           45150
                                                          c/o Stephanie F. Gilley,   25 Whitney Drive, Suite
7074805        GE Healthcare OEC                          Authorized Agent           106                                                                 Milford           OH           45150
                                                          5517 COLLECTIONS           ATTN ACCOUNTS
7616138        GE MEDICAL SYSTEMS INFORMATION             CENTER DRIVE               RECEIVABLE                                                          CHICAGO           IL           60693
7616139        GENERAL HOTEL                              13900 NW 82 AVE                                                                                MIAMI LAKES       FL           33016
7616142        GENESIS LABORATORIES, INC.                 5750 DIVISION STREET       SUITE 14                                                            RIVERSIDE         CA           92506
7616143        GENSET SERVICES INC                        3100 GATEWAY DRIVE                                                                             POMPANO BEACH     FL           33069
7226822        Genset Services, Inc.                      Attn: Dave Shield          3100 Gateway Drive                                                  Pompano Beach     FL           33069
7616144        GEN-TECH                                   7901 N. 70TH AVENUE                                                                            GLENDALE          AZ           85303
7684350        GENTLE RIDE AMBULANCE SERVICES, INC        518 IVY ST                                                                                     GLENDALE          CA           91204-1122
7616145        GENTLECARE TRANSPORT INC                   3951 MEDFORD ST                                                                                LOS ANGELES       CA           90063
7616149        GERM CHAMPIONS                             3122 IVORY WAY                                                                                 TAYLORSVILLE      UT           84129
                                                          3236 W. EDGEWOOD STE
7121426        GFI DIGITAL                                A                                                                                              JEFFERSON CITY    MO           65109
7036919        GI SUPPLY                                  5069 RITTER RD # 104                                                                           MECHANICSBURG     PA           17055

7616159        GI SUPPLY, INC                             200 GRANDVIEW AVENUE                                                                           CAMP HILL         PA           17011
7121439        Gibbs Technology Leasing                   3236 W. Edgewood Dr.       St A                                                                Jefferson City    MO           65109
7042895        Giffler, Ronald F.                         ADDRESS ON FILE
7042895        Giffler, Ronald F.                         ADDRESS ON FILE
                                                          2748 METAIRIE LAWN
7616154        GIFTED NURSES, LLC                         DRIVE                      SUITE B                                                             METAIRIE          LA           70002
7616155        GILLESPIE, WILLIAM MD                      510 S GRAND AVE            SUITE 200                                                           GLENDORA          CA           91741
7616160        GLAXOSMITHKLINE PHARMACEUTICALS            POB 740415                                                                                     ATLANTA           GA           30374
7616160        GLAXOSMITHKLINE PHARMACEUTICALS            POB 740415                                                                                     ATLANTA           GA           30374
7616161        GLENVIEW PATHOLOGY MED GROUP               3828 HUGHES AVENUE                                                                             CULVER CITY       CA           90232
7037150        Glenview Pathology Medical Group, Inc.     Attn: Pathology Dept       3828 Hughes Avenue                                                  Culver City       CA           90232
7616162        GLOBAL EQUIPMENT COMPANY, INC.             29833 NETWORK PLACE                                                                            CHICAGO           IL           60673-1298
7616163        GLOBAL HEALTH PRODUCTS INC                 1099 JAY STREET            STE 100E                                                            ROCHESTER         NY           14611
7684361        GLOBAL HEALTH SOLUTIONS, LLC.              1360 REDMOND CIRCLE                                                                            ROME              GA           30165
7023975        GLOBAL INDUSTRIAL                          SUITE 100 DEPT FR                                                                              BUFORD            GA           30518
7023975        GLOBAL INDUSTRIAL                          SUITE 100 DEPT FR                                                                              BUFORD            GA           30518
7616170        GMT, LLC                                   3735 HILGARD STREET                                                                            CORONA            CA           92882

7616173        GOLDEN CAB COMPANY                         639 CORTE MARIA AVENUE                                                                         CHUTA VISTA       CA           91910
                                                          342 N SAN FERNANDO
7035106        GOODWILL SECURE SHREDDING                  ROAD                                                                                           LOS ANGELES       CA           90031
7035107        GORDON & REES LLP                          275 BATTERY ST             20TH FLOOR                                                          SAN FRANCISCO     CA           94111
7023196        GRAINGER                                   DEPT. 885526954            P.O. BOX 419267                                                     KANSAS CITY       MO           64141
7023196        GRAINGER                                   DEPT. 885526954            P.O. BOX 419267                                                     KANSAS CITY       MO           64141
7071259        Granite Telecommunications LLC             100 Newport Ave Ext                                                                            Quincy            MA           02171
7023107        GRANITE TELECOMMUNICATIONS, LLC.           P.O. BOX 983119            CLIENT ID# 311                                                      BOSTON            MA           02298-3119
7616183        GRASS RANGERS, LLC                         14046 HIGHWAY 431                                                                              SAING AMANT       LA           70774
                                                          201 NORTH FRANKLIN
7616185        GRAY ROBINSON, P.A.                        STREET                     SUITE 22                                                            TAMPA             FL           33602
7035119        GREAT BASIN SCIENTIFIC, INC.               2441 SOUTH 3850 WEST                                                                           SALT LAKE CITY    UT           84120
7037700        GREENBERG TRAURIG, LLP                     2200 ROSS AVENUE           SUITE 5200                                                          DALLAS            TX           75201




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7616193        GRM                                                           8500 MERCURY LANE                                                                          PICO RIVERA      CA           90660
                                                                             830 W. WASHINGTON
7035132        GROMAN MORTUARIES                                             BLVD.                                                                                      LOS ANGELES      CA           90015
                                                                             1701 PENNSYLVANIA
7616195        GROOM LAW GROUP CHARTERED                                     AVENUE NW                 STE 1200                                                         WASHINGTON       DC           20006

7683868        GULF COAST PHARMACEUTICALS PLUS LLC                           ACCORD FINANCIAL, INC     PO BOX 6704                                                      GREENVILLE       SC           29606

7616198        GULF COAST PHARMACEUTICALS PLUS, LLC                          ACCORD FINANCIAL, INC  P.O. BOX 6704                                                       GREENVILLE       SC           29606
7616199        GULF STATES ENVIRONMENTAL LAB, INC.                           POB 707                                                                                    SHREVEPORT       LA           71162
7615467        H & L ENTERPRISES, LLC DBA                                    POB 3358                                                                                   SHREVEPORT       LA           71133
7023729        HADEN HARDWARE                                                2110 S FRONTAGE ROAD                                                                       VICKSBURG        MS           39180
                                                                             PMB 199, 25422 TRABUCO
7024434        HADI JAVADI dba CREATIVE GARDENING                            ROAD                   #105                                                                LAKE FOREST      CA           92630
7615398        HALYARD HEALTH                                                P.O BOX 601004                                                                             PASADENA         CA           91189

7615399        HANGER CLINIC                                                 550 WASHINGTON STREET SUITE 400                                                            SAN DIEGO        CA           92103

7615399        HANGER CLINIC                                                 550 WASHINGTON STREET     SUITE 400                                                        SAN DIEGO        CA           92103
7024349        Hardy Diagnostics                                             429 S Pioneer Blvd                                                                         Springboro       OH           45066
7615402        HARDY DIAGNOSTICS                                             P.O. BOX 645264                                                                            CINCINNATI       OH           45264
                                                                             7511 EAST MCDONALD
7615403        HARKINS REEL DEALS, LLC                                       DRIVE                                                                                      SCOTTSDALE       AZ           85250
                                                                             HOSPITAL ASSOCIATION OF   5575 RUFFIN ROAD STE
7615404        HASDIC                                                        SD & IC                   225                                                              SAN DIEGO        CA           92123
7024111        HAU TAN MD, INC.                                              4533 COLLEGE AVE.                                                                          SAN DIEGO        CA           92115
7615406        HAYEK MEDICAL DEVICES                                         8193 ESQUESING LINE                                                                        Milton           ON           L9T 9E4        Canada
7684297        HAZELDEN                                                      POB 266                                                                                    CENTER CITY      MN           55012
7615408        HCD RENEWAL                                                   P.O. BOX 1979                                                                              SACREMENTO       CA           95812
7615409        HCI SYSTEM INC                                                1354 S PARKSIDE PLACE                                                                      ONTARIO          CA           91761
7615412        HCS                                                           P.O. BOX 2430                                                                              FARMINGDALE      NJ           07727
7023763        HD SUPPLY FACILITIES MAINTENANCE                              PO BOX 509058                                                                              SAN DIEGO        CA           92150-9058
7023763        HD SUPPLY FACILITIES MAINTENANCE                              PO BOX 509058                                                                              SAN DIEGO        CA           92150-9058
7023908        HD SUPPLY FACILITIES MAINTENANCE, LTD                         P.O. BOX 509058                                                                            SAN DIEGO        CA           92150-9058
7024526        HEALOGICS SPECIALTY PHYSICIANS                                5220 BELFORT ROAD         SUITE 130                                                        JACKSONVILLE     FL           32256
7023498        HEALTH CARE LOGISTICS, INC.                                   P.O. BOX 400                                                                               CIRCLEVILLE      OH           43113-0400
7023498        HEALTH CARE LOGISTICS, INC.                                   P.O. BOX 400                                                                               CIRCLEVILLE      OH           43113-0400
7615421        HEALTH CARE RECOVERIES                                        9390 Bunsen Parkway                                                                        Louisville       KY           40220
7615421        HEALTH CARE RECOVERIES                                        9390 Bunsen Parkway                                                                        Louisville       KY           40220
                                                                             5755 CARMICHAEL
7024317        HEALTH CARE SYSTEMS, INC.                                     PARKWAY                                                                                    MONTGOMERY       AL           36117

7615430        HEALTH NOW                                                    257 WEST GENESSE STREET                                                                    BUFFALO          NY           14202

7615430        HEALTH NOW                                                    257 WEST GENESSE STREET                                                                    BUFFALO          NY           14202
7615433        HEALTH PRODUCTS FOR YOU                                       82 NORTH STREET                                                                            DANBURY          CT           06810
7023747        HEALTHCARE APPRAISERS                                         75 NW 1ST AVENUE                                                                           DELRAY BEACH     FL           33444
                                                                             4051 Veterans Memorial
7625778        Healthcare Recruiters, LLC dba United Nursing International   Blvd.                   Suite 306                                                          Metairie         LA           70002
7615425        HEALTHLINE MEDICAL EQUIPMENT, INC.                            PO BOX 4847                                                                                WICHITA FALLS    TX           76308
7615428        HEALTHMARK INDUSTRIES, INC                                    33671 DOREKA                                                                               FRASER           MI           48026
7615429        HEALTHNETSTAFFING.COM, LLC                                    P.O. BOX 633429                                                                            CINCINNATI       OH           45263-3429
7615429        HEALTHNETSTAFFING.COM, LLC                                    P.O. BOX 633429                                                                            CINCINNATI       OH           45263-3429

7615435        HEALTHSTREAM, INC                                             209 10TH AVENUE SOUTH SUITE 450                                                            NASHVILLE        TN           37203




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7615439        HEART OF THE VILLAGES                      1149 MAIN STREET             2ND FLOOR                                                        THE VILLAGES     FL           32159
7615437        HEARTFULNESS INSTITUTE                     6320 AYRES DRIVE                                                                              AUSTIN           TX           78746

7044380        HeartTraining, LLC                         7300 W. 110th St. Ste. 700                                                                    Overland Park    KS           66210

7044380        HeartTraining, LLC                         7300 W. 110th St. Ste. 700                                                                    Overland Park    KS           66210
7615443        HELMER INC                                 14400 BERGEN BLVD                                                                             NOBLESVILLE      IN           46060
7615445        HENRIKSEN BUTLER                           249 S. 400 E.                                                                                 SALT LAKE CITY   UT           84111
7615446        HENRY KISER, MD.                           1101 BAY RIDGE DRIVE                                                                          BENTON           LA           71006
7615448        HENRY SCHEIN, INC.                         DEPT CH 10241                                                                                 PALATINE         IL           60055-0241
                                                          1436-B WEST COWLES
7615450        HERCULES PORTABLE POWER, INC               STREET                                                                                        LONG BEACH       CA           90813
7615451        HERITAGE FOOD SERVICE EQUIPMENT INC        POB 8710                                                                                      FORT WAYNE       IN           46898
7615453        HERITAGE MEDICAL IMAGING INC               5205 S SLAUSON AVE                                                                            CULVER CITY      CA           90230
7615455        HFMA                                       PO BOX 4237                                                                                   CAROL STREAM     IL           60197
                                                          3411 CAPITAL MEDICAL
7683813        HIE NETWORKS LLC                           BLVD.                                                                                         TALLAHASSEE      FL           32308
                                                          3411 CAPITAL MEDICAL
7037152        HIE NETWORKS, LLC                          BLVD.                                                                                         TALLAHASSEE      FL           32308
7024739        HIGH TECH OFFICE SYSTEMS                   1805 N.W. CACHE ROAD                                                                          LAWTON           OK           73507
                                                          2040 BEAR VALLEY
7024112        HILL IMAGING INC.                          PARKWAY                                                                                       ESCONDIDO        CA           92027
                                                          2040 BEAR VALLEY
7024112        HILL IMAGING INC.                          PARKWAY                                                                                       ESCONDIDO        CA           92027
                                                          9177 GARDEN GROVE
7615462        HILL'S BROS LOCK & SAFE                    BLVD                                                                                          GARDEN GROVE     CA           92644

7825152        Hill's Bros. Lock & Safe, Inc.             9177 Garden Grove Blvd.                                                                       Garden Grove     CA           92844
                                                          8142 SOLUTIONS CENTER
7615464        HINSHAW & CULBERTSON, LLP                  DRIVE                                                                                         CHICAGO          IL           60677
7615473        HNM STAINLESS, LLC.                        20855 NE 16TH AVENUE         SUITE C15                                                        MIAMI            FL           33179
7615474        HOBART FOOD EQUIPMENT GROUP                701 SOUTH RIDGE AVE.                                                                          TROY             OH           45374
7615474        HOBART FOOD EQUIPMENT GROUP                701 SOUTH RIDGE AVE.                                                                          TROY             OH           45374
7621555        Hobart Service                             701 S. Ridge Ave                                                                              Troy             OH           45374
7615477        HOLIDAY ENTERPRISES HEAT & AIR, INC        1805 GENERAL LANE            SUITE 5                                                          LEESBURG         FL           34748
7615478        HOLLISTER INCORPORATED                     72035 EAGLE WAY                                                                               CHICAGO          IL           60678
7615479        HOME CARE MATTRESS                         303 CONOVER DRIVE                                                                             FRANKLIN         OH           45005
7615480        HOME CARE MED EQUIP                        PO BOX 6209                                                                                   LAFAYETTE        IN           47903
7615481        HOME DEPOT CREDIT SVCS                     PO BOX 9055                  DEPT 32 2504049143                                               DES MOINES       IA           50368
7615482        HOME DEPOT SUPPLY                          CUSTOMER #1209992            PO BOX 509058                                                    SAN DIEGO        CA           92150
7615485        HOMETOWN MEDICAL                           814 BELMONT STREET                                                                            VICKSBURG        MS           39180
7615486        HONEY-WAGON SEPTIC SERVICE                 P.O. BOX 177                                                                                  STILLWELL        KS           66085
7615488        HOOD TECHS                                 PO BOX 830995                                                                                 OCALA            FL           34483

7683718        HOOPER LUNDY & BOOKMAN INC                 1875 CENTURY PARK EAST SUITE 1600                                                             LOS ANGELES      CA           90067-2799

7683718        HOOPER LUNDY & BOOKMAN INC                 1875 CENTURY PARK EAST SUITE 1600                                                             LOS ANGELES      CA           90067-2799

7683814        HOOPER, LUNDY & BOOKMAN, INC               1875 CENTURY PARK EAST       SUITE 1600                                                       LOS ANGELES      CA           90067-2799
7071433        Hooper, Lundy & Bookman, P.C.              1875 Century Park East       Suite 1600                                                       Los Angeles      CA           90067-2517
7615491        HOPE PHARMACEUTICALS                       16416 N 92ND STREET          SUITE 125                                                        SCOTTSDALE       AZ           85260
7684354        HOPWOOD, JAMES                             ADDRESS ON FILE
7822378        Hopwood, James                             ADDRESS ON FILE
7615492        HOSPIRA WORLDWIDE INC                      75 REMITTANCE DRIVE          SUITE 6136                                                       CHICAGO          IL           60675




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7615494        HOSPITAL MANAGEMENT SERVICES                      211 E. IMPERIAL HIGHWAY SUITE 12                                                          FULLERTON           CA           92835
7615495        HOSPITAL PHARMACY MANAGERS, LLC                   POB 638316                                                                                CINCINNATI          OH           45263
7615495        HOSPITAL PHARMACY MANAGERS, LLC                   POB 638316                                                                                CINCINNATI          OH           45263
7615496        HOSPITAL STAFFLINK NETWORK                        PO BOX 1070                                                                               HOLLYWOOD           CA           90078-1070
7615497        HP, INC                                           11311 CHIDEN BLVD.      MS 305                                                            BOISE               ID           83714-0021
7615502        HUBERT                                            PO BOX 631642           CUSTOMER 124545                                                   CINCINNA0TI         OH           45263
7615501        HUBERT COMPANY, LLC                               25401 NETWORK PLACE                                                                       CHICAGO             IL           60673
7615508        I-35 & I-435 MINI STORAGE                         10750 COTTONWOOD                                                                          LENEXA              KS           66215

7024164        ICE CREAM DISTRIBUTOR                             8721 SHIRLEY FRANCIS RD.                                                                  SHREVEPORT          LA           71129
7023660        IDENTISYS INC.                                    P.O. BOX 1086                                                                             MINNETONKA          MN           55345
7615514        IGEL AMERICA SERVICES                             2106 FLORENCE AVE                                                                         CINCINNATI          OH           45206
7024701        IMAGEQUEST                                        11021 E 26TH ST N                                                                         WICHITA             KS           67226
7615518        IMMEDIATE RESPIRATORY STAFFERS, INC               8777 E. VIA DE VENTURA #390                                                               SCOTTSDALE          AZ           85258

7023815        Immediate Respiratory Staffers, Inc.              8777 East Via De Ventura   Suite 390                                                      Scottsdale          AZ           85258

7023815        Immediate Respiratory Staffers, Inc.              8777 East Via De Ventura   Suite 390                                                      Scottsdale          AZ           85258
                                                                 2990 GATEWAY DRIVE
7615519        IMMUCOR                                           #400                       ATTN: WANDA KNIGHT                                             NORCROSS            GA           30071
7200411        Immucor Inc.                                      3130 Gateway Dr.                                                                          Norcross            GA           30071
7615520        IMMUCOR, INC.                                     PO BOX 102118                                                                             ATLANTA             GA           30368
7615523        IMPACT TELECOM                                    P.O. BOX 660344                                                                           DALLAS              TX           75266
7615524        IMPERIAL COUNTY HEALTH                            935 Broadway                                                                              El Centro           CA           92243

7615527        IMPULSE AMBULANCE, INC.                           12531 VANOWEN STREET                                                                      NORTH HOLLYWOOD     CA           91605

7615527        IMPULSE AMBULANCE, INC.                           12531 VANOWEN STREET                                                                      NORTH HOLLYWOOD     CA           91605
7615528        IMS-VALLEY RADIATION ONCO                         PO BOX 9004                                                                               PHOENIX             AZ           85068
                                                                 5051 ORANGETHORPE AVE
7077713        Independent Tax Group dba Training Refund Group   #E                                                                                        ANAHEIM             CA           92807
7615529        INDEPENDENT TAXI OWNERS'                          700 N.VIRGIL AVE                                                                          LOS ANGELES         CA           90029

7615530        INFODATIX LLC                                     1109 S WILDFLOWER WAY                                                                     SPRINGVILLE         UT           84663
7615531        INFUSION PUMP REPAIR CORP                         18 TECHNOLOGY DRIVE   STE 133                                                             IRVINE              CA           92618
7615532        INGENIX                                           4900 W 95TH STREET    LOCKBOX 88050                                                       OAK LAWN            IL           60453
7615533        INNOVASIS INC.                                    P.O. BOX 212                                                                              SPRINGVILLE         UT           84663
7615534        INNOVATION SIMPLE                                 PO BOX 1791                                                                               ST. GEORGE          UT           84771
7683757        INNOVATIVE THERAPIES INC                          12 MEEM AVE           SUITE C                                                             GAITHERSBURG        MD           20877
7615537        INPRO CORPORATION                                 5131 PAYSPHERE CIRCLE                                                                     CHICAGO             IL           60656
7615540        INSTITUTE OF BUSINESS PUBLICATIONS                P.O. BOX 1340                                                                             HAVERTOWN           PA           19083
7045197        Instrumentation Laboratory                        180 Hartwell Road                                                                         Bedford             MA           01730
                                                                 9149 S MONROE STREET
7023697        INSYNC INTERPRETERS                               SUITE C                                                                                   SANDY               UT           84070
7615544        INTEGRA LIFE SCIENCES                             P.O. BOX 404129                                                                           ATLANTA             GA           30384-4129

7615542        INTEGRAL CARE PROVIDER, INC.                      6400 GLENWOOD STREET                                                                      OVERLAND PARK       KS           66202
                                                                 7000 SW HAMPTON ST STE
7615546        INTEGRATED HEALTHCARE STAFFING                    219                                                                                       PORTLAND            OR           97223
7035306        INTEGRATED OFFICE TECHNOLOGY                      12150 MORA DRIVE       UNIT 2                                                             SANTA FE SPRINGS    CA           90670
7231957        Integrated Office Technology dba IOTEC            ADDRESS ON FILE
7231957        Integrated Office Technology dba IOTEC            ADDRESS ON FILE
7231957        Integrated Office Technology dba IOTEC            ADDRESS ON FILE
7615549        INTEGRATED PREMIER GROUP, LLC                     PO BOX 17779                                                                              PHOENIX             AZ           85011




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7615552        Intensive Therapeutics, Inc.               PO Box 488                                                                                    Sarasota           FL           34230
7615553        INTERIORSCAPE SERVICE COMPANY              POB 531542                                                                                    GRAND PRAIRIE      TX           75050
                                                          13301 NW US HIGHWAY
7023857        INTERMED GROUP, INC.                       441                                                                                           ALACHUA            FL           32615-8512
7615556        INTERMETRO INDUSTRIES CORP                 75 REMITTANCE DRIVE        DEPT. 3044                                                         CHICAGO            IL           60675
7615556        INTERMETRO INDUSTRIES CORP                 75 REMITTANCE DRIVE        DEPT. 3044                                                         CHICAGO            IL           60675
7023653        INTERMOUNTAIN MEDICAL GROUP                36 SOUTH STATE STREET                                                                         SALT LAKE CITY     UT           84111
                                                          1427 WEST BROADWAY
7035320        INTERSTATE ALL BATTERY CENTER              ROAD                                                                                          MESA               AZ           85202
7198958        Interstate Mechanical Corporation          1841 E Washington St                                                                          Phoenix            AZ           85034
7198958        Interstate Mechanical Corporation          1841 E Washington St                                                                          Phoenix            AZ           85034
7198958        Interstate Mechanical Corporation          1841 E Washington St                                                                          Phoenix            AZ           85034
7615565        INTERSYSTEMS CORPORATION                   ONE MEMORIAL DRIVE                                                                            Cambridge          MA           02142
                                                          6833 PHILLIPS INDUSTRIAL
7615567        INVOTEC INTERNATIONAL INC.                 BLVD.                                                                                         JACKSONVILLE       FL           32256
7024471        IPM TECH PEST MANAGEMENT                   PO BOX 890                                                                                    ONTARIO            CA           91762
7615569        IPM TECH PEST MANAGEMENT                   P.O. BOX 890                                                                                  ONTARIO            CA           91762
7615573        IRON MOUNTAIN RECORDS MGMT                 PO BOX 915004                                                                                 DALLAS             TX           07539
7615571        IRON MOUNTAIN, INC                         PO BOX 841709                                                                                 DALLAS             TX           75284-1709
7615571        IRON MOUNTAIN, INC                         PO BOX 841709                                                                                 DALLAS             TX           75284-1709
7615571        IRON MOUNTAIN, INC                         PO BOX 841709                                                                                 DALLAS             TX           75284-1709
7615577        ISOLATED POWER SPECIALIST                  3332 TALLWOOD CT.                                                                             ERLANGER           KY           41018
7615578        ISOLATION DOOR CADDY, LLC                  1917 Benjamin Drive                                                                           Salisbury          NC           28146
7615579        ISO-MED, INC.                              P.O BOX 79214                                                                                 CORONA             CA           92877
7615579        ISO-MED, INC.                              P.O BOX 79214                                                                                 CORONA             CA           92877
                                                          511 AVENUE OF THE
7615582        IT USA                                     AMERICAS                   SUITE 250                                                          NEW YORK           NY           10011
                                                          1778 PARK AVENUE
7615581        ITS USA                                    NORTH                      SUITE 200                                                          MAITLAND           FL           32751
7615580        ITSAVVY, LLC                               8300 NW 53RD ST            SUITE 350                                                          DORAL              FL           33166

7615584        IVANS INC/ABILITY NETWORK INC              CHURCH STREET STATION      PO BOX 6262                                                        NEW YORK           NY           10249

7615587        IVY PLACE, THE                             2451 N. FRONTAGE ROAD                                                                         VICKSBURG          MS           39180
                                                          5972 COLLECTIONS
7615610        J & J HEALTH CARE SYSTEMS, INC.            CENTER D                                                                                      CHICAGO            IL           60693
                                                          5972 COLLECTIONS
7615610        J & J HEALTH CARE SYSTEMS, INC.            CENTER D                                                                                      CHICAGO            IL           60693
7615602        J.BROWN SIGNS                              5743 CAMELLIA AVE                                                                             NORTH HOLLYWOOD    CA           91601
7615591        JACKSON LEWIS, P.C.                        PO BOX 416019                                                                                 BOSTON             MA           02241
7615589        JACKSONCO SUPPLY LLC                       320 MATTHEW AVE                                                                               DENTON             TX           76210
7615593        JAIME C. LIM, MD., PLLC.                   1722 NINTH STREET                                                                             WICHITA FALLS      TX           76301
7615600        JANSSEN GLASS & DOOR, LLC                  4949 HADLEY AVENUE                                                                            OVERLAND PARK      KS           66203
7615607        JEFFRY SCOTT BOWEN II                      9381 SAN PABLO AVE                                                                            HESPERIA           CA           92345

7615613        JM HERRERA, MD.                            5959 HARRY HINES BLVD.     #108                                                               DALLAS             TX           75235
7615612        J-MEDS MEDICAL SERVICES, INC               1000 Forest Park Blvd.     Suite 401                                                          Fort Worth         TX           76110-1182
                                                                                     895 CENTRAL AVE. SUITE
7615615        JOERNS LLC, (JOERNS RECOVERCARE)           LOCK BOX 713222            600                                                                CINCINNATI         OH           45202
                                                                                     895 CENTRAL AVE. SUITE
7615615        JOERNS LLC, (JOERNS RECOVERCARE)           LOCK BOX 713222            600                                                                CINCINNATI         OH           45202

7615614        JOERNS, LLC                                19748 DEARBORN STREET                                                                         CHATSWORTH         CA           91311

7615614        JOERNS, LLC                                19748 DEARBORN STREET                                                                         CHATSWORTH         CA           91311




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7615618        JOHN C. LAWLOR                             213 GRANT AVE                                                                                    LEHIGH ACRES        FL           33936
7615620        JOHN PHILIP HARRIS, M.D.                   624 WILDER PLACE                                                                                 SHREVEPORT          LA           71104
7615619        JOHNNY'S ROOFING & METAL WORKS, INC        8361 W. ANTOINE LOOP                                                                             SHREVEPORT          LA           71129
7615621        JOHNSON CONTROLS                           517 W 67TH STREET                                                                                SHREVEPORT          LA           71106
7615621        JOHNSON CONTROLS                           517 W 67TH STREET                                                                                SHREVEPORT          LA           71106
7023938        JOHNSON CONTROLS FIRE PROTECTION, LP       DEPT. CH 10320                                                                                   PALATINE            IL           60055-0320
7023938        JOHNSON CONTROLS FIRE PROTECTION, LP       DEPT. CH 10320                                                                                   PALATINE            IL           60055-0320
7023938        JOHNSON CONTROLS FIRE PROTECTION, LP       DEPT. CH 10320                                                                                   PALATINE            IL           60055-0320
                                                          Attn: Brian Wilderman LD-
7071482        Johnson Controls Inc                       9                         5757 N Green Bay Ave                                                   Milwaukee           WI           53209
7615623        JOHNSON COUNTY KEY SERVICE, INC.           7216 WEST 75TH STREET                                                                            OVERLAND PARK       KS           66204
7615624        JOHNSON COUNTY WASTEWATER                  PO BOX 219948                                                                                    KANSAS CITY         MO           64121
7228566        Johnson, Jeremy W.                         ADDRESS ON FILE
7615628        JONATHAN PASTUSEK                          419 KINGSBURY                                                                                    WICHITA FALLS       TX           76309
7024048        JOSE DE JESUS GARCIA ZUNIGA                1117 SUMTER DRIVE                                                                                FORT MYERS          FL           33905
7615631        JOSE J. GUERRERO                           1650 PINE AVE             APT.3                                                                  LONG BEACH          CA           90813

7615634        JOSUE RIVERA                               8725 NW 111TH TERRACE                                                                            HIALEAH GARDENS     FL           33018
                                                          7755 E. Gelding Drive,
7615635        JRM Environmental, Inc.                    Suite C104                                                                                       Scottsdale          AZ           85260
7615636        JTR SALES AND SERVICE                      1315 MARTIN LN                                                                                   BOSSIER             LA           71111
7615638        JUAN A FERNANDEZ MD PA                     PO BOX 142201                                                                                    MIAMI               FL           33114
7037682        JUDICE & ADLEY, APLC                       926 COOLIDGE BLVD.                                                                               LAFAYETTE           LA           70503
7037682        JUDICE & ADLEY, APLC                       926 COOLIDGE BLVD.                                                                               LAFAYETTE           LA           70503
7194071        K Jett Services, LLC                       PO Box 53                                                                                        Belton              MO           64012

7615683        K JETT SERVICES, LLC                       ATTN: JESSICA LYNN BAKER 657 N. SCOTT AVE             BUILDING A                                 BELTON              MO           64012
7024249        K&D TRANSIT, LLC                           6218 LAFLEUR DRIVE                                                                               SHREVEPORT          LA           71119
7615645        KALLEO TECHNOLOGIES LLC                    1127 BROADWAY ST                                                                                 PADUCAH             KY           42001
                                                          1341 DISTRIBUTION WAY,
7615647        KAND MEDICAL, INC                          #17                                                                                              VISTA               CA           92081
7615648        KANSAS CITY UROLOGY CARE, P.A.             PO BOX 802257                                                                                    KANSAS CITY         MO           64180
7383297        Kansas Gas Service                         Attn: Bankruptcy Team    PO Box 3535                                                             Topeka              KS           66601-3535
7615650        KANSAS GAS SERVICE                         PO BOX 219046                                                                                    KANSAS CITY         MO           64121

7071655        Kardell Plumbing, Inc.                     5624 S. Compton Avenue                                                                           Saint Louis         MO           63111
7615652        KARL STORZ ENDOSCOPY-AMERICA, INC.         2151 E. GRAND AVENUE                                                                             EL SEGUNDO          CA           90245
7615655        KATENA PRODUCTS INC                        4 STEWART COURT                                                                                  DENVILLE            NJ           07834
7615658        KC PATHOLOGY PA                            P.O. BOX 801163                                                                                  KANSAS CITY         MO           64180
7615657        KCI USA                                    P.O. BOX 301557                                                                                  DALLAS              TX           75303-1557
7615657        KCI USA                                    P.O. BOX 301557                                                                                  DALLAS              TX           75303-1557
7615659        KCP&L                                      PO BOX 219330                                                                                    KANSAS CITY         MO           64121
7024747        KELL WEST REGIONAL HOSPITAL                5420 KELL WEST BLVD.                                                                             WICHITA FALLS       TX           76310
                                                          400 BROADHOLLOW
7615664        KEM MEDICAL PRODUCTS                       ROAD                        SUITE 2                                                              FARMINGDALE         NY           11735

7615665        KENNEDY LIM, MD                            10912 SANCTUARY DRIVE                                                                            SHREVEPORT          LA           71106
7615666        KENNETH J. MEKELBURG, MD                   260 MERRITT ROAD                                                                                 BENTON              LA           71006
                                                          ATTN: ACCOUNTS
7036954        KEY SURGICAL                               RECEIVABLE                  P.O. BOX 74809                                                       CHICAGO             IL           60694
7615671        KEY SURGICAL, INC.                         8101 WALLACE ROAD                                                                                EDEN PRAIRIE        MN           55344
7024771        KHCA KCAL                                  1100 SW GAGE BLVD.                                                                               TOPEKA              KS           66604
                                                          1254 WINDLING
7615676        KINETIC CASTING SOLUTIONS                  MEADOWS ROAD                                                                                     ROCKLEDGE           FL           32955
7828652        Kinetic Concepts, Inc.                     KCI A Division of Acelity   c/o Martha G. Geraths     12930 IH-10 West                           San Antonio         TX           78249




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7828662        KINETIC CONCEPTS, INC.                     KCI A DIVISION ACELITY      C/O MARTHA G. GARATHS 12930 IH-10 WEST                               SAN ANTONIO     TX           78249
7828652        Kinetic Concepts, Inc.                     KCI A Division of Acelity   c/o Martha G. Geraths 12930 IH-10 West                               San Antonio     TX           78249

7037686        KIRTLAND & PACKARD LLP                     2361 ROSECRANS AVENUE 4TH FLOOR                                                                  EL SEGUNDO      CA           90245

7037686        KIRTLAND & PACKARD LLP                     2361 ROSECRANS AVENUE 4TH FLOOR                                                                  EL SEGUNDO      CA           90245

7035422        KISS HEALTHCARE                            13089 PEYTON DR. #C212                                                                           CHINO HILLS     CA           91709

7036955        KISS HEALTHCARE INC.                       13089 PEYTON DR. #C212                                                                           CHINO HILLS     CA           91709
                                                          280 HARDERS CROSSING
7615686        KML INDUSTRIES, LLC                        BLVD                                                                                             SHREVEPORT      LA           71106
7615687        KMT CONSTRUCTION, LLC                      12211 E. 55TH TERRACE                                                                            KANSAS CITY     MO           64130
7615688        KNIGHT CREATIVE GROUP                      16823 76TH STREET N.                                                                             LOXAHATCHEE     FL           33470
7615692        KOROS USA INC                              610 FLINN AVENUE                                                                                 MOORPARK        CA           93021
7615693        KOSSEN EQUIPMENT INC                       415 HWY 49 SOUTH                                                                                 RICHLAND        MS           39208
7035432        KPG HEALTHCARE LLC                         P.O. BOX 202056                                                                                  DALLAS          TX           75320
7615699        KRC ENTERPRISES, LLC.                      1868 CRAIGSHIRE RD.                                                                              ST. LOUIS       MO           63146
7023101        KRONOS                                     P.O. BOX 743208                                                                                  ATLANTA         GA           30374-3208
7615713        L.A. DWP - 551 781 0000                    P.O. BOX 30808                                                                                   LOS ANGELES     CA           90030
7615714        L.A. DWP - 751 781 0000                    P.O. BOX 30808                                                                                   LOS ANGELES     CA           90030
7615716        L.A. DWP - 951 781 0000                    P.O. BOX 30808                                                                                   LOS ANGELES     CA           90030

7035445        L.A. LOCK & SAFE                           1803 N. GLENDALE BLVD.                                                                           LOS ANGELES     CA           90026
7615708        LA COUNTY DEP OF PUBLIC WORKS              PO BOX 1460                                                                                      ALHAMBRA        CA           91802
7036959        LA COUNTY DEPT OF PUBLIC WORKS             CASHIER UNIT                P.O. BOX 1460                                                        ALHAMBRA        CA           91802-1460
                                                          FINANCIAL SERVICES
7615710        LA DEPT. OF ENVIRONMENTAL QUALITY          DIVISION                    P.O. BOX 4311                                                        BATON ROUGE     LA           70821
7615718        LA ELEVATOR CORP                           PO BOX 88                                                                                        MONTEVALLO      CA           90640

7023532        LA GREEN LAWN & LANDSCAPING, LLC           11714 INDUSTIPLEX BLVD. SUITE# B5                                                                BATON ROUGE     LA           70809

7615721        LA IMAGING SERVICES, LLC                   2209 N. BOLTON AVENUE                                                                            ALEXANDRIA      LA           71303
7023759        LABCORP                                    P.O. BOX 12140                                                                                   BURLINGTON      NC           27216-2140
7023759        LABCORP                                    P.O. BOX 12140                                                                                   BURLINGTON      NC           27216-2140
                                                          c/o Johnson Legal Network   535 Wellington Way Suite
7193164        Laboratory Corporation of America          PLLC                        380                                                                  Lexington       KY           40503
7615722        LAKE COUNTY ANESTHESIA ASSOCIATES          PO BOX 917756                                                                                    ORLANDO         FL           32891
7615723        LAKE EMS                                   PO BOX 628284                                                                                    ORLANDO         FL           32862
7023890        LAKE MEDICAL IMAGING                       P.O. BOX 491633                                                                                  LEESBURG        FL           34749
7615724        LAKE MEDICAL IMAGING & BREAST              P.O. Box 491633                                                                                  LEESBURG        FL           34749-1633
7024476        LAKEWOOD REGIONAL HOSPITAL                 3700 E SOUTH ST.                                                                                 LAKEWOOD        CA           90712
7615728        LANDAUER INC                               P.O. BOX 809051                                                                                  CHICAGO         IL           60680
7615728        LANDAUER INC                               P.O. BOX 809051                                                                                  CHICAGO         IL           60680
7615728        LANDAUER INC                               P.O. BOX 809051                                                                                  CHICAGO         IL           60680
7072951        LANDAUER MEDICAL PHYSICS                   2 SCIENCE ROAD                                                                                   GLENWOOD        IL           60425
7043294        LANDAUER, INC                              2 SCIENCE RD                                                                                     GLENWOOD        IL           60425
7068600        Landauer, Inc.                             2 Science Rd                                                                                     Glenwood        IL           60425
7068600        Landauer, Inc.                             2 Science Rd                                                                                     Glenwood        IL           60425
7023350        LANGUAGE LINE SERVICES, INC.               P.O. BOX 202564                                                                                  DALLAS          TX           75320-2564
7615733        LARRY K. BROADWELL, MD., INC               820 JORDON STREET           STE. 201                                                             SHREVEPORT      LA           71101
7023383        LASALLE SOLUTIONS                          9550 W. HIGGINS ROAD        SUITE 600                                                            ROSEMONT        IL           60018
7615735        LASERCYCLE, INC                            11100 W. 82ND STREET                                                                             LENEXA          KS           66214
7615737        LASHLY & BAER                              714 LOCUST ST                                                                                    SAINT LOUIS     MO           63101




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7615739        LATITE ROOFING AND SHEET METAL LLC         2280 WEST COPANS ROAD                                                                    POMPANO BEACH      FL           33069
7024807        LAUNDRY SERVICE COMPANY                    1502 COVINGTON                                                                           WICHITA FALLS      TX           76306
7615741        LAURIE R. GRIER, M.D.                      224 RIDGEFIELD DRIVE                                                                     BOSSIER CITY       LA           71111
7023992        LAW OFFICES OF LOUISE T. JEROSLOW          P.O. BOX 43251                                                                           SOUTH MIAMI        FL           33243
7615745        LAWTON BROTHERS, INC.                      2515 DINNEEN AVENUE                                                                      ORLANDO            FL           32804
7024308        LEAF                                       P.O. BOX 644006                                                                          CINCINNATI         OH           45264
7024308        LEAF                                       P.O. BOX 644006                                                                          CINCINNATI         OH           45264
7615751        LEASING ASSOCIATES OF BARRINGTON, INC.     33 WEST HIGGINS ROAD  SUITE 13                                                           SOUTH BARRINGTON   IL           60010
7615754        LEE HECHT HARRISON, LLC                    2301 LUCIEN WAY       SUITE 325                                                          MAITLAND           FL           32751
7615755        LEESBURG REGIONAL MEDICAL CENTER           PO BOX 850001                                                                            ORLANDO            FL           32885
7615761        LEOPARD TRANSPORT                          PO BOX 1959                                                                              OCALA              FL           34478
7023284        LES OLSON COMPANY                          3244 SOUTH 300 WEST                                                                      SALT LAKE CITY     UT           84115
7615764        LEVEL(3) COMMUNICATIONS, LLC               1025 ELDORADO BLVD                                                                       BROOMFIELD         CO           80021
7615764        LEVEL(3) COMMUNICATIONS, LLC               1025 ELDORADO BLVD                                                                       BROOMFIELD         CO           80021
7615768        LEXIMED                                    11616 VERBECK ST                                                                         WHITTIER           CA           90606

7615769        LIBERATOR MEDICAL SUPPLY                   2979 SE. GRAN PARK WAY                                                                   STUART             FL           34997
7615770        LIBERTY AMBULANCE LLC                      9770 CANDIDA STREET                                                                      SAN DIEGO          CA           92126
7192681        Liberty Hardware, LLC                      3827 South Broadway                                                                      St. Louis          MO           63118
7615784        LIFE TIME FITNESS, INC                     ATTN: A/R              2902 CORPORATE PLACE                                              CHANHASSEN         MN           55317
7615774        LIFECYCLE SYSTEMS                          PO BOX 302                                                                               UNION              MO           63084
7615777        LIFELINE AMBULANCE                         1120 S. MAPLE AVENUE   STE #200                                                          MONTEBELLO         CA           90640
7615778        LIFELINE PHARMACEUTICALS LLC               1301 NW 84TH AVENUE    STE. 101                                                          MIAMI              FL           33126
7024648        LIFELINE RENAL CARE LLC                    2517 SCOTTI STREET                                                                       LEWISVILLE         TX           75056
7615779        LIFELINE RENAL CARE, LLC                   2517 SCOTTI STREET                                                                       LEWISVILLE         TX           75056
7683949        LIFTECH ELEVATOR SERVICES INC              2897 GARDENA AVE                                                                         SIGNAL HILL        CA           90755
7615785        LIFTECH ELEVATOR SERVICES, INC             2897 GARDENA AVENUE                                                                      SIGNAL HILL        CA           90755
7036962        LIFTECH ELEVATOR SERVICES, INC.            2897 GARDENA AVE                                                                         SIGNAL HILL        CA           90755
7036963        LIGHTING SOURCE                            3907 PADDY LANE                                                                          BALDWIN PARK       CA           91706

7615787        LINDA BURKE, MD.                           1703 N. BECKLEY AVENUE                                                                   DALLAS             TX           75203
7615789        LINDENMAYER PLUMBING                       7267 JOE MAE LANE                                                                        SHREVEPORT         LA           71119
7029684        LINDLEY, CHRISTIAN                         ADDRESS ON FILE

7615790        LINDSEY S. MILLER                          125 MARINERS CREEK DR                                                                    LEXINGTON          SC           29072-7295

7615790        LINDSEY S. MILLER                          125 MARINERS CREEK DR                                                                    LEXINGTON          SC           29072-7295
7615791        LINEAGE                                    11555 W. 83RD TERR.                                                                      LENEXA             KS           66213
                                                          10360 SE Jupiter Narrows
7615792        LINKS DESIGN AND PRINT LLC                 Drive                                                                                    Hobe Sound         FL           33455
7615794        LIQUID ENVIRONMENTAL SOLUTIONS             PO BOX 733372                                                                            DALLAS             TX           75373-3372
7615795        LIQUITECH INC                              421 Eisenhower Ln S                                                                      Lombard            IL           60148
                                                          10626 NORTHRIDGE HILL
7615796        LISA PARK                                  DRIVE                                                                                    CHATSWORTH         CA           91311
7614997        LITTLER MENDELSON, PC                      PO BOX 45547                                                                             SAN FRANCISCO      CA           94145
7614997        LITTLER MENDELSON, PC                      PO BOX 45547                                                                             SAN FRANCISCO      CA           94145
7614997        LITTLER MENDELSON, PC                      PO BOX 45547                                                                             SAN FRANCISCO      CA           94145
7614998        LIVING DESIGN INC                          47015 SD HWY 44                                                                          WORTHING           SD           57077
7024775        Living Design Inc.                         Attn: Ray Wood             47015 SD Hwy 44                                               Worthing           SD           57077
7824834        Lonestar Ambulance 1, LLC                  PO Box 4320                                                                              Houston            TX           77210
7024343        LOS ANGELES COUNTY FIRE DEPARTMENT         P.O. BOX 513148                                                                          LOS ANGELES        CA           90051
7615004        LOS ANGELES TRANSITIONAL LIVING CENTER     806 E 75TH ST                                                                            LOS ANGELES        CA           90001

7615013        LOUIS MECHANICAL CONTRACTORS, INC.         9634 MAMMOTH AVENUE POB 15342                                                            BATON ROUGE        LA           70814




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7048990        Louisiana Department of Environment Quality               Gail Holland              P.O. Box 4302                                                 Baton Rouge           LA           70821
                                                                         FINANCIAL SERVICES
7024236        LOUISIANA DEPARTMENT OF ENVIRONMENTAL QUALITY             DIVISION                  P.O. BOX 4311                                                 BATON ROUGE           LA           70821-4311
                                                                         FINANCIAL SERVICES
7024236        LOUISIANA DEPARTMENT OF ENVIRONMENTAL QUALITY             DIVISION                  P.O. BOX 4311                                                 BATON ROUGE           LA           70821-4311

7615007        LOUISIANA DEPARTMENT OF HEALTH                            OFFICE OF PUBLIC HEALTH P.O. BOX 4489                                                   BATON ROUGE           LA           70821-4489
7615008        LOUISIANA DEPARTMENT OF REVENUE                           PO BOX 201                                                                              BATON ROUGE           LA           70821
7070479        Louisiana Department of Revenue                           P.O. Box 66658                                                                          Baton Rouge           LA           70896-6658
7070477        Louisiana Department of Revenue                           P.O. Box 66658                                                                          Baton Rouge           LA           70896-6658
               Louisiana Health Service & Indemnity Company d/b/a Blue
7829024        Cross and Blue Shield of Louisiana                        Allison N. Pham           P.O. Box 98029                                                Baton Rouge           LA           70898-9029
7615011        LOUISIANA MEDICAID                                        POB 91024                                                                               BATON ROUGE           LA           70821
7615011        LOUISIANA MEDICAID                                        POB 91024                                                                               BATON ROUGE           LA           70821
7615010        LOUISIANA MEDICAID - A006556                              POB 91024                                                                               BATON ROUGE           LA           70821
                                                                         2424 WILLIAMS BLVD.
7615012        LOUISIANA REHAB PRODUCTS, INC.                            SUITE C                                                                                 KENNER                LA           70062
7615015        LOW INCOME HEALTH PROGRAM                                 8840 COMPLEX DR.          STE 300                                                       SAN DIEGO             CA           92123
7615015        LOW INCOME HEALTH PROGRAM                                 8840 COMPLEX DR.          STE 300                                                       SAN DIEGO             CA           92123
7023420        LOWE'S HOME CENTER                                        8383 MEMORIAL BLVD.                                                                     PORT ARTHUR           TX           77640
7615016        LOYCE PURSLEY                                             1442 TANBARK                                                                            WICHITA FALLS         TX           76305
7615020        LSUHSC PATHOLOGY OUTREACH SERVICES                        1512 WEST KIRBY                                                                         SHREVEPORT            LA           71103
                                                                         1095 CRANBURY SOUTH
7615024        LYMPHEDEMA PRODUCTS, LLC                                  RIVER ROAD                SUITE 24                                                      JAMESBURG             NJ           08831
7615273        M&R MEDCARE TRANSPORTATION, LLC                           5286 W. HUNTER DRIVE                                                                    WEST VALLEY CITY      UT           84120
7023875        M.B.K., INC.                                              10400 NW 27TH DRIVE                                                                     WILDWOOD              FL           34785
7615030        MAIBEIBI INC                                              6649 ODESSA AVENUE                                                                      VAN NUYS              CA           91406
7683715        MAIL FINANCE                                              25881 NETWORK PLACE                                                                     CHICAGO               IL           60673
7036971        MAILFINANCE                                               25881 NETWORK PLACE                                                                     CHICAGO               IL           60673

7615034        MAINE STANDARDS COMPANY, LLC                              221 US ROUTE 1                                                                          CUMBERLAND FORESIDE   ME           04110

7615035        MAJESTIC MEDICAL SOLUTIONS, INC.                          207 W EASTBANK STREET                                                                   GONZALES              LA           70737
7615036        MALIGNANT HYPERTHERMIA ASSOCIATION                        P.O. BOX 1069                                                                           SHERBURNE             NY           13460
               Managed Health Systems, LLC, d/b/a MedPro Healthcare      1580 Sawgrass Corporate
7631551        Staffing                                                  Pkwy.                     Ste 200                                                       Sunrise               FL           33323
7615039        MANAGEMENT AND NETWORK SVCS.                              PO BOX 73996                                                                            CLEVELAND             OH           44193

7615040        MANEESH A. BANSAL                                         5540 N. FIGUEROA STREET                                                                 LOS ANGELES           CA           90042
7615044        MANNIX FLOOR CARE                                         2508 W. AVE. 35                                                                         LOS ANGELES           CA           90065
7023821        MANUEL TREE SERVICE, LLC                                  4607 S. POTTER DRIVE                                                                    TEMPE                 AZ           85282

7035547        MAQUET MEDICAL SYSTEMS USA                                3615 SOLUTIONS CENTER                                                                   CHICAGO               IL           60618
7615050        MARK ALLEN CO, M.D.                                       5819 WAGGONER DRIVE                                                                     DALLAS                TX           75230
7615054        MARK L. MONTGOMERY                                        1451 AIRLINE DRIVE                                                                      BOSSIER CITY          LA           71112
7615057        MARK S. RUDY, A PROFESIONAL CORP.                         351 CALIFORNIA STREET     SUITE 7                                                       SAN FRANCISCO         CA           94104

7615052        MARKET BASED SOLUTIONS, INC                               427 W.COLORADO STREET                                                                   GLENDALE              CA           91204
7615053        MARKETLAB                                                 6850 SOUTH BELT DR                                                                      CALEDONIA             MI           49316
7615053        MARKETLAB                                                 6850 SOUTH BELT DR                                                                      CALEDONIA             MI           49316
7615058        MARLIN COMPANY THE                                        PO BOX 304                                                                              NEW HAVEN             CT           06502

7023645        MARPAC,INC.                                               8430 WASHINGTON PL. NE                                                                  ALBUQUERQUE           NM           87113
7615060        MARSHALL INDUSTRIES INC                                   3800 W. 2100 SOUTH                                                                      SALT LAKE CITY        UT           84120
7615061        MARTIN CONTAINER, INC.                                    1402 E. LOMITA BLVD.   P.O. BOX 185                                                     WILMINGTON            CA           90748




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7029995        MARTIN, AREE                               ADDRESS ON FILE
7615063        MASSEY SERVICES, INC                       PO BOX 547668                                                                                     ORLANDO            FL           32854
7615064        MASSMUTUAL FINANCIAL GROUP                 BOX 371368                                                                                        PITTSBURGH         PA           15250

7615066        MASTER STAFFING INC                        310 E. COLORADO ST #206                                                                           GLENDALE           CA           91205
7615070        MATRIXCARE, INC.                           PO BOX 1414             BIN# 32                                                                   MINNEAPOLIS        MN           55480-1414
7615070        MATRIXCARE, INC.                           PO BOX 1414             BIN# 32                                                                   MINNEAPOLIS        MN           55480-1414
                                                                                                                 1755 Pennsylvania Ave,
7199990        Maxim Healthcare Services, Inc             Stinson Leonard Street LLP   Attn. Tracey Ohm          NW, Suite 800                              Washington         DC           20006
                                                          12558 COLLECTIONS CTR
7615072        MAXIM HEALTHCARE SERVICES, INC             DR                                                                                                CHICAGO            IL           60693
                                                          1775 Pennsylvnia Ave NW
7200399        Maxim Healthcare Services, Inc.            Suite 800                                                                                         Washington         DC           20006
7047745        MBK, Inc.                                  10400 NW 27th Drive                                                                               Wildwood           FL           34785
7615079        MCCORMICK AMBULANCE                        P.O. BOX 5004                                                                                     MARIPOSA           CA           95338
7037685        MCGARRY & LAUFENBERG                       615 NASH STREET              SUITE 305                                                            EL SEGUNDO         CA           90245
7615085        MCKESSON MEDICAL-SURGICAL, INC             LOCK BOX 2660266             2975 REGENT BLVD.                                                    IRVING             TX           75063
7615085        MCKESSON MEDICAL-SURGICAL, INC             LOCK BOX 2660266             2975 REGENT BLVD.                                                    IRVING             TX           75063
7829068        McKesson Medical-Surgical, Inc.            Stephanie Hampton            4345 Southpoint Blvd.                                                Jacksonville       FL           32216
7828825        McKesson Medical-Surgical, Inc.            Stephanie Hampton            4345 Southpoint Blvd.                                                Jacksonville       FL           32216
7828848        McKesson Medical-Surgical, Inc.            Stephanie Hampton            4345 Southpoint Blvd.                                                Jacksonville       FL           32216
7828967        McKesson Medical-Surgical, Inc.            Stephanie Hampton            4345 Southpoint Blvd.                                                Jacksonville       FL           32216
7615086        MCKESSON MED-SURG SUPPLY, INC.             P.O. BOX 204786                                                                                   DALLAS             TX           75320
7615086        MCKESSON MED-SURG SUPPLY, INC.             P.O. BOX 204786                                                                                   DALLAS             TX           75320

7615088        MCMURRY STERN, INC                         15511 CARMENITA ROAD                                                                              SANTA FE SPRINGS   CA           90670
                                                          1101 STANDIFORD
7615089        MCOL                                       AVENUE                       SUITE C-3                                                            MODESTO            CA           95350
7615090        MCT EXPRESS , INC DBA                      2766 NW 62ND STREET                                                                               MIAMI              FL           33147
7615093        MECHANICAL CONCEPTS, LLC                   P.O. BOX 3570                                                                                     SHREVEPORT         LA           71133-3570
7073935        Mechanical Cooling Services, LLC           1310 Driftwood Drive                                                                              Bossier City       LA           71111
7121050        Mechanical Solutions, LLC                  PO BOX 19103                                                                                      SHREVEPORT         LA           71149
7121050        Mechanical Solutions, LLC                  PO BOX 19103                                                                                      SHREVEPORT         LA           71149
7615147        MED ONE CAPITAL FUNDING LLC                PO BOX 17170                                                                                      SALT LAKE CTY      UT           84117-0170
7615147        MED ONE CAPITAL FUNDING LLC                PO BOX 17170                                                                                      SALT LAKE CTY      UT           84117-0170
7615148        MED ONE CAPITAL, INC                       10712 SOUTH                  1300 EAST                                                            Sandy              UT           84094
7071310        Med. Resources Imaging, Inc.               Andrew O. Gomez              3581 Vineland Ave.                                                   Baldwin Park       CA           91706
7615154        MED.RESOURCES IMAGING INC                  Andrew O. Gomez              3581 Vineland Ave.                                                   Baldwin Park       CA           91706
7615096        MEDACTA USA, INC                           1556 W CAROLL AVE                                                                                 CHICAGO            IL           60607
                                                          MEDASSETS SUPPLY CHAIN
7683720        MEDASSETS INC                              SYSTEMS, LLC                 PO BOX 742081                                                        ATLANTA            GA           30374
                                                          MEDASSETS SUPPLY CHAIN
7683720        MEDASSETS INC                              SYSTEMS, LLC                 PO BOX 742081                                                        ATLANTA            GA           30374
                                                          MEDASSETS SUPPLY CHAIN
7683720        MEDASSETS INC                              SYSTEMS, LLC                 PO BOX 742081                                                        ATLANTA            GA           30374
7615100        MEDCOAST AMBULANCE                         3951 MEDFORD STREET                                                                               LOS ANGELES        CA           90063
7615102        MEDCOMP                                    1499 DELP DRIVE                                                                                   HARLEYSVILLE       PA           19438
7615102        MEDCOMP                                    1499 DELP DRIVE                                                                                   HARLEYSVILLE       PA           19438
7615133        MEDI COACH, LLC                            PO BOX 15085                                                                                      LENEXA             KS           66285
7615110        MEDIC AIR SYSTEMS, INC.                    710 GLADES COURT                                                                                  PORT ORANGE        FL           32127
7615110        MEDIC AIR SYSTEMS, INC.                    710 GLADES COURT                                                                                  PORT ORANGE        FL           32127
                                                          1101 SOUTH CRYSLER
7615132        MEDIC HOUSE INC                            AVENUE                                                                                            INDEPENDENCE       MO           64052
7615109        MEDICA IMAGING                             8348 ROSEMEAD BLVD                                                                                PICO RIVERA        CA           90660
7684362        MEDICA PRODUCTS SERVICES, INC.             14201 N. HAYDEN RD.          #D2                                                                  SCOTTSDALE         AZ           85260




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7024031        MEDICAB TRANSPORTATION LLC                 3049 CLEVELAND AVENUE   SUITE# 275                                                         FORT MYERS       FL           33901
7081342        Medicab Transportation, LLC                3049 Cleveland Avenue   #275                                                               Fort Myers       FL           33901
7035605        MEDICAL CHEMICAL CORPORATION               19430 VAN NESS AVE                                                                         TORRANCE         CA           90501
                                                          ONE WORLD TRADE
7615113        MEDICAL DATA EXCHANGE                      CENTER                  SUITE 24                                                           LONG BEACH       CA           90831
                                                          ONE WORLD TRADE
7615112        MEDICAL DATA EXCHANGE CORP                 CENTER                  SUITE 2400                                                         LONG BEACH       CA           90831
7615116        MEDICAL GAS SERVICES OF CALIFORNIA         2839 ONYX WAY                                                                              WEST COVINA      CA           91792
7615117        MEDICAL IMAGING, INC                       5000 NW 27TH COURT      SUITE B                                                            GAINESVILLE      FL           32606
7615118        MEDICAL INFORMATION TECHNOLOGY, INC        PO BOX 74569                                                                               CHICAGO          IL           60696
7615120        MEDICAL PLAZA IMAGING ASSOC, LLC           4321 WASHINGTON         SUITE 1400                                                         KANSAS CITY      MO           64111
7615121        MEDICAL REVITALIZATION INC                 13715 DESMOND STREET                                                                       PACOLMA          CA           91331
7684211        MEDICAL TECHNOLOGY ASSOCIATES, INC         6651 102ND AVE NORTH                                                                       PINELLAS PARK    FL           33782
7684211        MEDICAL TECHNOLOGY ASSOCIATES, INC         6651 102ND AVE NORTH                                                                       PINELLAS PARK    FL           33782
7023647        MEDICAL TRANSPORT COMPANY                  4232 S. 500 W.                                                                             MURRAY           UT           84123
7615127        MEDICAL TRANSPORTATION COMPANY             1827 W 3RD ST           SUITE 106                                                          TEMPE            AZ           85281
7615128        MEDICAL TRANSPORTATION SERVICE             P O BOX 3881                                                                               SHREVEPORT       LA           71133
7615131        MEDI-CAR AMBULANCE SERVICE, INC.           PO BOX 402079                                                                              ATLANTA          GA           30384
                                                          4767 BROADMOOR
7615134        MEDICUS HEALTH DIRECT, INC.                AVENUE                  SUITE 6                                                            KENTWOOD         MI           49512
7023471        MEDI-DOSE, INC.                            70 INDUSTRIAL DR.       LOCK BOX 238                                                       IVYLAND          PA           18974

7615136        MEDI-DOSE, INCORPORATED                    CUSTOMER# 11 - 0005261 LOCK BOX 238                                                        JAMISON          PA           18929-0427

7615136        MEDI-DOSE, INCORPORATED                    CUSTOMER# 11 - 0005261 LOCK BOX 238                                                        JAMISON          PA           18929-0427

7615136        MEDI-DOSE, INCORPORATED                    CUSTOMER# 11 - 0005261 LOCK BOX 238                                                        JAMISON          PA           18929-0427
                                                                                 6565 SUNSET BLVD, SUITE
7036985        MEDIPRO MEDICAL STAFFING, LLC              ATTN: MCNAIR ZIMBALIST # 313                                                               LOS ANGELES      CA           90028
7615139        MEDI-STAR AMBULANCE                        4156 VERDUGO RD                                                                            LOS ANGELES      CA           90065
7615143        MED-LIFE AMBULANCE                         P O BOX 4525                                                                               GLENDALE         CA           91222
7615149        MED-PASS, INC.                             L-3495                                                                                     COLUMBUS         OH           43260
7615150        MED-PAT, INC                               31 RIORDAN PLACE                                                                           SHREWSBURY       NJ           07702
7615153        MEDREACH AMBULANCE SERVICE                 P.O. BOX 3001                                                                              TORRANCE         CA           90501
7615157        MEDSERVICE REPAIR, INC                     1234 ALLISON RD                                                                            MUNDELEIN        IL           60060
7615159        MEDSPRINT/CITYSPRINT                       P.O. BOX 610                                                                               WILTON           CT           06897-0610
7615160        MEDSTAT EMS INC                            108 S FRONT STREET                                                                         WINONA           MS           38967
7036988        MEDSURANT, LLC                             1660 S. ALBION ST.                                                                         DENVER           CO           80222
                                                          710 MEDTRONIC
7615164        MEDTRONIC, INC                             PARKWAY                                                                                    MINNEAPOLIS      MN           55432
                                                          710 MEDTRONIC
7615165        MEDTRONICS                                 PARKWAY                                                                                    MINNEAPOLIS      MN           55432
                                                          3726 LAS VEGAS BLVD
7615167        MEDWRITE INC                               SOUTH #3206W                                                                               LAS VEGAS        NV           89158
7615169        MENORAH MEDICAL CENTER                     PO BOX 404215                                                                              ATLANTA          GA           30384
7035654        MERCER (US) INC.                           P.O. BOX 730212                                                                            DALLAS           TX           75373
7023491        MERIDIAN BIOSCIENCE CORP.                  3471 RIVER HILLS DRIVE                                                                     CINCINNATI       OH           45244
7615176        MERIDIAN VALLEY LABORATORY, INC            6839 FORT DENT WAY     SUITE 206                                                           TUKWILA          WA           98188
7615178        MERIT MEDICAL SYSTEMS, INC                 1600 W MERIT PKWY                                                                          SOUTH JORDAN     UT           84095-2416
7615179        MERIT MEDICAL SYSTEMS, INC.                POB 951129                                                                                 SOUTH JORDAN     UT           84095
7615179        MERIT MEDICAL SYSTEMS, INC.                POB 951129                                                                                 SOUTH JORDAN     UT           84095
7615179        MERIT MEDICAL SYSTEMS, INC.                POB 951129                                                                                 SOUTH JORDAN     UT           84095
7041659        Merry X-Ray Corporation                    8020 Tyler Blvd                                                                            Mentor           OH           44060
7041659        Merry X-Ray Corporation                    8020 Tyler Blvd                                                                            Mentor           OH           44060




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7615183        METALWORKS INC                               P.O. BOX 3337                                                                                   SHAWNEE             KS           66203
                                                            7025 N SCOTTSDALE RD
7585123        MGA HEALTHCARE STAFFING, INC.                STE 200                                                                                         SCOTTSDALE          AZ           85253-3675
7615190        MIAMI DADE WATER & SEWER DEPARTMENT          PO BOX 026055                                                                                   MIAMI               FL           33102

7615193        MICHAEL J MCCANN                             11306 PENANOVA STREET                                                                           SAN DIEGO           CA           92129
7683885        MICHAEL YOUNG HEALTHCARE CONSULT, LLC        1 WOODSTOCK COURT                                                                               MECHANICSBERG       PA           17050
7615196        MICRO FOCUS US INC                           PO BOX 19224                                                                                    PALATINE            IL           60055
7615195        MICROAIRE SURGICAL INSTR/96565               LOCK BOX 96565                                                                                  CHICAGO             IL           60693
                                                                                                                 165 MADISON AVE. STE
7615197        MICROPORT ORTHOPEDICS INC                    M. RUTHIE HAGAN              BAKER DONELSON          2000                                       MEMPHIS             TN           38103
                                                            FILE 4033P P.O BOX
7615198        MICROTEK MEDICAL, INC.                       911633                                                                                          DALLAS              TX           75391-1633
7023903        MID STATE FUNDAMENTALS                       511 RIDGE PLACE                                                                                 TAVARES             FL           32778
7615204        MIDWEST AORTIC & VASCULAR INSTITUTE, P.C.    P.O. BOX 8588                                                                                   BELFAST             ME           04915-8588
7035699        MIDWEST PAGING                               405-C HWY C                                                                                     PURDY               MO           65734
7024673        MIDWEST VASCULAR ACCESS, LLC                 8005 W 110TH STREET          SUITE 210                                                          OVERLAND PARK       KS           66210
7024673        MIDWEST VASCULAR ACCESS, LLC                 8005 W 110TH STREET          SUITE 210                                                          OVERLAND PARK       KS           66210
7615212        MIGUEL VARGAS                                5514 SAN MATEO DRIVE                                                                            SAN DIEGO           CA           92114
7035712        MILFORD PLUMBING SUPPLY                      10943 LIN VALLE DR                                                                              ST. LOUIS           MO           63123
7615214        MILLENNIUM FUNDING                           1775 WEHRLE DRIVE                                                                               WILLIAMSVILLE       NY           14221
                                                            1200 SOUTH ROGERS
7615217        MILLER & SONS OFFICE FURNITURE LLC           CIRCLE                       SUITE 2                                                            BOCA RATON          FL           33487
                                                            1901 AVENUE OF THE
7037678        MILLER HEALTH LAW GROUP                      STARS                        SUITE 1750                                                         LOS ANGELES         CA           90067
7035714        MILLIPORE CORPORATION                        2736 PAYSPHERE CIRCLE                                                                           CHICAGO             IL           60674
                                                            1775 WEST OAK
7615219        MIMEDX GROUP, INC                            COMMONS COURT NE                                                                                MARIETTA            GA           30062
7826212        Mindray DS USA ,inc./Mindray North America   Attn: General Counsel        800 MacArthur Blvd.                                                Mahwah              NJ           07430
7826207        Mindray DS USA ,inc./Mindray North America   Attn: General Counsel        800 MacArthur Blvd.                                                Mahwah              NJ           07430
7615220        MINDRAY DS USA, INC.                         24312 NETWORK PLACE                                                                             CHICAGO             IL           60673
7615220        MINDRAY DS USA, INC.                         24312 NETWORK PLACE                                                                             CHICAGO             IL           60673
7826202        Mindray DS USA, inc./Mindray North America   Attn: General Counsel        800 MacArthur Blvd.                                                Mahwah              NJ           07430
7826195        Mindray DS USA,inc./ Mindray North America   Attn: General Counsel        800 MacArthur Blvd.                                                Mahwah              NJ           07430
7826236        Mindray DS USA,inc./Mindray North America    Attn: General Counsel        800 MacArthur Blvd.                                                Mahwah              NJ           07430
7826184        Mindray DS USA,inc./Mindray North America    Attn: General Counsel        800 MacArthur Blvd.                                                Mahwah              NJ           07430
7023541        MINDRAY NORTH AMERICA                        24312 NETWORK PLACE                                                                             CHICAGO             IL           60673
7615222        MIRION TECHNOLOGIES (GDS), INC.              P.O. BOX 101301                                                                                 PASADENA            CA           91189
7615224        MISONIX, INC                                 1938 NEW HIGHWAY                                                                                FARMINGDALE         NY           11735
7585791        Misonix, Inc                                 Attn: General Counsel        1938 New Highway                                                   Farmingdale         NY           11735
                                                            158 COL. JOHN PITCHFORD
7615231        MISS LOU AMBULANCE SERVICE,LLC               PKWY                                                                                            NATCHEZ             MS           39120
                                                            8711 E. Pinnacle Peak Rd.,
7023110        Mission Advisors                             #289                                                                                            Scottsdale          AZ           85255
                                                            8711 E. Pinnacle Peak Rd.,
7023110        Mission Advisors                             #289                                                                                            Scottsdale          AZ           85255

7615227        MISSION VALLEY MEDICAL CLINIC                5333 MISSION CENTER RD. SUITE 100                                                               SAN DIEGO           CA           92108
7039448        Mississippi Department of Revenue            Bankruptcy Section      PO Box 22808                                                            Jackson             MS           39225
7615229        MISSISSIPPI HOSPITAL ASSOC.                  POB 1909                                                                                        MADISON             MS           39130

7712594        Missouri Department of Revenue               General Counsel's Office     PO Box 475                                                         Jefferson City      MO           65105-0475
                                                            13800 WYANDOTTE
7615241        MMC CONTRACTORS NATIONAL, INC                STREET                                                                                          KANSAS CITY         MO           64145-1518




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                                                              10830 N. CENTRAL
7615243        MOBILE DENTAL CARE PMA, LLC.                   EXPRESSWAY                   SUITE 495                                                           DALLAS           TX           75231
7024650        MOBILE EEG SERVICES, LLC                       P.O. BOX 494991                                                                                  GARLAND          TX           75049
7037003        MOBILE INSTRUMENT SERVICES                     333 WATER AVENUE                                                                                 BELLEFONTAINE    OH           43311
7615248        MOBILE MINI I, INC.                            PO BOX 7144                                                                                      PASADENA         CA           91109
7615248        MOBILE MINI I, INC.                            PO BOX 7144                                                                                      PASADENA         CA           91109

7615249        MOBILE SCOPE, PLLC                             1324 E. CONSTANCE WAY                                                                            PHOENIX          AZ           85042
7615251        MOBILEX USA                                    P.O. BOX 17462                                                                                   BALTIMORE        MD           21297-0518
7615251        MOBILEX USA                                    P.O. BOX 17462                                                                                   BALTIMORE        MD           21297-0518
7023668        MOBILITY TRANSPORTATION SERVICES               5442 SOUTH 900 EAST          SUITE 412                                                           SALT LAKE CITY   UT           84117
7044763        Mobility Transportation Services, LLC          5442 So. 900 E.              Suite 412                                                           Salt Lake City   UT           84117
7024455        MOMAR, INC.                                    P.O. BOX 19569                                                                                   ATLANTA          GA           30325-0569
7615259        MONARCH LABS, LLC                              17875 SKY PARK CIRCLE        SUITE K                                                             IRVINE           CA           92614
7615259        MONARCH LABS, LLC                              17875 SKY PARK CIRCLE        SUITE K                                                             IRVINE           CA           92614
                                                              15916 COLLECTION
7615260        MOOG                                           CENTER DRIVE                                                                                     CHICAGO          IL           60693
                                                              75 REMITTANCE DRIVE
7037004        MOOG MEDICAL DEVICES GROUP                     DEPT. 3184                                                                                       CHICAGO          IL           60675-3184
7615264        MOR PRINTING, INC.                             3585 NW 54 STREET                                                                                FT LAUDERDALE    FL           33309
7615264        MOR PRINTING, INC.                             3585 NW 54 STREET                                                                                FT LAUDERDALE    FL           33309
7615264        MOR PRINTING, INC.                             3585 NW 54 STREET                                                                                FT LAUDERDALE    FL           33309
7615265        MOR PRINTING,INC                               610 SW 12TH AVE                                                                                  POMPANO BEACH    FL           33069-4526
7615262        MOREDIRECT INC                                 PO BOX 536464                                                                                    PITTSBURGH       PA           15253
7615262        MOREDIRECT INC                                 PO BOX 536464                                                                                    PITTSBURGH       PA           15253
                                                              1801 BIG TOWN BLVD STE
7683888        MPM MEDICAL INC                                300                                                                                              MESQUITE         TX           75149-1030
7615274        MR PUMP                                        3228 EAGLESNEST RD.                                                                              FRUITLAND PARK   FL           34731
7024092        MRC, SMART TECHNOLOGY SOLUTIONS                5657 COPLEY DRIVE                                                                                SAN DIEGO        CA           92111
                                                              1534 Elizabeth Avenue, Ste
7118650        Musculoskeletal Institute of LA                201                                                                                              Shreveport       LA           71101
                                                              1534 Elizabeth Avenue, Ste
7118650        Musculoskeletal Institute of LA                201                                                                                              Shreveport       LA           71101
7615280        MUSCULOSKELETAL INSTITUTE OF LA                1534 ELIZABETH AVENUE        SUITE 201                                                           SHREVEPORT       LA           71101
7024479        MWB COPY PRODUCTS, INC.                        BUSINESS SYSTEMS             5700 WARLAND DRIVE                                                  CYPRESS          CA           90630
7615339        N & J APPLIANCE PARTS                          P.O. BOX 262308                                                                                  SAN DIEGO        CA           92126
7070163        Natchez Pathology Laboratory                   5 Stahlman St                                                                                    Natchez          MS           39120
7024779        NATIONAL DATACARE CORPORATION                  P.O. BOX 222430                                                                                  CHANTILLY        VA           20153-2430
7680665        National Due Diligence Services                Attn: Cindy Jared            3191 Maguire Blvd. #200                                             Orlando          FL           32803
                                                              5715 KEARNY VILLA ROAD
7615298        NATIONAL GLASS & MIRROR COMPANY                STE 116                                                                                          SAN DIEGO        CA           92123
                                                              515 S FIGUEROA ST SUITE
7615299        NATIONAL HEALTH FOUNDATION                     1300                                                                                             LOS ANGELES      CA           90071
7615300        NATIONAL HEALTH TRANSPORT INC                  2950 NW 7TH AVENUE                                                                               MIAMI            FL           33127
7023972        NATIONAL HEALTH TRANSPORT INC.                 2950 NW 7TH AVENUE                                                                               MIAMI            FL           33127
7615301        NATIONAL KIDNEY FOUNDATION OF LOUISIANA, INC   8200 HAMPSON STREET          SUITE 425                                                           NEW ORLEANS      LA           70118
7615303        NATIONAL RECALL ALERT CENTER                   PO BOX 609                                                                                       MARLTON          NJ           08053
7615303        NATIONAL RECALL ALERT CENTER                   PO BOX 609                                                                                       MARLTON          NJ           08053
7584264        National Research Corporation                  NRC Health                   1245 Q Street                                                       Lincoln          NE           68508
7584264        National Research Corporation                  NRC Health                   1245 Q Street                                                       Lincoln          NE           68508
7615304        NATIONAL RESEARCH CORPORATION                  PO BOX 809030                                                                                    CHICAGO          IL           60680
7615311        NCDHEALTH CORP                                 PO BOX 98347                                                                                     CHICAGO          IL           60693
7615312        NEED DECALS.COM                                PO BOX 2350                                                                                      SELMA            AL           36702
7615313        NEOFUNDS BY NEOPOST                            PO BOX 30193                                                                                     TAMPA            FL           33630
7615313        NEOFUNDS BY NEOPOST                            PO BOX 30193                                                                                     TAMPA            FL           33630




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                                                           12701 COMMONWEALTH
7615314        NEOGENOMICS LABORATORIES, INC               DR.                        SUITE 9                                                              FORT MYERS        FL           33913
                                                           12701 COMMONWEALTH
7615314        NEOGENOMICS LABORATORIES, INC               DR.                        SUITE 9                                                              FORT MYERS        FL           33913

7023234        NEOPOST USA, INC.                           478 WHEELERS FARMS RD.                                                                          MILFORD           CT           06461

7023234        NEOPOST USA, INC.                           478 WHEELERS FARMS RD.                                                                          MILFORD           CT           06461
                                                           4500 12TH STREET
7615318        NEPHRON 503B OUTSOURCING FACILITY           EXTENSION                                                                                       WEST COLUMBIA     SC           29172
                                                           4500 12TH STREET
7615318        NEPHRON 503B OUTSOURCING FACILITY           EXTENSION                                                                                       WEST COLUMBIA     SC           29172
7615321        NETWORK SERVICES COMPANY                    29060 NETWORK PLACE                                                                             CHICAGO           IL           60673-1290
                                                                                      Michael Goldberg,         350 E. Las Olas Blvd.,
7818949        Neurologica Corp.                           Akerman LLP                Esq./Joan Levit, Esq.     #1600                                      Fort Lauderdale   FL           33301
7035845        NEUROMERICA LLC                             3141 BEAUDRY TERRACE                                                                            GLENDALE          CA           91208

7615327        NEW TECH AUTO BODY, INC                     3436 SAN FERNANDO RD                                                                            LOS ANGELES       CA           90065
7615326        NEWS PRESS MEDIA CORP                       PO BOX 677583                                                                                   DALLAS            TX           75267

7033898        NEXTEL COMMUNICATION                        12502 SUNRISE VALLEY DR                                                                         RESTON            VA           20191
7615330        NEXXT SPINE LLC                             14425 BERGEN BLVD.         SUITE B                                                              NOBLESVILLE       IN           46060
7615334        NIGHTINGALE NURSES, LLC                     DRAWER 1256                                                                                     TROY              MI           48007
7615335        NIHON KOHDEN                                6017 SOLUTION CENTER       LOCKBOX #776017                                                      CHICAGO           IL           60677
                                                           2001 TIDEWATER COLONY
7024464        NIMBLE CO LLC                               DRIVE                      SUITE 203                                                            ANNAPOLIS         MD           21401
7615341        NOLAN S. PATTERSON                          4268 SW. 8TH TERRACE                                                                            DAVIE             FL           33328
7615344        NORIDIAN                                    900 42ND ST S              PO BOX 6782                                                          FARGO             ND           58103
7615347        NORIDIAN MUTUAL INSURANCE CO.               900 42ND ST S              PO BOX 6782                                                          FARGO             ND           58103
7615350        NORTH COAST MEDICAL INC                     81200 CAMINO ARROYO                                                                             GILROY            CA           95020
7615352        NORTH OAKS FOUNDATION                       P.O. BOX 2668                                                                                   HAMMOND           LA           70404

7615353        NORTH STAR TELECOMMHIT INC.                 7345 N. HARLEM AVENUE                                                                           NILES             IL           60714
7023861        NORTH SUMTER UTILITY COMPANY                984 OLD MILL RUN                                                                                THE VILLAGES      FL           32162
                                                           16302 PLEASANTVILLE RD
7615366        NURSE'S ETC STAFFING                        #211                                                                                            SAN ANTONIO       TX           78233
                                                           6055 E. WASHINGTON
7615367        NURSES INTERNET                             BLVD                   SUITE 409                                                                COMMERCE          CA           90040

7035901        Nurses Internet Staffing Services, Inc.     6055 E. Washington Blvd.   Suite 409                                                            Commerce          CA           90040
7024589        OAK FARMS DAIRY DALLAS                      P.O. BOX 200300                                                                                 DALLAS            TX           75320
7024589        OAK FARMS DAIRY DALLAS                      P.O. BOX 200300                                                                                 DALLAS            TX           75320
7615372        OBER KALER GRIMES & SHRIVER A               100 LIGHT STREET                                                                                BALTIMORE         MD           21202
7035910        OCCUPATIONAL HEALTH CENTERS                 P. O. BOX 82549                                                                                 HAPEVILLE         GA           30354
7035910        OCCUPATIONAL HEALTH CENTERS                 P. O. BOX 82549                                                                                 HAPEVILLE         GA           30354
7117996        Occupational Health Centers of Kansas P.A   P.O. Box 369                                                                                    Lombard           IL           60148
7615374        OCHSNER CLINIC FOUNDATION                   BATON ROUGE                9001 SUMMA AVE                                                       BATON ROUGE       LA           70809
7615375        OFFICE DEPOT                                PO BOX 1413                                                                                     CHARLOTTE         NC           28201
                                                           6600 N Military Trail -
7045904        Office Depot                                S413G                                                                                           Boca Raton        FL           33496
                                                           6600 N Military Trail -
7045774        Office Depot                                S413G                                                                                           Boca Raton        FL           33496
7615375        OFFICE DEPOT                                PO BOX 1413                                                                                     CHARLOTTE         NC           28201
7615375        OFFICE DEPOT                                PO BOX 1413                                                                                     CHARLOTTE         NC           28201
                                                           6600 N Military Trail -
7045774        Office Depot                                S413G                                                                                           Boca Raton        FL           33496




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                                                                     6600 N Military Trail -
7045774        Office Depot                                          S413G                                                                                        Boca Raton       FL           33496
7615375        OFFICE DEPOT                                          PO BOX 1413                                                                                  CHARLOTTE        NC           28201
                                                                     6600 N Military Trail -
7045774        Office Depot                                          S413G                                                                                        Boca Raton       FL           33496
7615375        OFFICE DEPOT                                          PO BOX 1413                                                                                  CHARLOTTE        NC           28201
                                                                     6600 N Military Trail -
7045815        Office Depot                                          S413G                                                                                        Boca Raton       FL           33496
                                                                     BOILER INSPECTION
7615378        OFFICE OF STATE FIRE MARSHAL                          SECTION                   8181 INDEPENDENCE BLVD                                             BATON ROUGE      LA           70806
7615379        OFFICE OF STATEWIDE HEALTH PLA                        400 R STREET              STE 359                                                            SACRAMENTO       CA           95811
                                                                     2020 W El Camino Ave ,
7024153        Office Of Statewide Health Planning and Development   Suite 1000                                                                                   Sacramento       CA           95833-2988
7023587        OFFICE OF THE STATE FIRE MARSHAL                      800 SW JACKSON            SUITE 104                                                          TOPEKA           KS           66612
7023587        OFFICE OF THE STATE FIRE MARSHAL                      800 SW JACKSON            SUITE 104                                                          TOPEKA           KS           66612
7615383        OFFICE OF THE TREASURER, CITY OF SAN DIEGO            P O BOX 129039                                                                               SAN DIEGO        CA           92112
7615388        OLYMPUS AMERICA INC.                                  PO BOX 200160                                                                                PITTSBURGH       PA           15251
7615388        OLYMPUS AMERICA INC.                                  PO BOX 200160                                                                                PITTSBURGH       PA           15251
7615388        OLYMPUS AMERICA INC.                                  PO BOX 200160                                                                                PITTSBURGH       PA           15251
                                                                     3500 CORPORATE
7615387        OLYMPUS AMERICA, INC.                                 PARKWAY                                                                                      CENTER VALLEY    PA           18034
7118660        Omega Door & Hardware                                 924 Division St                                                                              Kansas City      KS           66103
7615390        OMEGA DOOR & HARDWARE                                 1223 GIBSON STREET                                                                           YOUNGSTOWN       OH           44502

7024632        OMNI EEG LAB, INC.                                    8500 N. STEMMONS FWY      SUITE 2087                                                         DALLAS           TX           75247
7614195        OMNI LIFE SCIENCE, INC.                               P.O. BOX# 654106                                                                             DALLAS           TX           75265
7024783        OMNICARE, INC.                                        DEPT 781668               P.O. BOX 78000                                                     DETROIT          MI           48278-1668
7024700        OMS REHAB, LLC                                        9678 MARION RIDGE                                                                            KANSAS CITY      MO           64137-1284
7614198        ON CALL TRANSPORTATION                                6410 ERSKINE                                                                                 LUBBOCK          TX           79416
7614201        ON HOLD COMPANY                                       6840 WEST 70TH STREET                                                                        SHREVEPORT       LA           71129

7614204        OPEN TEXT, INC                                        C/O JP MORGAN LOCKBOX 24685 NETWORK PLACE                                                    CHICAGO          IL           60673-1246
7048721        Optical Services Company                              14445 High Valley Rd.                                                                        Poway            CA           92064

7024102        OPTICAL SERVICES COMPANY                              14445 HIGH VALLEY ROAD                                                                       POWAY            CA           92064
                                                                     11555 MEDLOCK BRIDGE
7614206        OPTIMUS BT, INC                                       ROAD                      SUITE 100                                                          DULUTH           GA           30097
7023362        ORACLE AMERICA, INC - DNS                             500 ORACLE PARKWAY                                                                           REDWOOD CITY     CA           94065
7614212        ORGANOGENESIS, INC                                    DEPT 2542                 P.O. BOX 122542                                                    DALLAS           TX           75312
                                                                     1314 SHREVEPORT,
7614213        ORKIN INC                                             BARKSDALE HWY                                                                                SHREVEPORT       LA           71105
                                                                     1314 SHREVEPORT,
7614213        ORKIN INC                                             BARKSDALE HWY                                                                                SHREVEPORT       LA           71105
7595947        Orkin, LLC                                            National Accts            PO Box 638898                                                      Cincinatti       OH           45263
                                                                     1314 SHREVEPORT
7024284        ORKIN, LLC                                            BARKSDALE HWY                                                                                SHREVEPORT       LA           71105
                                                                     1314 SHREVEPORT
7024284        ORKIN, LLC                                            BARKSDALE HWY                                                                                SHREVEPORT       LA           71105
                                                                     1314 SHREVEPORT
7024284        ORKIN, LLC                                            BARKSDALE HWY                                                                                SHREVEPORT       LA           71105
                                                                     12187 SO.BUSINESS PARK
7614218        ORTHO DEVELOPMENT                                     DRIVE                                                                                        DRAPER           UT           84020
7614221        ORTHO RX INC                                          POB 847092                                                                                   DALLAS           TX           75284
7684357        ORTHO-CLINICAL DIAGNOSTICS, INC                       P.O. BOX 3655                                                                                CAROL STREAM     IL           60132-3655
7023311        ORTHO-CLINICAL DIAGNOSTICS, INC.                      P.O. BOX 3655                                                                                CAROL STREAM     IL           60132-3655
7614217        ORTHOCON                                              1 BRIDGE ST               SUITE #121                                                         IRVINGTON        NY           10533




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7024801        ORTHOPAEDIC ASSOCIATES, LLP                #1 WEST MEDICAL COURT                                                                         WICHITA FALLS      TX           76310-1767

7024801        ORTHOPAEDIC ASSOCIATES, LLP                #1 WEST MEDICAL COURT                                                                         WICHITA FALLS      TX           76310-1767
                                                          21500 SOUTH PIONEER
7614220        ORTHOPEDIC CENTER FOR EXCELLENCE           BLVD.                 SUITE 208                                                               HAWAIIAN GARDENS   CA           90716
                                                          7015 ALBERT EINSTEIN
7614223        OSIRIS THERAPEUTICS, INC.                  DRIVE                                                                                         COLUMBIA           MD           21046
7024386        OSR SYSTEMS INC.                           7326 JEFFERSON STREET                                                                         PARAMOUNT          CA           90723
7614225        OTIS ELEVATOR COMPANY                      POB 730400                                                                                    DALLAS             TX           75373
7632322        Otis Elevator Company                      Treasury Services     c/o Credit & Collections     5500 Village Blvd                          West Palm Beach    FL           33407
7024764        OVERHEAD DOOR CORPORATION                  P.O. BOX NO.676576                                                                            DALLAS             TX           75267
7614228        OVERLAND PARK REGIONAL MEDICAL CTR         PO BOX 404171                                                                                 ATLANTA            GA           30384
7614229        OWEN& BRUMLEY                              1101 GRACE STREET                                                                             WICHITA FALLS      TX           76301
7614230        OWNERSHIP LISTING SERVICE                  PO BOX 890684                                                                                 TEMECULA           CA           92589
7614231        OZARK BIOMEDICAL LLC                       1001 COMMERCE PLACE                                                                           BEEBE              AZ           97012
7614251        P & A PICC LLC                             2228 HENDY LANE                                                                               SAN JOSE           CA           95124
                                                                                Karen Cavagnaro-Lead         One AT&T Way, Suite
7727448        Pacific Bell Telephone Company             % AT&T Services, Inc. Paralegal                    3A104                                      Bedminster         NJ           07921
7024449        PACIFIC COAST ELEVATOR                     1550 S SUNKIST STREET SUITE A                                                                 ANAHEIM            CA           92806

7035959        PACIFIC MEDICAL                            212 AVENIDA FABRICANTE                                                                        SAN CLEMENTE       CA           92672

7683815        PACIFIC MEDICAL LLC                        212 AVENIDA FABRICANTE                                                                        SAN CLEMENTE       CA           92672-7538

7670721        Pacific Plumbing Specialties               8451 Miralani Dr., Suite O                                                                    San Diego          CA           92126
7614241        PACIFIC PLUMBING SPECIALTIES, INC.         8451 MIRALANI DR.            STE O                                                            SAN DIEGO          CA           92126
7614244        PAGE MECHANICAL GROUP INC                  4611 CUMMINS COURT                                                                            FORT MYERS         FL           33905
7614247        PALM PRINTING                              2400 FIRST STREET            STE 102                                                          FT. MYERS          FL           33901
7614247        PALM PRINTING                              2400 FIRST STREET            STE 102                                                          FT. MYERS          FL           33901
7614248        PALOMAR FLOOR COVERINGS, INC               6260 MARINDUSTRY DR          SUITE A                                                          SAN DIEGO          CA           92121
7614249        PAM PHILLIPS                               10100 COOLIDGE DRIVE                                                                          MCKINNEY           TX           75070

7614250        PANNA SHAH, M.D.                           1368 HYMETTUS AVENUE                                                                          ENCINITAS          CA           92024
                                                          805 EAST COUNTY ROAD
7614253        PARAMOUNT URGENT CARE, INC.                466                                                                                           LADY LAKE          FL           32159
7614256        PARKING PRODUCTS,INC.                      2517 WYANDOTTE ROAD                                                                           WILLOW GROVE       PA           19090

7614257        PARKLAND HEALTHCARE GROUP LLC              8969 HIDDEN PINE STREET                                                                       PARKLAND           FL           33067
7614259        PARMED PHARMACEUTICALS                     POB 90272                                                                                     CHICAGO            IL           60696
                                                          7134 COLUMBIA GATEWAY
7614260        PARRISHSHAW                                DR                      STE 110                                                               COLUMBIA           MD           21043-3371
7614262        PARTNERS URGENT CARE GROSSMONT, INC        18231 IRVINE BLVD.      STE 204                                                               TUSTIN             CA           92780
7614265        PARTS SOURCE INC                           P.O BOX 645186                                                                                CINCINNATI         OH           45264
7614264        PARTSSOURCE, INC.                          777 LENA DR                                                                                   AURORA             OH           44202
7614264        PARTSSOURCE, INC.                          777 LENA DR                                                                                   AURORA             OH           44202
7614264        PARTSSOURCE, INC.                          777 LENA DR                                                                                   AURORA             OH           44202
7614267        PATHOLOGY ASSOCIATES OF NORTH TEXAS, PA    1107 BROOK STREET                                                                             WICHITA FALLS      TX           76301
7614267        PATHOLOGY ASSOCIATES OF NORTH TEXAS, PA    1107 BROOK STREET                                                                             WICHITA FALLS      TX           76301
7614268        PATHOLOGY GROUP OF LOUISIANA               PO BOX 84030                                                                                  BATON ROUGE        LA           70884
7023898        PATHOLOGY SERVICES ALLIANCE, LLC           600 E. DIXIE AVENUE     ATTN: ROBERT BERKOFF                                                  LEESBURG           FL           34748

7614271        PATHWAY HEALTH SERVICES                    11240 STILLWATER BLVD N                                                                       LAKE ELMO          MN           55042
7614272        PATHWAYS SOBER LIVING                      909 NORTH AZUSA AVE                                                                           AZUSA              CA           91702




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  MML ID                                      NAME              ADDRESS 1                  ADDRESS 2          ADDRESS 3                ADDRESS 4             CITY        STATE            ZIP   COUNTRY
                                                          11408 OTTER CREEK
7614273        PATIENT POINT HOSPITAL SOLUTIONS           SOUTH ROAD                                                                               MABELVALE        AR           72103
                                                          11408 OTTER CREEK
7614273        PATIENT POINT HOSPITAL SOLUTIONS           SOUTH ROAD                                                                               MABELVALE        AR           72103
7614274        PATIENT TELEPHONE SUPPLY                   P.O.BOX 84372                                                                            BATON ROUGE      LA           70884
7071590        Patient Telephone Supply, LLC              P.O. Box 84372                                                                           Baton Rouge      LA           70884
7614275        PATRICK HARLEY DEERE, MD                   2635 FIREFLY TRAIL                                                                       HOUGHTON         LA           71037
7614278        PAUL W. PIERCE III, MD                     515 LAKEWOOD ROAD                                                                        VICKSBURG        MS           39180
7614279        PAYMENT RESOLUTION SERVICES                PO BOX 290067                                                                            NASHVILLE        TN           37229
                                                          4900 OVERLAND DRIVE #
7035985        PAYROLL-MANUAL CHECK                       123                                                                                      CULVER CITY      CA           90230
7614284        PDL ENTERPRISES, INC.                      124 EAST WALNUT AVE       SUITE C                                                        MONROVIA         CA           91016
7614285        PEAK MEDICAL RESOURCES, LLC                P.O. BOX 975452                                                                          DALLAS           TX           75397
7614285        PEAK MEDICAL RESOURCES, LLC                P.O. BOX 975452                                                                          DALLAS           TX           75397
7614289        PENSKE TRUCK LEASING                       2219 S. 2ND PLACE                                                                        PHOENIX          AZ           85004
7614291        PERFORMANCE HEALTH SUPPLY, INC             PO BOX 93040                                                                             CHICAGO          IL           60673
7023333        PERFORMANCE MEDICAL GROUP, INC.            103 DEER TREE DRIVE                                                                      LAFAYEETE        LA           70507
7024633        PERRY BAROMEDICAL CORPORATION              3750 PROSPECT AVE.                                                                       RIVIERA BEACH    FL           33404
7614294        PERSONAL TOUCH TRANSPORTATION              PO BOX 201                                                                               MIDVALE          UT           84047
7023510        PETTY CASH                                 5130 MANCUSO LANE                                                                        BATON ROUGE      LA           70809
7614297        PETTY CASH --SUBURBAN                      16453 Colorado Ave                                                                       Paramount        CA           90723
7023514        PFIZER, INC.                               P.O. BOX 100539                                                                          ATLANTA          GA           30384-0539
7023514        PFIZER, INC.                               P.O. BOX 100539                                                                          ATLANTA          GA           30384-0539
7023677        PHARMEDIUM HEALTHCARE CORP.                150 NORTH FIELD DRIVE     SUITE350                                                       LAKE FOREST      IL           60045

7023648        PHARMEDIUM SERVICES LLC                    39797 TREASURY CENTER                                                                    CHICAGO          IL           60694
7614305        PHELPS DUNBAR, LLP                         PO BOX 974798                                                                            DALLAS           TX           75397
7614305        PHELPS DUNBAR, LLP                         PO BOX 974798                                                                            DALLAS           TX           75397
7614305        PHELPS DUNBAR, LLP                         PO BOX 974798                                                                            DALLAS           TX           75397
7614307        PHILIPS HEALTHCARE                         PO BOX 100355                                                                            ATLANTA          GA           30384
7023722        PHILIPS MEDICAL SYSTEMS                    P.O. BOX 100355                                                                          ATLANTA          GA           30384
                                                          2730 W. AGUA FRIA
7023847        PHOENIX EI TRANSPORTATION, INC.            FREEWAY                   #206                                                           PHOENIX          AZ           85027
7614311        PHOENIX EMERGENCY SVCS OF LEESBURG         PO BOX 935183                                                                            ATLANTA          GA           31193
7023716        PHYSICIAN PRACTICES OF RIVER               1907 MISSION 66                                                                          VICKSBURG        MS           39180
7614315        PHYSICIANS REFERENCE LABORATORY LLC        POB 875865                                                                               KANSAS CITY      MO           64187

7118652        PICCS R Us Nursing Inc                     3553 ATLANTIC AVE #357                                                                   LONG BEACH       CA           90807
7614320        PINNACLE 1 INVENTORY                       903 WALNUT AVE                                                                           NORTH BEACH      MD           20714
7614321        PINNACLE HEALTHCARE CONSULTING             9085 E. MINERAL CIRCLE    SUITE 110                                                      CENTENNIAL       CO           80112
7614321        PINNACLE HEALTHCARE CONSULTING             9085 E. MINERAL CIRCLE    SUITE 110                                                      CENTENNIAL       CO           80112
7614322        PINNACLE LAWN CARE, INC                    15315 KENNETH ROAD                                                                       STANLEY          KS           66224
                                                          3110 NORTH 19TH
7614323        PIONEER RESEARCH CORP.                     AVENUE                                                                                   PHOENIX          AZ           85015
7614324        PIONEER SURGICAL TECHNOLOGY                375 RIVER PARK CIRCLE                                                                    MARQUETTE        MI           49855
7683736        PITNEY BOWES                               350 JORDAN RD STE 1                                                                      TROY             NY           12180-8358
7614328        PITNEY BOWES - PURCHASE POWER              PO BOX 371874                                                                            PITTSBURGH       PA           15250
7683737        PITNEY BOWES GLOBAL FINANCIAL SVCS.        350 JORDAN RD STE 1                                                                      TROY             NY           12180-8358
7683737        PITNEY BOWES GLOBAL FINANCIAL SVCS.        350 JORDAN RD STE 1                                                                      TROY             NY           12180-8358
7823775        Pitney Bowes Inc                           27 Waterview Dr, 3rd Fl                                                                  Shelton          CT           06484
7589413        PlatinumCode                               8095 215th St W                                                                          Lakeville        MN           55044
7614331        PLATINUMCODE                               8095 215TH ST WEST                                                                       LAKEVILLE        MN           55044
7589413        PlatinumCode                               8095 215th St W                                                                          Lakeville        MN           55044
7614331        PLATINUMCODE                               8095 215TH ST WEST                                                                       LAKEVILLE        MN           55044
7614335        PONGRATZ ORTHO & PROSTHETICS, INC          P.O. BOX 501179                                                                          ST. LOUIS        MO           63150




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7024509        POSEY COMPANY                                       P.O. BOX 51017                                                                                 LOS ANGELES         CA           90051
7614338        POSITIVE PROMOTIONS INC                             15 GILPIN AVE                                                                                  HAUPPAUGE           NY           11788
7614338        POSITIVE PROMOTIONS INC                             15 GILPIN AVE                                                                                  HAUPPAUGE           NY           11788
7614338        POSITIVE PROMOTIONS INC                             15 GILPIN AVE                                                                                  HAUPPAUGE           NY           11788
7614339        POWERSECURE SERVICE, INC                            377 MAITLAND AVENUE       SUITE 1010                                                           ALTAMONTE SPRINGS   FL           32701
7614341        PPE/JAN-TEX                                         5450 E LOOP 820 S         SUITE B                                                              FORT WORTH          TX           76119
7614342        PPG ARCHITECTURAL COATINGS                          1020 Olympic Dr                                                                                Batavia             IL           60510
7037703        PRADOS & ASSOCIATES                                 17732 HIGHLAND ROAD       ATTN: SEAN M. PRADOS                                                 BATON ROUGE         LA           70810-3813
7024277        PRECISION AUTOMATIC DOOR & HARDWARE                 312 CECELIA DRIVE                                                                              OIL CITY            LA           71061
7614346        PRECISION DYNAMICS CORP                             PO BOX 71549                                                                                   CHICAGO             IL           60694-1995
7614346        PRECISION DYNAMICS CORP                             PO BOX 71549                                                                                   CHICAGO             IL           60694-1995
                                                                   27770 N ENTERTAINMENT
7037026        PRECISION DYNAMICS CORPORATION                      DRIVE                     SUITE 200                                                            VALENCIA            CA           91455
7614348        PRECISION MEDICAL, INC                              300 HELD DRIVE                                                                                 NORTHAMPTON         PA           18067
7070471        Precision Works, Inc. dba Precision Environmental   Kent W. Keating, Esq.     199 W. Hillcrest Drive                                               Thousand Oaks       CA           91360
7070471        Precision Works, Inc. dba Precision Environmental   Kent W. Keating, Esq.     199 W. Hillcrest Drive                                               Thousand Oaks       CA           91360
                                                                   5882 COLLECTIONS
7614350        PREMIER INC                                         CENTER DRIVE                                                                                   CHICAGO             IL           60693
                                                                   12393 GATEWAY PARK
7023794        PREMIER MEDICAL DISTRIBUTION                        PLACE                     STE 100                                                              DRAPER              UT           84020
7614354        PREMIER PLUMBING OF SOUTHWEST FLORIDA, INC          7916 DREW CIR STE 7                                                                            FORT MYERS          FL           33967-6075
7023983        PREMIER PRODUCE                                     2672 SW. 36TH STREET                                                                           DANIA BEACH         FL           33312
7614356        PREMIER SURGEQUIP                                   10392 CENTER DRIVE                                                                             VILLA PARK          CA           92801
                                                                   158089 CRABBS BRANCH
7614357        PREMIUM RX NATIONAL, LLC                            WAY                                                                                            ROCKVILLE           MD           20855
                                                                   14431 VENTURA BLVD
7037029        PRIMARY MEDICAL IMAGING                             SUITE 168                                                                                      SHERMAN OAKS        CA           91423
7614364        PRIME HEALTHCARE KANSAS CITY                        POB 872332                                                                                     KANSAS CITY         MO           64187
7614365        PRINT MANAGEMENT PARTNERS, INC                      701 LEE STREET            SUITE 1050                                                           DES PLAINES         IL           60016
7614367        PRIORITY ONE MEDICAL TRANSPORT LLC                  7241 RICH RD                                                                                   NORTH FORT MYERS    FL           33917
7224808        Priority One Medical Transport, LLC                 6950 Briarcliff Road                                                                           Fort Myers          FL           33912
7683816        PRN AMBULANCE, LLC                                  P.O. BOX 31001-2252                                                                            PASADENA            CA           91110
                                                                   25101 CHAGRIN
7614369        PRN FUNDING, LLC.                                   BOULEVARD                 SUITE 250                                                            CLEVELAND           OH           44122

7614371        PROCARE MOBILE RESPONSE                             2702 MEDIA CENTER DRIVE                                                                        LOS ANGELES         CA           90065

7614374        PRO-EDGE KNIFE                                      7431 MISSION GORGE RD                                                                          SAN DIEGO           CA           92120
7684375        PROFESSIONAL HOSPITAL SUPPLY                        P. O. BOX 51229                                                                                LOS ANGELES         CA           93031
7684375        PROFESSIONAL HOSPITAL SUPPLY                        P. O. BOX 51229                                                                                LOS ANGELES         CA           93031
                                                                   3500 EAST TACHEVAH
7614377        PROFESSIONAL MEDICAL WAREHOUSE, INC                 DRIVE                     #F                                                                   PALM SPRINGS        CA           92262
7036061        PROFESSIONAL TELEPHONES & TECHNICIANS               13548 MEYER RD                                                                                 WHITTIER            CA           90605
7023769        PROFORMA                                            P.O. BOX 640814                                                                                CINCINNATI          OH           45264-0814
7023769        PROFORMA                                            P.O. BOX 640814                                                                                CINCINNATI          OH           45264-0814
7614382        PROGRESSIVE BUSINESS PUBLICATIONS                   370 TECHNOLOGY DR         PO BOX 3019                                                          MALVERN             PA           19355
7614382        PROGRESSIVE BUSINESS PUBLICATIONS                   370 TECHNOLOGY DR         PO BOX 3019                                                          MALVERN             PA           19355
7614384        PROGRESSIVE MEDICAL INC                             PO BOX 771410                                                                                  ST LOUIS            MO           63177
7614384        PROGRESSIVE MEDICAL INC                             PO BOX 771410                                                                                  ST LOUIS            MO           63177
7614385        PROJECT MANAGEMENT FOR OWNERS LLC                   7471 DARBY AVENUE                                                                              LAS VEGAS           NV           89117
7023770        PROMED APPAREL, LLC                                 6610 E. BASELINE RD.      SUITE 101                                                            MESA                AZ           85206
7614410        PROPATH SERVICES, LLP                               POB 660811                DEPT. 41074                                                          DALLAS              TX           75266
                                                                   RESPIRATORY ASSOC. OF
7614413        PROSOURCE STAFFING NETWORK                          TX                        1500 W. ABRAM STREET                                                 ARLINGTON           TX           76013
7614415        PROTECH MEDICAL                                     1360 N. KILLIAN AVENUE    STE 2                                                                LAKE PARK           FL           33403




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7614416        PROTECTIVE SYSTEMS INC                               8750 EXCHANGE DR STE 8                                                                       ORLANDO           FL           32809-8239
7614417        PROVEN PHARMACEUTICALS, LLC                          PO BOX 628305                                                                                ORLANDO           FL           32862
7614417        PROVEN PHARMACEUTICALS, LLC                          PO BOX 628305                                                                                ORLANDO           FL           32862
7024604        PSC RECOVERY SYSTEMS, LLC                            27727 NETWORK PLACE                                                                          CHICAGO           IL           60673
7614419        PSH MEDICAL RESEARCH AND CONSULTING                  885 GREENRIDGE DRIVE                                                                         LA CANADA         CA           91011
7037035        PULLUAIM AND DATCHER, LLC                            282 MACSNAP AVENUE                                                                           LAS VEGAS         NV           89183
7024677        PURAIR                                               14116 FONTANA STREET                                                                         LEAWOOD           KS           66224
7036078        PURE GREEN CORP.                                     5455 WILSHIRE BLVD.    SUITE 1410                                                            LOS ANGELES       CA           90036
7024420        PURETEC INDUSTRIAL WATER TREATMENT,                  3151 STURGIS ROAD                                                                            OXNARD            CA           93030

7614429        PURFRESH BAKERY LLC                                  1044 EAST DELAMO BLVD                                                                        CARSON            CA           90746
7614430        PURTLE & ASSOCIATES, LLC                             9441 STEVENS ROAD       SUITE 200                                                            SHREVEPORT        LA           71106
7023795        PYROGUARD ALARMS                                     8034 E. EVERGREEN ST                                                                         MESA              AZ           85207
7037036        QUALITY ASSURANCE SERVICES, INC.                     1500 VIA HACIENDA                                                                            CHULA VISTA       CA           91913
7024402        QUALITY PLUMBING                                     9645 ARTESIA BLVD                                                                            BELLFLOWER        CA           90706
7071200        Quality Staffing Services                            888 East 3900 South                                                                          Salt Lake City    UT           84107
7071200        Quality Staffing Services                            888 East 3900 South                                                                          Salt Lake City    UT           84107
7614441        QUEST DIAGNOSTICS - NDA                              PO BOX 740709                                                                                ATLANTA           GA           30374
                                                                    Gloria Nash-McNair CV
7071666        Quest Diagnostics Clinical Laboratories Inc.         2035                    1201 S Collegeville Rd                                               Collegeville      PA           19426
7614443        QUICKSILVER EXPRESS COURIER                          PO BOX 64417                                                                                 ST. PAUL          MN           55164
                                                                    4625 W. McDowell Rd.,
7047423        Quicksilver Express Courier of AZ, Inc.              Ste. 160                                                                                     Phoenix           AZ           85035

7825260        QUICKSILVER EXPRESS COURIER OR AZ, INC.              TINA M. TACKER          203 E. LITTLE CANADA RD                                              ST PAUL           MN           55117
7614444        QUIDEL CORPORATION                                   12544 HIGH BLUFF DR                                                                          San Diego         CA           92130
7614445        QUILL CORPORATION                                    100 SCHELTER RD                                                                              LINCOLNSHIRE      IL           60069
7031432        QUINTANILLA, GLADY                                   ADDRESS ON FILE
7614446        QUINTECH, INC                                        P.O. BOX 947                                                                                 NASH              TX           75569
7614446        QUINTECH, INC                                        P.O. BOX 947                                                                                 NASH              TX           75569
7614446        QUINTECH, INC                                        P.O. BOX 947                                                                                 NASH              TX           75569
7614556        R & R POWER SERVICES LLC                             4807 HAZEL JONES RD.                                                                         BOSSIER CITY      LA           71111
7614530        R L BATES                                            P.O. BOX 711300                                                                              SANTEE            CA           92072
7614474        R&D SYSTEMS                                          614 MCKINLEY PLACE                                                                           MINNEAPOLIS       MN           55413

7036104        RACOMM                                               29602 COOLMEADOW DR.                                                                         MENIFEE           CA           92584
7614450        RADIOLOGY ASSOCIATES OF                              PO BOX 12480                                                                                 BEAUMONT          TX           77706

7614451        RADIOLOGY REGIONAL CENTER PROFESSIONAL SERVICES, LLC P.O. BOX 639491                                                                              CINCINNATI        OH           45263-9491
7614452        RADIOLOGY SOLUTIONS WEST                             75 REMITTANCE DRIVE    DEPT 6597                                                             CHICAGO           IL           60675
                                                                    2535 W. 237TH STREET.,
7614453        RADWORKS LLC                                         UNIT 112                                                                                     TORRANCE          CA           90505
7024518        RADWORKS LLC                                         2535 W. 237TH STREET   SUITE #112                                                            TORRANCE          CA           90505
                                                                    55 SHUMAN BOULEVARD,
7614462        RANDLE EASTERN AMBULANCE                             SUITE 400                                                                                    NAPERVILLE        IL           60563
7068579        Ray Cannedy Security & Investigations                1912 Kemp Blvd.                                                                              Wichita Falls     TX           76308
7068579        Ray Cannedy Security & Investigations                1912 Kemp Blvd.                                                                              Wichita Falls     TX           76308
7614470        RAYNE WATER SYSTEMS                                  6953 CANOGA AVENUE                                                                           CANOGA PARK       CA           91303

7024130        RDS FOR HEALTHCARE, INC.                             1420 W. KETTLEMAN LANE STE N-5                                                               LODI              CA           95242
7023760        READY REFRESH                                        P.O. BOX 856158                                                                              LOUISVILLE        KY           40285-6158
7023760        READY REFRESH                                        P.O. BOX 856158                                                                              LOUISVILLE        KY           40285-6158

7614475        READYLINK INC                                        ATTN: LEGAL DEPARTMENT PO BOX 1047                                                           THOUSAND PALMS    CA           92276




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                                                          1414 MURRAY-HOLLADAY
7023084        REALTOR CAMPUS COA                         RD                                                                                         SALT LAKE CITY   UT           84117
7024176        RED BALL MEDICAL SUPPLY                    P.O. BOX 65117                                                                             SHREVEPORT       LA           71136
7826024        Red Ball Oxygen Co Inc                     Attn: General Counsel   609 North Market St.                                               Shreveport       LA           71137
7826062        Red Ball Oxygen Co Inc                     Attn: General Counsel   609 North Market St.                                               Shreveport       LA           71137
7614482        RED HAWK ACCT SILVE-04-018                 P.O. BOX 31001-1918                                                                        PASADENA         CA           91110
7037040        RED HAWK FIRE & SECURITY                   P.O. BOX 31001-1918                                                                        PASADENA         CA           91110
7677815        Red Hawk Fire & Security                   7700 Gulf Freeway                                                                          Houston          TX           77017
7677830        Red Hawk Fire & Security                   7700 Gulf Freeway                                                                          Houston          TX           77047
7677833        Red Hawk Fire & Security                   Attn: Anita Wimbley     7700 Gulf Fwy                                                      Houston          TX           77017
7614483        RED HAWK FIRE & SECURITY(CA) LLC           PO BOX 538198                                                                              ATLANTA          GA           30353
7614483        RED HAWK FIRE & SECURITY(CA) LLC           PO BOX 538198                                                                              ATLANTA          GA           30353
7614485        RED RIVER CONSULTANTS INC                  1925 EAST 70TH          PO BOX 5687                                                        SHREVEPORT       LA           71105
7614486        RED STICK ORTHOPEDICS &                    PROSTHETICS LLC         1651 LOBDELL AVE                                                   BATON ROUGE      LA           70806
7614486        RED STICK ORTHOPEDICS &                    PROSTHETICS LLC         1651 LOBDELL AVE                                                   BATON ROUGE      LA           70806
7683897        REDACTED PATIENT_0001                      ADDRESS ON FILE
7683899        REDACTED PATIENT_0002                      ADDRESS ON FILE
7683900        REDACTED PATIENT_0004                      ADDRESS ON FILE
7683901        REDACTED PATIENT_0005                      ADDRESS ON FILE
7684214        REDACTED PATIENT_0006                      ADDRESS ON FILE
7683760        REDACTED PATIENT_0007                      ADDRESS ON FILE
7684369        REDACTED PATIENT_0008                      ADDRESS ON FILE
7683856        REDACTED PATIENT_0009                      ADDRESS ON FILE
7683895        REDACTED PATIENT_0010                      ADDRESS ON FILE
7683818        REDACTED PATIENT_0011                      ADDRESS ON FILE
7683729        REDACTED PATIENT_0012                      ADDRESS ON FILE
7683902        REDACTED PATIENT_0013                      ADDRESS ON FILE
7683761        REDACTED PATIENT_0014                      ADDRESS ON FILE
7684351        REDACTED PATIENT_0015                      ADDRESS ON FILE
7683903        REDACTED PATIENT_0016                      ADDRESS ON FILE
7683904        REDACTED PATIENT_0017                      ADDRESS ON FILE
7683905        REDACTED PATIENT_0018                      ADDRESS ON FILE
7683906        REDACTED PATIENT_0019                      ADDRESS ON FILE
7683907        REDACTED PATIENT_0020                      ADDRESS ON FILE
7683908        REDACTED PATIENT_0021                      ADDRESS ON FILE
7683909        REDACTED PATIENT_0022                      ADDRESS ON FILE
7683756        REDACTED PATIENT_0023                      ADDRESS ON FILE
7683867        REDACTED PATIENT_0024                      ADDRESS ON FILE
7684296        REDACTED PATIENT_0025                      ADDRESS ON FILE
7683745        REDACTED PATIENT_0026                      ADDRESS ON FILE
7684328        REDACTED PATIENT_0027                      ADDRESS ON FILE
7683746        REDACTED PATIENT_0028                      ADDRESS ON FILE
7683747        REDACTED PATIENT_0029                      ADDRESS ON FILE
7684161        REDACTED PATIENT_0030                      ADDRESS ON FILE
7683721        REDACTED PATIENT_0031                      ADDRESS ON FILE
7683869        REDACTED PATIENT_0033                      ADDRESS ON FILE
7683714        REDACTED PATIENT_0034                      ADDRESS ON FILE
7683728        REDACTED PATIENT_0035                      ADDRESS ON FILE
7684377        REDACTED PATIENT_0036                      ADDRESS ON FILE
7684162        REDACTED PATIENT_0037                      ADDRESS ON FILE
7683748        REDACTED PATIENT_0038                      ADDRESS ON FILE
7683719        REDACTED PATIENT_0039                      ADDRESS ON FILE
7683870        REDACTED PATIENT_0040                      ADDRESS ON FILE
7683886        REDACTED PATIENT_0041                      ADDRESS ON FILE




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7683759        REDACTED PATIENT_0042                      ADDRESS ON FILE
7684330        REDACTED PATIENT_0043                      ADDRESS ON FILE
7683716        REDACTED PATIENT_0044                      ADDRESS ON FILE
7684215        REDACTED PATIENT_0045                      ADDRESS ON FILE
7684338        REDACTED PATIENT_0046                      ADDRESS ON FILE
7684205        REDACTED PATIENT_0047                      ADDRESS ON FILE
7684340        REDACTED PATIENT_0048                      ADDRESS ON FILE
7684341        REDACTED PATIENT_0049                      ADDRESS ON FILE
7683762        REDACTED PATIENT_0050                      ADDRESS ON FILE
7683740        REDACTED PATIENT_0051                      ADDRESS ON FILE
7684212        REDACTED PATIENT_0052                      ADDRESS ON FILE
7683741        REDACTED PATIENT_0509                      ADDRESS ON FILE
7683742        REDACTED PATIENT_0510                      ADDRESS ON FILE
7683743        REDACTED PATIENT_0511                      ADDRESS ON FILE
7683744        REDACTED PATIENT_0512                      ADDRESS ON FILE
7683750        REDACTED PATIENT_0513                      ADDRESS ON FILE
7683751        REDACTED PATIENT_0514                      ADDRESS ON FILE
7683752        REDACTED PATIENT_0515                      ADDRESS ON FILE
7683753        REDACTED PATIENT_0516                      ADDRESS ON FILE
7683754        REDACTED PATIENT_0517                      ADDRESS ON FILE
7683858        REDACTED PATIENT_0518                      ADDRESS ON FILE
7683859        REDACTED PATIENT_0519                      ADDRESS ON FILE
7684293        REDACTED PATIENT_0522                      ADDRESS ON FILE
7684213        REDACTED PATIENT_0523                      ADDRESS ON FILE
7684304        REDACTED PATIENT_0524                      ADDRESS ON FILE
7684305        REDACTED PATIENT_0525                      ADDRESS ON FILE
7684306        REDACTED PATIENT_0526                      ADDRESS ON FILE
7684307        REDACTED PATIENT_0527                      ADDRESS ON FILE
7684308        REDACTED PATIENT_0528                      ADDRESS ON FILE
7684309        REDACTED PATIENT_0529                      ADDRESS ON FILE
7684310        REDACTED PATIENT_0530                      ADDRESS ON FILE
7684311        REDACTED PATIENT_0531                      ADDRESS ON FILE
7684370        REDACTED PATIENT_0533                      ADDRESS ON FILE
7684371        REDACTED PATIENT_0534                      ADDRESS ON FILE
7684372        REDACTED PATIENT_0535                      ADDRESS ON FILE
7684373        REDACTED PATIENT_0536                      ADDRESS ON FILE
7683723        REDACTED PATIENT_0539                      ADDRESS ON FILE
7683724        REDACTED PATIENT_0540                      ADDRESS ON FILE
7683725        REDACTED PATIENT_0541                      ADDRESS ON FILE
7684365        REDACTED PATIENT_0542                      ADDRESS ON FILE
7684359        REDACTED PATIENT_0543                      ADDRESS ON FILE
7684360        REDACTED PATIENT_0544                      ADDRESS ON FILE
7614487        REED MECHANICAL EQUIPMENT, INC.            P.O. BOX 6631                                                                        SHREVEPORT      LA           71136
7037708        REED SMITH LLP                             225 FIFTH AVENUE                                                                     PITTSBURGH      PA           15222
7037708        REED SMITH LLP                             225 FIFTH AVENUE                                                                     PITTSBURGH      PA           15222
7037708        REED SMITH LLP                             225 FIFTH AVENUE                                                                     PITTSBURGH      PA           15222
7614489        REGIONAL RETINA                            7330 FERN AVENUE       STE. 702                                                      SHREVEPORT      LA           71105
7614491        RELAX JANITORIAL COMPANY                   8001 SOMERSET BLVD.    #20                                                           PARAMOUNT       CA           90723

7024252        RELIABLE CARE TRANSPORTATION               1600 APPLEWOOD DRIVE                                                                 SHREVEPORT      LA           71118
                                                          1146 W. CAMBRIDGE
7614493        RELIABLE MEDICAL SUPPLY, INC               CIRCLE DRIVE                                                                         KANSAS CITY     KS           66103
7614494        RELIANCE IMAGING                           4337 LINDERBERGH DR                                                                  ADDISON         TX           75001
7023223        RELIANT                                    DEPT 0954              P.O. BOX 120954                                               DALLAS          TX           75312-0954




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7232649        Reliant Energy Retail Services, LLC                      c/o Sandra Martel       P.O. Box 1046                                                                Houston           TX           77251-9995
7023456        RELIANT ON CALL, LLC                                     544 N. FOSTER ST.                                                                                    BATON ROUGE       LA           70806
7614498        RELIAS LEARNING LLC                                      111 CORNING ROAD        SUITE 250                                                                    CARY              NC           27518
7614500        RENDA LAW OFFICES, P.C.                                  600 W BROADWAY          SUITE #400                                                                   SAN DIEGO         CA           92101
7614503        REPUBLIC SERVICES                                        PO BOX 9001099                                                                                       LOUISVILLE        KY           40290-1099
7614503        REPUBLIC SERVICES                                        PO BOX 9001099                                                                                       LOUISVILLE        KY           40290-1099
7614503        REPUBLIC SERVICES                                        PO BOX 9001099                                                                                       LOUISVILLE        KY           40290-1099
7614504        RESEARCH MEDICAL CENTER                                  PO BOX 404193                                                                                        ATLANTA           GA           30384
7614505        RESPIRATORY SERVICES, INC                                P.O. BOX 1304                                                                                        ARLINGTON         TX           76004-1304
7614505        RESPIRATORY SERVICES, INC                                P.O. BOX 1304                                                                                        ARLINGTON         TX           76004-1304
                                                                        2896 CENTRE POINTE
7583649        RESPIRTECH                                               DRIVE                                                                                                ST. PAUL          MN           55113-1134
                                                                        2896 CENTRE POINTE
7583649        RESPIRTECH                                               DRIVE                                                                                                ST. PAUL          MN           55113-1134
                                                                        2896 CENTRE POINTE
7583649        RESPIRTECH                                               DRIVE                                                                                                ST. PAUL          MN           55113-1134
7024105        RESTORATIVE HEALING GROUP                                9600 CUYAMACA STREET    SUITE 201A                                                                   SANTEE            CA           92071
7023351        REVIEWPUSH, LLC                                          701 BRAZOS STREET       SUITE# 670                                                                   AUSTIN            TX           78701
7047794        Rex A. Hymel Co., Inc.                                   13 Mustang Lane                                                                                      St. Rose          LA           70087
7047794        Rex A. Hymel Co., Inc.                                   13 Mustang Lane                                                                                      St. Rose          LA           70087
7024812        RF TECHNOLOGIES, INC.                                    3125 N. 126TH STREET                                                                                 BROOKFIELD        WI           53005
7614512        RF10 INSPECTION INC                                      2121 W. IMPERIAL PKWY   SUITE 460                                                                    LA HABRA          CA           90631
                                                                        12471 STATE HWY 79
7583651        RICHARD LONG TREE & LAWN SVC.                            SOUTH                                                                                                HOLLIDAY          TX           76366
                                                                        12471 STATE HWY 79
7583651        RICHARD LONG TREE & LAWN SVC.                            SOUTH                                                                                                HOLLIDAY          TX           76366
7024282        RICKMAN CRITICAL CARE, LLC                               510 MILLICENT WAY                                                                                    SHREVEPORT        LA           71106
7614520        RICK'S COMMUNICATIONS COMPANY                            PO BOX 101028                                                                                        CAPE CORAL        FL           33910
7614521        RICOH USA, INC                                           PO BOX 532530                                                                                        ATLANTA           GA           30353
7037048        RIGHT TIME SOBER LIVING HOME                             1316 S HALINOR AVE                                                                                   WEST COVINA       CA           91790
7614524        RIVERPARK AMBULATORY SURGICAL                            107 FRONT STREET                                                                                     VIDALIA           LA           71373
7614529        RJ KOOL                                                  234 W 12TH AVENUE                                                                                    NORTH KANSAS      MO           64116
7614533        RNA MEDICAL                                              7 JACKSON ROAD                                                                                       DEVENS            MA           01434
7614533        RNA MEDICAL                                              7 JACKSON ROAD                                                                                       DEVENS            MA           01434
7614536        ROBERT W. TAYLOR JR., MD.                                2551 GREENWOOD RD.      SUITE 210                                                                    SHREVEPORT        LA           71103
                                                                                                Senior Corporate Credit   9115 Hague Road-Building
7819650        Roche Diagnostics Corporation                            Douglas Durbin          Analyst                   B3-1                     Mail Stop A3-A            Indianapolis      IN           46256
7614538        ROCHE DIAGNOSTICS CORPORATION                            POB 660367              MAIL CODE 5021                                                               DALLAS            TX           75266
7614538        ROCHE DIAGNOSTICS CORPORATION                            POB 660367              MAIL CODE 5021                                                               DALLAS            TX           75266

                                                                                                Senior Corporate Credit   9115 Hague Road-Building
7820408        Roche Diagnostics Corporation                            Douglas Durbin          Analyst                   B3-1, Mail Stop A3-A                               Indianapolis      IN           46256
7614538        ROCHE DIAGNOSTICS CORPORATION                            POB 660367              MAIL CODE 5021                                                               DALLAS            TX           75266

                                                                                                Senior Corporate Credit   9115 Hague Road-Building
7820370        Roche Diagnostics Corporation                            Douglas Durbin          Analyst                   B3-1, Mail Stop A3-A                               Indianapolis      IN           46256
7614538        ROCHE DIAGNOSTICS CORPORATION                            POB 660367              MAIL CODE 5021                                                               DALLAS            TX           75266

                                                                                                Senior Corporate Credit   Roche Diagnostics          9115 Hague Road-Building
7820437        Roche Diagnostics Corporation                            Douglas Durbin          Analyst                   Corporation                B3-1, Mail Stop A3-A     Indianapolis     IN           46256
7614539        ROCHESTER MIDLAND CORP.                                  PO BOX 64462                                                                                          ROCHESTER        NY           14624
7614540        ROCKHILL ORTHOPAEDIC SPECIAL                             PO BOX 843236                                                                                         KANSAS CITY      MO           64184
7614544        ROLAND J. ROBERT DISTRIBUTOR, INC.                       5423 HIGHWAY 44                                                                                       GONZALES         LA           70737
7614545        ROMITA MUKERJEE                                          6247 TREMAYNE DRIVE                                                                                   MOUNT DORA       FL           32757
7823186        Roofing Constructors, Inc. dba Western Roofing Service   c/o CRF Solutions       PO Box 1389                                                                   Simi Valley      CA           93062




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7614547        ROTARY CLUB OF BOCA RATON                  PO BOX 272641                                                                          BOCA RATON       FL           33486
7614548        ROTO ROOTER SERVICES COMPANY               180 DENNY WAY                                                                          EL CAJON         CA           92020
7614550        Royal Cup Coffee                           160 Cleage Dr                                                                          Birmingham       AL           35217
7614550        Royal Cup Coffee                           160 Cleage Dr                                                                          Birmingham       AL           35217
7614551        ROYAL OFFICE PRODUCTS                      PO BOX 2403                                                                            BEDFORD PARK     IL           60499

7614553        ROYALTY AMBULANCE SERVICES INC.            3235 N SAN FERNANDO RD BLDG #6                                                         LOS ANGELES      CA           90065
7023934        ROYCE INTEGRATED SOLUTIONS                 3863 PEMBROKE ROAD                                                                     HOLLYWOOD        FL           33021
7023934        ROYCE INTEGRATED SOLUTIONS                 3863 PEMBROKE ROAD                                                                     HOLLYWOOD        FL           33021
7614557        RSI ROOFING & SOLAR                        8285 BUCKHORN STREET                                                                   SAN DIEGO        CA           92111
7614558        RSM US LLP                                 331 WEST 3RD STREET    SUITE 200                                                       DAVENPORT        IA           52801
                                                          3865 SOUTH WASATCH
7614560        RUMBI ISLAND GRILL                         BLVD.                  # 300                                                           SALT LAKE CITY   UT           84109
7614562        RUSH MESSENGER SERVICE WEST, INC.          PO BOX 81174                                                                           PITTSBURGH       PA           15217
7024383        RUTH G. TOPACIO M.D. INC.                  18212 SAN GABRIEL AVE                                                                  CERRITOS         CA           90703
7024762        RUTLEDGE PLUMBING CO.                      1120 SHEPPARD RD                                                                       BURKBURNETT      TX           76354
7070062        Rutledge Plumbing Co.                      1120 Sheppard Rd.                                                                      Burkburnett      TX           76354
7614566        RYCAN TECHNOLOGIES, INC                    PO BOX 306                                                                             MARSHALL         MN           56258
7614566        RYCAN TECHNOLOGIES, INC                    PO BOX 306                                                                             MARSHALL         MN           56258
7684331        SABATES EYE CENTER                         PO BOX 26425                                                                           KANSAS CITY      MO           64196

7614568        SAFETY 1ST COMPANY                         2530 SOUTH MAIN STREET                                                                 MADISONVILLE     KY           42431
7614571        SAGE PRODUCTS, LLC                         3909 THREE OAKS ROAD                                                                   CARY             IL           60013
7614570        SAGENT PHARMACEUTICALS, INC                LOCKBOX #28549         28549 NETWORK PLACE                                             CHICAGO          IL           60673-1285
7614574        SALT CITY COURIERS, INC.                   451 EAST BROADWAY      #200                                                            SALT LAKE CITY   UT           84111
7614575        SALT LAKE CITY CORPORATION                 P.O                    . BOX 30881                                                     SALT LAKE CITY   UT           84130
7614576        SALT WORKS                                 PO BOX 22273                                                                           MESA             AZ           85277-2273
7614577        SAMM LLC                                   305 11TH AVE                                                                           SALT LAKE CITY   UT           84103
7024099        SAN DIEGO GAS & ELECTRIC                   P.O. BOX 25111                                                                         SANTA ANA        CA           92799-5111

7037695        SANDERS WARREN & RUSSELL LLP               9401 INDIAN CREEK PKWY #1250                                                           OVERLAND PARK    KS           66210

7037695        SANDERS WARREN & RUSSELL LLP               9401 INDIAN CREEK PKWY #1250                                                           OVERLAND PARK    KS           66210
7681908        Sanjay Shah, MD                            2300 HOSPITAL DRIVE                                                                    BOSSIER CITY     LA           71111
7036210        SARGENT CONSULTING                         102 LAKERIDGE CRICLE                                                                   FALLBROOK        CA           92028
7684327        SAUNDERS, KEONA                            ADDRESS ON FILE
7614587        SAWGRASS ELECTRIC INC                      5131 NW 108 AVE                                                                        SUNRISE          FL           33351
7614588        SAXON BUSINESS SYSTEMS, INC.               PO BOX 4908                                                                            MIAMI LAKES      FL           33014
7023346        SCHAERER MEDICAL USA, INC.                 P.O. BOX 645110                                                                        CINCINNATI       OH           45264-5110
7024583        SCHEDULE ANYWHERE                          P.O. BOX 9013                                                                          FARGO            ND           58106-9013
7067689        Schindler Elevator Corporation             1530 Timberwolf Drive                                                                  Holland          OH           43528
7614593        SCHINDLER ELEVATOR CORPORATION             PO BOX 93050                                                                           CHICAGO          IL           60673
7614596        SCHWABE, WILLIAMSON & WYATT, P.C.          1211 SW FIFTH AVENUE   SUITE 19                                                        PORTLAND         OR           97204
7024580        SCM ASSOCIATES                             2700 DAWSON AVENUE                                                                     SIGNAL HILL      CA           90755
7614599        SCOPE ORTHOTICS AND PROSTHETICS            7720 CARDINAL COURT                                                                    SAN DIEGO        CA           92123
7614601        SCOTT WEINBERG                             5253-P BRISATA CIRCLE                                                                  BOYNTON BEACH    FL           33437
7684384        SCP GRAPHICS LLC                           1100 HOLLAND DRIVE                                                                     BOCA RATON       FL           33487
7023235        SECO ENERGY                                DEPT# 3035             P.O. BOX 850001                                                 ORLANDO          FL           32885-3035
7614606        SECURE SHREDDING AND RECYCLING             P.O. BOX 15465                                                                         BATON ROUGE      LA           70895
7614606        SECURE SHREDDING AND RECYCLING             P.O. BOX 15465                                                                         BATON ROUGE      LA           70895
7614607        SECURE WASTE DISPOSAL, INC                 P.O. BOX 540417                                                                        ORLANDO          FL           32854
7614611        SECURITY & INTEGRATED SYSTEMS              215 HIGHWAY 51                                                                         Ridgeland        MS           39157-4423
7683857        SECURITY FENCE OF SWFL INC                 2022 SOUTH GRISWOLD                                                                    PEORIA           FL           61605
7614612        SELECT HEALTH                              PO BOX 27368                                                                           SALT LAKE CITY   UT           84127
7614613        SELECT HEALTH - RECOVERIES DEPT            PO BOX 27368                                                                           SALT LAKE CITY   UT           84127




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7614614        SELECT OFFICE SYSTEMS, INC                   P.O. BOX 11777                                                                               BURBANK            CA           91510-1777
7614616        SEMLER SCIENTIFIC, INC.                      9040 PEMBRIDGE DRIVE                                                                         ELK GROVE          CA           95624
7033900        SEND2FAX                                     6922 HOLLYWOOD BLVD                                                                          HOLLYWOOD          CA           90028
7614620        SERENITY RECUPERATIVE CARE, INC              11609 BILTMORE AVE                                                                           LAKEVIEW TERRACE   CA           91342
7614621        SERVICE 1ST ELECTRICAL SRVC INC              1092 N. ARMANDO ST.                                                                          ANAHEIM            CA           92806
7614622        SERVICE MEDIC                                1845 N. CEDAR STREET                                                                         HOLT               MI           48842
7614623        SERVICE PRO PEST MANAGEMENT CO               10736 JEFFERSON BLVD    #610                                                                 CULVER CITY        CA           90230
7614625        SERVPRO OF OCALA                             3407 SW. 7TH STREET                                                                          OCALA              FL           34474
                                                            10336 WILSHIRE BLVD #
7614628        SF&M CENTRAL STANDARD HOLDING CO.            602                                                                                          LOS ANGELES        CA           90024
7614627        SFEIR ARCHITECTS                             1350 COLUMBIA STREET    SUITE 603                                                            SAN DIEGO          CA           92101
7614629        SHANDS HEALTHCARE                            1600 SW Archer Road                                                                          Gainesville        FL           32608
7614630        SHANTHA KUMAR M.D.                           99 S. GOLD DRIVE        SUITE 5                                                              APACHE JUNCTION    AZ           85120
7038088        Sharn Inc.                                   6850 Southbelt Dr                                                                            Caledonia          MI           49316
7614632        SHARN, INC.                                  P.O. BOX 21666                                                                               TAMPA              FL           33622-1666
7614632        SHARN, INC.                                  P.O. BOX 21666                                                                               TAMPA              FL           33622-1666
7614633        SHAWNEE MISSION MEDICAL CENTER, INC          PO BOX 951220                                                                                DALLAS             TX           75395
7614634        SHC SERVICES INC.                            PO BOX 677896                                                                                DALLAS             TX           75267

7614635        SHEFFIELD RENTALS INC                        1255 HIGHWAY 61 SOUTH                                                                        VICKSBURG          MS           39180
7614636        SHERIDAN HEALTHCARE OF MISSOURI, INC         P.O. BOX 744548                                                                              ATLANTA            GA           30374-4548
7077698        Sherwin Williams Co.                         915 Murray Dr          Suite 338                                                             Lexington          KY           40505
                                                            1601-D NORTH FRONTAGE
7023739        SHERWIN-WILLIAMS CO, THE                     RD.                                                                                          VICKSBURG          MS           39180
                                                            2727 WEST OLYMPIC BLVD
7614639        SHINS PROFESSIONAL HEARING AID,INC           SUITE 308                                                                                    LOS ANGELES        CA           90006

7023263        SHIPMAN & GOODWIN LLP                        ONE CONSTITUTION PLAZA                                                                       HARTFORD           CT           06103
7583636        SHRED-IT USA, LLC                            28883 NETWORK PLACE                                                                          CHICAGO            IL           60673-1288
7583636        SHRED-IT USA, LLC                            28883 NETWORK PLACE                                                                          CHICAGO            IL           60673-1288
7614645        SIEMENS HEALTHCARE DIAGNOSTICS, INC          P. O BOX 121102                                                                              DALLAS             TX           75312-1102
7586566        Siemens Healthcare Diagnostics, Inc.         Attn: General Counsel  P.O. Box 121102                                                       Dallas             TX           75312-1102
7614649        SIERRA MEDICAL GAS TESTING                   63 VIA PICO PLAZA      #458                                                                  SAN CLEMENTE       CA           92672
7036273        SIGN DEPOT INC.                              3298 JOSEY WALES WAY                                                                         WICKENBURG         AZ           85390

7614651        SIGNATURE MEDICAL GROUP                      12639 OLD TESSON ROAD SUITE 100                                                              ST. LOUIS          MO           63128
7614652        SIGNATURE MEDICAL GROUP OF KANSAS CITY, PA   10777 NALL AVENUE      SUITE 300                                                             OVERLAND PARK      KS           66211
                                                            1601 NORTH FRONTAGE
7614655        SIGNS FIRST                                  ROAD                                                                                         VICKSBURG          MS           39180
7024585        SILVERKARE, INC.                             P.O. BOX 670386                                                                              DALLAS             TX           75367-0386
7614657        SILVERLAKE MEDICAL CENTER                    1711 W. TEMPLE ST.                                                                           LOS ANGELES        LA           90026
                                                                                   2435 N Central Expwy, Ste
7067622        SimpleLTC Systems, LLC                       Attn: Accounts Payable 1510                                                                  Richardson         TX           75080
7024784        SIMPLELTC, INC.                              2435 N. CENTRAL EXPY.  SUITE 1510                                                            RICHARDSON         TX           75080
7037057        SIMPLEX GRINNELL LP                          900 ALLEN AVENUE                                                                             GLENDALE           CA           91201
7614660        SINGLE SOURCE SURGICAL, LLC                  1806 AUTUMN GLEN CT                                                                          CHESTERFIELD       MO           63017
7614661        SISC                                         PO BOX 60007                                                                                 LOS ANGELES        CA           90060
7614661        SISC                                         PO BOX 60007                                                                                 LOS ANGELES        CA           90060
7071417        Sizewise Rentals, LLC                        P.O. Box 320                                                                                 Ellis              KS           67637
7071415        Sizewise Rentals, LLC                        P.O. Box 320                                                                                 Ellis              KS           67637
7071415        Sizewise Rentals, LLC                        P.O. Box 320                                                                                 Ellis              KS           67637
7614665        SLMC - PETTY CASH ENG                        1711 W. TEMPLE ST                                                                            LOS ANGELES        CA           90026
7614669        SMART TEMPS                                  435 PARK PLACE CIRCLE                                                                        MISHAWAKA          IN           46545
7023670        SMART TEMPS, LLC                             435 PARK PLACE CIRCLE  SUITE 100                                                             MISHAWKA           IN           46545
7023670        SMART TEMPS, LLC                             435 PARK PLACE CIRCLE  SUITE 100                                                             MISHAWKA           IN           46545




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7826413        SmartRoom                                  3732 West 120th St                                                                              Hawthorne          CA           90250
7614668        SMARTSENSE                                 P.O. BOX 851399                                                                                 MINNEAPOLIS        MN           55485
7036292        SMITH & NEPHEW ENDOSCOPY                   P.O. BOX 205651                                                                                 DALLAS             TX           75320
7614673        SMITH & NEPHEW INC                         P.O BOX 205651                                                                                  DALLAS             TX           75320
7614674        SMITH & NEPHEW ORTHOPEDICS                 P.O. BOX 933782                                                                                 ATLANTA            GA           31193
                                                          Attn: Kacey L. Faughnan,   7135 Goodlett Farms
7822044        Smith & Nephew, Inc.                       Esq.                       Parkway                                                              Cordova            TN           38016
7024465        SMITHS MEDICAL ASD, INC.                   P.O. BOX 7247-7784                                                                              PHILADELPHIA       PA           19170-7784
7024465        SMITHS MEDICAL ASD, INC.                   P.O. BOX 7247-7784                                                                              PHILADELPHIA       PA           19170-7784
7024465        SMITHS MEDICAL ASD, INC.                   P.O. BOX 7247-7784                                                                              PHILADELPHIA       PA           19170-7784
7228711        SMT Services, Inc.                         Keith Talley               4030 S 500 W Ste 90                                                  Salt Lake City     UT           84123
                                                          3370 N.E. RALPH POWELL
7024665        SNAKE 'N' ROOTER                           RD.                                                                                             LEE'S SUMMIT       MO           64064
                                                          11940 CARTWRIGHT
7614679        SNOWMEN , INC.                             AVENUE                                                                                          GRANDVIEW          MO           64030
7614691        SO LOW ENVIRONMENTAL EQUIPMENT CO., INC.   10310 SPARTAN DR.                                                                               CINCINNATI         OH           45215
7033901        SOCALGAS - 022 202 1928                    P.O. BOX C                                                                                      MONTEREY PARK      CA           91756
7033902        SOCALGAS - 026 517 9595                    P.O. BOX C                                                                                      MONTEREY PARK      CA           91756
7033903        SOCALGAS - 028 617 9564                    P.O. BOX C                                                                                      MONTEREY PARK      CA           91756
7037060        SOCALGAS - 100 0179737                     P.O. BOX C                                                                                      MONTEREY PARK      CA           91756
7614685        SOCIAL WORK ADVANTAGE INC                  9160 NW 13TH STREET                                                                             FT. LAUDERDALE     FL           33322
7614685        SOCIAL WORK ADVANTAGE INC                  9160 NW 13TH STREET                                                                             FT. LAUDERDALE     FL           33322
7071184        Soler, Bill                                ADDRESS ON FILE
7684332        SOLID GROUND EXCAVATING, LLC               PO BOX 273                                                                                      LACYGNE            KS           66040-0273
                                                          720 COMMERCE DRIVE
7614695        SOMATICS, INC                              #101                                                                                            VENICE             FL           34292
7614696        SONICWALL SERVICES                         PO BOX 49042                                                                                    SAN JOSE           CA           95161
7074791        Sonos Links LLC                            204 E. Mckenzie Street     Suite E8                                                             Punta Gorda        FL           33950
7614697        SONOS LINKS, LLC                           25486 PALISADE ROAD                                                                             PUNTA GORDA        FL           33893
                                                          9830 NORWALK BLVD.
7024415        SOURCE ONE OFFICE PRODUCTS                 #130                                                                                            SANTA FE SPRINGS   CA           90670

7036317        SOUTH BROADWAY PHILLIPS                    DBA SO BROADWAY CITGO 3605 SO BROADWAY                                                          ST. LOUIS          MO           63118
7024416        SOUTH COAST A.Q.M.D.                       P.O. BOX 4943                                                                                   DIAMOND BAR        CA           91765-0943
                                                                                    3355 Lenox Road NE, Suite
7048711        South Florida Business Journal             c/o Szabo Associates Inc. 945                                                                   Atlanta            GA           30326
                                                                                    3355 Lenox Road NE, Suite
7048711        South Florida Business Journal             c/o Szabo Associates Inc. 945                                                                   Atlanta            GA           30326
7614719        SOUTH FLORIDA EXCAVATION, INC              1455 RAILHEAD BLVD.       SUITE 3                                                               NAPLES             FL           34110
7614704        SOUTHEASTERN FREIGHT LINES, INC            P.O. BOX 100104                                                                                 COLUMBIA           SC           29202-3104
7024541        SOUTHERN CA. IMMEDIATE MEDICAL CTR.        7300 ALONDRA BLVD.        SUITE 101                                                             PARAMOUNT          CA           90723
7036322        SOUTHERN CALIFORNIA AMBULANCE              5363 ALHAMBRA AVE                                                                               LOS ANGELES        CA           90032
7045956        Southern California Gas Company            PO Box 30337                                                                                    Los Angeles        CA           90030
7614709        SOUTHERN CALIFORNIA TRANE SERVICE          3253 E IMPERIAL HWY                                                                             BREA               CA           92821
7614711        SOUTHERN MEDICAL CORPORATION               POB 84007                                                                                       BATON ROUGE        LA           70884
7614713        SOUTHERN SIGNS, INC                        406 LIBERTY ROAD                                                                                NATCHEZ            MS           39120
7614714        SOUTHERN SPINE, LLC                        487 CHERRY STREET         THIRD FLOOR                                                           MACON              GA           31201
7614715        SOUTHERN STYLE PUBLICATIONS                P.O. BOX 820028                                                                                 VICKSBURG          MS           39182
                                                          11010 NORRIS FERRY
7614717        SOUTHERN TRACE POA                         ROAD                                                                                            SHREVEPORT         LA           71106

7023810        SOUTHWEST PORTABLE AIR                     3144 EAST PARK AVENUE                                                                           GILBERT            AZ           85234
                                                                                     Karen A. Cavagnaro - Lead One AT&T Way, Room
7813212        Southwestern Bell Telephone Company        c/o AT&T Services, Inc.    Paralegal                 3A104                                      Bedminster         NJ           07921
7614723        SOUTHWESTERN ELECTRIC POWER                P.O. BOX 371496                                                                                 PITTSBURGH         PA           15250-7496




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7024077        SPARKLETTS DRINKING                                   P.O. BOX 660579                                                                           DALLAS             TX           75266-0579
7614732        SPECIAL RESP. CARE, INC.                              18327 NAPA STREET                                                                         NORTHRIDGE         CA           91325
7024443        SPECIAL T WATER SYSTEMS, INC.                         P.O. BOX 165                                                                              WHITTIER           CA           90608
                                                                     220 CONGRESS PARK
7614730        SPECIALIZED HEALTHCARE PARTNERS, LLC                  DRIVE                   SUITE 210                                                         DELRAY BEACH       FL           33445
                                                                     220 CONGRESS PARK
7614730        SPECIALIZED HEALTHCARE PARTNERS, LLC                  DRIVE                   SUITE 210                                                         DELRAY BEACH       FL           33445
7024615        SPECIALIZED MEDICAL SVCS, INC.                        7237 SOLUTION CENTER                                                                      CHICAGO            IL           60677-7002
7024615        SPECIALIZED MEDICAL SVCS, INC.                        7237 SOLUTION CENTER                                                                      CHICAGO            IL           60677-7002
7684204        SPECIALTY ADVERTISING, INC                            4317 REDDING ROAD                                                                         BOYNTON BEACH      FL           33436
7614734        SPECIALTY ADVERTISING, INC.                           4317 REDDING ROAD                                                                         BOYNTON BEACH      FL           33436
7728829        Specialty Doors & Automation, Inc.                    4700 Long Beach Blvd.                                                                     Long Beach         CA           90805
7038090        Specialty Doors + Automation Inc                      4700 Long Beach Blvd.                                                                     Long Beach         CA           90805
7036331        SPECIALTY DOORS AND AUTOMATION, INC.                  4700 LONG BEACH BLVD                                                                      LONG BEACH         CA           90805

7614737        SPECIALTY SURGICAL SERVICE                            10532 BOCA CANYON DR                                                                      SANTA ANA          CA           92705
7033825        SPECTRUM ENTERPRISE                                   BOX 223085                                                                                PITTSBURGH         PA           15251
7614742        SPECTRUM MEDICAL X-RAY                                1721 STEWART STREET                                                                       SANTA MONICA       CA           90404
7037066        SPECTRUM MEDICAL X-RAY COMPANY                        1721 STEWART STREET                                                                       SANTA MONICA       CA           90404

7024722        SPECTRUM-CHARTER COMM. HOLDINGS                       12405 POWERSCOURT DR.                                                                     ST. LOUIS          MO           63131

7024722        SPECTRUM-CHARTER COMM. HOLDINGS                       12405 POWERSCOURT DR.                                                                     ST. LOUIS          MO           63131
7024370        SPEEDCAST CONNECT                                     8511 WELLSFORD PLACE    SUITE D                                                           SANTA FE SPRINGS   CA           90670
7614746        SPINAL ELEMENTS INC                                   3115 MELROSE DRIVE      SUITE 200                                                         CARLSBAD           CA           92010
7614747        SPINE INSTITUTE OF LOUISIANA                          1500 LINE AVENEUE       SUITE 200                                                         SHREVEPORT         LA           71101
                                                                     7800 THIRD STREET
7614748        SPINEOLOGY INC.                                       NORTH                   SUITE 6                                                           SAINT PAUL         MN           55128
7614753        SPOT COOLERS                                          1951 NW. 19TH STREET                                                                      BOCA RATON         FL           33431-7344
7024721        SPRING HOUSE WATER                                    788 3RD STREET                                                                            HEALDTON           OK           73438
7024721        SPRING HOUSE WATER                                    788 3RD STREET                                                                            HEALDTON           OK           73438
7614758        SRM RECEIVABLES                                       DEPT. 3292                                                                                CAROL STREAM       IL           60132
7614759        SSD SYSTEMS                                           1740 N LEMON STREET                                                                       ANAHEIM            CA           92801
7614759        SSD SYSTEMS                                           1740 N LEMON STREET                                                                       ANAHEIM            CA           92801
7055528        St. Alexius Hospital/Funding Partners Designee, LLC   Staci Laurino           11036 Tesson Ferry Rd                                             St. Louis          MO           63123
7055528        St. Alexius Hospital/Funding Partners Designee, LLC   Staci Laurino           11036 Tesson Ferry Rd                                             St. Louis          MO           63123

7024713        ST. JOSEPH MEDICAL CENTER                             1000 CARONDELET DRIVE                                                                     KANSAS CITY        MO           64114
7614833        ST. VINCENT MEDICAL CENTER                            2131 W. THIRD ST.                                                                         LOS ANGELES        CA           90057

7023879        ST.JUDE MEDICAL S.C.,INC.                             807 LAS CIMAS PARKWAY   SUITE 400                                                         AUSTIN             TX           78746
7048013        STAAR SURGICAL CO.                                    1911 WALKER AVE.                                                                          MONROVIA           CA           91016
7194106        STAAR Surgical Company                                Attn: Rachel Horta      1911 Walker Ave.                                                  Monrovia           CA           91016
7036410        STAAR SURGICAL, INC.                                  P.O. BOX 515160                                                                           LOS ANGELES        CA           90051
7037071        STABILITY INC.                                        2910 POSTON AVE.                                                                          NASHVILLE          TN           37203
7614765        STANDARD ELECTRONICS                                  9340 STEVENS ROAD                                                                         SANTEE             CA           92071
7614766        STANDARD INSUR. RETIREMENT PLANS                      P O BOX 5634                                                                              PORTLAND           OR           97228
7614767        STANDARD PLUMBING & INDUSTRIAL SUPP                   3864 40TH STREET                                                                          SAN DIEGO          CA           92105
7036416        STANDARD REGISTER                                     P.O. BOX 91047                                                                            CHICAGO            IL           60693
7614770        STANDARD RESTAURANT EQUIPMENT                         3500 SO WEST TEMPLE                                                                       SALT LAKE CITY     UT           84115
7614772        STANLEY ACCESS TECHNOLOGIES, LLC                      P.O. BOX 0371595                                                                          PITTSBURG          PA           15251
7614772        STANLEY ACCESS TECHNOLOGIES, LLC                      P.O. BOX 0371595                                                                          PITTSBURG          PA           15251
7024502        STANLEY CONVERGENT SECURITY                           DEPT CH 10651                                                                             PALATINE           IL           60055
                                                                     5614 SECOND STREET
7024017        STAN'S COFFEE SVCS/P&L FOODS                          WEST                                                                                      LEHIGH             FL           33971




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7614778        STAPLES ADVANTAGE/CORPORATE EXPRESS                      DEPT ATL                    P.O. BOX 405386                                                       ATLANTA           GA           30384
7614778        STAPLES ADVANTAGE/CORPORATE EXPRESS                      DEPT ATL                    P.O. BOX 405386                                                       ATLANTA           GA           30384
7614778        STAPLES ADVANTAGE/CORPORATE EXPRESS                      DEPT ATL                    P.O. BOX 405386                                                       ATLANTA           GA           30384

7614779        STAPLES CONTRACT & COMMERCIAL INC.                       7347 S REVERE PARKWAY       BUILDING B SUITE 200                                                  CENTENNIAL        CO           80112
7614780        STAR ANESTHESIA, P.A.                                    3510 N. LOOP 1604 E.                                                                              SAN ANTONIO       TX           78247
7049635        STAR TRANSPORTATION                                      4312 CALL FIELD ROAD                                                                              WICHITA FALLS     TX           76308
7614781        STATE BAR OF MICHIGAN                                    PO BOX 1406                                                                                       GRAND RAPIDS      MI           49501-1406
7614784        STATE OF CALIFORNIA DEP OF PUBLIC HEALTH                 P.O. BOX 997377                                                                                   SACRAMENTO        CA           95899
                                                                        MIAMI-DADE COUNTY
7614785        STATE OF FLORIDA DEPT. OF HEALTH                         HEALTH DEPT.                1725 NW. 167TH STREET                                                 MIAMI GARDENS     FL           33056
                                                                        ATTN: ACCOUNTS
7614786        STATE OF LOUISIANA                                       RECEIVABLE                  PO BOX 4303                                                           BATON ROUGE       LA           70821
7614793        STERICYCLE, INC.                                         2355 WAUKEGAN ROAD                                                                                BANNOCKBURN       IL           60015
7614793        STERICYCLE, INC.                                         2355 WAUKEGAN ROAD                                                                                BANNOCKBURN       IL           60015
7024561        STERILIZER TECHNICAL SPECIALISTS                         P.O. BOX 31001-1537                                                                               PASADENA          CA           91110
7023327        STERIS CORPORATION                                       P.O. BOX 676548                                                                                   DALLAS            TX           75267-6548
7023327        STERIS CORPORATION                                       P.O. BOX 676548                                                                                   DALLAS            TX           75267-6548
7614811        STONERIVER PHARMACY SOLUTIONS                            PO BOX 504591                                                                                     ST LOUIS          MO           63150
7614812        STOPPAGE KINGS, LLC                                      8430 SW 129TH AVE                                                                                 MIAMI             FL           33183
7614813        STORER EQUIPMENT CO LTD                                  PO BOX 6761                                                                                       SHREVEPORT        LA           71136
7614814        STRAIGHT LINE ASO, LLC                                   210 S. FLORIDA AVENUE       STE. 201                                                              LAKELAND          FL           33801
                                                                        100 BOULEVARD OF THE
7023341        STREAMLINE VERIFY, LLC                                   AMERICAS                                                                                          LAKEWOOD          NJ           08701
7023998        STRYKER CORPORATION                                      2725 FAIRFIELD ROAD                                                                               KALAMAZOO         MI           49002
7023998        STRYKER CORPORATION                                      2725 FAIRFIELD ROAD                                                                               KALAMAZOO         MI           49002
                                                                                                                               5955 West Main St., Ste.
7828954        Stryker Corporation, Sage Products                       Purkey & Associates, PLC    Lori L Purkey              236                                        Kalamazoo         MI           49009
7614820        STRYKER ENDOSCOPY/93276                                  P.O. BOX 93276                                                                                    CHICAGO           IL           60673
7037077        STRYKER INSTRUMENT                                       4100 EAST MILHAM AVE                                                                              KALAMAZOO         MI           49001
7614825        STRYKER INSTRUMENTS                                      4100 EAST MILHAM AVE                                                                              KALAMAZOO         MI           49001
                                                                                                                               5955 West Main Street,
7049704        Stryker Instruments, a Division of Stryker Corporation   c/o Lori L Purkey           Purkey & Associates, PLC   Suite 236                                  Kalamazoo         MI           49009
                                                                                                                               5955 West Main Street,
7049704        Stryker Instruments, a Division of Stryker Corporation   c/o Lori L Purkey           Purkey & Associates, PLC   Suite 236                                  Kalamazoo         MI           49009
7614827        STRYKER MEDICAL                                          3800 E.CENTRE AVE                                                                                 PORTAGE           MI           49002
7036454        STRYKER ORTHOPAEDICS                                     325 CORPORATE DRIVE                                                                               MAHWAH            NJ           07430
                                                                        1901 ROMENCE ROAD
7037749        STRYKER SALES CORPORATION                                PARKWAY                                                                                           PORTAGE           MI           49002
7614832        STRYKER SUSTAINABILITY SOLUTIONS                         PO BOX 29387                                                                                      PHOENIX           AZ           85038-9387
7614832        STRYKER SUSTAINABILITY SOLUTIONS                         PO BOX 29387                                                                                      PHOENIX           AZ           85038-9387
7614834        SUBURBAN MEDICAL CENTER                                  MEDICAL STAFF               16453 S COLORADO AVE                                                  PARAMOUNT         CA           90723
7024179        SUDDENLINK BUSINESS                                      P.O. BOX 742535                                                                                   CINCINNATI        OH           45274-2535
7727505        Summage, Tracy D.                                        ADDRESS ON FILE
7614839        SUMMIT HEALTHCARE SERVICES, INC                          35 BRAINTEEE HILL PARK      SUITE 303                                                             BRAINTREE         MA           02184
7684385        SUN CAPITAL INC                                          999 YAMATO RD               FLOOR THREE                                                           Boca Raton        FL           33431
                                                                        3923 INGRAHAM STREET
7614842        SUNNYSIDE REHAB INC                                      V202                                                                                              SAN DIEGO         CA           92109

7614843        SUNRISE PRODUCE                                          500 BURNING TREE ROAD                                                                             FULLERTON         CA           92833
7614845        SUPER GREEN INTERIOR LANDSCAPE                           P.O. BOX 1128                                                                                     PARAMOUNT         CA           90723-1128
7614846        SUPERIOR BIOMEDICAL SERVICE INC                          PO BOX 740335                                                                                     BOYNTON BEACH     FL           33474
7614846        SUPERIOR BIOMEDICAL SERVICE INC                          PO BOX 740335                                                                                     BOYNTON BEACH     FL           33474

7037080        SUPERIOR LIFE SUPPORT                                    25128 AVE TIBBITS STE 150                                                                         VALENCIA          CA           91355




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7614850        SUPPLYWORKS                                         P.O. BOX 844727                                                                             DALLAS               TX           75284

7036476        SURGICAL DIRECT                                     2355 CENTERLINE IND DR                                                                      ST. LOUIS            MO           63146
7614856        SWEENEY & BARTLETT MARKETING PARTNERS, INC          P.O. BOX 947522                                                                             MAITLAND             FL           32794-7522
7024331        SWEET TEMPTATIONS                                   2849 CRENSHAW BLVD.       #8                                                                LOS ANGELES          CA           90016
7614860        SWS VIDMARLISTA INNERSPACE                          P.O. BOX 371744                                                                             PITTSBURGH           PA           15251
7614864        SYNAPSE BIOMEDICAL                                  300 ARTINO STREET                                                                           OBERLIN              OH           44074
7614866        SYNTHES                                             PO BOX 8538-662                                                                             PHILADELPHIA         PA           19171
7614866        SYNTHES                                             PO BOX 8538-662                                                                             PHILADELPHIA         PA           19171
7024018        SYSCO - CENTRAL FLORIDA                             3000 69TH STREET EAST                                                                       PALMETTO             FL           34221
                                                                                                                    171 17th Street NW, Suite
7232003        Sysco Arizona, a division of Sysco USA I, Inc.      Arnall Golden Gregory LLP c/o Frank N. White     2100                                       Atlanta              GA           30363

7023771        SYSCO FOOD SERVICES ARIZONA                         611 SOUTH 80TH AVENUE                                                                       TOLLESON             AZ           85353
                                                                   24500 NORTHWEST
7024590        SYSCO FOOD SERVICES OF DALLAS                       FREEWAY                                                                                     CYPRESS              TX           77429
                                                                                                                    171 17th Street NW, Suite
7232020        Sysco Kansas City Inc.                              Arnall Golden Gregory LLP c/o Frank N. White     2100                                       Atlanta              GA           30363
                                                                                                                    171 17th Street NW, Suite
7232016        Sysco Los Angeles, Inc.                             Arnall Golden Gregory LLP c/o Frank N. White     2100                                       Atlanta              GA           30363
                                                                                                                    171 17th Street NW, Suite
7231994        Sysco South Florida, Inc.                           Arnall Golden Gregory LLP c/o Frank N. White     2100                                       Atlanta              GA           30363
                                                                                                                    171 17th Street NW, Suite
7232011        Sysco West Coast Florida Inc.                       Arnall Golden Gregory LLP c/o Frank N. White     2100                                       Atlanta              GA           30363
7024743        SYSCO WEST TEXAS                                    P.O. BOX 5910                                                                               LUBBOCK              TX           79408
                                                                                                                    171 17th Street NW, Suite
7231989        Sysco West Texas, a division of Sysco USA I, Inc.   Arnall Golden Gregory LLP c/o Frank N. White     2100                                       Atlanta              GA           30363
7614879        TACTILE SIGNAGE                                     3407 W BARCELONA ST                                                                         TAMPA                FL           33629
7614880        TACY MEDICAL                                        PO BOX 15807                                                                                FERNANDINA BEACH     FL           32035
7614883        TALK2ME COMMUNICATIONS, INC                         10 NW 42ND AVENUE         SUITE 235                                                         MIAMI                FL           33126
                                                                   11000 N. MOPAC EXPY.,
7614884        TANKNOLOGY, INC.                                    SUITE 500                                                                                   AUSTIN               TX           78759
7824338        Taylor Communications Inc                           600 Albany St                                                                               Dayton               OH           45417-3405
7824338        Taylor Communications Inc                           600 Albany St                                                                               Dayton               OH           45417-3405

7614886        TAYLOR COMMUNICATIONS, INC                          FKA STANDARD REGISTER     P.O. BOX 840655                                                   DALLAS               TX           75285

7614886        TAYLOR COMMUNICATIONS, INC                          FKA STANDARD REGISTER P.O. BOX 840655                                                       DALLAS               TX           75285
7614888        TD REFRIGERATION INC                                1907 CLAIBORNE AVE                                                                          SHREVEPORT           LA           71103
7614889        TDRS, INC.                                          PO BOX 51539                                                                                SARASOTA             FL           34232
7614890        TEAGUE ELECTRIC CONSTRUCTION, INC                   12425 W. 92ND STREET                                                                        LENEXA               KS           66215
7614892        TECH DEPOT                                          P.O BOX 416444                                                                              BOSTON               MA           02241
7070170        Tech Electronics Inc.                               6437 Manchester Ave                                                                         St. Louis            MO           63139
7614894        TECHSCAN, INC                                       PO BOX 189                                                                                  MANCHACA             TX           78652
7023902        TECO PEOPLES GAS                                    P.O. BOX 31318                                                                              TAMPA                FL           33631-3318
7023902        TECO PEOPLES GAS                                    P.O. BOX 31318                                                                              TAMPA                FL           33631-3318
                                                                   1217 EAST WAKEHAM
7024461        TECTA AMERICA SOUTHERN                              AVENUE                                                                                      SANTA ANA            CA           92705
                                                                   3015 Carrington Mill Blvd,
7595938        Teleflex Medical Inc.                               Suite 300                                                                                   Morrisville          NC           27560-8871
                                                                   1507-2 CLYDE WAITE
7614898        TELEFLEX MEDICAL, INC                               DRIVE                                                                                       BRISTOL              PA           19007
                                                                   1507-2 CLYDE WAITE
7614898        TELEFLEX MEDICAL, INC                               DRIVE                                                                                       BRISTOL              PA           19007
7614900        TELEMEDX CORPORATION                                5202 SHADOWBEND PL         #103                                                             THE WOODLANDS        TX           77393
7614901        TELNET RX INC.                                      3940 PROSPECT AVE.                                                                          YORBA LINDA          CA           92886




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7819645        Temp-Con LLC                                 Attn: Sarah Dawson         15670 S Keeler Street                                               Olathe                  KS           66062
7614903        TEMP-CON, INC                                15670 S. KEELER STREET                                                                         OLATHE                  KS           66062
7614906        TENACORE HOLDINGS, INC.                      1525 E. EDINGER AVE.                                                                           SANTA ANA               CA           92705
                                                            28990 PACIFIC COAST HWY
7614910        TERENCE SEAN MCGEE M.D. INC                  #220                                                                                           MALIBU                  CA           90265
                                                            11727 S. SAM HOUSTON
7614911        TERMINIX PROCESSING CENTER                   PKWY                       W SUITE F2                                                          HOUSTON                 TX           77031
7614912        TERRACON CONSULTANTS, INC                    P.O. BOX 959673                                                                                ST. LOUIS               MO           63195-9673
7614913        TERRY'S UPHOLSTERY                           P.O. BOX 627                                                                                   ARCHER CITY             TX           76351
7049970        Texas Carpet Outlet                          2801 Kell Blvd                                                                                 Wichita Falls           TX           76308
7049970        Texas Carpet Outlet                          2801 Kell Blvd                                                                                 Wichita Falls           TX           76308
7024766        TEXAS COMPTROLLER OF PUBLIC ACCOUNTS         111 E. 17TH STREET         P.O. BOX 13528                                                      AUSTIN                  TX           78711-3528
7024766        TEXAS COMPTROLLER OF PUBLIC ACCOUNTS         111 E. 17TH STREET         P.O. BOX 13528                                                      AUSTIN                  TX           78711-3528
7614916        TEXAS DEPARTMENT OF                          PO BOX 12157                                                                                   AUSTIN                  TX           78711
                                                            ATTN: ACCOUNTS
                                                            RECEIVABLE, MAIL CODE E-
7614917        TEXAS DEPT OF AGING & DISABILITY SERVICES    411                        P.O. BOX 149030                                                     AUSTIN                  TX           78714-9030
7194112        Texas Health and Human Services Commission   Leslea Pickle              4900 North Lamar Blvd                                               Austin                  TX           78751
7194112        Texas Health and Human Services Commission   Leslea Pickle              4900 North Lamar Blvd                                               Austin                  TX           78751
7614918        TEXAS HEALTH HARRIS METHODIST HOSP.          POB 916060                                                                                     FORT WORTH              TX           76191
7614919        TEXAS ONCOLOGY, PA.                          PO BOX 911230                                                                                  DALLAS                  TX           75391
7024791        TEXAS PRN, LLC                               5380 W. 34TH               #288                                                                HOUSTON                 TX           77092
7614921        TEXAS STAR AMBULANCE                         P.O. BOX 550669                                                                                DALLAS                  TX           75355
7614922        TEXOMA MEDICAL CENTER                        1518 10TH STREET                                                                               WICHITA FALLS           TX           76301
7614922        TEXOMA MEDICAL CENTER                        1518 10TH STREET                                                                               WICHITA FALLS           TX           76301
7614923        TEXOMA UROLOGY CENTER                        5500 KELL WEST BLVD.                                                                           WICHITA FALLS           TX           76301
7614924        THE ADSQUAD, INC                             4001 NE. 25TH AVENUE                                                                           LIGHTHOUSE POINT        FL           33064
                                                            2970 PEACHTREE ROAD
7614926        THE BERKE GROUP, LLC                         NW.                        SUITE 300                                                           ATLANTA                 GA           30305
7614927        THE BEST AIR CONDITIONING CO.                3703 NW 124 AVE                                                                                CORAL SPRINGS           FL           33065
7614928        THE CHANGE COMPANY                           5221 SIGSTROM DRIVE                                                                            CARSON CITY             NV           89706
7024259        THE COMPANY CLINIC OF LOUISIANA              P.O. BOX 5257                                                                                  BOSSIER CITY            LA           71171-5257
                                                            1850 SOUTH OCEAN BLVD
7614931        THE FLORIDA PRINTING GROUP, INC              , UNIT #904                                                                                    LAUDERDALE BY THE SEA   FL           33062
                                                                                  5220 SUMMERLIN
                                                            COMMERCIAL PROPERTIES COMMONS BLVD SUITE
7024070        THE FORUM                                    SOUTHWEST FLORIDA     500                                                                      FORT MYERS              FL           33907
7614933        THE GAS COMPANY                              PO BOX C                                                                                       MONTERY PARK            CA           91756
7023177        THE GOURMET COFFEE CO OF S. FLORIDA          2685 W. 81ST STREET                                                                            HIALEAH                 FL           33016
7614938        THE KANSAS CITY STAR                         1729 GRAND BLVD.                                                                               KANSAS CITY             MO           64108
7614940        THE KNIFE MAN                                POB 10103                                                                                      KANSAS CITY             MO           64171
7614942        THE MIAMI HERALD MEDIA CO                    3511 NW 91 AVE.                                                                                Doral                   FL           33172
7614943        THE NEUROMEDICAL CENTER                      P.O. BOX 98509                                                                                 BATON ROUGE             LA           70884
7037092        THE RUHOF CORP                               393 SAGAMORE AVE                                                                               MINEOLA                 NY           11501
7024095        THE SHREDDERS                                P.O. BOX 91-1197                                                                               LOS ANGELES             CA           90091-1197
7024172        THE THAXTON LAW FIRM, LLC                    1325 BARKSDALE BLVD.  SUITE 105                                                                BOSSIER CITY            LA           71111

7040766        The Vascular Lab LLC                         7648 Picardy Ave. Ste. 100                                                                     Baton Rouge             LA           70808
7023444        THE VASCULAR LAB, LLC                        7648 PICARDY AVE.          SUITE 100                                                           BATON ROUGE             LA           70808

7614956        THE VERNON COMPANY                           DEPT C                     ONE PROMOTION PALACE                                                NEWTON                  IA           50208-0600
7614957        THE VILLAGES CHARTER SCHOOL, INC             350 TATONKA TERRACE                                                                            THE VILLAGES            FL           32162
                                                            1020 LAKE SUMMER
7614958        THE VILLAGES DAILY SUN                       LANDING                                                                                        THE VILLAGES            FL           32162
7023893        THE VILLAGES REGIONAL HOSPITAL               1451 EL CAMINO REAL                                                                            THE VILLAGES            FL           32159




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7614948        THERA TEAM                                    101 ISADORE STREET                                                                              NATCHITOCHES       LA           71457
7024145        THERAPY STAFF, LLC.                           377 HOES LANE             3RD FLOOR                                                             PISCATAWAY         NJ           08854
7614947        THERASTAFF, LLC.                              2355 NORTHSIDE DR.        #100                                                                  SAN DIEGO          CA           92108
7812878        Thomas & Company                              Attn: Kathy Wilson        P.O. Box 280100                                                       Nashville          TN           37228
7614961        THOMAS & COMPANY                              P.O. BOX 645555                                                                                 CINCINNATI         OH           45264-5555
7614963        THOMAS LAND PUBLISHERS INC                    255 JEFFERSON ROAD                                                                              ST LOUIS           MO           63119
7614965        THOMPSON PUBLISHING GROUP, INC.               POB 26185                                                                                       TAMPA              FL           33623
7684292        THYSSENKRUPP ELEVATOR CORP                    P.O. BOX 933004                                                                                 ATLANTA            GA           31193-3004
7614973        TIME WARNER CABLE                             PO BOX 60074                                                                                    CITY OF INDUSTRY   CA           91716-0074
7614973        TIME WARNER CABLE                             PO BOX 60074                                                                                    CITY OF INDUSTRY   CA           91716-0074
                                                             7820 Crescent Executive
7043204        Time Warner Cable                             Drive 1st Floor                                                                                 Charlotte          NC           28217
7614973        TIME WARNER CABLE                             PO BOX 60074                                                                                    CITY OF INDUSTRY   CA           91716-0074
                                                             7820 Crescent Executive
7043204        Time Warner Cable                             Drive 1st Floor                                                                                 Charlotte          NC           28217
                                                             7820 Crescent Executive
7043204        Time Warner Cable                             Drive 1st Floor                                                                                 Charlotte          NC           28217
                                                                                       30700 Bainbridge Rd, Ste
7596033        TimeKeeping Systems, Inc.                     Accounts Receivable       H                                                                     Solon              OH           44139
7614972        TIMEPAYMENT CORP.                             16 N.E. EXECUTIVE PARK    #200                                                                  BURLINGTON         MA           01803
7614975        TITAN LEGAL SERVICES                          P.O. BOX 867                                                                                    TORRENCE           CA           90508
7683951        Tivec Consulting , LLC                        c/o Marcus Dewan          601 Union Street           Suite 3010                                 Seattle            WA           98101
7614978        TLC MEDICAL TRANSPORT                         PO BOX 3945                                                                                     OLATHE             KS           66062
7614979        T-MOBILE                                      PO BOX 790047                                                                                   ST. LOUIS          MO           63179
7614980        TOLEDO OFFICE EQUIPMENT                       111 WEST OLIVE DRIVE      #B                                                                    SAN YSIDRO         CA           92173
7614982        TONY'S AUTO UPHOLSTERY                        9347 ARTESIA BLVD                                                                               BELLFLOWER         CA           90706
7024592        TONY'S LAWN CARE                              1404 BEDFORD ST.                                                                                DALLAS             TX           75212
7614985        TOP RESOURCES, INC.                           10500 BARKLEY STREET      SUITE 108                                                             OVERLAND PARK      KS           66212
7023204        TOSHIBA AMERICA BUSINESS SOLUTIONS            624 S MILITARY TRL                                                                              DEERFIELD BCH      FL           33442-3023
7024621        TOTAL FIRE & SAFETY                           7909 CARR STREET                                                                                DALLAS             TX           75227
7024621        TOTAL FIRE & SAFETY                           7909 CARR STREET                                                                                DALLAS             TX           75227
7024621        TOTAL FIRE & SAFETY                           7909 CARR STREET                                                                                DALLAS             TX           75227
7614991        TOTAL SCOPE, INC                              17 Creek Parkway                                                                                Upper Chichester   PA           19061
7080663        Total Scope, Inc.                             17 Creek Parkway                                                                                Upper Chichester   PA           19061
7614989        TOTALFUNDS BY HASLER                          PO BOX 31021                                                                                    TAMPA              FL           33631

7614992        TOUCHPOINT MEDICAL                            114 DOUGLAS ROAD EAST                                                                           OLDSMAR            FL           34677

7614992        TOUCHPOINT MEDICAL                            114 DOUGLAS ROAD EAST                                                                           OLDSMAR            FL           34677

7614992        TOUCHPOINT MEDICAL                            114 DOUGLAS ROAD EAST                                                                           OLDSMAR            FL           34677
7023870        TRACO BUSINESS SYSTEMS                        P.O. BOX 308                                                                                    WINDBER            PA           15963
7023870        TRACO BUSINESS SYSTEMS                        P.O. BOX 308                                                                                    WINDBER            PA           15963
                                                             5051 ORANGETHORPE
7616601        TRAINING REFUND GROUP                         AVENUE                #E                                                                        ANAHEIM            CA           92807
7616603        TRANE U.S INC. DBA TRANE                      3253 E IMPERIAL HWY                                                                             BREA               CA           92821
7616604        TRANE U.S., INC.                              POB 845053                                                                                      DALLAS             TX           75284
7616604        TRANE U.S., INC.                              POB 845053                                                                                      DALLAS             TX           75284
7616605        TRANSIT AIR CARGO, INC                        2204 E FOURTH STREET                                                                            SANTA ANA          CA           92705
7616607        TRANSLITE, LLC                                8410 HIGHWAY 90A      SUITE 150                                                                 SUGAR LAND         TX           77478
7616608        TRANSPERFECT TRANSLATION                      200 S. BISCAYBE BLVD                                                                            MIAMI              FL           33131

7616609        TRANSPLANT SERVICES CENTER, UT SOUTHWESTERN   5323 HARRY HINES BLVD.                                                                          DALLAS             TX           75390
                                                                                       100 S MAIN STREET RM 01-
7037094        TREASURER, CITY OF LOS ANGELES                CITY OF LOS ANGELES       080                                                                   LOS ANGELES        CA           90012




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7616613        TRI ANIM HEALTH SVCS INC                   25197 NETWORK PLACE                                                                             CHICAGO            IL           60673-1251
7616613        TRI ANIM HEALTH SVCS INC                   25197 NETWORK PLACE                                                                             CHICAGO            IL           60673-1251
7616614        TRICARE                                    2290 AGATE COURT            SUITE A-1                                                           SIMI VALLEY        CA           93065
7616614        TRICARE                                    2290 AGATE COURT            SUITE A-1                                                           SIMI VALLEY        CA           93065
7616615        TRICARE - A001369                          P.O. BOX 7890                                                                                   MADISON            WI           53703
7616616        TRICARE FOR LIFE                           P.O. BOX 7890                                                                                   MADISON            WI           53703
7616616        TRICARE FOR LIFE                           P.O. BOX 7890                                                                                   MADISON            WI           53703
7616618        TRI-DIM FILTER CORPORATION                 93 INDUSTRIAL DRIVE                                                                             LOUISA             VA           23093
                                                          10801 HAMMERLY BLVD
7616619        TRILOGY EMS                                SUITE 132                                                                                       HOUSTON            TX           77043
7616620        TRIMED, INC                                P.O. BOX 55189                                                                                  VALENCIA           CA           91385
7075236        TriMed, Inc.                               27533 Avenue Hopkins                                                                            Santa Clarita      CA           91355
7616621        TRI-STATE HOSP. SUPPLY CORP.               P.O.B. 170                                                                                      HOWELL             MI           48844
                                                          13045 E. TELEGRAPH
7616622        TRI-WEST MECHANICAL, INC                   ROAD                                                                                            SANTA FE SPRINGS   CA           90670
7616624        TRL SYSTEMS INC                            9531 MILLIKEN AVENUE                                                                            RANCHO CUCAMONGA   CA           91730
7024006        TROPIC OIL CO.                             10002 NW 89 AVE                                                                                 MEDLEY             FL           33178
7616626        TRUBRIDGE, LLC                             6600 WALL STREET                                                                                MOBILE             AL           36695
7616626        TRUBRIDGE, LLC                             6600 WALL STREET                                                                                MOBILE             AL           36695
7023605        TRUE-SEE SYSTEMS, LLC                      413 CONSTANCE ST.                                                                               NEW ORLEANS        LA           70125
7070165        True-See Systems, LLC                      Attn: Patti O. Kemp         5146 Murphy Drive                                                   Metairie           LA           70006
7070165        True-See Systems, LLC                      Attn: Patti O. Kemp         5146 Murphy Drive                                                   Metairie           LA           70006
7813165        Truly Nolen Branch 079                     432 S. Williams Blvd.                                                                           Tucson             AZ           85711
7616629        TRUMAN MEDICAL CENTER HOSPITAL HILL        P.O. BOX 957924                                                                                 ST. LOUIS          MO           63195-7924
7618288        TWC Services, Inc.                         PO Box 1612                                                                                     Des Moines         IA           50306-1612

7616702        U.S. FLAGPOLE INC.                         5480 58TH STREET NORTH      #28001                                                              KENNETH CITY       FL           33709
7037096        U.S. HEALTHWORKS                           P.O. BOX 50042                                                                                  LOS ANGELES        CA           90074
7616704        U.S. HEALTHWORKS MED GROUP KC, PA          PO BOX 742556                                                                                   ATLANTA            GA           30374
7616705        U.S. HEALTHWORKS MEDICAL GROUP PC          PO BOX 50042                                                                                    LOS ANGELES        CA           90074
7616705        U.S. HEALTHWORKS MEDICAL GROUP PC          PO BOX 50042                                                                                    LOS ANGELES        CA           90074
7071587        U.S. Med-Equip, LLC                        7028 Gessner Rd                                                                                 Houston            TX           77040
7616640        UHS SURGICAL SERVICES                                          43448   P.O. BOX 86                                                         MINNEAPOLIS        MN           55486
7616640        UHS SURGICAL SERVICES                                          43448   P.O. BOX 86                                                         MINNEAPOLIS        MN           55486
7714013        Uline Shipping Supplies                    12575 Uline Drive                                                                               Pleasant Prairie   WI           53158
                                                          ATTEN: ACCOUNTS
7023822        ULINE, INC.                                RECEIVABLE                  2200 S. LAKESIDE DRIVE                                              WAUKEGAN           IL           60085
                                                          ATTEN: ACCOUNTS
7023822        ULINE, INC.                                RECEIVABLE                  2200 S. LAKESIDE DRIVE                                              WAUKEGAN           IL           60085
                                                          ATTEN: ACCOUNTS
7023822        ULINE, INC.                                RECEIVABLE                  2200 S. LAKESIDE DRIVE                                              WAUKEGAN           IL           60085
                                                          150 EAST PALMETTO PARK
7616642        ULLMAN & ULLMAN                            ROAD                        SUITE 650                                                           BOCA RATON         FL           33432
7024770        ULTRA CHEM, INC.                           8043 FLINT STREET                                                                               LENEXA             KS           66214
7024318        ULTRASOUND SERVICES OF LOUISIANA , LLC     174 GRANT ROAD                                                                                  OPELOUSAS          LA           70570
7616648        UNISAN PRODUCTS                            5450 WEST 83RD STREET                                                                           LOS ANGELES        CA           90045
7041710        United Healthcare Insurance Company        ATTN: CDM/Bankruptcy        185 Asylum Street - 03B                                             Hartford           CT           06103
7616659        UNITED HOSPITAL SERVICES                   P.O. BOX 851313                                                                                 MINNEAPOLIS        MN           55485
7036635        UNITED MEDICAL IMAGING, INC.               1762 WESTWOOD BLVD          SUITE 230                                                           LOS ANGELES        CA           90024
7616661        UNITED MEDICAL STAFFING, INC               109 South College Rd.                                                                           Lafayette          LA           70503
7077761        United Medical Staffing, Inc.              109 South College Rd.                                                                           Lafayette          LA           70503
7616662        UNITED NURSING INTERNATIONAL               19528 VENTURA BLVD.         #356                                                                TARZANA            CA           91356
7616664        UNITED REFRIGERATION, INC                  3730 NE 44TH STREET                                                                             OCALA              FL           34479
7616666        UNITED REGIONAL PHYS. GROUP ORTHO          1518 9TH STREET                                                                                 WICHITA FALLS      TX           76301
7821442        United Regional Physician Group            PO Box 9261                                                                                     Wichita Falls      TX           76308




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7616668        UNITED RENTALS                               PO BOX 840514                                                                                  DALLAS             TX           75284
7616670        UNITED STATES POSTAL SERVICE ACCT# 51310     CMRS-POC                  P.O. BOX 894715                                                      LOS ANGELES        CA           90189
7023394        UNITED STATES TREASURY                       550 MAIN ST.              SUITE 10                                                             CINCINNATI         OH           45999-0009
                                                            19101 E. VALLEY VIEW
7616673        UNITED SURGICAL ASSOC. OF KANSAS CITY        PARKWAY.                                                                                       INDEPENDENCE       MO           64118
7041705        UnitedHealthcare Insurance Company           Attn: CDM/Bankruptcy      185 Asylum Street - 03B                                              Hartford           CT           06103
7041705        UnitedHealthcare Insurance Company           Attn: CDM/Bankruptcy      185 Asylum Street - 03B                                              Hartford           CT           06103
7041705        UnitedHealthcare Insurance Company           Attn: CDM/Bankruptcy      185 Asylum Street - 03B                                              Hartford           CT           06103

7616674        UNITY EMS                                    1275 N. AIR DEPOT BLVD.                                                                        MIDWEST CITY       OK           73110
7616675        UNIVERSAL CARE                               P.O. BOX 93122                                                                                 LONG BEACH         CA           90809
7616678        UNIVERSAL HOSPITAL SERVICES                  SDS-12-0940               P.O. BOX 851313                                                      MINNEAPOLIS        MN           55485
7584008        UNIVERSAL HOSPITAL SERVICES, INC.            6625 W. 78TH STREET       SUITE 300                                                            MINNEAPOLIS        MN           55439
7584008        UNIVERSAL HOSPITAL SERVICES, INC.            6625 W. 78TH STREET       SUITE 300                                                            MINNEAPOLIS        MN           55439
7616682        UNIVERSAL METRO, INC                         12253 E. FLORENCE AVE                                                                          SANTE FE SPRINGS   CA           90670
7616682        UNIVERSAL METRO, INC                         12253 E. FLORENCE AVE                                                                          SANTE FE SPRINGS   CA           90670
7024462        UNIVERSAL METRO, INC.                        12253 E. FLORENCE AVE                                                                          SANTA FE SPRINGS   CA           90670
7616681        UNIVERSAL, INC.                              PO BOX 15127                                                                                   SAINT LOUIS        MO           63110-0127
7616684        UNIVERSITY OF KANSAS HOSPITAL                3901 RAINBOW ST                                                                                KANSAS CITY        KS           66160
7616684        UNIVERSITY OF KANSAS HOSPITAL                3901 RAINBOW ST                                                                                KANSAS CITY        KS           66160
7036651        UNIVERSITY OF SOUTHERN CALIFORNIA            2001 N. SOTO STREET       SUITE 305                                                            LOS ANGELES        CA           90089
7616687        UNIVERSITY OF UTAH HOSPITAL                  PO BOX 511258                                                                                  LOS ANGELES        CA           90051
7684363        UNIVERSITY PHYSICIANS HEALTHCARE - A007048
7024498        UPKEEP MANAGEMENT                            3253 VERDUGO ROAD                                                                              LOS ANGELES        CA           90065
7616689        UPS                                          28013 NETWORK PLACE                                                                            CHICAGO            IL           60673
7616689        UPS                                          28013 NETWORK PLACE                                                                            CHICAGO            IL           60673
7037101        UPW WASTE & RECYCLING SERVICES               P.O. BOX 908                                                                                   PICO RIVERA        CA           90660
7024469        URESIL LLC                                   5418 W.TOUHY AVENUE                                                                            SKOKIE             IL           60077
7616694        URGENT NURSING RESOURCES, INC.               14752 BEACH BLVD.         SUITE 101                                                            LA MIRANDA         CA           90638

7023880        UROLITH, LLC                                 100 WEST THIRD AVENUE     SUITE 350                                                            COLUMBUS           OH           43201
                                                            DIVERSION CONTROL
7616700        US DEPT OF JUSTICE, DEA                      DIVISION                  P.O. BOX 2639                                                        SPRINGFIELD        VA           22152
7024013        US ENDOSCOPY                                 5976 HEISLEY ROAD                                                                              MENTOR             OH           44060
                                                            Bryan Cave Leighton                                 161 North Clark Street,
7828997        US Foods, Inc.                               Paisner, LLP              Leslie A. Bayles          Suite 4300                                 Chicago            IL           60601
                                                            Bryan Cave Leighton                                 161 North Clark Street,
7828997        US Foods, Inc.                               Paisner, LLP              Leslie A. Bayles          Suite 4300                                 Chicago            IL           60601
                                                                                      Bryan Cave Leighton       161 North Clark Street,
7828933        US Foods, Inc.                               Leslie A. Bayles          Paisner, LLP              Suite 4300                                 Chicago            IL           60601
7616706        US HEALTHWORKS MEDICAL GRP FL, INC           P.O. BOX 404473                                                                                ATLANTA            GA           30384
7616710        US MED-EQUIP, INC                            P.O. BOX 41321                                                                                 HOUSTON            TX           77241-1321
7616710        US MED-EQUIP, INC                            P.O. BOX 41321                                                                                 HOUSTON            TX           77241-1321
7071593        US Med-Equip, LLC                            7028 Gessner Rd                                                                                Houston            TX           77040
7071505        US Med-Equip,LLC                             7028 Gessner Rd                                                                                HOUSTON            TX           77040
7616713        US SPECIALTY SUPPLY LLC                      PO BOX 37                                                                                      WEST BERLIN        NJ           08091-0037
7616714        US STANDARD PRODUCTS CORP                    P.O. BOX 668985                                                                                POMPANO BEACH      FL           33066
7616716        US WORLMEDS, LLC                             4010 DUPONT CIRCLE        SUITE L-07                                                           LOUISVILLE         KY           40207

7616698        USC CANCER SURVEILANCE PROG                  1540 ALCAZAR ST CHP 204                                                                        LOS ANGELES        CA           90089
                                                            UNIVERSITY OF SOUTHERN
7616699        USC COMMUNITY HOSPITAL NETWORK               CALIFORNIA                                                                                     LOS ANGELES        CA           90033
7616708        USI INC                                      PO BOX 18117                                                                                   BRIDGEPORT         CT           06601
7616711        USOC MEDICAL                                 20 MORGAN                                                                                      IRVINE             CA           92618
7616711        USOC MEDICAL                                 20 MORGAN                                                                                      IRVINE             CA           92618




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7616711        USOC MEDICAL                               20 MORGAN                                                                                     IRVINE             CA           92618
7616718        UTAH PODIATRY GROUP PC                     PO BOX 540610                                                                                 NORTH SALT LAKE    UT           84054

7023657        UTAH STATE TAX COMMISSION                  ATTN: BANKRUPTCY UNIT    210 N 1950 W                                                         SALT LAKE CITY     UT           84134-9000
7616720        VAC-TEC, INC                               301 SKYWAY DRIVE                                                                              EULESS             TX           76040
7024644        VAC-TEC, INC.                              301 SKYWAY DR.                                                                                EULESS             TX           76040
7616723        VALITEQ                                    POB 245                  1725 INDUSTRIAL AVE.                                                 CUMBERLAND         WI           54829
7616725        VALLEY RESPIRATORY SERVICES                2330 W. BROADWAY RD.     SUITE 112                                                            MESA               AZ           85202
7684294        VANTAGE
7616726        VAPOTHERM, INC.                            PO BOX 674866                                                                                 DETROIT            MI           48267
7616726        VAPOTHERM, INC.                            PO BOX 674866                                                                                 DETROIT            MI           48267
7024315        VASCULAR SPECIALTY CENTER LAB, LLC         8888 SUMMA AVE.          FL. 3B                                                               BATON ROUGE        LA           70809
7024315        VASCULAR SPECIALTY CENTER LAB, LLC         8888 SUMMA AVE.          FL. 3B                                                               BATON ROUGE        LA           70809
7616728        VASCULAR SURGERY ASSOCIATES                7420 SWITZER                                                                                  SHAWNEE            KS           66203
7616728        VASCULAR SURGERY ASSOCIATES                7420 SWITZER                                                                                  SHAWNEE            KS           66203
7616730        VEOLIA WATER TECHNOLOGIES, INC.            24910 NETWORK PLACE                                                                           CHICAGO            IL           60673
7616735        VER PLOEG & LUMPKIN, P.A.                  100 S.E. SECOND STREET   3TH FLOOR                                                            MIAMI              FL           33131
7616734        VERIZON WIRELESS                           PO BOX 660108                                                                                 DALLAS             TX           75266
7024521        VIC THE PICC, SOUTHWEST, LLC               1351 E. PINE STREET      SUITE F                                                              LODI               CA           95240
7616738        VICKSBURG-WARREN CHAMBER                   2020 MISSION 66                                                                               VICKSBURG          MS           39180
7616742        VILLAGE ALARM                              8241 SE 135TH STREET                                                                          SUMMERFIELD        FL           34491
7616743        VIRTUAL RADIOLOGIC PROF OF CA              7083 DEPARTMENT                                                                               CAROL STREAM       IL           60122
7616744        VISION COMMUNICATIONS CO.                  P.O. BOX 598                                                                                  LAKEWOOD           CA           90714
                                                          500 NORTH CENTRAL
7616745        VISIONQWEST HEALTHCARE GROUP, INC.         AVENUE                   SUITE 740                                                            GLENDALE           CA           91203
                                                          2020 E. ORANGETHORPE
7036691        VISTA PAINT CORPORATION                    AVE.                                                                                          FULLERTON          CA           92831
7023935        VITACON US, LLC                            P.O. BOX 427                                                                                  MAPLE PLAIN        MN           55359

7044325        VitaHEAT Medical, LLC                      Attn: Peter Farmakis     21660 West Field Parkway                                             Deer Park          IL           60010

7616748        VITAHEAT MEDICAL, LLC                      Attn: Peter Farmakis     21660 West Field Parkway                                             Deer Park          IL           60010
                                                          3049 S SHERWOOD
7023430        VSH2008 LLC - OPERATING EXPENSE            FOREST BLVD              STE 300                                                              BATON ROUGE        LA           70816
7023298        VWR CORPORATION                            P.O. BOX 640169                                                                               PITTSBURGH         PA           15264-0169
                                                          100 MATSONFORD RD
7616758        VWR FUNDING, INC                           BLDG#1                   SUITE 200                                                            RANDNOR            PA           19087
                                                          100 MATSONFORD RD
7616758        VWR FUNDING, INC                           BLDG#1                   SUITE 200                                                            RANDNOR            PA           19087
7036698        W. L. GORE                                 P.O. BOX 751331                                                                               CHARLOTTE          NC           28275
                                                          7466 CARROLL ROAD,
7616760        WACO ASSOCIATES                            #101                                                                                          SAN DIEGO          CA           92121
7616761        WAGNER 3 VENTURES, INC                     P.O. BOX 490106                                                                               LEESBURG           FL           34749
7074133        Wallace, Robert W                          ADDRESS ON FILE
7023892        WARREN SEPTIC COMPANY                      P.O. BOX 386                                                                                  SUMTERVILLE        FL           33585
7616768        WASTE MANAGEMENT                           PO BOX 9001054                                                                                LOUISVILLE         KY           40290
7616768        WASTE MANAGEMENT                           PO BOX 9001054                                                                                LOUISVILLE         KY           40290
7024660        WATER DISTRICT NO 1 OF JOHNSON CTY         P.O. BOX 808007                                                                               KANSAS CITY        MO           64180
7024795        WATERS AG STORAGE CONTAINERS, INC.         809 FM 369 N                                                                                  IOWA PARK          TX           76367
7023092        WAYNE BLACK & ASSOCIATES                   ONE BRICKELL AVENUE      STE 900                                                              MIAMI              FL           33131
7023675        WEBER STATE UNIVERSITY                     3848 HARRISON BLVD.                                                                           OREGON             UT           84408
7616778        WEBSTER BANK, N.A.(H.S.A BANK)             P.O BOX 939              605 N 8TH STREET                                                     SHEBOYGAN          WI           53081
7616780        WEISS, HANDLER & CORNWELL, P.A.            2255 GLADES ROAD         STE 218-A                                                            BOCA RATON         FL           33431
7616781        WEIZEL SECURITY                            P O BOX 276                                                                                   BLAINE             WA           98231-3627




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7616782        WELCH ALLYN INC.                                4341 STATE STREET ROAD P.O. BOX 22                                                            SKANEATELES FALLS   NY           13153
7616783        WELCH ALLYN, INC. (SKANEATELES)                 POB 73040                                                                                     CHICAGO             IL           60673
7616783        WELCH ALLYN, INC. (SKANEATELES)                 POB 73040                                                                                     CHICAGO             IL           60673
               WELLS FARGO BANK, NATIONAL ASSOCIATION, AGENT
7616791        VENDOR FIN SERV                                 P.O. BOX 51043                                                                                LOS ANGELES         CA           90051
               WELLS FARGO BANK, NATIONAL ASSOCIATION, AGENT
7616790        VENDOR FIN SERV, LLC                            P.O. BOX 105710                                                                               ATLANTA             GA           30348-5710
               WELLS FARGO BANK, NATIONAL ASSOCIATION, AGENT
7616790        VENDOR FIN SERV, LLC                            P.O. BOX 105710                                                                               ATLANTA             GA           30348-5710
                                                                                         1010 Thomas Edison Blvd
7828256        Wells Fargo Vendor Financial Services LLC       Attn: Kimberly Park       SW                                                                  Cedar Rapids        IA           52404
7228524        Wells Fargo Vendor Financial Services, LLC      WFVFS - Bankruptcy        PO Box 13708                                                        Macon               GA           31208
                                                                                         1010 Thomas Edison Blvd
7827791        Wells Fargo Vendor Financial Services, LLC      Attn: Kimberly Park       SW                                                                  Cedar Rapids        IA           52404
7684381        WERFEN USA LLC                                  P.O. BOX 347934                                                                               PITTSBURGH          PA           15251-4934
7616795        WEST COAST BIO-MEDICAL                          PO BOX 2889                                                                                   RAMONA              CA           92065
7616796        WEST COAST RADIOLOGY REPS                       28672 SILVERTON DRIVE                                                                         LAGUNA NIGUEL       CA           92677
7616797        WEST COAST SPINE + ORTHO                        5042 WILSHIRE BLVD        #87                                                                 LOS ANGELES         CA           90036
7616799        WESTERN PUMP, INC.                              3235 F STREET                                                                                 SAN DIEGO           CA           92102
7616800        WESTERN WATER TECHNOLOGIES, INC.                7615 N. 75TH AVENUE       SUITE 102                                                           GLENDALE            AZ           85303
7232791        Westmed dba McCormick Ambulance                 PO Box 5004                                                                                   Mariposa            CA           95338
7023682        WHEELS ON WHEELS MOBILITY                       9170 COPPER COVE CIR.                                                                         MAGNA               UT           84044
7616804        WHITE MEMORIAL OCCUPATIONAL MEDICAL             1904 BAILEY STREET        SUITE 100                                                           LOS ANGELES         CA           90033
7616803        WHITEDS WASH PIT-ENVIRONMENTAL                  10017 DRAGSTRIP ROAD                                                                          KEITHVILLE          LA           71047
7024333        WHOLESUM BREADS                                 9157 MERCEDES AVE                                                                             ARLETA              CA           91331
7616807        WICHITA FALLS CHAMBER OF COMMERCE               900 8TH STREET            SUITE 218                                                           WICHITA FALLS       TX           76301
7616808        WICHITA FALLS ENDOSCOPY CENTER, LLP             1500 9TH STREET                                                                               WICHITA FALLS       TX           76301
                                                               1301 THIRD STREET SUITE
7616809        WICHITA FALLS FAMILY PRACTICE                   200                                                                                           WICHITA FALLS       TX           76301
                                                               469 KINGSTON
7616811        WILLIAM F. MARANTO, MD                          PLANTATION BLVD.                                                                              BENTON              LA           71006
7616812        WILLIAMS MEDICAL CO                             PO BOX 1122                                                                                   YORBA LINDA         CA           92885
7033914        WINDSTREAM                                      P.O. BOX 9001013                                                                              LOUISVILLE          KY           40290-1013
7616817        WINSTON WATER COOLER, LTD                       6626 OAKBROOK BLVD.                                                                           DALLAS              TX           75235
                                                               13300 S. CLEVELAND
7616818        WIPE OUT WINDOW CLEANING, INC                   AVENUE                    STE 56                                                              FORT MYERS          FL           33907

7024717        WISHWASH LAUNDRY, LLC                           2077 E. SANTA FE STREET                                                                       OLATHE              KS           66062
7616820        WITH YOU IN MIND PUBLICATIONS                   502 N. MAIN STREET        PMB 116                                                             WEATHERFORD         TX           76086
7616820        WITH YOU IN MIND PUBLICATIONS                   502 N. MAIN STREET        PMB 116                                                             WEATHERFORD         TX           76086
7616822        WK ARKLATEX UROLOGY &                           2449 HOSPITAL DRIVE       SUITE 280                                                           BOSSIER CITY        LA           71111
                                                               2449 HOSPITAL DR STE
7616824        WK BOSSIER ORTHOPEDIC & SPORTS                  340                                                                                           BOSSIER CITY        LA           71111
                                                               2751 ALBERT BICKNELL
7616826        WK NORTH LAPAROSCOPIC                           DRIVE                     STE. 3D                                                             SHREVEPORT          LA           71103
7616828        WK ORTHOPEDIC CLINIC                            7925 YOUREE DRIVE         SUITE 200                                                           SHREVEPORT          LA           71105
                                                               2751 ALBERT BICKELL
7616830        WK RED RIVER CARDIOVASCULAR SURGEONS            DRIVE                     SUITE C                                                             SHREVEPORT          LA           71103-3943
7616831        WK SPINE & PAIN SPECIALISTS                     2449 HOSPITAL DRIVE       STE 300                                                             BOSSIER CITY        LA           71111-2399
7616825        WKMC CARDIOVASCULAR CONSULTANTS                 1202 LOUISIANA AVE.                                                                           SHREVEPORT          LA           71101

7616827        WKNW LOUISIANA INFECTIOUS DISEASE               2551 GREENWOOD ROAD STE 150                                                                   SHREVEPORT          LA           71103-3984
7616835        WOLTERS KLUWER LAW & BUSINESS                   P.O. BOX 1130                                                                                 MECHANICSBURG       PA           17055
7616835        WOLTERS KLUWER LAW & BUSINESS                   P.O. BOX 1130                                                                                 MECHANICSBURG       PA           17055




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                                                                                                                                  Exhibit D
                                                                                                                             Class 7 Service List
                                                                                                                          Served via First Class Mail

  MML ID                                      NAME                         ADDRESS 1                  ADDRESS 2                ADDRESS 3                ADDRESS 4                CITY        STATE            ZIP   COUNTRY
               Wolters Kluwer Legal & Regulatory US, A Div. of CCH
7044470        Incorporated                                          Attn: Accounts Receivable 7201 McKinney Circle                                                 Frederick           MD           21704
               Wolters Kluwer Legal & Regulatory US, A Div. of CCH
7044491        Incorporated                                          Attn: Accounts Receivable 7201 McKinney Circle                                                 Frederick           MD           21704
7024173        WORK KARE OF WILLIS-KNIGHTON W                        2724 GREENWOOD RD                                                                              SHREVEPORT          LA           71109
                                                                     CULVER CITY, CA 90231-
7616837        WORKWAY                                               3349                                                                                           CULVER CITY         CA           90231
7024334        WORLDWIDE PRODUCE                                     P.O. BOX 54399                                                                                 LOS ANGELES         CA           90054

7288508        Worldwide Produce                                     2652 Long Beach Avenue                                                                         Los Angeles         CA           90058
7037117        WP ELECTRIC & COMMUNICATIONS, INC.                    14198 ALBERS WAY                                                                               CHINO               CA           91710
7616843        WPS TRICARE FOR LIFE - A999998                        P.O. Box 7889                                                                                  Madison             WI           53707-7889
7616844        WRIGHT MEDICAL TECHNOLOGY                             5677 AIRLINE ROAD                                                                              ARLINGTON           TN           38002
7616848        WY' EAST MEDICAL CORPORATION                          16700 SE 120TH AVENUE                                                                          CLACKAMAS           OR           97015
7616851        XEROX CORPORATION                                     P.O. BOX 827598                                                                                PHILADELPHIA        PA           19182-7598
7616854        XPERT RECRUITERS LLC                                  P.O. BOX 204695                                                                                DALLAS              TX           75320
7684382        X-SPINE SYSTEMS INC                                   664 CRUISER LN                                                                                 BELGRADE            MT           59714-9719
                                                                     Goldman Evans and
7077457        X-Spine Systems Inc.                                  Trammell LLC              10323 Cross Creek Blvd F                                             Tampa               FL           33647
7616856        YAROSLAV KUSHNIR MD                                   709 THIRD AVENUE                                                                               CHULA VISTA         CA           91910
7616857        YASHWANT CHAUDHRI, MD                                 4537 COLLEGE AVENUE                                                                            SAN DIEGO           CA           92115
7024373        YEE, BRIAN                                            ADDRESS ON FILE
7616859        YELLOW PAGES INC                                      P.O. BOX 60007                                                                                 ANAHEIM             CA           92812-6007
7616860        YOUR CAPITAL CONNECTION INC                           PO BOX 10349                                                                                   TALLAHASSEE         FL           32302
7616860        YOUR CAPITAL CONNECTION INC                           PO BOX 10349                                                                                   TALLAHASSEE         FL           32302
7616860        YOUR CAPITAL CONNECTION INC                           PO BOX 10349                                                                                   TALLAHASSEE         FL           32302
7616861        YOUTHFUL LIFE, LLC                                    800 NE. HARBOUR DRIVE                                                                          BOCA RATON          FL           33431
7616862        YRC FREIGHT                                           10990 ROE AVENUE                                                                               OVERLAND PARK       KS           66211
7023507        Z MECH, LLC                                           5050 WALDEN PLACE                                                                              MANDEVILLE          LA           70448
7616863        ZACK GROUP                                            6600 COLLEGE BLVD.        SUITE 300                                                            OVERLAND PARK       KS           66211
                                                                                               9400 Gladiolus Dr, Suite
7048733        Zaheer Aslam, MD Advanced Psychiatric Care PC         Edward Handy - APC        340                                                                  Fort Myers          FL           33908
                                                                     900 EAST INDIANTOWN
7024056        ZENITH ENVIRONMENTAL SERVICES LLC                     ROAD                      SUITE 315                                                            JUPITER             FL           33477
7616866        ZIMMER US, INC                                        1800 W CENTER ST.                                                                              WARSAW              IN           46580
7616867        ZIPRECRUITER, INC                                     401 WILSHIRE BLVD.        11TH FLOOR                                                           SANTA MONICA        CA           90401
7616870        Z-MEDICA, LLC                                         4 FAIRFIELD BLVD.                                                                              WALLINGFORD         CT           06492
7616871        ZOLL MEDICAL CORPORATION                              POB 27028                                                                                      NEW YORK            NY           10087
                                                                     8605 SW. CREEKSIDE
7616872        ZRT LABORATORY, LLC                                   PLACE                                                                                          BEAVERTON           OR           97008
7023639        ZUPAS XI, L.C.                                        460 W UNIVERSAL CIR                                                                            SANDY               UT           84070




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